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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY

                            FEE APPLICATION COVER SHEET
                 FOR THE PERIOD FROM APRIL 5, 2023 THROUGH MAY 31, 2023


     Debtor:          LTL Management LLC    Applicant:    Walsh Pizzi O’Reilly Falanga LLP

     Case No.:        23-12825-MBK          Client:       Randi S. Ellis, FCR

     Chapter:         11                    Case Filed:   April 4, 2023 (the “Petition Date”)


                                         SECTION I
                                       FEE SUMMARY

  Monthly Fee Application No. 1                                     ☐ Final Fee Application
 Summary of Amounts Requested for the Period from April 5, 2023 through May 31, 20231.
     Total Fees:                                                                  $271,352.75
     Total Disbursements:                                                           $1,977.10
     Total Fees Plus Disbursements:                                               $273,329.85
     Minus 20% Holdback of Fees:                                                   $54,270.55
     Amount Sought at this Time:                                                  $219,059.30

                                             FEES                      EXPENSES



     Total Previous Fee Requested:           $0                        $0


     Total Fees Allowed To Date:             $0                        $0


     Total Retainer (If Applicable):         N/A                       N/A


     Total Holdback (If Applicable):         $0                        $0


     Total Received To Date:                 $0                        $0


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  The Applicant respectfully requests reimbursement of expenses incurred and fees for work
 performed on behalf of the FCR for the period from the Petition Date through and including May
 31, 2023.
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                                      YEAR
  NAME OF PROFESSIONAL                ADMITTED
                                      (Or Years Of       HOURS   RATE      FEE
  & TITLE                             Professional
                                      Service)


  Hon. Mark Falk (Ret.), Counsel      1977               68.4    $960.00   $65,664.00
  Liza M. Walsh, Partner              1985               84.3    $905.00   $76,291.50
  Stephen V. Falanga, Partner         1992               85.4    $695.00   $58,484.25
  Christine I. Gannon, Partner        2004               50.1    $520.00   $26,052.00
  Christopher M. Hemrick, Partner     2007               0.8     $520.00   $416.00
  Francis W. Yook, Associate          2015               86.6    $405.00   $35,073.00
  Jessica K. Formichella, Associate   2017               13.4    $375.00   $5,025.00
  Barbara E. Troyan, Paralegal        N/A                20.7    $210.00   $4,347.00




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                                       SECTION II
                                   SUMMARY OF SERVICES

   SERVICES RENDERED                                                HOURS    FEE
   a)   Asset Analysis and Recovery:
        Identification and review of potential assets including
        causes of action and non-litigation recoveries.             1.10     $1,056.00

   b) Asset Disposition
      Sales, leases, abandonment and related transaction
      work.

   c)   Avoidance Action Litigation
        Preference and fraudulent transfer litigation.

   d) Business Operations
      Issues related to debtor-in-possession operating in
      chapter 11 such as employee, vendor, tenant issues and
      other similar problems.

   e)   Case Administration
        Coordination and compliance activities, including
        preparation of statement of financial affairs, schedules,
        list of contracts, United States Trustee interim
        statements and operating reports; contacts with the
        United States Trustee; general creditor inquires.           184.30   $108,956.50

   f)   Claims Administration and Objections
        Specific claim inquiries; bar date motions; analyses,
        objections and allowance of claims.

   g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K
      coverage and continuance of pension plan.

   h) Fee/Employment Applications
      Preparations of employment and fee applications for
      self or others; motions to Establish interim procedures.      30.00    $14,308.50

   i)   Fee/Employment Objections
        Review of an objections to the employment and fee
        applications of others.                                     8.70     $6,093.00




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   SERVICES RENDERED                                               HOURS    FEE
   j)   Financing
        Matters under 361, 363 and 364 including cash
        collateral and secured clams; loan document analysis.

   k) Litigation
      Other than Avoidance Action Litigation (there should
      be a separate category established for each major
      matter).                                                     176.00   $134,480.50

   l)   Meetings of Creditors
        Preparing for and attending the conference of creditors,
        the 341(a) meeting and other creditors’ committee
        meetings.

   m) Plan and Disclosure Statement
      Formulation, presentation and confirmation;
      compliance with the plan confirmation order, related
      orders and rules; disbursement and case closing
      activities, except those related to allowance and
      objections to allowance of claims.                           3.30     $2,293.50

   n) Relief from Stay Proceedings
      Matters relating to termination or continuation of
      automatic stay under 362.

   o) Accounting/Auditing
      Activities related to maintaining and auditing books of
      account, preparation of financial statements and
      account analysis.

   p) Business Analysis
      Preparation and review of company business plan;
      development and review of strategies; preparation and
      review of cash flow forecasts and feasibility studies.

   q) Corporate Finance
      Review financial aspects of potential mergers,
      acquisitions and disposition of company or
      subsidiaries.




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   SERVICES RENDERED                                            HOURS    FEE
   r)   Data Analysis
        Management information systems review, installation
        and analysis, construction, maintenance and reporting
        of significant case financial data, lease rejection,
        claims, etc.

   s)   Litigation Consulting
        Providing consulting and expert witness services
        related to various bankruptcy matters such as
        insolvency, feasibility, avoiding actions; forensic
        accounting, etc.

   t)   Reconstruction Accounting
        Reconstructing books and records from past
        transactions and brining accounting current.

   u) Tax Issues
      Analysis of tax issues and preparation of state and
      federal tax returns.

   v) Valuation
      Appraise or review appraisals of assets.                  0.80     $416.00

   w) Travel Time
      Please note that non-working travel time must be billed
      at 50% of cost.                                           5.50     $3,748.75

   SERVICE TOTALS:                                              409.70   $271,352.75




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                                     SECTION III
                               SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                       AMOUNT

   a)   Filing Fees
        Payable to Clerk of Court.

   b) Computer Assisted Legal Research
      Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees
        Payable to the Pacer Service Center for search and/or print.   $479.10

   d) Fax
      Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   f)   In-house Reproduction Services
        Exclusive of overhead charges.                                 $4.00

   g) Outside Reproduction Services
      Including scanning services.

   h) Other Research
      Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting
        Transcripts.                                                   $1,356.00

   j)   Travel
        Mileage, tolls, airfare, parking.

   k) Courier & Express Carriers
      Overnight and personal delivery.

   l)   Postage

   m) Other (specify)
      Discovery data services                                          $138.00

   DISBURSEMENTS TOTALS:                                               $1,977.10


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       I certify under penalty of perjury that the foregoing is true correct.

   Executed on June 16, 2023                                   s/Mark Falk
                                                              Mark Falk




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     Mark Falk
     WALSH PIZZI O’REILLY FALANGA LLP
     Three Gateway Center
     100 Mulberry Street, 15th Floor
     Newark, N.J. 07102
     (973) 757-1100

     Counsel for Randi S. Ellis, Legal
     Representative for Future Talc Claimants

                           IN THE UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY


      In re:                                                Chapter 11

      LTL MANAGEMENT LLC,                                   Case No. 23- 12825

                                    Debtor.                 Honorable Michael B. Kaplan



         MONTHLY FEE STATEMENT OF WALSH PIZZI O’REILLY FALANGA LLP
            COUNSEL FOR RANDI S. ELLIS, LEGAL REPRESENTATIVE FOR
                  FUTURE TALC CLAIMANTS, FOR THE PERIOD
                      APRIL 5, 2023 THROUGH MAY 31, 2023

            Walsh Pizzi O’Reilly Falanga LLP (“Walsh”) submits this Monthly Fee Statement for

 Services Rendered and Expenses Incurred as Counsel for Randi S. Ellis, Legal Representative for

 Future Talc Claimants (the “Statement”) for the period commencing April 5, 2023 and ending May

 31, 2023 (the “Statement Period”), pursuant to the Order Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Retained Professionals [Dkt. No. 562] (the

 “Interim Compensation Order”). The date of the Order approving Walsh’s retention is June 5, 2023

 [Dkt. No. 690], effective as of the date of the application (the “Retention Order”).2 The date of

 the Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants is May 18,




 2
     The Retention Order is attached hereto as Exhibit A.
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 2023 [Dkt. No. 551], effective as of April 10, 2023 (the “Appointment Order”).3 Paragraphs 2, 4

 and 5 of the Appointment Order permit payment of compensation to the Future Talc Claimants

 Representative (“FCR”) incurred on or after April 10, 2022, and her retained professionals.

            The billing invoice for the Statement Period is annexed hereto as Exhibit C. This invoice

 details the services performed. A detailed breakdown of all out-of-pocket disbursements

 necessarily incurred by Walsh is included in the invoice annexed as Exhibit C. The fees and

 expense reimbursement sought in the within Statement Period are as follows:

           Total Fees               20% Holdback                  Fee Payment              Expense
                                                                   Requested            Reimbursement
                                                                                           (100%)
          $271,352.75                  $54,270.55                 $217,082.20              $1,977.10

            WHEREFORE, Walsh respectfully requests the interim payment of fees for this Statement

 Period in the sum $217,082.20 (representing the amount of fees after a 20% holdback), together

 with expenses of $1,977.10 for a total requested interim payment of $219,059.30, in accordance

 with the terms of the Interim Compensation Order.

            I certify under penalty of perjury that the foregoing is true and correct.

     Executed: June 16, 2023                                  Respectfully submitted,

                                                              s/Mark Falk
                                                              Mark Falk
                                                              WALSH PIZZI O’REILLY FALANGA LLP
                                                              Three Gateway Center
                                                              100 Mulberry Street, 15th Floor
                                                              Newark, N.J. 07102
                                                              (973) 757-1100

                                                              Counsel for Randi S. Ellis, Legal
                                                              Representative for Future Talc Claimants




 3
     The Appointment Order is attached hereto as Exhibit B.


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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
                                                                       Order Filed on June 5, 2023
                                                                       by Clerk
                                                                       U.S. Bankruptcy Court
      Caption in Compliance with D.N.J. LBR 9004-1(B)                  District of New Jersey
      WALSH PIZZI O’REILLY FALANGA LLP
      Three Gateway Center
      100 Mulberry Street, 15th Floor
      Newark, NJ 07102
      (973) 757-1100
      Proposed Counsel for Randi S. Ellis, Legal
      Representative for Future Talc Claimants,

                                                        Case No.:23-12825
      In Re:
                                                        Judge:   Michael B. Kaplan
      LTL Management LLC,
                                                        Chapter: 11
                                      Debtor.




                                  ORDER AUTHORIZING RETENTION OF


                                   WALSH PIZZI O’REILLY FALANGA LLP



     The relief set forth on the following page is ORDERED.




DATED: June 5, 2023
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 Upon the applicant's request for authorization to retain WALSH PIZZI O’REILLY FALANGA
 LLP as Counsel for Randi S. Ellis, FTCR, it is hereby ORDERED:
    1. The applicant is authorized to retain the above party in the professional capacity noted.

       The professional's address is:

       Three Gateway Center
       100 Mulberry Street, 15th Floor
       Newark, New Jersey 07102

    2. Compensation will be paid in such amounts as may be allowed by the Court on proper
       application(s).

    3. If the professional requested a waiver as noted below, it is 䕕㻌Granted 䕕㻌Denied.


                 䕕 Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR
                    2016-1.

                 䕕 Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR
                 2016-1 in a chapter 13 case. Payment to the professional may only be made
                 after satisfactory completion of services.

    4. The effective date of retention is as of May 9, 2023.

    5. WALSH PIZZI O’REILLY FALANGA LLP will only bill 50% for non-working travel
       and shall not seek the reimbursement of any fees or costs including attorney fees and costs,
       arising from the defense of any of WALSH PIZZI O’REILLY FALANGA LLP’s fee
       applications in this case.

    6. WALSH PIZZI O’REILLY FALANGA LLP will agree to make a reasonable effort to
       comply with the U.S. Trustee’s requests for information and additional disclosures as set
       forth in the Guidelines for Reviewing Applications for Compensation and Reimbursement
       of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective
       as of November 1, 2013 (the “U.S. Trustee Guidelines”).

    7. WALSH PIZZI O’REILLY FALANGA LLP will use the billing and expense categories
       set forth in the US Trustee Guidelines (Exhibit D-1 “Summary of Compensation Requested
       by Project Category”).

    8. WALSH PIZZI O’REILLY FALANGA LLP will provide any and all monthly fee
       statements, interim fee applications, and final fee applications in “LEDES” format to the
       United States Trustee.



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    9. Any and all compensation to be paid to WALSH PIZZI O’REILLY FALANGA LLP for
       services rendered on the FTCR’s behalf shall be fixed by application to this Court in
       accordance with Sections 330 and 331 of the Bankruptcy Code, such Federal Rules and
       Local Rules as may then be applicable, and any orders entered in this case governing the
       compensation and reimbursement of professionals for services rendered and charges and
       disbursements incurred.

    10. WALSH PIZZI O’REILLY FALANGA LLP shall not charge a markup with respect to
        fees billed by contract attorneys or independent contractors or subcontractors who are
        hired by WALSH PIZZI O’REILLY FALANGA LLP to provide services in this matter
        and shall ensure that any such contract attorneys or independent contractors or
        subcontractors are subject to conflict checks and disclosures in accordance with the
        requirements of the Bankruptcy Code and Bankruptcy Rules.

    11. At least ten (10) days before implementing any increases in WALSH PIZZI O’REILLY
        FALANGA LLP’s rates for professionals in this case, WALSH PIZZI O’REILLY
        FALANGA LLP shall file a supplemental affidavit with the Court explaining the basis
        for the rate increases in accordance with section 330 of the Bankruptcy Code. All parties
        in interest, including the U.S. Trustee, retain all rights to object to any rate increase on all
        grounds, including the reasonableness standard provided for in section 330 of the
        Bankruptcy Code.

    12. To the extent the Pre-Petition Balance, as determined by agreement of WALSH PIZZI
        O’REILLY FALANGA LLP and the Debtor or by order of the Court in the event an
        objection is raised, is not paid in full, WALSH PIZZI O’REILLY FALANGA LLP shall
        waive any amounts owed in excess of the Allowed Pre-Petition Fee Claim.




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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                     Order Filed on May 18, 2023
         Paul R. DeFilippo, Esq.                                                          by Clerk
         500 Fifth Avenue                                                                 U.S. Bankruptcy Court
                                                                                          District of New Jersey
         New York, New York 10110
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com

         JONES DAY
         Gregory M. Gordon, Esq.
         Brad B. Erens, Esq.
         Dan B. Prieto, Esq.
         Amanda Rush, Esq.
         2727 N. Harwood Street
         Dallas, Texas 75201
         Telephone: (214) 220-3939
         Facsimile: (214) 969-5100
         gmgordon@jonesday.com
         bberens@jonesday.com
         dbprieto@jonesday.com
         asrush@jonesday.com
         (Admitted pro hac vice)
         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                           Chapter 11

         LTL MANAGEMENT LLC, 1                                            Case No.: 23-12825 (MBK)

                                     Debtor.                              Judge: Michael B. Kaplan

                                       ORDER APPOINTING RANDI S. ELLIS
                             AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS
                         The relief set forth on the following pages is hereby ORDERED.




DATED: May 18, 2023




     1




                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.
     NAI-1536798282
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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


                  This matter coming before the Court on the Debtor’s Motion for an Order

 Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants [Dkt. 87]

 (the “Motion”), 2 filed by the debtor in the above-captioned case (the “Debtor”) pursuant to

 sections 524(g)(4)(B) and 105(a) of the Bankruptcy Code; the Court having reviewed the

 Motion, the objections filed by the Official Committee of Talc Claimants [Dkt. 311], Paul

 Crouch [Dkt. 318], Maune Raichle Hartley French & Mudd, LLC [Dkt. 320], and the United

 States Trustee [Dkt. 321] (collectively, the “Objections”), the supplemental declaration

 [Dkt. 354] and amended supplemental declaration filed by Ms. Ellis [Dkt. 415], the Debtor’s

 reply in support of the Motion [Dkt. 355] and the responses to Ms. Ellis’ amended supplemental

 declaration filed by the Official Committee of Talc Claimants [Dkt. 436] and Maune Raichle

 Hartley French & Mudd, LLC [Dkt. 438], and having heard the statements of counsel and

 considered the evidence presented with respect to the Motion at a hearing before the Court on

 May 3, 2023 (the “Hearing”); the Court finding that (i) the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Standing Order of Reference, (ii) venue is

 proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding

 pursuant to 28 U.S.C. § 157(b), (iv) notice of the Motion and the Hearing was sufficient under

 the circumstances and (v) the relief requested in the Motion is in the best interests of the Debtor,

 its estate and its creditors; and after due deliberation and for the reasons set forth by the Court on

 the record during the May 9, 2023 hearing, the Court having overruled the Objections and



 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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 determined that the legal and factual bases set forth in the Motion and at the Hearing establish

 just cause for the relief granted herein;

                  IT IS HEREBY ORDERED THAT:

                  1.      The Motion is GRANTED to the extent set forth herein.

                  2.      Pursuant to sections 524(g)(4)(B)(i) and 105(a) of the Bankruptcy Code,

 Randi S. Ellis is hereby appointed as the Future Claimants’ Representative to represent and

 protect the rights of, absent further order of the Court, natural persons or the representatives of

 estates of natural persons, including those in Canada or in the United States, that may assert a

 demand for payment, present or future, that: (a) is not a claim during the proceedings prior to the

 entry of an order confirming a plan of reorganization (the “Plan”), because such natural person

 was diagnosed with disease after such time; and (b) arises out of the same or similar conduct or

 events that gave rise to the claims to be addressed by an injunction issued to enjoin entities from

 taking legal action for the purpose of directly or indirectly collecting, recovering or receiving

 payment or recovery with respect to any claim or demand that, under the Plan, is to be paid in

 whole or in part by a trust established pursuant to section 524(g)(2)(B)(i) and/or 105(a) of the

 Bankruptcy Code (collectively, the “Future Claimants”). The Future Claimants’ Representative

 shall represent the interests of, appear and act on behalf of, and be a fiduciary to Future

 Claimants to protect the rights and interests of such Future Claimants and shall be entitled to

 compensation in connection therewith from the date of the filing of the Motion. Ms. Ellis will

 have no other obligations except those that may be prescribed by orders of the Court and

 accepted by Ms. Ellis.


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                  3.    The Future Claimants’ Representative shall be a party in interest in this

 Chapter 11 Case and shall have standing under section 1109(b) of the Bankruptcy Code to be

 heard on any issue in this case in the Bankruptcy Court, the District Court or any other court

 affecting the rights of Future Claimants. The Future Claimants’ Representative shall have the

 powers and duties of a committee set forth in section 1103 of the Bankruptcy Code as are

 appropriate for a Future Claimants’ Representative.

                  4.    In her role as the Future Claimants’ Representative, Ms. Ellis may employ

 attorneys and other professionals consistent with sections 105, 327, and 1103 of the Bankruptcy

 Code, subject to prior approval of this Court, and such attorneys and other professionals shall be

 subject to the terms of any Interim Compensation Order.

                  5.    Compensation, including professional fees and reimbursement of actual

 and necessary expenses, shall be payable to Ms. Ellis and her professionals from the Debtor’s

 estate, as appropriate, subject to approval of this Court, and in accordance with the terms,

 conditions and procedures set forth in the Interim Compensation Order. In her role as the Future

 Claimants’ Representative, Ms. Ellis shall be compensated at the rate of $1,015 per hour, subject

 to periodic adjustment (usually on January 1 of each year) in the ordinary course of her business,

 plus reimbursement of actual, reasonable and documented out-of-pocket expenses.

                  6.    The Future Claimants’ Representative shall not be liable for any damages,

 or have any obligation other than as prescribed by order of the Court; provided, however, that the

 Future Claimants’ Representative may be liable for damages caused by willful misconduct or

 gross negligence. The Future Claimants’ Representative shall not be liable to any person as a


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 result of any action or omission taken or made in good faith. The Debtor shall indemnify,

 defend, and hold harmless Ms. Ellis, her employees and professionals (individually

 an “Indemnified Party”) from all claims against any of them, and all losses, claims, damages or

 liabilities (or actions in respect thereof) to which any of them may become subject, as a result of

 or in connection with such party rendering services pursuant to this Order or to the Future

 Claimants’ Representative, unless and until it is finally judicially determined that such losses,

 claims, damages or liabilities were caused by willful misconduct or gross negligence on the part

 of such Indemnified Party. If before the earlier of (i) the entry of an order confirming a plan of

 reorganization in this case, and such order having become final and no longer subject to appeal,

 and (ii) the entry of an order closing this Chapter 11 Case, an Indemnified Party believes that he,

 she or it is entitled to payment of any amount by the Debtor on account of the Debtor’s

 obligations to indemnify, defend and hold harmless as set forth herein, including, without

 limitation, the advancement of defense costs, the Indemnified Party must file an application for

 such amounts with the Court, and the Debtor may not pay any such amounts to the Indemnified

 Party before the entry of an order by the Court authorizing such payments. The preceding

 sentence is intended to specify the period of time during which the Court has jurisdiction over

 the Debtor’s obligations to indemnify, defend and hold harmless as set forth herein, and is not a

 limitation on the duration of the Debtor’s obligation to indemnify any Indemnified Party. In the

 event that a cause of action is asserted against any Indemnified Party arising out of or relating to

 the performance of his, her or its duties pursuant to this Order or to the Future Claimants’

 Representative, the Indemnified Party shall have the right to choose his, her or its own counsel.


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 For the avoidance of doubt, gross negligence, willful misconduct, bad faith or fraud on the part

 of one Indemnified Party shall not preclude indemnification for the other Indemnified Parties.

 Any such indemnification shall be an allowed administrative expense under section 503(b) of the

 Bankruptcy Code and shall be paid upon application to and approval of this Court.

                  7.    Ms. Ellis and any Court-approved counsel retained by Ms. Ellis in her role

 as Future Claimants’ Representative shall be deemed members of the “Core Service List” (or

 equivalent thereof) for purposes of any Case Management Procedures.

                  8.    Unless otherwise ordered by this Court or as provided for in any

 confirmed plan of reorganization, Ms. Ellis’ appointment as Future Claimants’ Representative

 shall terminate upon the effective date of a plan of reorganization in this Chapter 11 Case or

 otherwise by written resignation or incapacity to serve.

                  9.    The Debtor shall pay the Future Claimants’ Representative Liability

 Insurance, the cost of which is expected to be approximately $100,000 per year without further

 Court approval.

                  10.   The requirement set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

                  11.   The Debtor is hereby authorized to take all actions it deems necessary to

 effectuate the relief granted in this Order.

                  12.   This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation and/or enforcement of this Order.


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                                    EXHIBIT C

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                                                      Three Gateway Center
                                                      100 Mulberry Street, 15th Floor
Telephone: (973) 757-1100                             Newark, NJ 07102                              Fax: (973) 757-1090
                                                      Federal Tax I.D. No.: XX-XXXXXXX




       Randi S. Ellis, Legal Representative for Future Talc Claimants                            June 06, 2023
       United States Bankruptcy Court                                                            Client:       001737
       District of New Jersey                                                                    Matter:       000001
       402 East State Street                                                                     Invoice #:     20496
       Trenton, NJ 08608                                                                         Resp. Atty:     LMW
                                                                                                 Page:              1

       RE: In Re: LTL Management, LLC
           Case No.: 23-12825-MBK
           Judge: Michael B. Kaplan
           Chapter: 11


       For Professional Services Rendered Through May 31, 2023


SERVICES


Date          TMK      Task           Description of Services                            Hours       Rate     Amount
4/5/2023      CIG      B200           REVIEW FIRST DAY FILINGS (1.6);                      3.1    $520.00   $1,612.00
                                      CORRESPOND WITH WALSH TEAM AND
                                      FCR REGARDING FIRST DAY FILINGS (.3);
                                      REVIEW DEBTOR'S NOTICE OF INTENT
                                      REGARDING APPEALS (.1); REVIEW
                                      DEBTOR'S APPLICATION TO APPOINT EPIQ
                                      (.1); REVIEW DEBTOR'S MOTION TO ACT
                                      AS FOREIGN REPRESENTATIVE FOR
                                      DEBTOR'S ESTATE (.1); REVIEW DEBTOR'S
                                      MOTION APPROVING BANK ACCOUNTS
                                      AND AUTHORIZING BANK (.1); REVIEW
                                      DEBTOR'S MOTION EXTENDING TIME TO
                                      FILE SCHEDULES AND FINANCIAL
                                      STATEMENT (.1); REVIEW DEBTOR'S
                                      APPLICATION FOR EXPEDITED
                                      CONSIDERATION OF FIRST DAY MATTERS
                                      (.2); REVIEW COURT ORDER ON
                                      EXPEDITED CONSIDERATION OF FIRST
                                      DAY MATTERS (.1); REVIEW SUMMARY OF
                                      RECENT FILINGS FOR FCR (.2);
                                      CORRESPOND WITH FCR AND WALSH
                                      TEAM REGARDING REAPPOINTMENT OF
                                      FCR (.2); REVIEW EX PARTE TRO (.1).
4/5/2023      CIG      B140           CORRESPOND WITH FCR AND BRG                          0.4    $520.00     $208.00
                                      REGARDING NEW PETITION AND NEXT
                                      STEPS (.1); TELEPHONE CALL WITH FCR
                                      AND BRG REGARDING NEW PETITION AND
                                      STATUS (.3).
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SERVICES


Date          TMK    Task        Description of Services                   Hours        Rate      Amount
4/5/2023      CIG    B180        REVIEW OF MR'S OBJECTION TO                 0.6     $520.00      $312.00
                                 FEBRUARY FEE APPLICATIONS OF WALSH,
                                 ELLIS AND BRG (.4); CORRESPOND WITH
                                 WALSH TEAM AND FCR REGARDING
                                 RESPONSE TO MR'S OBJECTION (.2).
4/5/2023      LMW    B200        ANALYZE NOTICE OF DEBTOR'S INTENT           0.9     $905.00      $814.50
                                 REGARDING APPEALS (.1); JUDGE SHIPP’S
                                 TEXT ORDER TERMINATING STATES’
                                 ADVERSARY PROCEEDING (.1); DEBTOR'S
                                 APPLICATION TO APPOINT EPIQ (.1);
                                 DEBTOR'S MOTION TO ACT AS FOREIGN
                                 REPRESENTATIVE FOR DEBTOR'S ESTATE
                                 (.1); DEBTOR'S MOTION APPROVING BANK
                                 ACCOUNTS AND AUTHORIZING BANK (.1);
                                 DEBTOR'S MOTION EXTENDING TIME TO
                                 FILE SCHEDULES AND FINANCIAL
                                 STATEMENT (.1); DEBTOR'S APPLICATION
                                 FOR EXPEDITED CONSIDERATION OF
                                 FIRST DAY MATTERS (.1); KAPLAN ORDER
                                 ON EXPEDITED CONSIDERATION OF FIRST
                                 DAY MATTERS (.1); EX PARTE TEMPORARY
                                 RESTRAINING ORDER (.1).
4/5/2023      LMW    B200        ATTEND INTERNAL AND CLIENT MEETINGS         3.3     $905.00     $2,986.50
                                 RE DEBTOR'S MOTION FOR FCR
                                 APPOINTMENT.
4/5/2023      LMW    B180        REVIEW MRHFM’S OBJECTION TO                 0.5     $905.00      $452.50
                                 FEBRUARY 2023 FEE APPLICATIONS OF
                                 FCR AND PROFESSIONALS.
4/5/2023      SVF    B140        ATTEND TO DEBTOR MOTION TO                  3.3     $695.00     $2,293.50
                                 REAPPOINT FCR AND RELATED ISSUES
                                 AND RECENT PLEADINGS (.8);
                                 COMMUNICATE FCR, L. WALSH
                                 REGARDING MOTION TO REAPPOINT FCR
                                 (2.1).
4/5/2023      FWY    B140        ANALYZE BANKRUPTCY AND THIRD                1.3     $405.00      $526.50
                                 CIRCUIT DOCKETS AND FILINGS (0.7);
                                 PREPARE SUMMARY OF RECENT FILINGS
                                 FOR CLIENT AND WALSH TEAM (0.6).
4/6/2023      CIG    B180        ADDITIONAL REVIEW OF MR'S OBJECTION         0.9     $520.00      $468.00
                                 TO FEBRUARY FEE APPLICATIONS OF
                                 WALSH, ELLIS AND BRG (.2); CORRESPOND
                                 WITH FCR, L. WALSH, S. FALANGA, AND M.
                                 FALK REGARDING DRAFT RESPONSE TO
                                 MR'S OBJECTION AND STRATEGY FOR
                                 REVISIONS TO DRAFT (.4); REVISE DRAT
                                 RESPONSE TO MR'S OBJECTIONS (.2);
                                 CORRESPOND WITH BRG REGARDING
                                 MR'S OBJECTION AND LETTER RESPONSE
                                 (.1).
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Date          TMK    Task        Description of Services                   Hours        Rate      Amount
4/6/2023      CIG    B140        ATTEND WALSH TEAM MEETING                   0.5     $520.00      $260.00
                                 REGARDING CASE STATUS.
4/6/2023      CIG    B140        REVIEW DAILY DOCKET FILINGS (.2);           0.3     $520.00      $156.00
                                 REVIEW DRAFT SUMMARY OF DAILY
                                 DOCKET FILINGS FOR FCR (.1).
4/6/2023      CIG    B200        REVIEW DRAFT OF DEBTOR'S MOTION TO          0.5     $520.00      $260.00
                                 APPOINT R. ELLIS AS FCR (.4);
                                 CORRESPOND WITH R. ELLIS AND S.
                                 FALANGA, AND L. WALSH REGARDING
                                 DRAFT MOTION TO APPOINT FCR (.1).
4/6/2023      CIG    B140        REVIEW DAILY DOCKET FILINGS (.1);           0.2     $520.00      $104.00
                                 REVIEW DRAFT SUMMARY OF RECENT
                                 FILINGS FOR FCR.
4/6/2023      LMW    B180        ATTEND TO CT OBJECTIONS TO FEE              1.5     $905.00     $1,357.50
                                 APPLICATIONS.
4/6/2023      LMW    B180        REVIEW DRAFT RESPONSE TO MRHFM’S            1.5     $905.00     $1,357.50
                                 OBJECTION TO FEBRUARY 2023 FEE
                                 APPLICATIONS OF FCR AND
                                 PROFESSIONALS.
4/6/2023      SVF    B140        REVIEW DEBTOR MOTION FOR                    1.4     $695.00      $973.00
                                 REAPPOINTMENT OF FCR (1.1);
                                 COMMUNICATE FCR AND L. WALSH
                                 REGARDING MOTION FOR
                                 REAPPOINTMENT OF FCR (.3).
4/6/2023      SVF    B180        ANALYZE MAUNE RAICHLE FEE                   2.1     $695.00     $1,459.50
                                 OBJECTION AND RELATED ISSUES (1.1);
                                 COMMUNICATE FCR REGARDING SAME
                                 (.3); REVIEW AND REVISE DRAFT
                                 RESPONSE TO OBJECTION (.7).
4/6/2023      FWY    B140        ANALYZE RECENT BANKRUPTCY AND               0.9     $405.00      $364.50
                                 THIRD CIRCUIT DOCKETS AND FILINGS
                                 (0.5); PREPARE SUMMARY FOR CLIENT
                                 AND WALSH TEAM (0.4).
4/6/2023      JKF    B180        ANALYZE OBJECTION TO FEE APP.               0.3     $375.00      $112.50
4/6/2023      JKF    B140        ATTEND WALSH WEEKLY TEAM CALL.              0.5     $375.00      $187.50
4/6/2023      JKF    B170        CONFER WITH B. TROYAN REGARDING             0.2     $375.00       $75.00
                                 RETENTION APPLICATION.
4/6/2023      BET    B180        REVIEW DOCKET SHEET TO ASSIST IN            0.3     $210.00       $63.00
                                 PREPARATION OF FCR’S DRAFT
                                 RESPONSE TO MAUNE RAICHLE
                                 OBJECTION TO FCR, WALSH AND BRG'S
                                 FEE APPLICATIONS.
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SERVICES


Date          TMK    Task        Description of Services                   Hours        Rate      Amount
4/6/2023      BET    B170        DRAFT APPLICATION FOR RETENTION OF          3.5     $210.00      $735.00
                                 WALSH PIZZI O'REILLY FALANGA LLP,
                                 SUPPORTING CERTIFICATION OF MARK
                                 FALK AND PROPOSED ORDER (LTL II).
4/6/2023      BET    B180        FINALIZE AND ELECTRONICALLY FILE            0.2     $210.00       $42.00
                                 LETTER TO JUDGE KAPLAN RESPONDING
                                 TO MR'S OBJECTIONS TO FCR, WPOF AND
                                 BRG'S FEBRUARY FEE APPLICATIONS.
4/7/2023      CIG    B140        REVIEW SUMMARY FOR FCR OF DOCKET            0.1     $520.00       $52.00
                                 REVIEW AND NEW FILINGS.
4/7/2023      LMW    B200        REVIEW DEBTOR'S MOTION FOR FCR              0.6     $905.00      $543.00
                                 APPOINTMENT.
4/7/2023      SVF    B140        REVIEW REAPPOINTMENT MOTION (1.6);          2.4     $695.00     $1,668.00
                                 COMMUNICATE FCR, DEBTOR COUNSEL
                                 AND L. WALSH THROUGHOUT THE DAY
                                 REGARDING REAPPOINTMENT MOTION
                                 (.8).
4/7/2023      FWY    B140        ANALYZE BANKRUPTCY AND THIRD                0.3     $405.00      $121.50
                                 CIRCUIT DOCKETS AND FILINGS (0.2);
                                 PREPARE SUMMARY OF RECENT FILINGS
                                 FOR CLIENT AND WALSH TEAM (0.1).
4/8/2023      CIG    B140        REVIEW US TRUSTEE COMMITTEE                 0.4     $520.00      $208.00
                                 QUESTIONNAIRE (.1); CORRESPOND WITH
                                 FCR REGARDING US TRUSTEE
                                 COMMITTEE QUESTIONNAIRE (.1);
                                 CORRESPOND WITH R. ELLIS AND S.
                                 FALANGA REGARDING MOTION TO
                                 APPOINT R. ELLIS (.2).
4/8/2023      CIG    B140        ANALYZE INFORMATION FOR R. ELLIS            0.5     $520.00      $260.00
                                 CERTIFICATION IN SUPPORT OF MOTION
                                 FOR APPOINTMENT OF FCR (.3); CONFER
                                 WITH S. FALANGA REGARDING
                                 INFORMATION FOR R. ELLIS
                                 CERTIFICATION IN SUPPORT OF MOTION
                                 FOR APPOINTMENT OF FCR (.2).
4/8/2023      LMW    B200        ADDITIONAL REVIEW DEBTOR'S MOTION           0.1     $905.00       $90.50
                                 FOR FCR APPOINTMENT.
4/8/2023      LMW    B200        REVIEW COMMITTEE QUESTIONNAIRE              0.1     $905.00       $90.50
                                 FROM THE US TRUSTEE’S OFFICE.
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                                                                                Invoice #:       20496
                                                                                Resp. Atty:       LMW
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SERVICES


Date        TMK   Task        Description of Services                   Hours        Rate      Amount
4/10/2023   CIG   B200        REVIEW DAILY DOCKET FILINGS (.6);           1.1     $520.00      $572.00
                              REVIEW DRAFT SUMMARY OF DAILY
                              DOCKET FILINGS FOR FCR (.2);
                              CORRESPONDENCE WITH S. FALANGA
                              AND R. ELLIS REGARDING DEBTOR'S
                              MOTION TO APPOINT R. ELLIS AS FCR AND
                              ELLIS CERTIFICATION (.1); CORRESPOND
                              WITH S. FALANGA REGARDING MOTION TO
                              APPOINT FCR (.1); CORRESPOND WITH S.
                              FALANGA AND R. ELLIS REGARDING
                              DEBTOR'S LETTER RESPONDING TO MR'S
                              OBJECTION TO FCR FEBRUARY FEE
                              APPLICATIONS AND MR'S RESPONSE TO
                              DEBTOR'S LETTER (.1).
4/10/2023   LMW   B200        REVIEW DEBTOR'S MOTION FOR AN               0.1     $905.00       $90.50
                              ORDER APPOINTING RANDI ELLIS AS
                              LEGAL REPRESENTATIVE FOR FUTURE
                              TALC CLAIMANTS.
4/10/2023   LMW   B200        REVIEW AND ANALYZE VALDEZ MOTION            0.9     $905.00      $814.50
                              FOR RELIEF FROM STAY (.1); VALDEZ
                              APPLICATION FOR ORDER TO SHORTEN
                              TIME (.1); MESO CLAIMANTS’ OPPOSITION
                              TO DEBTOR'S MOTION TO FILE LIST OF
                              TOP LAW FIRMS (.1); VALADEZ’ MOTION TO
                              SHORTEN TIME TO HEAR RELIEF FROM
                              STAY (.1); WALLMUTH FIRM (DEBTOR)
                              RESPONSE TO MAUNE RAICHLE LETTER
                              (.1); MAUNE RAICHLE REPLY LETTER (.1);
                              AD HOC COMMITTEE'S INFORMATIONAL
                              BRIEF (.1); LITE DEPALMA VERIFIED
                              STATEMENT UNDER RULE 2019 (.1);
                              MAUNE RAICHLE’S STATEMENT AGAINST
                              SECOND BANKRUPTCY AND JOINDER OF
                              AD HOC COMMITTEE'S INFORMATIONAL
                              BRIEF (.1).
4/10/2023   SVF   B200        ATTEND TO MOTION TO REAPPOINT FCR           1.3     $695.00      $903.50
                              (1.3).
4/10/2023   SVF   B180        REVIEW MAUNE RACHLE FEE OBJECTION           0.3     $695.00      $208.50
                              AND DEBTOR RESPONSE.
4/10/2023   FWY   B140        ANALYZE RECENT BANKRUPTCY AND               3.7     $405.00     $1,498.50
                              THIRD CIRCUIT DOCKETS AND FILINGS
                              (2.8); PREPARE SUMMAY OF DAILY
                              DOCKET FILINGS FOR CLIENT AND WALSH
                              TEAM (0.9).
4/10/2023   JKF   B170        ANALYZE ISSUES RELATED TO                   0.2     $375.00       $75.00
                              APPLICATION FOR RETENTION.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                   805-4 Filed
                                            Filed06/16/23
                                                  08/17/23 Entered
                                                             Entered06/16/23
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                       Exhibit C - Time
                                     Exhibit
                                        andBExpense
                                                 Page 28  of 194 Page 7 of 46 June 06, 2023
                                                       Invoice
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SERVICES


Date        TMK   Task        Description of Services                   Hours        Rate      Amount
4/10/2023   BET   B170        CONTINUE DRAFTING CERTIFICATION OF          0.7     $210.00      $147.00
                              MARK FALK IN SUPPORT OF APPLICATION
                              FOR RETENTION OF WALSH PIZZI O'REILLY
                              FALANGA LLP (LTL II).
4/11/2023   CIG   B140        ANALYZE DAILY FILINGS (.3); REVIEW          0.9     $520.00      $468.00
                              SUMMARY OF FILINGS FOR FCR (.1);
                              REVIEW SUMMARY OF COURT HEARING
                              (.5).
4/11/2023   LMW   B140        ATTEND HEARING BEFORE JUDGE KAPLAN          6.2     $905.00     $5,611.00
                              VIA ZOOM (5.9); CONFERENCE WITH S.
                              FALANGA REGARDING HEARING (.3).
4/11/2023   LMW   B200        REVIEW AND ANALYZE AD HOC                   0.5     $905.00      $452.50
                              COMMITTEE'S OBJECTION TO DEBTOR'S
                              FIRST DAY RELIEF (.1); MESO’S JOINDER
                              OPPOSING DEBTOR'S MOTION TO FILE
                              LAW FIRMS (.1); DEBTOR'S MOTION
                              APPOINTING MEDIATORS AND
                              ESTABLISHING PROTOCOLS (.1); DEBTOR'S
                              MOTION TO SHORTEN TIME TO HEAR
                              MOTION ON MEDIATION (.1); MAUNE
                              RAICHLE JOINDER TO AHC'S OBJECTION
                              TO DEBTOR'S FIRST DAY RELIEF (.1).
4/11/2023   SVF   B195        TRAVEL TO TRENTON FOR COURT                 1.4     $347.50      $486.50
                              HEARING.
4/11/2023   SVF   B195        TRAVEL FROM COURT HEARING IN                1.1     $347.50      $382.25
                              TRENTON.
4/11/2023   SVF   B140        ATTEND COURT HEARING ON INITIAL             6.7     $695.00     $4,656.50
                              FIRST DAY MATTERS.
4/11/2023   SVF   B140        CONFERENCE L. WALSH REGARDING               0.3     $695.00      $208.50
                              HEARING STATUS.
4/11/2023   FWY   B140        ANALYZE BANKRUPTCY AND THIRD                1.2     $405.00      $486.00
                              CIRCUIT DOCKETS AND FILINGS (0.8);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.4).
4/11/2023   FWY   B140        ATTEND HEARING BEFORE JUDGE KAPLAN          5.9     $405.00     $2,389.50
                              ON FIRST DAY FILINGS AND OTHER
                              MOTIONS.
4/11/2023   JKF   B140        ANALYZE SUMMARY OF 4/11 COURT               0.3     $375.00      $112.50
                              HEARING.
4/12/2023   CIG   B140        CORRESPOND WITH M. FALK AND L.              0.1     $520.00       $52.00
                              WALSH REGARDING WALSH TEAM
                              WEEKLY CASE STATUS MEETING.
4/12/2023   CIG   B140        REVIEW DRAFT SUMMARY OF DOCKET              0.1     $520.00       $52.00
                              ACTIVITY FOR FCR.
4/12/2023   LMW   B200        REVIEW ORDER PERMITTING DEBTOR TO           0.1     $905.00       $90.50
                              ACT AS FOREIGN REPRESENTATIVE.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                   805-4 Filed
                                            Filed06/16/23
                                                  08/17/23 Entered
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                                                                                Invoice #:     20496
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SERVICES


Date        TMK   Task        Description of Services                   Hours        Rate     Amount
4/12/2023   FWY   B140        ANALYZE BANKRUPTCY AND THIRD                0.6     $405.00     $243.00
                              CIRCUIT DOCKETS AND FILINGS (0.4);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.2).
4/12/2023   BET   B140        REVIEW TRANSCRIPT OF APRIL 11, 2023         0.2     $210.00      $42.00
                              HEARING BEFORE JUDGE KAPLAN.
4/13/2023   CIG   B140        ATTEND WALSH WEEKLY CASE                    0.6     $520.00     $312.00
                              STATUS/STRATEGY MEETING (.5);
                              CORRESPOND WITH R. ELLIS REGARDING
                              CASE STATUS CALL (.1).
4/13/2023   CIG   B140        ANALYZE SUMMARY OF DOCKET FILINGS           0.1     $520.00      $52.00
                              FOR FCR.
4/13/2023   LMW   B140        ATTEND TEAM MEETING.                        0.5     $905.00     $452.50
4/13/2023   LMW   B200        REVIEW ORDER SUSPENDING STANDARD            0.8     $905.00     $724.00
                              NOTICE OF COMMENCEMENT (.1); ORDER
                              GRANTING COMPLEX CHAPTER 11 CASE
                              DESIGNATION (.1); ORDER APPOINTING
                              EPIQ AS CLAIMS AND NOTICING AGENT
                              (.1); ORDER APPROVING CONTINUED USE
                              OF DEBTOR BANK ACCOUNTS (.1); ORDER
                              EXTENDING TIME TO FILE DEBTOR
                              SCHEDULES (.1); ORDER DENYING
                              APPLICATION TO SHORTEN TIME FOR
                              MOTION TO APPOINT RANDI ELLIS (.1);
                              ORDER DENYING APPLICATION TO
                              SHORTEN TIME FOR MOTION FOR
                              MEDIATION PROCEDURE (.1); NOTICE OF
                              FILING OF TOP 30 LAW FIRMS (.1).
4/13/2023   SVF   B140        ATTEND TEAM CASE STATUS CALL.               0.5     $695.00     $347.50
4/13/2023   FWY   B140        ATTEND TEAM CALL REGARDING NEW LTL          0.5     $405.00     $202.50
                              BANKRUPTCY AND UPCOMING HEARINGS.
4/13/2023   FWY   B140        ANALYZE BANKRUPTCY AND THIRD                0.7     $405.00     $283.50
                              CIRCUIT DOCKETS AND FILINGS (0.4);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.3).
4/13/2023   FWY   B200        PREPARE SUMMARY OF TEAM MEETING.            0.1     $405.00      $40.50
4/13/2023   JKF   B140        ATTEND WALSH WEEKLY TEAM MEETING.           0.5     $375.00     $187.50
4/13/2023   BET   B140        ATTEND WEEKLY TEAM CASE                     0.5     $210.00     $105.00
                              STATUS/STRATEGY CALL.
4/14/2023   CIG   B140        REVIEW DRAFT SUMMARY FOR FCR OF             0.1     $520.00      $52.00
                              DOCKET REVIEW AND FILINGS.
4/14/2023   LMW   B140        REVIEW AGENDA FOR HEARING.                  0.1     $905.00      $90.50
4/14/2023   SVF   B140        COMMUNICATE FCR AND L. WALSH                0.3     $695.00     $208.50
                              REGARDING CASE ISSUES.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                   805-4 Filed
                                            Filed06/16/23
                                                  08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                   Hours        Rate      Amount
4/14/2023   MF    B200        MEETINGS WITH CLIENT AND LIZA WALSH;        2.6     $960.00     $2,496.00
                              REVIEW AND ANALYZE DIFFERENT
                              PARTIES POSITIONS ON REAPPOINTMENT
                              OF FCR INCLUDING SUBPOENAS AND
                              DISCOVERY REQUESTS AND OTHER
                              PAPERS.
4/14/2023   FWY   B140        ANALYZE DAILY BANKRUPTCY AND THIRD          0.7     $405.00      $283.50
                              CIRCUIT DOCKETS AND FILINGS (0.4);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.3).
4/14/2023   FWY   B140        ANALYZE NEW LTL DOCKET FOR HEARING          0.2     $405.00       $81.00
                              DATES AND MOTION RESPONSE DATES TO
                              MOTIONS.
4/14/2023   BET   B140        CORRESPONDENCE FROM J&J COURT               0.2     $210.00       $42.00
                              TRANSCRIBERS REGARDING COURT
                              HEARING TRANSCRIPTS (.1); PREPARE
                              RESPONSE TO J&J COURT TRANSCRIBERS
                              (.1).
4/16/2023   CIG   B140        REVIEW RECENT FILINGS (.1); REVIEW          0.2     $520.00      $104.00
                              SUMMARY OF FILINGS FOR R. ELLIS (.1).
4/16/2023   LMW   B140        REVIEW US TRUSTEE’S NOTICE OF               0.1     $905.00       $90.50
                              APPOINTMENT OF TCC.
4/16/2023   FWY   B140        ANALYZE BANKRUPTCY AND THIRD                0.3     $405.00      $121.50
                              CIRCUIT DOCKETS AND FILINGS (0.2);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.1).
4/17/2023   CIG   B140        REVIEW DAILY FILINGS (.3); REVIEW           0.4     $520.00      $208.00
                              DRAFT SUMMARY OF FILINGS FOR R. ELLIS
                              (.1).
4/17/2023   LMW   B200        REVIEW AND ANALYZE REPLY TO                 0.4     $905.00      $362.00
                              DEBTOR'S OBJECTIONS TO VALADEZ
                              MOTION FOR STAY RELIEF (.1); DEBTOR'S
                              NOTICE OF FILING OF LIST OF CREDITORS
                              (.1); DEBTOR'S OBJECTION TO MOTION
                              SEEKING RELIEF FROM AUTO STAY, TRO,
                              INJUNCTION (.1); NOTICE OF AGENDA FOR
                              APRIL 18 HEARING (.1).
4/17/2023   SVF   B140        TELECONFERENCE R. ELLIS REGARDING           0.2     $695.00      $139.00
                              STATUS AND UPCOMING HEARING.
4/17/2023   SVF   B200        REVIEW RECENT BANKRUPTCY                    0.7     $695.00      $486.50
                              PLEADINGS FILED IN CONNECTION WITH
                              STAY RELIEF AND PI ADVERSARY
                              PROCEEDING.
4/17/2023   FWY   B140        ANALYZE BANKRUPTCY AND THIRD                1.4     $405.00      $567.00
                              CIRCUIT DOCKETS AND FILINGS (0.9);
                              PREPARE SUMMARY OF RECENT FILINGS
                              FOR CLIENT AND WALSH TEAM (0.5).
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/18/2023   CIG   B140        ATTEND TO DAILY DOCKET FILINGS (.2);        0.3     $520.00      $156.00
                              REVIEW SUMMARY OF FILINGS FOR FCR
                              (.1).
4/18/2023   LMW   B200        REVIEW AND ANALYZE MESO'S JOINDER           0.2     $905.00      $181.00
                              TO US TRUSTEE'S OBJECTION TO MOTION
                              FOR STAY, TRO, AND INJUNCTION (.1);
                              MESO'S JOINDER TO OCTC'S OBJECTION
                              TO DEBTOR'S MOTION FOR STAY, TRO,
                              AND INJUNCTION (.1).
4/18/2023   LMW   B140        ATTEND ALL DAY HEARING IN LTL2.             9.0     $905.00     $8,145.00
4/18/2023   SVF   B140        ATTEND PART OF COURT HEARING ON             5.5     $695.00     $3,822.50
                              NEW FILING VIA ZOOM.
4/18/2023   MF    B140        ATTEND TO JUDGE KAPLAN'S ARGUMENTS          7.4     $960.00     $7,104.00
                              ON THE SECOND LTL BANKRUPTCY
                              MATTER.
4/18/2023   FWY   B200        ANALYZE DAILY BANKRUPTCY DOCKETS            0.6     $405.00      $243.00
                              AND FILINGS (0.4); PREPARE SUMMARY OF
                              DAILY FILINGS FOR CLIENT AND WALSH
                              TEAM (0.2).
4/19/2023   CIG   B140        CORRESPOND WITH FCR TEAM                    0.1     $520.00       $52.00
                              REGARDING CASE STATUS.
4/19/2023   CIG   B170        CORRESPOND WITH COUNSEL FOR J&J             0.2     $520.00      $104.00
                              REGARD BILLING INFORMATION.
4/19/2023   CIG   B140        ANALYZE DAILY FILINGS (.1); REVIEW          0.2     $520.00      $104.00
                              SUMMARY OF FILINGS FOR R. ELLIS (.1).
4/19/2023   LMW   B200        REVIEW NOTICE OF COMMENCEMENT OF            0.2     $905.00      $181.00
                              CHAPTER 11 CASE (.1); ORDER
                              AUTHORIZING DEBTOR TO FILE LIST OF
                              LAW FIRMS (.1).
4/19/2023   SVF   B140        CONFERENCE L. WALSH REGARIDNG               0.2     $695.00      $139.00
                              CASE ISSUES.
4/19/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              0.7     $405.00      $283.50
                              RECENT FILINGS (0.4); PREPARE
                              SUMMARY FOR CLIENT AND WALSH TEAM
                              (0.3).
4/20/2023   CIG   B140        CORRESPOND WITH FCR REGARDING               0.1     $520.00       $52.00
                              CASE STATUS.
4/20/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS (.3);           0.5     $520.00      $260.00
                              REVIEW AND REVISE SUMMARY OF
                              FILINGS FOR R. ELLIS (.1); REVIEW
                              SUMMARY OF COURT DECISION (.1).
4/20/2023   LMW   B200        ATTEND HEARING (DECISION).                  0.7     $905.00      $633.50
4/20/2023   LMW   B200        ATTEND CALL WITH RANDI ELLIS.               0.3     $905.00      $271.50
        Case
        Case23-12825-MBK
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                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate     Amount
4/20/2023   LMW   B200        REVIEW DEBTOR'S MOTION TO SCHEDULE          0.6     $905.00     $543.00
                              APPROVAL OF DISCLOSURE STATEMENT
                              (.1); APPLICATION FOR ORDER
                              SHORTENING TIME (.1); BERGERON
                              JOINDER-OBJECTION TO DEBTOR'S
                              MOTION FOR STAY, INJUNCTION, TRO (.1);
                              TCC'S OBJECTION TO DEBTOR'S
                              APPLICATION TO SHORTEN TIME (.1); AD
                              HOC COMMITTEE'S INITIAL STATEMENT
                              SUPPORTING TALC CLAIMANTS (.1); OCC'S
                              OBJECTION TO DEBTOR'S APPLICATION
                              TO SHORTEN TIME (.1).
4/20/2023   SVF   B140        ATTEND COURT HEARING.                       0.7     $695.00     $486.50
4/20/2023   SVF   B140        COMMUNICATE FCR AND L. WALSH                0.2     $695.00     $139.00
                              REGARDING HEARING.
4/20/2023   MF    B200        ATTEND HEARING ON JUDGE KAPLANS             0.7     $960.00     $672.00
                              DECISION ON PI AND STAY.
4/20/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              1.4     $405.00     $567.00
                              RECENT FILINGS (0.9); PREPARE
                              SUMMARY OF RECENT FILINGS FOR
                              CLIENT AND WALSH TEAM (0.5).
4/20/2023   FWY   B200        ATTEND HEARING ON COURT'S RULING AS         0.7     $405.00     $283.50
                              TO MOTION FOR PRELIMINARY
                              INJUNCTION.
4/20/2023   BET   B140        ATTEND TO TRANSCRIPT OF APRIL 18,           0.1     $210.00      $21.00
                              2023 HEARING BEFORE JUDGE KAPLAN.
4/21/2023   CIG   B140        CORRESPOND WITH L. WALSH                    0.1     $520.00      $52.00
                              REGARDING COURT APPOINTED
                              MEDIATOR.
4/21/2023   CIG   B140        ANALYZE DAILY FIINGS (.1); REVIEW           0.2     $520.00     $104.00
                              SUMMARY OF FILINGS FOR R. ELLIS (.1).
4/21/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              0.5     $405.00     $202.50
                              RECENT FILINGS (0.3); PREPARE
                              SUMMARY OF FILINGS FOR CLIENT AND
                              WALSH TEAM (0.2).
4/21/2023   BET   B140        REVIEW REVISED TRANSCRIPT OF                0.4     $210.00      $84.00
                              HEARING HELD BEFORE JUDGE KAPLAN
                              ON APRIL 18, 2023 (.1); REVIEW
                              TRANSCRIPT OF RULING MADE BY JUDGE
                              KAPLAN ON APRIL 20, 2023 (.1); REVIEW
                              AND PROCESS FOR PAYMENT INVOICE
                              FROM J&J COURT TRANSCRIBERS FOR
                              APRIL TRANSCRIPTS (.2).
4/23/2023   CIG   B140        REVIEW DRAFT SUMMARY FOR FCR OF             0.1     $520.00      $52.00
                              RECENT FILINGS.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/23/2023   LMW   B200        REVIEW VALADEZ PROPOSED ORDER ON            0.1     $905.00       $90.50
                              STAY RELIEF.
4/23/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              0.5     $405.00      $202.50
                              RECENT FILINGS (0.3); PREPARE
                              SUMMARY OF RECENT FILINGS FOR
                              CLIENT AND WALSH TEAM (0.2).
4/24/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING TCC'S        0.7     $520.00      $364.00
                              MOTION TO DISMISS AND RELATED
                              SEALING MOTION (.6); REVIEW DRAFT
                              SUMMARY OF DAILY FILINGS FOR FCR (.1).
4/24/2023   LMW   B200        ATTEND TO OCTC’S MOTION TO DISMISS          0.2     $905.00      $181.00
                              BANKRUPTCY (.1); OCTC'S MOTION TO
                              SEAL (.1).
4/24/2023   LMW   B140        ATTEND TO PROPOSED SCHEDULING               0.1     $905.00       $90.50
                              ORDER.
4/24/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              1.6     $405.00      $648.00
                              RECENT DOCKET FILINGS (1.1); PREPARE
                              SUMMARY OF FILINGS FOR CLIENT AND
                              WALSH TEAM (0.5).
4/25/2023   CIG   B140        ANALYZE DAILY DOCKET FILINGS (.1);          0.2     $520.00      $104.00
                              REVIEW DRAFT SUMMARY OF FILINGS FOR
                              R. ELLIS (.1).
4/25/2023   LMW   B200        ATTEND TO ORDER PARTIALLY GRANTING          0.1     $905.00       $90.50
                              VALADEZ’ MOTION FOR STAY RELIEF.
4/25/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              0.6     $405.00      $243.00
                              RECENT FILINGS (0.4); PREPARE
                              SUMMARY OF FILINGS FOR CLIENT AND
                              WALSH TEAM (0.2).
4/26/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING              0.8     $520.00      $416.00
                              REDACTED OBJECTIONS TO R. ELLIS
                              APPOINTMENT AS FCR (.7); REVISE DRAFT
                              SUMMARY OF DAILY FILINGS FOR FCR (.1).
4/26/2023   CIG   B200        CORRESPONDENCE WITH US TRUSTEE,             0.1     $520.00       $52.00
                              DEBTOR'S COUNSEL AND TCC'S COUNSEL
                              REQUESTING UNREDACTED COPIES OF
                              FILINGS RELATED TO MOTION TO APPOINT
                              FCR.
4/26/2023   CIG   B200        CORRESPOND WITH WALSH TEAM                  0.1     $520.00       $52.00
                              REGARDING RESPONSE TO OBJECTIONS
                              TO MOTION TO APPOINT FCR.
4/26/2023   LMW   B200        ATTEND TO OCTC’S MOTION TO DISMISS          1.3     $905.00     $1,176.50
                              BANKRUPTCY (.1); OCTC'S OBJECTION TO
                              DEBTOR'S MOTION APPOINTING RANDI
                              ELLIS AS FCR (1.1); OCTC’S APPLICATION
                              FOR ORDER SHORTENING TIME (.1).
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/26/2023   SVF   B200        REVIEW OPPOSITION TO REAPPOINTMENT          2.2     $695.00     $1,529.00
                              MOTION AND RELATED PLEADINGS (1.6);
                              COMMUNICATE FCR AND L. WALSH
                              REGARDING COURSE OF ACTION (.4);
                              COMMUNICATE OTHER PARTIES
                              REGARDING UNREACTED PLEADINGS (.2).
4/26/2023   MF    B200        ANALYZE PAPERS IN OPPOSITION TO             2.1     $960.00     $2,016.00
                              MOTION TO REAPPOINT RANDI ELLIS AS
                              FCR IN NEW LTL BANKRUPTCY (1.2);
                              COMMUNICATIONS WITH R. ELLIS AND S.
                              FALANGA AND L. WALSH REGARDING
                              SAME (.4); ANALYSIS ISSUES AND LAW
                              CONCERNING REDACTIONS IN COURT
                              FILINGS (.5).
4/26/2023   FWY   B200        ANALYZE BANKRUPTCY DOCKETS AND              1.9     $405.00      $769.50
                              RECENT FILINGS (1.2); PREPARE
                              SUMMARY OF FILINGS FOR CLIENT AND
                              WALSH TEAM (0.7).
4/27/2023   CIG   B200        REVIEW DRAFT ELLIS DECLARATION IN           1.2     $520.00      $624.00
                              RESPONSE TO OBJECTIONS TO DEBTOR'S
                              MOTION TO REAPPOINT FCR AND DRAFT
                              BILLING EXHIBIT TO DECLARATION (.8);
                              CORRESPOND WITH WALSH TEAM
                              THROUGHOUT THE AY REGARDING DRAFT
                              ELLIS DECLARATION AND EXHIBIT IN
                              RESPONSE TO OBJECTIONS TO
                              REAPPOINTMENT AS FCR (.4).
4/27/2023   CIG   B140        ATTEND WALSH TEAM MEETING.                  0.5     $520.00      $260.00
4/27/2023   CIG   B140        ANALYZE DAILY FILINGS AND                   1.3     $520.00      $676.00
                              UNREDACTED OBJECTIONS TO MOTION
                              TO APPOINT FCR (1.1); REVIEW SUMMARY
                              OF DAILY FILINGS FOR FCR (.2).
4/27/2023   CIG   B140        CORRESPOND WITH WALSH TEAM                  0.2     $520.00      $104.00
                              REGARDING ACCESSING UNREDACTED
                              OBJECTIONS TO DEBTOR'S MOTION TO
                              REAPPOINT FCR (.1); CORRESPOND WITH
                              US TRUSTEE, TCC COUNSEL, AND
                              DEBTOR'S COUNSEL REGARDING ACCESS
                              TO UNREDACTED FILINGS (.1).
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
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Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/27/2023   LMW   B200        REVIEW AND ANALYZE MAUNE RAICHLE’S          2.7     $905.00     $2,443.50
                              OPPOSITION TO DEBTOR'S MOTION TO
                              APPOINT RANDI ELLIS AS FCR (.1); US
                              TRUSTEE’S OPPOSITION TO DEBTOR'S
                              MOTION TO APPOINT RANDI ELLIS AS FCR
                              (.1); US TRUSTEE’S MOTION TO SEAL
                              REDACTED PORTIONS OF OBJECTION (.1);
                              US TRUSTEE’S APPLICATION TO HEAR
                              MOTION TO SEAL ON SHORTENED NOTICE
                              (.1); AHC OF MESO’S MOTION TO CERTIFY
                              DIRECT APPEAL AS TO KAPLAN’S
                              PRELIMINARY INJUNCTION ORDER (.1);
                              WITHDRAWAL OF AHC OF MESO’S MOTION
                              TO CERTIFY DIRECT APPEAL (.1); AHC OF
                              MESO’S MOTION TO DISMISS SECOND
                              BANKRUPTCY (.1) PREPARE RESPONSE
                              (2.0).
4/27/2023   SVF   B140        ATTEND TEAM STATUS CALL.                    0.5     $695.00      $347.50
4/27/2023   SVF   B140        ANALYZE OPPOSITION TO                       3.3     $695.00     $2,293.50
                              REAPPOINTMENT AND REVIEW
                              UNREDACTED PLEADINGS (2.6);
                              CONFERENCES AND CORRESPONDENCE
                              WITH L. WALSH AND FCR REGARDING
                              RESPONSE AND COURSE OF ACTION (.7).
4/27/2023   MF    B200        REVIEW FILINGS REGARDING                    3.2     $960.00     $3,072.00
                              APPOINTMENT OF RANDI ELLIS AS FCR IN
                              LTL 2 (1.9); COMMUNICATIONS WITH
                              COUNSEL REGARDING FCR
                              REAPPOINTMENT (.9); REVIEW AND
                              REVISE CERTIFICATION REGARDING
                              REAPPOINTMENT (.4).
4/27/2023   FWY   B200        ANALYZE BANKRUPTCY DOCKETS AND              1.6     $405.00      $648.00
                              RECENT FILINGS (1.1); PREPARE SUMMAR
                              OF RECENT FILINGS FOR CLIENT AND
                              WALSH TEAM (0.5).
4/27/2023   FWY   B200        ATTEND TEAM STRATEGY CALL                   0.5     $405.00      $202.50
                              REGARDING CASE STATUS AND FCR
                              REAPPOINTMENT.
4/27/2023   FWY   B200        ATTEND PLANNING CALL WITH J.                0.3     $405.00      $121.50
                              FORMICHELLA AND B. TROYAN
                              REGARDING DRAFT REPLY TO DEBTOR'S
                              MOTION TO APPOINT FCR.
4/27/2023   FWY   B200        ANALYZE FILINGS IN PREPARATION FOR          3.6     $405.00     $1,458.00
                              DRAFTING REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
4/27/2023   FWY   B200        FINALIZE APPENDIX A TO REPLY                0.8     $405.00      $324.00
                              SUBMISSION TO DEBTOR'S APPOINTMENT
                              APPLICATION.
        Case
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/27/2023   JKF   B200        ANALYZE OBJECTIONS TO APPOINTMENT           0.2     $375.00       $75.00
                              OF FCR.
4/27/2023   JKF   B200        ANALYZE FILINGS IN PREPARATION FOR          2.0     $375.00      $750.00
                              DRAFTING REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
4/27/2023   JKF   B200        ATTEND WALSH WEEKLY TEAM CALL (.5);         0.6     $375.00      $225.00
                              CALL WITH F. YOOK AND B. TROYAN RE
                              REVIEW OF DOCS (.1).
4/27/2023   JKF   B140        DRAFT SUMMARY OF WALSH WEEKLY               0.1     $375.00       $37.50
                              TEAM MEETING.
4/27/2023   BET   B200        ATTEND WEEKLY TEAM CASE                     0.5     $210.00      $105.00
                              STATUS/STRATEGY CALL.
4/27/2023   BET   B200        ANALYZE FILINGS IN PREPARATION FOR          2.3     $210.00      $483.00
                              DRAFTING REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
4/28/2023   CIG   B200        REVIEW REVISIONS TO DRAFT ELLIS             1.3     $520.00      $676.00
                              DECLARATION WITH EXHIBITS (.6);
                              CORRESPOND WITH R. ELLIS AND WALSH
                              TEAM THROUGHOUT THE DAY
                              CONCERNING DRAFT ELLIS DECLARATION
                              WITH EXHIBITS (.4); REVIEW DEBTOR'S
                              REPLY TO OBJECTIONS TO MOTION TO
                              APPOINT R. ELLIS AS FCR (.3).
4/28/2023   CIG   B140        REVIEW DAILY FILINGS AND SUMMARY OF         0.3     $520.00      $156.00
                              FILINGS FOR FCR.
4/28/2023   LMW   B200        REVIEW MOTION TO APPOINT FCR.               0.1     $905.00       $90.50
4/28/2023   LMW   B200        REVIEW TCC'S LETTER TO KAPLAN               0.2     $905.00      $181.00
                              REQUESTING CONFERENCE ON MOTION
                              TO DISMISS (.1); PAUL CROUCH’S MOTION
                              TO DISMISS BANKRUPTCY (.1).
4/28/2023   SVF   B200        ATTEND TO SUPPLEMENTAL                      4.5     $695.00     $3,127.50
                              DECLARATION PREPARATION (1.4);
                              CONFERENCES FCR AND L. WALSH
                              REGARDING SUPPLEMENTAL
                              DECLARATION (.6); COMMUNICATE
                              DEBTOR COUNSEL REGARDING
                              OPPOSITION (.3); ATTEND TO CLAY
                              THOMPSON'S SUPOENA/REQUEST FOR
                              DOCUMENTS (2.2).
4/28/2023   FWY   B200        TEAMS CALL WITH J. FORMICHELLA AND B.       0.4     $405.00      $162.00
                              TROYAN REGARDING FILINGS FOR DRAFT
                              REPLY TO DEBTOR'S APPOINTMENT
                              APPLICATION.
4/28/2023   FWY   B200        CONTINUE TO ANALYZE FILINGS FOR             0.9     $405.00      $364.50
                              DRAFT REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
        Case
        Case23-12825-MBK
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
4/28/2023   FWY   B200        FINALIZE APPENDIX A TO DRAFT REPLY TO       0.8     $405.00      $324.00
                              DEBTOR'S APPOINTMENT APPLICATION.
4/28/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              1.8     $405.00      $729.00
                              RECENT FILINGS (1.1); PREPARE
                              SUMMARY OF FILINGS FOR CLIENT AND
                              WALSH TEAM (0.7).
4/28/2023   JKF   B200        ANALYZE FILINGS IN PREPARATION FOR          1.6     $375.00      $600.00
                              DRAFTING REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
4/28/2023   JKF   B200        ANALYZE REPLIES ISO MOTION TO               0.4     $375.00      $150.00
                              APPOINT FCR.
4/28/2023   JKF   B200        ANALYZE SUBPOENAS TO R ELLIS.               0.3     $375.00      $112.50
4/28/2023   BET   B200        ANALYZE FILINGS IN PREPARATION FOR          0.6     $210.00      $126.00
                              DRAFTING REPLY TO DEBTOR'S
                              APPOINTMENT APPLICATION.
4/28/2023   BET   B200        FINALIZE AND ELECTRONICALLY FILE            0.6     $210.00      $126.00
                              DECLARATION OF RANDI S. ELLIS IN
                              SUPPORT OF DEBTOR'S MOTION FOR
                              APPOINTMENT AS FCR.
4/29/2023   LMW   B200        PREPARE SUPPLEMEMTATL                       4.4     $905.00     $3,982.00
                              CERTIFICATION (1.5); REVIEW DEBTOR'S
                              REPLY IN SUPPORT OF ITS MOTION FOR
                              AN ORDER APPOINTING RANDI S. ELLIS AS
                              LEGAL REPRESENTATIVE FOR FUTURE
                              TALC CLAIMANTS; SEARCH FOR
                              RESPONSIVE DOCUMENTS (2.9).
4/30/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING MR'S        0.5     $520.00      $260.00
                              MOTION TO DISMISS (.4); REVIEW AND
                              REVISE DRAFT SUMMARY OF FILINGS FOR
                              R. ELLIS (.1).
4/30/2023   LMW   B200        REVIEW SUBPOENA TO RANDI ELLIS FOR          3.7     $905.00     $3,348.50
                              THE PRODUCTION OF DOCUMENTS AND
                              PREPARE PRODUCTION (2.1); SEARCH FOR
                              DOCUMENTS (1.0); CALLS WITH RANDI
                              ELLIS (.7).
4/30/2023   FWY   B140        PREPARE SUMMARY OF TEAM STRATEGY            0.2     $405.00       $81.00
                              CALL.
4/30/2023   FWY   B140        ANALYZE BANKRUPTCY DOCKETS AND              0.9     $405.00      $364.50
                              RECENT FILINGS (0.6); PREPARE
                              SUMMARY OF RECENT FILINGS FOR
                              CLIENT AND WALSH TEAM (0.3).
           Case
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Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/1/2023      CIG    B200        REVIEW SUBPOENA AND RELATED                 0.8     $520.00      $416.00
                                 CORRESPONDENCE SERVED ON R. ELLIS
                                 (.6); CORRESPOND WITH WALSH TEAM
                                 REGARDING SUBPOENA TO R. ELLIS (.1);
                                 CORRESPONDENCE WITH TCC COUNSEL
                                 REGARDING SUBPOENA (.1).
5/1/2023      CIG    B140        REVIEW RECENT FILINGS INCLUDING             0.5     $520.00      $260.00
                                 HEARING AGENDA (.4); REVIEW DRAFT
                                 SUMMARY OF RECENT FILINGS FOR R.
                                 ELLIS (.1).
5/1/2023      LMW    B200        ATTEND CALL WITH RANDI ELLIS                0.5     $905.00      $452.50
                                 REGARDING DISCOVERY REQUESTS.
5/1/2023      LMW    B200        ATTEND CALL WITH MARK FALK                  0.2     $905.00      $181.00
                                 REGARDING SUBPOENA.
5/1/2023      LMW    B200        ATTEND CALL WITH MARK FALK                  0.3     $905.00      $271.50
                                 REGARDING DOCUMENT SEARCH.
5/1/2023      LMW    B200        REVIEW ORDER SHORTENING TIME TO             0.3     $905.00      $271.50
                                 HEAR MOTION TO SEAL (.1); DEBTOR'S
                                 LETTER TO KAPLAN AS TO COMMON
                                 INTEREST PRIVILEGE AND MOTIONS TO
                                 DISMISS (.1); NOTICE OF AGENDA FOR 05
                                 03 2023 HEARING (.1).
5/1/2023      SVF    B140        CONFERENCE L. WALSH REGARDING FCR           0.2     $695.00      $139.00
                                 APPOINTMENT HEARING.
5/1/2023      SVF    B140        COMMUNICATE CLAIMANTS REGARDING             0.2     $695.00      $139.00
                                 SUBPOENA.
5/1/2023      MF     B200        ATTEND TO SUBPOENAS, SEARCH FOR             3.9     $960.00     $3,744.00
                                 DOCUMENTS.
5/1/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               0.9     $405.00      $364.50
                                 DOCKET FILINGS (0.6) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.3).
5/1/2023      JKF    B200        ANALYZE SUBPOENAS TO R ELLIS.               0.3     $375.00      $112.50
           Case
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SERVICES


Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/2/2023      CIG    B200        REVIEW AND PROPOSE REVISIONS TO             2.5     $520.00     $1,300.00
                                 OBJECTIONS AND RESPONSES TO
                                 SUBPOENA TO R. ELLIS (.6); REVIEW
                                 DOCUMENTS FOR PRODUCTION IN
                                 RESPONSE TO SUBPOENA TO R. ELLIS (.7);
                                 CORRESPOND WITH WALSH TEAM
                                 REGARDING SUBPOENA RESPONSE AND
                                 DOCUMENT PRODUCTION (.3);
                                 CORRESPONDENCE TO ALL COUNSEL
                                 REGARDING R. ELLIS RESPONSE TO
                                 SUBPOENA (.1); CORRESPONDENCE WITH
                                 ALL COUNSEL REGARDING JONES DAY
                                 WRITTEN RESPONSE TO SUBPOENA AND
                                 DOCUMENT PRODUCTION (.2); REVIEW
                                 JONES DAY WRITTEN RESPONSE TO
                                 SUBPOENA AND RELATED DOCUMENT
                                 PRODUCTION (.6).
5/2/2023      CIG    B140        REVIEW RECENT FILINGS INCLUDING             0.9     $520.00      $468.00
                                 ARNOLD & ITKLIN'S MOTION TO DISMISS,
                                 US TRUSTEE'S MOTION TO DISMISS, AND
                                 DEBTOR'S MOTION TO ESTABLISH
                                 COMPENSATION AND REIMBURSEMENT
                                 PROCEDURES (.8); REVIEW DRAFT
                                 SUMMARY OF RECENT FILINGS FOR R.
                                 ELLIS (.1).
5/2/2023      LMW    B200        SEARCH FOR RESPONSIVE DOCUMENTS             4.3     $905.00     $3,891.50
                                 AND PREPARE RESPONSES TO
                                 DISCOVERY REQUESTS.
5/2/2023      LMW    B200        REVIEW US TRUSTEE'S MOTION TO               0.3     $905.00      $271.50
                                 DISMISS (.1); ARNOLD & ITKIN MOTION TO
                                 DISMISS (.1); ARNOLD & ITKIN MOTION TO
                                 SEAL (.1); DEBTOR'S MOTION TO
                                 ESTABLISH COMPENSATION AND
                                 REIMBURSEMENT (.1).
5/2/2023      SVF    B140        TELECONFERENCE US TRUSTEE OFFICE            0.2     $695.00      $139.00
                                 REGARDING FCR APPOINTMENT MOTION.
5/2/2023      SVF    B140        CONFERENCES L. WALSH REGARDING              0.7     $695.00      $486.50
                                 HEARING AND DOCUMENT PRODUCTION
                                 ISSUES.
5/2/2023      SVF    B140        SEARCH FIR DOCUMENTS AND REVIEW             2.4     $695.00     $1,668.00
                                 DOCUMENT PRODUCTION RESPONSE AND
                                 PRODUCTION AND ARRANGE FOR
                                 PRODUCTION.
5/2/2023      MF     B200        MEETINGS WITH WALSH FCR GROUP               0.3     $960.00      $288.00
                                 REGARDING DEVELOPMENTS (.3).
5/2/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               3.9     $405.00     $1,579.50
                                 DOCKET FILINGS (2.8) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (1.1).
           Case
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SERVICES


Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/2/2023      BET    B200        REVIEW SUBPOENA TO RANDI S. ELLIS           3.0     $210.00      $630.00
                                 FROM DEAN MCELROY, SUSAN BADER
                                 AND MARLIN EAGLES AND DRAFT
                                 RESPONSES/OBJECTIONS THERETO (2.3);
                                 REVIEW AND BATES-STAMP RESPONSIVE
                                 DOCUMENTS (.7).
5/3/2023      CIG    B140        REVIEW SUMMARY OF COURT HEARING.            0.6     $520.00      $312.00
5/3/2023      LMW    B140        MEET WITH RANDI ELLIS(3.3); TRAVEL TO       4.9     $905.00     $4,434.50
                                 TRENTON (1.6-50%0F 3.2HOURS).
5/3/2023      LMW    B200        ATTEND HEARING IN TRENTON.                  4.6     $905.00     $4,163.00
5/3/2023      SVF    B140        ATTEND TO FILING OF SUPPLEMENTAL            0.4     $695.00      $278.00
                                 ELLIS DECLARATION.
5/3/2023      MF     B200        ATTEND HEARING REGARDING VARIOUS            7.5     $960.00     $7,200.00
                                 ISSUES AND REAPPOINTMENT OF CLIENT
                                 AND MEET WITH CLIENT.
5/3/2023      MF     B195        TRAVEL TO AND FROM COURT HEARING IN         3.0     $960.00     $2,880.00
                                 TRENTON.
5/3/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               0.6     $405.00      $243.00
                                 DOCKET FILINGS (0.4) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.2).
5/3/2023      FWY    B200        ATTEND OMNIBUS HEARING ON PENDING           4.6     $405.00     $1,863.00
                                 MOTIONS AND SCHEDULED
                                 CONFERENCES (Lunch Break at 12:47;
                                 Resumed at 1:30pm).
5/3/2023      BET    B170        REVIEW AND REVISE SUPPLEMENTAL              0.6     $210.00      $126.00
                                 CERTIFICATION OF RANDI S. ELLIS IN
                                 SUPPORT OF MOTION FOR APPOINTMENT
                                 AS FCR.
5/4/2023      CIG    B140        REVIEW AMENDED ELLIS DECLARATION.           0.1     $520.00       $52.00
5/4/2023      LMW    B200        REVIEW DEBTOR'S MOTION TO SEAL              0.4     $905.00      $362.00
                                 EXHIBITS TO JOHN KIM SUPPLEMENTAL
                                 DECLARATION (.1); AHC'S MOTION TO
                                 INTERVENE (.1); APPLICATION TO
                                 SHORTEN TIME (.1); DRAFT
                                 SUPPLEMENTAL CERTIFICATION OF FCR
                                 (.1).
5/4/2023      LMW    B200        REVIEW DRAFT AMENDED CERTIFICATION          0.1     $905.00       $90.50
                                 OF R. ELLIS IN SUPPORT OF APPLICATION
                                 FOR APPOINTMENT AS FCR.
5/4/2023      SVF    B140        ATTEND TO FILING OF AMENDED                 0.2     $695.00      $139.00
                                 SUPPLEMENTAL DECLARATION.
5/4/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               0.3     $405.00      $121.50
                                 DOCKET FILINGS (0.2) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.1).
           Case
           Case23-12825-MBK
                23-12825-MBK DocDoc1243-2
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SERVICES


Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/4/2023      BET    B140        ATTEND TO TRANSCRIPT OF MAY 3, 2023         0.3     $210.00       $63.00
                                 HEARING BEFORE JUDGE KAPLAN (.1);
                                 REVIEW INVOICE FROM J&J COURT
                                 TRANSCRIBERS AND PROCESS THE SAME
                                 FOR PAYMENT (.2).
5/4/2023      BET    B170        FINALIZE AND ELECTRONICALLY FILE            0.3     $210.00       $63.00
                                 AMENDED SUPPLEMENTAL DECLARATION
                                 OF RANDI ELLIS IN SUPPORT OF MOTION
                                 FOR APPOINTMENT AS FCR.
5/5/2023      CIG    B170        ANALYZE WALSH APRIL INVOICE FOR             3.7     $520.00     $1,924.00
                                 PRIVILEGE AND CONFORMANCE WITH US
                                 TRUSTEE GUIDELINES AND MAKE
                                 NECESSARY REVISIONS (3.2);
                                 CORRESPOND WITH G. PINEIRO
                                 THROUGHOUT THE DAY REGARDING
                                 WALSH APRIL INVOICE AND REVISIONS
                                 (.4); CORRESPOND WITH B. TROYAN
                                 REGARDING EXPENSES ON APRIL INVOICE
                                 (.1).
5/5/2023      CIG    B140        CORRESPOND WITH R. ELLIS AND L.             0.1     $520.00       $52.00
                                 WALSH REGARDING CASE STATUS AND
                                 RELATED CALL.
5/5/2023      CIG    B140        ANALYZE RECENT DOCKET FILINGS               1.3     $520.00      $676.00
                                 INCLUDING P. CROUCH OBJECTION TO G.
                                 RUSSON AS MEDIATOR, MR'S RESPONSE
                                 TO AMENDED SUPPLEMENTAL
                                 DECLARATION OF R. ELLIS, TCC'S MOTION
                                 FOR PO, TCC'S MOTION TO COMPEL,
                                 TCC'S MOTION TO DESIGNATE, A&I'S
                                 OBJECTION TO DEBTOR'S MOTION FOR
                                 HEARING ON DISCLOSURE STATEMENT,
                                 US TRUSTEES' OBJECTION TO DEBTOR'S
                                 MOTION FOR HEARING ON DISCLOSURE
                                 STATEMENT, AND AGENDA FOR HEARING
                                 (1.1); REVIEW DRAFT SUMMARY OF
                                 RECENT FILINGS FOR R. ELLIS (.2).
           Case
           Case23-12825-MBK
                23-12825-MBK DocDoc1243-2
                                     805-4 Filed
                                              Filed06/16/23
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SERVICES


Date          TMK    Task        Description of Services                   Hours        Rate      Amount
5/5/2023      LMW    B200        REVIEW ORDER ON RESPONSE TO                 1.2     $905.00     $1,086.00
                                 PETITION FOR MANDAMUS (.1); DEBTOR'S
                                 MOTION TO SEAL (.1); TCC'S APPLICATION
                                 TO RETAIN GENOVA BURNS (.1); TCC'S
                                 APPLICATION TO RETAIN BROWN
                                 RUDNICK (.1); TCC'S APPLICATION TO
                                 RETAIN OTTERBOURG (.1); TCC'S
                                 APPLICATION TO RETAIN MASSEY & GAIL
                                 (.1); TCC'S OBJECTION TO DEBTOR'S
                                 MOTION FOR HEARING ON DISCLOSURE
                                 STATEMENT (.1); TCC'S CROSS-MOTION TO
                                 SUSPEND CHAPTER 11 (.1); ORDER ON
                                 TCC’S CROSS-MOTION AND DEBTOR’S
                                 MOTION FOR HEARING (.1); DEBTOR'S
                                 MONTHLY OPERATING REPORT (.1); TCC'S
                                 RESPONSE TO AMENDED SUPPLEMENTAL
                                 DECLARATION OF RANDI ELLIS (.3).
5/5/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               3.5     $405.00     $1,417.50
                                 DOCKET FILINGS (2.4) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (1.1).
5/6/2023      LMW    B200        REVIEW PAUL CROUCH OBJECTION TO             0.2     $905.00      $181.00
                                 GARY RUSSO AS MEDIATOR (.1); MAUNE
                                 RAICHLE'S RESPONSE TO AMENDED
                                 SUPPLEMENTAL DECLARATION OF RANDI
                                 ELLIS (.1).
5/6/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               0.5     $405.00      $202.50
                                 DOCKET FILINGS (0.3) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.2).
5/7/2023      CIG    B140        REVIEW RECENT FILINGS INCLUDING             0.4     $520.00      $208.00
                                 DEBTOR STATEMENT OF ASSETS AND
                                 LIABILITIES, DEBTOR STATEMENT OF
                                 FINANCIAL AFFAIRS, MR'S OBJECTION TO
                                 DEBTOR'S MOTION FOR HEARING ON
                                 DISCLOSURE STATEMENT (.3); REVIEW
                                 DRAFT SUMMARY OF FILINGS FOR R. ELLIS
                                 (.1).
5/7/2023      LMW    B200        REVIEW STATEMENT OF ASSETS AND              0.3     $905.00      $271.50
                                 LIABILITIES OF LTL MANAGEMENT LLC (.1);
                                 STATEMENT OF FINANCIAL AFFAIRS OF
                                 LTL MANAGEMENT LLC (.1); MAUNE
                                 RAICHLE'S OBJECTION TO DEBTOR'S
                                 MOTION FOR HEARING ON DISCLOSURE
                                 STATEMENT (.1).
5/7/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               1.5     $405.00      $607.50
                                 DOCKET FILINGS (0.9) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.6).
           Case
           Case23-12825-MBK
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Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/8/2023      CIG    B140        REVIEW RECENT FILINGS INCLUDING             1.1     $520.00      $572.00
                                 DEBTOR'S RESPONSE TO PETITION FOR
                                 WRIT OF MANDAMUS, AHC OF
                                 SUPPORTING FIRMS' RESPONSE TO
                                 PETITION FOR WRIT OF MANDAMUS, MR'S
                                 OBJECTION TO GARY RUSSO AS
                                 MEDIATOR, ORDER APPOINTING
                                 CO-MEDIATORS, AND NOTICE OF AGENDA
                                 AND AMENDED AGENDA, US TRUSTEE'S
                                 MOTION TO COMPEL, DEBTOR'S MOTION
                                 OBJECTING TO CERTIFICATION FOR
                                 DIRECT APPEAL, TCC'S OBJECTION TO
                                 AHC OF SUPPORTING FIRMS MOTION TO
                                 INTERVENE, AND ACH OF SUPPORTING
                                 FIRMS' OBJECTION TO CERTIFICATION
                                 FOR DIRECT APPEAL (.8); REVIEW
                                 SUMMARY OF RECENT FILINGS FOR R.
                                 ELLIS (.3).
5/8/2023      LMW    B200        REVIEW AND ANALYZE DEBTOR'S                 2.2     $905.00     $1,991.00
                                 RESPONSE TO PETITION FOR WRIT OF
                                 MANDAMUS (.1); AHC OF SUPPORTING
                                 FIRMS' RESPONSE TO PETITION FOR WRIT
                                 OF MANDAMUS (.1); MAUNE RAICHLE'S
                                 OBJECTION TO GARY RUSSO AS
                                 MEDIATOR (.1); ORDER APPOINTING
                                 CO-MEDIATORS (.1); NOTICE OF AGENDA
                                 (.1); US TRUSTEE'S MOTION TO COMPEL
                                 (.1); REVISED NOTICE OF AGENDA (.1);
                                 PREPARE FOR HEARING (1.5).
5/8/2023      SVF    B140        REVIEW SUMMARY OF RECENT                    1.1     $695.00      $764.50
                                 BANKRUPTCY CASE FILINGS AND
                                 DEBTORS SCHEDULES AND STATEMENT
                                 OF FINANCIAL AFFAIRS.
5/8/2023      MF     B140        REVIEW VARIOUS DOCUMENTS AND                0.6     $960.00      $576.00
                                 ORDERS REGARDING AGENDA AND
                                 MATTERS TO BE ADDRESSED AT MEETING
                                 TOMORROW(.6).
5/8/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               3.1     $405.00     $1,255.50
                                 DOCKET FILINGS (2.2) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.9).
           Case
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SERVICES


Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/9/2023      CIG    B140        ANALYZE RECENT FILINGS INCLUDING            1.1     $520.00      $572.00
                                 GRANT OF MOTION TO APPOINT FCR,
                                 DENIAL OF MOTIONS TO CERTIFY FOR
                                 DIRECT APPEAL OF THE PRELIMINARY
                                 INJUNCTION OPINION, GRANT OF AHC OF
                                 SUPPORTING FIRMS MOTION TO
                                 INTERVENE IN ADVERSARY PROCEEDING,
                                 THIRD CIRCUIT ORDER DENYING PETITION
                                 FOR WRIT OF MANDAMUS AND THIRD
                                 CIRCUIT ORDER PARTIALLY DENYING
                                 MOTION TO SEAL PETITION APPENDICES,
                                 AHC OF SUPPORTING FIRMS RULE 2019
                                 DISCLOSURE STATEMENT AND RELATED
                                 MOTION TO SEAL, AND GEORDIA STATE
                                 COURT CLAIMANTS' JOINDER TO MOTION
                                 TO DISMISS (.9); REVIEW AND PROPOSE
                                 REVISIONS TO DRAFT SUMMARY OF
                                 FILINGS FOR CLIENT (.2).
5/9/2023      CIG    B140        REVIEW SUMMARY OF COURT HEARING.            0.4     $520.00      $208.00
5/9/2023      LMW    B200        ATTEND HEARING.                             3.9     $905.00     $3,529.50
5/9/2023      LMW    B200        REVIEW AND ANALYZE THIRD CIRCUIT            0.5     $905.00      $452.50
                                 ORDER DENYING PETITION FOR WRIT OF
                                 MANDAMUS (.1); THIRD CIRCUIT ORDER
                                 PARTIALLY DENYING MOTION TO SEAL
                                 PETITION APPENDICES (.1); VERIFIED
                                 STATEMENT UNDER RULE 2019 (.1); AHC
                                 OF SUPPORTING FIRMS' MOTION TO SEAL
                                 (.1); GEORGIA STATE COURT CLAIMANTS'
                                 JOINDER TO MOTIONS TO DISMISS (.1).
5/9/2023      SVF    B140        TELECONFERENCES FCR REGARDING               0.2     $695.00      $139.00
                                 HEARING.
5/9/2023      SVF    B140        COMMUNICATE FCR REGARDING                   0.1     $695.00       $69.50
                                 HEARING.
5/9/2023      SVF    B140        ATTEND COURT ZOOM HEARING.                  3.9     $695.00     $2,710.50
5/9/2023      SVF    B140        REVIEW SUMMARY OF RECENT CASE               0.8     $695.00      $556.00
                                 PLEADINGS INCLUDING MANDAMUS AND
                                 OBJECTIONS TO MEDIATORS.
5/9/2023      MF     B200        REVIEW MULTIPLE FILINGS REGARDING           3.3     $960.00     $3,168.00
                                 DISMISSAL MOTIONS, APPEALS,
                                 APPOINTMENT OF MEDIATORS AND
                                 MEDIATION PROPOSAL (1.3); ATTEND
                                 OMNIBUS HEARING BY ZOOM (2).
5/9/2023      MF     B200        ATTEND MEETING WITH CLIENT AND              1.0     $960.00      $960.00
                                 TEAM.
5/9/2023      FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               1.6     $405.00      $648.00
                                 DOCKET FILINGS (1.1) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.5).
           Case
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SERVICES


Date          TMK    Task        Description of Services                  Hours         Rate      Amount
5/9/2023      FWY    B200        ATTEND COURT HEARING ON PENDING             3.9     $405.00     $1,579.50
                                 MOTIONS AND STATUS CONFERENCE.
5/9/2023      JKF    B200        REVIEW SUMMARY OF COURT'S DECISION          0.1     $375.00       $37.50
                                 GRANTING MOTION TO APPOINT FCR.
5/10/2023     CIG    B140        REVIEW RECENT FILINGS INCLUDING             0.5     $520.00      $260.00
                                 STATE MOTION TO DISMISS AND JOINDER,
                                 TCC'S RESERVATION OF RIGHTS AS TO
                                 DEBTOR'S RETENTION F PROFESSIONALS,
                                 AHC OF STATES WITH CONSUMER CLAIMS
                                 VERIFIED 2019 STATEMENT, AND TCC'S
                                 MOTION TO COMMENCE AND PROSECUTE
                                 CERTAIN CLAIMS ON BEHALF OF ESTATE
                                 (.4); REVIEW DRAFT SUMMARY OF RECENT
                                 FILINGS FOR R. ELLIS (.1).
5/10/2023     CIG    B140        ATTEND MEETING WITH WALSH TEAM AND          1.0     $520.00      $520.00
                                 CLIENT REGARDING FCR APPOINTMENT
                                 AND CASE STATUS.
5/10/2023     CIG    B140        REVIEW REVISIONS TO DRAFT FCR               0.2     $520.00      $104.00
                                 APPOINTMENT ORDER (.1); CORRESPOND
                                 WITH CLIENT REGARDING REVISIONS TO
                                 DRAFT FCR APPOINTMENT ORDER (.1).
5/10/2023     LMW    B200        ATTEND CALL WITH RANDI ELLIS.               1.0     $905.00      $905.00
5/10/2023     LMW    B200        REVIEW WPOF DRAFT RETENTION                 0.5     $905.00      $452.50
                                 APPLICATION.
5/10/2023     LMW    B200        ATTEND TEAM MEETING.                        1.0     $905.00      $905.00
5/10/2023     SVF    B140        ATTEND TEAM STATUS CALL.                    1.0     $695.00      $695.00
5/10/2023     SVF    B140        COMMUNICATE FCR REGARDING STATUS            0.1     $695.00       $69.50
                                 CALL.
5/10/2023     SVF    B140        COMMUNICATE BRG REGARDING STATUS            0.1     $695.00       $69.50
                                 CALL.
5/10/2023     SVF    B170        REVIEW DRAFT RETENTION APPLICATION          0.6     $695.00      $417.00
                                 AND COMMUNICATE L. WALSH
                                 REGARDING SAME.
5/10/2023     SVF    B140        REVIEW CORRESPONDENCE AND                   0.6     $695.00      $417.00
                                 REVISIONS TO FCR APPOINTMENT ORDER
                                 (.4) AND COMMUNICATE FCR REGARDING
                                 SAME.
5/10/2023     FWY    B140        ANALYZE BANKRUPTCY AND APPEAL               0.5     $405.00      $202.50
                                 DOCKET FILINGS (0.3) TO PREPARE
                                 CLIENT AND WALSH TEAM SUMMARY (0.2).
5/10/2023     JKF    B200        DRAFT SUMMARY OF TEAM STRATEGY              0.3     $375.00      $112.50
                                 CALL.
5/10/2023     BET    B200        ATTEND TO TRANSCRIPT OF MAY 9, 2023         0.1     $210.00       $21.00
                                 HEARING BEFORE JUDGE KAPLAN.
        Case
        Case23-12825-MBK
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/11/2023   CIG   B140        REVIEW REVISIONS TO DRAFT ORDER OF          0.4     $520.00      $208.00
                              APPOINTMENT FOR FCR (.2); RELATED
                              COMMUNICATIONS WITH CLIENT AND
                              WALSH TEAM CONCERNING ORDER OF
                              APPOINTMENT AND CANADIAN FUTURES
                              (.2).
5/11/2023   LMW   B200        ANALYZE NEW MEXICO AND MISSISSIPPI          0.5     $905.00      $452.50
                              MOTION TO DISMISS AND JOINDER (.2);
                              TCC'S RESERVATION OF RIGHTS AS TO
                              DEBTOR'S RETENTION OF
                              PROFESSIONALS (.1); AHC OF STATES
                              WITH CONSUMER CLAIMS VERIFIED 2019
                              STATEMENT (.1); TCC'S MOTION TO
                              COMMENCE AND PROSECUTE CERTAIN
                              CLAIMS (.1).
5/11/2023   SVF   B140        COMMUNICATE DEBTOR'S COUNSEL                0.1     $695.00       $69.50
                              REGARDING FCR APPOINTMENT ORDER.
5/11/2023   SVF   B140        COMMUNICATE FCR REGARDING                   0.1     $695.00       $69.50
                              APPOINTMENT ORDER.
5/11/2023   SVF   B140        REVIEW FURTHER VERSIONS TO FCR              0.4     $695.00      $278.00
                              APPOINTMENT ORDER REGARDING
                              CANADIAN CLAIMS.
5/11/2023   MF    B200        REVIEW DEBTORS CHAPTER 11 PLAN AND          2.2     $960.00     $2,112.00
                              DEBTORS DISCLOSURE STATEMENT (1.6);
                              REVIEW DIFFERENT RESPONSES TO TCC
                              MOTION TO COMPEL (.6).
5/11/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               2.2     $405.00      $891.00
                              DOCKET FILINGS (1.6) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.6).
5/12/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING MR          0.9     $520.00      $468.00
                              FIRM'S JOINDER TO TCC'S RESERVATION
                              OF RIGHTS AS TO DEBTOR'S RETENTION
                              OF PROFESSIONALS, DEBTOR'S
                              CROSS-MOTION FOR PROTECTIVE ORDER,
                              DEBTOR'S OBJECTION TO TCC'S MOTION
                              FOR PROTECTIVE ORDER, TCC'S LETTER
                              REGARDING MOTIONS TO DISMISS
                              SCHEDULING, DEBTOR'S OMNIBUS ROR AS
                              TO TCC APPLICATIONS TO RETAIN
                              PROFESSIONALS, DEBTOR'S RESPONSE
                              TO TCC LETTER AND DISCOVERY
                              MATTERS, AND TCC'S NOTICE OF APPEAL
                              (.8); REVIEW DRAFT SUMMARY OF RECENT
                              FILINGS FOR R. ELLIS (.1).
        Case
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate     Amount
5/12/2023   CIG   B140        CORRESPOND WITH CLIENT AND WALSH            0.2     $520.00     $104.00
                              TEAM REGARDING REVISED
                              APPOINTMENT ORDER AND RELATED
                              ISSUES (.1); REVIEW REVISED DRAFT
                              APPOINTMENT ORDER (.1).
5/12/2023   CIG   B170        ANALYZE ISSUES REGARDING WALSH AND          0.2     $520.00     $104.00
                              BRG RETENTION APPLICATIONS.
5/12/2023   LMW   B200        REVIEW DRAFT PROPOSED ORDER                 0.1     $905.00      $90.50
                              APPOINTING FCR.
5/12/2023   LMW   B200        REVIEW AND ANALYZE MR FIRM'S                0.8     $905.00     $724.00
                              JOINDER TO TCC'S RESERVATION OF
                              RIGHTS AS TO DEBTOR'S RETENTION OF
                              PROFESSIONALS (.1); DEBTOR'S
                              CROSS-MOTION FOR PROTECTIVE ORDER
                              (.1); DEBTOR'S OBJECTION TO TCC'S
                              MOTION FOR PROTECTIVE ORDER (.1);
                              TCC (BROWN RUDNICK) LETTER AS TO
                              MOTIONS TO DISMISS SCHEDULING (.1);
                              DEBTOR'S OMNIBUS ROR AS TO TCC
                              APPLICATIONS TO RETAIN
                              PROFESSIONALS (.1); DEBTOR'S
                              RESPONSE LETTER TO TCC AND
                              DISCOVERY MATTERS (.1); AHC OF
                              SUPPORTING FIRMS' OBJECTION TO TCC'S
                              CROSS-MOTION SUSPENDING
                              BANKRUPTCY (.1); AHC OF SUPPORTING
                              FIRMS' REPLY AS TO SCHEDULING
                              MOTION (.1).
5/12/2023   SVF   B140        REVIEW FCR APPOINTMENT ORDER                0.2     $695.00     $139.00
                              REVISIONS TO COMMUNICATE DEBTOR
                              COUNSEL REGARDING SAME.
5/12/2023   SVF   B140        COMMUNICATE FCR REGARDING FCR               0.1     $695.00      $69.50
                              APPOINTMENT ORDER REVISIONS.
5/12/2023   SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY            0.5     $695.00     $347.50
                              PLEADINGS INCLUDING TCC MOTION TO
                              ASSERT CLAIMS.
5/12/2023   SVF   B140        COMMUNICATE BRG REGARDING                   0.2     $695.00     $139.00
                              RETENTION APPLICATION.
5/12/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE              0.2     $695.00     $139.00
                              ISSUES.
5/12/2023   SVF   B140        CONFERENCE L. WALSH REGARDING               0.1     $695.00      $69.50
                              CASE ISSUES.
        Case
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Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/12/2023   MF    B200        REVIEW DEBTORS CROSS-MOTION FOR             2.2     $960.00     $2,112.00
                              PROTECTIVE ORDER (.3); REVIEW
                              DEBTOR'S OBJECTION TO TCC'S MOTION
                              FOR PROTECTIVE ORDER (.4); REVIEW
                              DEBTORS RESERVATION OF RIGHTS
                              REGARDING RETENTION OF
                              PROFESSIONALS (.2); REVIEW DISCOVERY
                              ISSUES (.3); REVIEW VARIOUS BRIEFING
                              AND CORRESPONDENCE REGARDING
                              SUSPENSION OF BANKRUPTCY (1).
5/12/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               1.8     $405.00      $729.00
                              DOCKET FILINGS (1.2) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.6).
5/12/2023   FWY   B200        ANALYZE SUMMARY OF TEAM STRATEGY            0.2     $405.00       $81.00
                              CALL REGARDING ACTION ITEMS.
5/14/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING MR          0.7     $520.00      $364.00
                              FIRM'S LETTER ON HEARING DATES,
                              DEBTOR'S REPLY TO MOTION FOR
                              HEARING ON DISCLOSURE STATEMENT,
                              DEBTOR'S RESPONSE TO TCC'S
                              CROSS-MOTION TO SUSPEND
                              BANKRUPTCY, NOTICE OF HEARING
                              AGENDA, MR FIRM'S JOINDER TO TCC'S
                              CROSS-MOTION TO SUSPEND
                              BANKRUPTCY, TCC'S MOTION TO COMPEL
                              AND MOTION TO SHORTEN TIME (.6);
                              REVIEW SUMMARY OF RECENT FILINGS
                              FOR R. ELLIS (.1).
5/14/2023   LMW   B200        REVIEW AND ANALYZE MR FIRMS' LETTER         0.7     $905.00      $633.50
                              ON HEARING DATES (.1); DEBTOR'S REPLY
                              TO MOTION FOR HEARING ON
                              DISCLOSURE STATEMENT (.1); DEBTOR'S
                              REPLY TO TCC'S CROSS-MOTION TO
                              SUSPEND BANKRUPTCY (.1); NOTICE OF
                              AGENDA FOR HEARING (.1); MR FIRM'S
                              JOINDER TO TCC'S CROSS-MOTION TO
                              SUSPEND BANKRUPTCY (.1); TCC'S
                              MOTION TO COMPEL (.1); TCC'S
                              APPLICATION TO SHORTEN TIME (.1).
5/14/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.9     $405.00      $364.50
                              DOCKET FILINGS (0.6) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.3).
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate     Amount
5/15/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING MR          1.0     $520.00     $520.00
                              FIRM'S MOTION TO PRECLUDE NON-OC
                              CANCERS IN PLAN OR TRUST, MR FIRM'S
                              JOINDER TO TCC'S MOTION TO
                              DE-DESIGNATE EXHIBIT A TO TERM
                              SHEET, ORDER SHORTENING TIME AND
                              ORDER RESETTING HEARING TIME, TCC's
                              OBJECTION TO DEBTOR'S CROSS-MOTION
                              FOR PROTECTIVE ORDER, CONTRIBUTION
                              CLAIMANTS' LIMITED OBJECTION TO
                              DEBTOR'S MOTION TO SATISFY
                              OBLIGATIONS UNDER DISMISSAL ORDER,
                              TCC's REPLY TO CROSS-MOTION TO
                              SUSPEND BANKRUPTCY, AYLSTOCK
                              FIRM'S RESPONSE TO DEBTOR'S MOTION
                              TO SATISFY OBLIGATIONS UNDER
                              DISMISSAL ORDER, AND J&J's RESPONSE
                              TO TCC'S MOTION TO COMPEL (.9);
                              REVIEW AND PROPOSE REVISION TO
                              DRAFT SUMMARY OF FILINGS FOR R. ELLIS
                              (.1).
5/15/2023   CIG   B140        CORRESPOND WITH R. ELLIS AND S.             0.1     $520.00      $52.00
                              FALANGA REGARDING STATUS OF
                              PROPOSED ORDER APPOINTING R. ELLIS
                              AS FCR.
5/15/2023   LMW   B200        REVIEW AND ANALYZE MR FIRM'S MOTION         0.8     $905.00     $724.00
                              TO PRECLUDE NON-OC CANCERS IN PLAN
                              OR TRUST (.1); MR FIRM'S JOINDER TO
                              TCC'S MOTION TO DE-DESIGNATE EXHIBIT
                              A OF TERM SHEET (.1); ORDER
                              SHORTENING TIME (.1); TCC'S OBJECTION
                              TO DEBTOR'S CROSS-MOTION FOR
                              PROTECTIVE ORDER (.1); CONTRIBUTION
                              CLAIMANTS' LIMITED OBJECTION TO
                              DEBTOR'S MOTION TO SATISFY
                              OBLIGATIONS UNDER DISMISSAL ORDER
                              (.1); TCC'S REPLY TO CROSS-MOTION TO
                              SUSPEND BANKRUPTCY (.1); AYLSTOCK
                              FIRM'S RESPONSE TO DEBTOR'S MOTION
                              TO SATISFY OBLIGATIONS UNDER
                              DISMISSAL ORDER (.1); J&J'S RESPONSE
                              TO TCC'S MOTION TO COMPEL (.1).
5/15/2023   LMW   B200        ATTEND CALL WITH S. FALANGA                 0.3     $905.00     $271.50
                              REGARDING ORDER OF APPOINTMENT
                              AND MEDIATOR'S REACH OUT.
5/15/2023   SVF   B140        COMMUNICATE FCR AND WALSH                   0.2     $695.00     $139.00
                              REGARDING STATUS AND MEDIATOR
                              CONTACT.
5/15/2023   SVF   B140        EXCHANGE CORRESPONDENCE COUNSEL             0.2     $695.00     $139.00
                              REGARDING FCR APPROVAL ORDER.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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                                       and Expense    50 of 194Page 29 of 46 June 06, 2023
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/15/2023   SVF   B140        COMMUNICATE FCR REGARDING FCR               0.1     $695.00       $69.50
                              APPROVAL ORDER.
5/15/2023   MF    B200        REVIEW MULTIPLE FILINGS, BY DEBTORS,        1.9     $960.00     $1,824.00
                              MESO ATTORNEYS AND TCC PARTIES
                              INCLUDING DETAILED CORRESPONDENCE
                              AND FORMAL MOTIONS REGARDING HOW
                              CASE SHOULD PROCEED (1.9).
5/15/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               1.4     $405.00      $567.00
                              DOCKET FILINGS (0.8) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.6).
5/15/2023   BET   B140        REVIEW TRANSCRIPT OF THE 341                0.2     $210.00       $42.00
                              MEETING OF CREDITORS HELD ON MAY 11,
                              2023.
5/16/2023   CIG   B140        COMMUNICATIONS WALSH TEAM AND R.            0.4     $520.00      $208.00
                              ELLIS REGARDING COURT HEARING (.2);
                              CORRESPONDENCE WALSH TEAM AND R.
                              ELLIS REGARDING PLAN FILING (.2).
5/16/2023   LMW   B200        ATTEND HEARING.                             3.5     $905.00     $3,167.50
5/16/2023   SVF   B140        ATTEND PART OF HEARING.                     1.2     $695.00      $834.00
5/16/2023   SVF   B230        ANALYZE DEBTOR PLAN AND DISCLOSURE          0.8     $695.00      $556.00
                              STATEMENT.
5/16/2023   SVF   B230        ATTEND TO BRG RETENTION ISSUES.             0.1     $695.00       $69.50
5/16/2023   MF    B200        ATTEND ZOOM HEARING WITH JUDGE              3.5     $960.00     $3,360.00
                              KAPLAN (3.5).
5/16/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               1.0     $405.00      $405.00
                              DOCKETS AND FILINGS (0.6) TO PREPARE
                              SUMMARIES FOR CLIENT AND WALSH
                              TEAM (0.4).
5/16/2023   BET   B140        REVIEW INVOICE RECEIVED FROM J&J            0.4     $210.00       $84.00
                              COURT TRANSCRIBERS FOR TRANSCRIPT
                              OF MAY 11, 2023 MEETING OF CREDITORS;
                              PROCESS THE SAME FOR PAYMENT (.2);
                              REVIEW INVOICE RECEIVED FROM J&J
                              COURT TRANSCRIBERS FOR TRANSCRIPT
                              OF MAY 9, 2023 COURT HEARING;
                              PROCESS THE SAME FOR PAYMENT (.2).
5/17/2023   CIG   B140        CORRESPOND WITH S. FALANGA AND R.           0.1     $520.00       $52.00
                              ELLIS REGARDING ORDER OF
                              APPOINTMENT OF FCR.
5/17/2023   CIG   B170        CORRESPONDENCE WITH R. ELLIS                0.1     $520.00       $52.00
                              REGARDING WALSH RETENTION
                              APPLICATION.
5/17/2023   LMW   B200        REVIEW DRAFT APPLICATION FOR                0.3     $905.00      $271.50
                              RETENTION OF WALSH.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
                                                            Entered06/16/23
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Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/17/2023   SVF   B140        TELECONFERENCE A. MOORE REGARDING           0.2     $695.00      $139.00
                              BRG ENGAGEMENT.
5/17/2023   SVF   B140        CONFERENCE L. WALSH REGARDING               0.2     $695.00      $139.00
                              RETENTION APPLICATION.
5/17/2023   SVF   B140        COMMUNICATE FCR REGARDING                   0.3     $695.00      $208.50
                              RETENTION APPLICATIONS.
5/17/2023   SVF   B140        COMMUNICATE DEBTOR'S COUNSEL                0.2     $695.00      $139.00
                              REGARDING STATUS OF FCR
                              APPOINTMENT ORDER.
5/17/2023   SVF   B170        ATTEND TO RETENTION APPLICATION             2.7     $695.00     $1,876.50
                              REVIEW AND PREPARATION (1.6);
                              COMMUNICATE L. WALSH AND B. TROYAN
                              REGARDING COURSE OF ACTION (.5);
                              REVIEW CURRENT CASE PROCEDURES
                              (.6).
5/17/2023   SVF   B140        ATTEND TO BRG RETENTION.                    0.6     $695.00      $417.00
5/17/2023   MF    B200        REVIEW REQUEST FOR RETENTION (.2);          1.8     $960.00     $1,728.00
                              COMMUNICATIONS ABOUT RETENTION OF
                              PROFESSIONALS (.2); REVIEW MOTION TO
                              PRECLUDE NON-OC DISEASE IN PLAN OR
                              TRUST (.5); REVIEW MOTION TO
                              DESIGNATE EXHIBIT TO TERM SHEET (.4);
                              REVIEW MATERIALS REGARDING MOTION
                              TO COMPEL AND CONFIDENTIALITY (.5).
5/17/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               8.1     $405.00     $3,280.50
                              DOCKET FILINGS INCLUDING EXTENSIVE
                              PLAN AND DISCLOSURE STATEMENT (6.4)
                              TO PREPARE CLIENT AND WALSH TEAM
                              SUMMARY (1.7).
5/17/2023   BET   B170        REVISE APPLICATION FOR RETENTION OF         1.7     $210.00      $357.00
                              WALSH AS COUNSEL FOR RANDI S. ELLIS.
5/18/2023   CIG   B140        REVIEW DEBTOR'S CHAPTER 11 PLAN AND         0.9     $520.00      $468.00
                              DISCLOSURE STATEMENT (.7); REVIEW
                              SUMMARY OF PLAN DOCUMENTS FOR R.
                              ELLIS (.2).
        Case
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                                  805-4 Filed
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/18/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING ORDER        0.9     $520.00      $468.00
                              DENYING TCC'S CROSS-MOTION TO
                              SUSPEND, ORDER DENYING MOTION TO
                              DE-DESIGNATE TERM SHEET, ORDER
                              GOVERNING CONFIDENTIAL INFORMATION
                              AS TO TCC AND DEBTOR, ORDER DENYING
                              DEBTOR'S CROSS-MOTION FOR
                              PROTECTIVE ORDER, TCC'S
                              PROFESSIONAL RETENTION
                              APPLICATIONS, ORDER GRANTING AHC OF
                              SUPPORTING FIRMS' MOTION TO
                              INTERVENE, TCC APPEAL COUNSEL
                              LETTER ON APPENDICES, TCC'S
                              CORPORATE DISCLOSURE STATEMENT,
                              ORDER ON SCHEDULING/APPEARANCES,
                              NOTICES OF HEARING
                              SCHEDULING/RESCHEDULING, AND TCC'S
                              STATEMENT ON APPEAL ISSUES (.8);
                              REVIEW SUMMARY OF FILINGS FOR R.
                              ELLIS (.1).
5/18/2023   CIG   B140        REVIEW DRAFT INTERIM COMPENSATION           0.4     $520.00      $208.00
                              ORDER (.2); REVIEW DRAFT PROPOSED
                              CASE MANAGEMENT ORDER (.2).
5/18/2023   LMW   B200        REVIEW ORDER DENYING TCC'S                  0.5     $905.00      $452.50
                              CROSS-MOTION TO SUSPEND (.1); ORDER
                              DENYING MOTION TO DE-DESIGNATE
                              TERM SHEET EXHIBIT (.1); ORDER
                              GOVERNING CONFIDENTIAL INFORMATION
                              AS TO TCC AND DEBTOR (.1); ORDER
                              DENYING DEBTOR'S CROSS-MOTION FOR
                              PROTECTIVE ORDER (.1); TCC’S SEVERAL
                              PROFESSIONAL RETENTION
                              APPLICATIONS (.1).
5/18/2023   LMW   B200        REVIEW DEBTOR'S DRAFT MOTION                0.1     $905.00       $90.50
                              SEEKING AUTHORITY TO SATISFY
                              DISMISSAL ORDER OBLIGATIONS.
5/18/2023   LMW   B200        REVIEW PROPOSED CASE MANAGEMENT             0.1     $905.00       $90.50
                              ORDER.
5/18/2023   LMW   B200        REVIEW ORDER APPOINTING RANDI ELLIS         0.3     $905.00      $271.50
                              AS FCR (.1); APPLICATION TO RETAIN
                              WPOF FOR FCR (.1); ORDER GOVERNING
                              CONFIDENTIAL INFORMATION AS TO TCC
                              AND DEBTOR (.1).
5/18/2023   SVF   B140        TELECONFERENCE BRG COUNSEL                  0.1     $695.00       $69.50
                              REGARDING RENEWED RETENTION.
5/18/2023   SVF   B170        ATTEND TO FINALIZATION OF RETENTION         2.4     $695.00     $1,668.00
                              APPLICATION.
        Case
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                                  805-4 Filed
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Date        TMK   Task        Description of Services                   Hours        Rate      Amount
5/18/2023   SVF   B140        REVIEW SUMMARY OF RECENTLY FILED            0.4     $695.00      $278.00
                              BANKRUPTCY PLEADINGS.
5/18/2023   SVF   B140        REVIEW CORRESPONDENCE REGARDING             0.2     $695.00      $139.00
                              INTERIM COMPENSATION ORDER AND
                              ORDER TO SATISFY DISMISSAL ORDER
                              OBLIGATIONS.
5/18/2023   SVF   B140        COMMUNICATE FCR REGARDING                   0.3     $695.00      $208.50
                              PROPOSED CASE ORDERS.
5/18/2023   SVF   B140        REVIEW PROSED CASE MANAGEMENT               0.2     $695.00      $139.00
                              ORDER.
5/18/2023   SVF   B230        ANALYZE PLAN AND DISCLOSURE                 1.2     $695.00      $834.00
                              STATEMENT AND RELATED CASE ISSUES.
5/18/2023   SVF   B140        REVIEW ENTERED APPOINTMENT ORDER            0.1     $695.00       $69.50
                              AND COMMUNICATE FCR REGARDING
                              SAME.
5/18/2023   SVF   B170        CONFERENCE L. WALSH REGARDING               0.2     $695.00      $139.00
                              RETENTION APPLICATION DISCLOSURES
                              AND COURSE OF ACTION.
5/18/2023   MF    B200        REVIEW AND REVISE RETENTION                 2.3     $960.00     $2,208.00
                              AFFIDAVIT AND SUPPORTING
                              DOCUMENTS(.3); IN DEPTH REVIEW AND
                              ANALYSIS OF DISCLOSURE STATEMENT
                              AND DEBTOR'S PLAN WITH FOCUS ON FCR
                              ROLE(1.8); REVIEW FILINGS AND MOTIONS
                              (.2).
5/18/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               1.4     $405.00      $567.00
                              DOCKET FILINGS (0.9) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.5).
5/18/2023   BET   B170        PREPARE/FINALIZE EXHIBITS IN SUPPORT        2.5     $210.00      $525.00
                              OF APPLICATION FOR RETENTION OF
                              WALSH AS COUNSEL FOR RANDI S. ELLIS
                              (1.9); FINALIZE AND ELECTRONICALLY FILE
                              WITH THE COURT THE RETENTION
                              APPLICATION AND SUPPORTING PAPERS
                              (.6).
5/19/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING             0.2     $520.00      $104.00
                              CASE MANAGEMENT PROCEDURES
                              ORDER (.1); REVIEW SUMMARY OF FILINGS
                              FOR FCR (.1).
5/19/2023   CIG   B200        REVIEW ISSUES CONCERNING ELLIS              0.1     $520.00       $52.00
                              NOTICE OF ELECTION CONCERNING
                              CONFIDENTIALITY ORDER.
5/19/2023   LMW   B200        REVIEW PROPOSED CASE MANAGEMENT             0.1     $905.00       $90.50
                              ORDER.
        Case
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Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/19/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE              0.1     $695.00       $69.50
                              MANAGEMENT AND RELATED ORDERS
                              AND COURSE OF ACTION.
5/19/2023   SVF   B140        ANALYZE PROPOSED CASE MANAGEMENT            0.8     $695.00      $556.00
                              AND RELATED ORDERS.
5/19/2023   SVF   B140        ATTEND TO DCO ACCEPTANCE ON                 0.2     $695.00      $139.00
                              BEHALF OF FCR.
5/19/2023   SVF   B140        COMMUNICATE DEBTOR COUNSEL                  0.1     $695.00       $69.50
                              REGARDING PROPOSED FORMS OF
                              ORDER.
5/19/2023   SVF   B170        ATTEND TO BRG RETENTION AND                 0.2     $695.00      $139.00
                              COMMUNICATE L. WALSH REGARDING
                              COURSE OF ACTION.
5/19/2023   MF    B110        COMMUNICATIONS WITH TEAM OVER               1.1     $960.00     $1,056.00
                              STRATEGY (.4); REVIEW ORDER
                              ESTABLISHING CASE MANAGEMENT AND
                              ADMINISTRATIVE PROCEDURES (.3);
                              REVIEW ORDER APPOINTING RANDI ELLIS
                              AND WALSH APPLICATION (.4).
5/19/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.6     $405.00      $243.00
                              DOCKET FILINGS (0.4) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.2).
5/21/2023   CIG   B140        REVIEW RECENT FILINGS INCLUDING             0.2     $520.00      $104.00
                              ENTERED ORDER ESTABLISHING CASE
                              MANAGEMENT PROCEDURES (.1); REVIEW
                              DRAFT SUMMARY OF RECENT FILINGS
                              FOR FCR (.1).
5/21/2023   LMW   B200        REVIEW DRAFT ORDER ON                       0.1     $905.00       $90.50
                              CONFIDENTIALITY.
5/21/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.3     $405.00      $121.50
                              DOCKET FILINGS (0.2) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.1).
5/21/2023   FWY   B200        DRAFT FCR'S NOTICE OF ELECTION TO           0.3     $405.00      $121.50
                              PROTECTIVE ORDER ON CONFIDENTIAL
                              INFORMATION.
5/22/2023   CIG   B140        REVIEW DRAFT NOTICE OF ELECTION FOR         0.1     $520.00       $52.00
                              FCR CONCERNING ORDER ON
                              CONFIDENTIALITY.
        Case
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Date        TMK   Task        Description of Services                  Hours         Rate     Amount
5/22/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING ORDER        0.3     $520.00     $156.00
                              GRANTING ARNOLD & ITKIN'S MOTION TO
                              SEAL, ORDER GRANTING DEBTOR'S
                              MOTION TO SATISFY OBLIGATIONS UNDER
                              DISMISSAL ORDER, ORDER GRANTING
                              TCC'S MOTION TO SEAL, AND
                              WITHDRAWAL OF MR'S MOTION FOR
                              DIRECT APPEAL (.2); REVIEW SUMMARY
                              OF FILINGS FOR FCR (.1).
5/22/2023   LMW   B200        REVIEW COURT'S ORDER ESTABLISHING           0.3     $905.00     $271.50
                              COMPENSATION PROCEDURES (.1);
                              ORDER GRANTING ARNOLD & ITKIN'S
                              MOTION TO SEAL (.1); ORDER GRANTING
                              TCC’S MOTION TO SEAL (.1).
5/22/2023   LMW   B200        REVIEW FCR'S DRAFT NOTICE OF                0.1     $905.00      $90.50
                              ELECTION.
5/22/2023   SVF   B140        ATTEND TO DCO ACCEPTANCE                    0.3     $695.00     $208.50
                              NOTIFICATION AND COMMUNICATE TEAM
                              REGARDING COURSE OF ACTION.
5/22/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE              0.3     $695.00     $208.50
                              ISSUES.
5/22/2023   MF    B200        REVIEW MONTHLY OPERATING                    0.4     $960.00     $384.00
                              REPORT.(2); REVIEW VARIOUS NOTICES
                              FROM JUDGE KAPLAN REGARDING
                              HEARINGS, APPLICATIONS AND OTHER
                              ISSUES (.2).
5/22/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.8     $405.00     $324.00
                              DOCKET FILINGS (0.5) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.3).
5/22/2023   BET   B140        REVIEW ORDER ESTABLISHING CASE              0.4     $210.00      $84.00
                              MANAGEMENT AND ADMINISTRATIVE
                              PROCEDURES (.2); REVIEW INVOICE FROM
                              J&J COURT TRANSCRIBERS FOR
                              FEBRUARY 14, 2023 TRANSCRIPT;
                              PROCESS THE SAME FOR PAYMENT (.2).
5/23/2023   CIG   B170        CORRESPOND WITH COUNSEL FOR LTL             0.7     $520.00     $364.00
                              REGARDING ELLIS, WALSH, BRG AND
                              BEDERSON OUTSTANDING FEES (.2);
                              ANALYZE ISSUES FOR RESPONSE TO
                              INQUIRY FROM DEBTOR'S COUNSEL
                              CONCERNING OUTSTANDING FEES TO
                              FCR AND HER RETAINED PROFESSIONALS
                              (.4); CORRESPOND WITH BRG REGARDING
                              RESPONSE TO LTL'S INQUIRY
                              CONCERNING OUTSTANDING FEES (.1).
        Case
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             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/23/2023   CIG   B170        REVIEW INQUIRY FROM US TRUSTEE              0.8     $520.00      $416.00
                              CONCERNING WALSH RETENTION
                              APPLICATION AND INFORMATION FOR
                              RESPONSE (.6); CORRESPOND WITH S.
                              FALANGA AND B. TROYAN REGARDING
                              WALSH RETENTION APPLICATION (.2).
5/23/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS                 0.2     $520.00      $104.00
                              INCLUDING DEBTOR'S MONTHLY
                              OPERATING REPORT AND ENTERED
                              ORDER AUTHORIZING DEBTOR TO
                              SATISFY OBLIGATIONS (.1); REVIEW
                              SUMMARY OF FILINGS FOR FCR (.1).
5/23/2023   CIG   B140        ATTEND TO REVISED NOTICE OF                 0.1     $520.00       $52.00
                              ELECTION FOR FCR TO BE A PARTY TO
                              THE DCO.
5/23/2023   CIG   B140        CONFER WITH R. ELLIS REGARDING CALL         0.1     $520.00       $52.00
                              WITH MEDIATORS.
5/23/2023   LMW   B200        ATTEND TO EXPERT ISSUES.                    2.6     $905.00     $2,353.00
5/23/2023   LMW   B200        ANALYZE PROPOSED ORDER REGARDING            0.1     $905.00       $90.50
                              DEBTOR'S MOTION FOR AN ORDER
                              AUTHORIZING IT TO SATISFY ITS
                              OBLIGATIONS UNDER THIS COURTS
                              DISMISSAL ORDER ENTERED IN THE
                              DEBTOR'S PRIOR CHAPTER 11 CASE.
5/23/2023   LMW   B200        REVIEW DEBTOR'S MONTHLY OPERATING           0.2     $905.00      $181.00
                              REPORT (.1); ORDER AUTHORIZING
                              DEBTOR TO SATISFY OBLIGATIONS (.1).
5/23/2023   SVF   B140        COMMUNICATE BRG COUNSEL                     0.6     $695.00      $417.00
                              REGARDING RETENTION.
5/23/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE              0.6     $695.00      $417.00
                              ISSUES AND COURSE OF ACTION.
5/23/2023   SVF   B170        REVIEW FEE ORDER AND COMMUNICATE            0.2     $695.00      $139.00
                              L. WALSH REGARDING FEE APPLICATION
                              PROCESS.
5/23/2023   SVF   B140        COMMUNICATE BRG COUNSEL                     0.2     $695.00      $139.00
                              REGARDING RETENTION.
5/23/2023   SVF   B140        COMMUNICATE L. WALSH REGARDING              0.2     $695.00      $139.00
                              BRG.
5/23/2023   SVF   B140        ATTEND TO BRG RETENTION.                    0.6     $695.00      $417.00
5/23/2023   SVF   B170        REVIEW CORRESPONDENCE J. SPONDER            0.2     $695.00      $139.00
                              REGARDING RETENTION ORDER ISSUES
                              AND COMMUNICATE TEAM REGARDING
                              SAME.
5/23/2023   SVF   B170        ANALYZE US TRUSTEE GUIDELINES AND           0.7     $695.00      $486.50
                              RELATED ISSUES.
        Case
        Case23-12825-MBK
             23-12825-MBK DocDoc1243-2
                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/23/2023   SVF   B140        CONFERENCE L. WALSH REGARDING               0.4     $695.00      $278.00
                              CASE ISSUES.
5/23/2023   MF    B200        REVIEW AND PLAN RESPONSE TO                 5.2     $960.00     $4,992.00
                              LENGTHY COMMUNICATION FROM MR.
                              WINOGRAD RE; DISCOVERY AND OTHER
                              ISSUES (.8); REVIEW AND COMMENT ON
                              ORDER FOR CONFIDENTIALITY (.3);
                              REVIEW VARIETY OF FILINGS, INCLUDING
                              MR'S, TCC'S PAUL CROUCH , US
                              TRUSTEES. ARNOLD AND ITKIN'S MOTION
                              TO DISMISS (2.3); REVIEW ORDER RE
                              PROCEDURES FOR COMPENSATION AND
                              COMMUNICATIONS RE; SAME (.6); MOTION
                              TO SEAL (.3); REVIEW NOTICE OF
                              ELECTION FOR FILING (.4); REVIEW AND
                              BEGIN RESPONSE TO US TRUSTEE'S
                              REQUEST (.5).
5/23/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               1.3     $405.00      $526.50
                              DOCKET FILINGS (0.9) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.4).
5/23/2023   FWY   B200        FINALIZE FCR'S NOTICE OF ELECTION TO        0.2     $405.00       $81.00
                              PROTECTIVE ORDER ON CONFIDENTIAL
                              INFORMATION.
5/23/2023   FWY   B140        ANALYZE UPDATE FROM US TRUSTEE'S            0.1     $405.00       $40.50
                              OFFICE ON FCR'S RETENTION
                              APPLICATION ORDER.
5/23/2023   FWY   B170        ANALYZE ORDER APPOINTING FCR AND            0.4     $405.00      $162.00
                              ORDER ON COMPENSATION PROCEDURES
                              FOR TIMING OF FEE APPLICATIONS.
5/23/2023   BET   B200        FINALIZE AND ELECTRONICALLY FILE            0.3     $210.00       $63.00
                              NOTICE OF ELECTION OF RANDI S. ELLIS
                              AS LEGAL REPRESENTATIVE FOR FUTURE
                              TALC CLAIMANTS TO BE A PARTY TO THE
                              AGREED PROTECTIVE ORDER.
5/23/2023   BET   B140        REVIEW INVOICE FROM J&J COURT               0.2     $210.00       $42.00
                              TRANSCRIBERS FOR TRANSCRIPT OF MAY
                              16, 2023 HEARING BEFORE JUDGE KAPLAN
                              (.1); PROCESS THE SAME FOR PAYMENT
                              (.1).
5/24/2023   CIG   B170        CORRESPOND WITH BEDERSON                    0.9     $520.00      $468.00
                              REGARIDNG PAYMENT OF OUTSTANDING
                              FEES (.1); CONFER WITH WALSH TEAM RE
                              WALSH AND ELLIS OUTSTANDING
                              FEES/EXPENSE(.4); REVIEW SUMMARY
                              INVOICES FOR LTL FOR WALSH AND FOR
                              ELLIS (.2); DRAFT CORRESPONDENCE
                              CONCERNING PAYMENT OF FEES (.2).
        Case
        Case23-12825-MBK
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                                  805-4 Filed
                                           Filed06/16/23
                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/24/2023   CIG   B140        REVIEW ISSUES CONCERNING CALL WITH          0.2     $520.00      $104.00
                              MEDIATORS.
5/24/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING              0.3     $520.00      $156.00
                              DEBTOR'S MOTION TO ENTER EXPENSE
                              AGREEMENT WITH AHC OF SUPPORTING
                              FIRMS, ENTRIES EXTENDING US
                              TRUSTEE'S OBJECTION DEADLINE TO
                              APPLICATIONS TO RETAIN
                              PROFESSIONALS (.2); REVIEW DRAFT
                              SUMMARY OF DOCKET FILINGS FOR FCR
                              (.1).
5/24/2023   CIG   B170        CONFER WITH S. FALANGA REGARDING            0.2     $520.00      $104.00
                              COMMUNICATIONS WITH US TRUSTEE
                              CONCERNING WALSH RETENTION
                              APPLICATION (.1); REVIEW US TRUSTEE
                              REQUIREMENTS FOR WALSH RETENTION
                              APPLICATION (.1).
5/24/2023   LMW   B200        REVIEW DEBTOR'S MOTION TO ENTER             0.1     $905.00       $90.50
                              EXPENSE AGREEMENT WITH AHC OF
                              SUPPORTING FIRMS.
5/24/2023   LMW   B200        ATTEND CALL WITH STEVE FALANGA              0.5     $905.00      $452.50
                              REGARDING EXPERT ISSUES.
5/24/2023   SVF   B140        COMMUNICATE J. SPONDER REGARDING            0.1     $695.00       $69.50
                              RETENTION ORDER REVISIONS.
5/24/2023   SVF   B140        ANALYZE GUIDELINE ISSUES AND ATTEND         0.7     $695.00      $486.50
                              TO SUPPLEMENT CERTIFICATIONS.
5/24/2023   MF    B200        REVIEW DEBTORS MOTIONS REGARDING            2.6     $960.00     $2,496.00
                              EXPENSE ISSUES, AND MOTION TO SEAL
                              (.2); REVIEW COMMUNICATIONS
                              REGARDING LETTER FROM AD HOC
                              COMMITTEE OF SUPPORTING COUNSEL
                              RESPONSE TO LETTER OF OFFICIAL
                              COMMITTEE OF TALC CLAIMANTS(.4);
                              REVIEW DEBTOR'S MONTHLY OPERATING
                              REPORT AND ORDER AUTHORIZING
                              DEBTOR TO SATISFY OBLIGATIONS
                              PROFESSIONALS INCLUDING FCR (.4);
                              FURTHER REVIEW OF DISCLOSURE
                              STATEMENT AND PLAN IN ADVANCE OF
                              MEETING WITH MEDIATORS (1.6).
5/24/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.8     $405.00      $324.00
                              DOCKET FILINGS (0.5) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.3).
        Case
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                                  805-4 Filed
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                                                 08/17/23 Entered
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SERVICES


Date        TMK   Task        Description of Services                   Hours        Rate     Amount
5/25/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS                 0.4     $520.00     $208.00
                              INCLUDING ENTERED ORDER GRANTING
                              VALDEZ MOTION FOR STAY RELIEF, J&J
                              PARTIES' MOTION FOR PROTECTIVE
                              ORDER, J&J PARTIES' MOTIONS TO FILE
                              EXHIBIT UNDER SEAL AND TO SHORTEN
                              TIME, ENTERED ORDER SHORTENING
                              TIME, AND ENTERED AMENDED ORDER
                              APPOINTING CO-MEDIATORS (.3); REVIEW
                              DRAFT SUMMARY OF FILINGS FOR FCR
                              (.1).
5/25/2023   LMW   B200        REVIEW ORDER GRANTING VALADEZ               0.6     $905.00     $543.00
                              MOTION FOR STAY RELIEF (.1); J&J
                              PARTIES' MOTION FOR PROTECTIVE
                              ORDER (.1); J&J PARTIES' MOTION TO FILE
                              EXHIBIT UNDER SEAL (.1); J&J PARTIES'
                              MOTION TO SHORTEN TIME (.1); ORDER
                              SHORTENING TIME (.1); AMENDED ORDER
                              APPOINTING CO-MEDIATORS (.1).
5/25/2023   SVF   B140        ATTEND TO EXPERT RETENTION ISSUES.          0.4     $695.00     $278.00
5/25/2023   FWY   B140        ANALYZE BANKRUPTCY AND APPEAL               0.9     $405.00     $364.50
                              DOCKET FILINGS (0.6) TO PREPARE
                              CLIENT AND WALSH TEAM SUMMARY (0.3).
5/26/2023   CIG   B180        REVIEW MR OBJECTION TO WALSH                0.3     $520.00     $156.00
                              RETENTION APPLICATION (.2);
                              CORRESPOND WITH FCR, L. WALSH AND
                              S. FALANGA REGARDING OBJECTION TO
                              WALSH RETENTION APPLICAITON (.1).
5/26/2023   CIG   B170        REVIEW DRAFT SUPPLEMENTAL                   0.4     $520.00     $208.00
                              CERTIFICATIONS FOR WALSH RETENTION
                              APPLICATION (.2); CORRESPOND WITH
                              FCR AND S. FALANGA REGARDING
                              SUPPLEMENTAL CERTIFICATIONS FOR
                              WALSH RETENTION APPLICAITON (.1);
                              CORRESPONDENCE US TRUSTEE
                              REGARDING SUPPLEMENTAL
                              CERTIFICATIONS FOR WALSH RETENTION
                              APPLICATION REQUESTED BY US
                              TRUSTEE AND EXTENSION OF US
                              TRUSTEE TIME TO OBJECT TO WALSH
                              APPLICATION (.1).
        Case
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                                  805-4 Filed
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Date        TMK   Task        Description of Services                  Hours         Rate     Amount
5/26/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS                 0.6     $520.00     $312.00
                              INCLUDING DEBTOR'S LIMITED OBJECTION
                              TO TCC'S APPLICATION TO RETAIN
                              HOULIHAN LOKEY CAPITAL AS AN
                              INVESTMENT BANKER AND OMNIBUS
                              RESERVATION OF RIGHTS TO ADDITIONAL
                              TCC APPLICATIONS TO RETAIN AND
                              EMPLOY PROFESSIONALS, DEBTOR'S
                              MOTION TO COMPEL THE TCC TO
                              SUPPLEMENT CERTAIN RESPONSES TO
                              INTERROGATORIES AND REQUESTS FOR
                              PRODUCTIONS, ORDER GRANTING
                              APPLICATION TO SHORTEN TIME FOR
                              MOTION TO COMPEL, TCC NOTICE OF
                              APPEAL OF ORDER APPOINTING RANDI
                              ELLIS AS FCR, AND MR'S OBJECTION TO
                              FCR'S RETENTION OF WALSH (.5); REVIEW
                              SUMMARY OF FILINGS FOR FCR (.1).
5/26/2023   LMW   B200        REVIEW LIMITED OBJECTION TO                 0.3     $905.00     $271.50
                              APPLICATION OF THE TCC TO RETAIN
                              HOULIHAN LOKEY CAPITAL, INC. AS
                              INVESTMENT BANKER AND OMNIBUS
                              RESERVATION OF RIGHTS TO ADDITIONAL
                              TCC APPLICATIONS TO RETAIN AND
                              EMPLOY PROFESSIONALS (.1); DEBTORS
                              MOTION TO COMPEL THE TCC TO
                              SUPPLEMENT CERTAIN OF ITS
                              RESPONSES TO INTERROGATORIES AND
                              REQUESTS FOR PRODUCTION; EX. C –
                              TCC RESPONSES AND OBJECTIONS TO
                              DEBTORS ROGS; EX. D – TCC RESPONSES
                              AND OBJECTIONS TO DEBTORS RFPS (.1);
                              ORDER GRANTING APPLICATION TO
                              SHORTEN TIME REGARDING DEBTORS
                              MOTION TO COMPEL (.1).
5/26/2023   LMW   B200        REVIEW AND ANALYZE TCC’S NOTICE OF          0.1     $905.00      $90.50
                              APPEAL OF ORDER APPOINTING RANDI
                              ELLIS AS FCR.
5/26/2023   LMW   B200        REVIEW DRAFT SUPPLEMENTAL                   0.1     $905.00      $90.50
                              DECLARATION OF JUDGE FALK AND RANDI
                              REGARDING PARAGRAPH D.1 OF THE U.S.
                              TRUSTEE LARGE CASE FEE GUIDELINES.
5/26/2023   LMW   B200        REVIEW MRHFM’S RESPONSE TO THE              0.1     $905.00      $90.50
                              LETTER SUBMISSIONS OF THE TCC AND
                              THE DEBTOR.
5/26/2023   LMW   B200        REVIEW MRHFM’S OBJECTION TO FCR’S           0.2     $905.00     $181.00
                              RETENTION OF WALSH PIZZI O’REILLY
                              FALANGA LLP.
        Case
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/26/2023   LMW   B200        REVIEW AND REVISE DRAFT RESPONSE            0.5     $905.00      $452.50
                              TO MRHFM’S OBJECTION TO FCR’S
                              RETENTION OF WALSH PIZZI O’REILLY
                              FALANGA LLP.
5/26/2023   SVF   B140        COMMUNICATE FCR REGARDING                   0.2     $695.00      $139.00
                              MEDIATOR MEETING.
5/26/2023   SVF   B140        ATTEND MEETING WITH MEDIATORS.              0.6     $695.00      $417.00
5/26/2023   SVF   B140        ANALYZE PLAN ISSUES.                        1.6     $695.00     $1,112.00
5/26/2023   SVF   B140        PREPARE FOR INITIAL ZOOM MEETING            0.8     $695.00      $556.00
                              WITH MEDIATORS.
5/26/2023   SVF   B170        COMMUNICATE L. WALSH REGARDING              0.3     $695.00      $208.50
                              RETENTION APPLICATION AND OBJECTION
                              RESPONSE.
5/26/2023   SVF   B170        ATTEND TO DRAFT SUPPLEMENTAL                1.3     $695.00      $903.50
                              CERTIFICATIONS REGARDING LARGE FEE
                              CASE GUIDELINES.
5/26/2023   SVF   B170        ATTEND TO DRAFT RESPONSE TO MAUNE           0.7     $695.00      $486.50
                              RACHEL RETENTION OBJECTION.
5/26/2023   SVF   B170        COMMUNICATE J. SPONDER REGARDING            0.2     $695.00      $139.00
                              REVISED ORDER AND SUPPLEMENTAL
                              CERTIFICATIONS.
5/26/2023   SVF   B140        COMMUNICATE FCR REGARDING                   0.2     $695.00      $139.00
                              SUPPLEMENTAL CERTIFICATIONS AND
                              COURSE OF ACTION.
5/26/2023   MF    B200        PREPARE FOR MEETING WITH MEDIATORS          5.1     $960.00     $4,896.00
                              BY READING CHAPTER 11 PLAN AND
                              DISCLOSURE STATEMENT, MOTIONS FOR
                              DISMISSAL; MOTIONS REGARDING
                              DISCOVERY (3.5) COMMUNICATIONS WITH
                              CLIENT PRIOR TO MEETING (.3); ATTEND
                              MEETING WITH MEDIATORS GREEN AND
                              RUSSO WITH CLIENT (1.3).
5/26/2023   JKF   B170        REVISE PROPOSED ORDER REGARDING             0.2     $375.00       $75.00
                              WPOF RETENTION.
5/26/2023   JKF   B170        DRAFT SUPP DECL RE US TRUSTEE               0.2     $375.00       $75.00
                              GUIDELINES.
5/26/2023   JKF   B170        DRAFT SUPP DECL OF FCR REGARDING            0.3     $375.00      $112.50
                              US TRUSTEE GUIDELINES.
5/26/2023   JKF   B200        ANALYZE DAILY DOCKET FILINGS (.5);          1.0     $375.00      $375.00
                              DRAFT SUMMARY OF SAME (.5).
        Case
        Case23-12825-MBK
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                                  805-4 Filed
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/27/2023   CIG   B170        REVISIONS TO SUPPLEMENTAL                   0.2     $520.00      $104.00
                              CERTIFICATIONS FOR WALSH RETENTION
                              APPLICATION (.1); CORRESPOND WITH
                              FCR AND S. FALANGA REGARDING
                              SUPPLEMENTAL CERTIFICATIONS FOR
                              WALSH RETENTION APPLICAITON (.1).
5/27/2023   CIG   B180        REVIEW DRAFT RESPONSE TO MR                 0.2     $520.00      $104.00
                              OBJECTION TO WALSH RETENTION
                              APPLICATION (.1); CORRESPOND WITH
                              FCR AND S. FALANGA REGARDING DRAFT
                              RESPONSE TO WALSH RETENTION
                              APPLICAITON (.1).
5/27/2023   LMW   B200        REVIEW DRAFT RESPONSE TO MRHFM’S            0.1     $905.00       $90.50
                              OBJECTION TO FCR’S RETENTION OF
                              WALSH PIZZI O’REILLY FALANGA LLP.
5/27/2023   MF    B200        REVIEW AND PLAN RESPONSE TO MAUNE           1.4     $960.00     $1,344.00
                              RAICHLE LETTER REGARDING RETENTION
                              OF WALSH (.5); REVIEW AND CONSIDER
                              US. TRUSTEES REQUESTS FOR FURTHER
                              INFORMATION(ETC) (.9).
5/27/2023   FWY   B200        ANALYZE DAILY CLIENT SUMMARY OF NEW         0.2     $405.00       $81.00
                              DOCKET FILINGS.
5/27/2023   FWY   B200        ANALYZE TCC'S NOTICE OF APPEAL OF           0.1     $405.00       $40.50
                              ORDER APPOINTING RANDI ELLIS AS FCR.
5/29/2023   CIG   B140        ANALYZE DAILY FILINGS INCLUDING AD          0.4     $520.00      $208.00
                              HOC COMMITTEE'S OBJECTION TO
                              MOTION TO DISMISS, DEBTOR'S OMNIBUS
                              OBJECTION TO MOTION TO DISMISS, TCC
                              OBJECTION TO J&J'S MOTION FOR ENTRY
                              OF PROTECTIVE ORDER, AND TCC'S
                              OPPOSITION TO DEBTOR'S MOTION TO
                              COMPEL (.3); REVIEW SUMMARY OF
                              FILINGS FOR FCR (.1).
5/29/2023   LMW   B200        ANALYZE AD HOC COMMITTEE'S                  0.3     $905.00      $271.50
                              OBJECTION TO MOTION TO DISMISS (.1);
                              DEBTOR'S OMNIBUS OBJECTION TO
                              MOTIONS TO DISMISS (.1); TCC OBJECTION
                              TO J&J PARTIES MOTION FOR ENTRY OF
                              PROTECTIVE ORDER (.1); TCC OPPOSITION
                              TO DEBTOR'S MOTION TO COMPEL (.1).
5/29/2023   JKF   B200        REVIEW AND ANALYZE DOCKET FILINGS           1.7     $375.00      $637.50
                              (.8); DRAFT SUMMARY OF DOCKET
                              FILINGS (.9).
5/30/2023   CIG   B140        CORRESPONDENCE WITH WALSH TEAM              0.1     $520.00       $52.00
                              AND DOCUMENT VENDOR RE DOCUMENT
                              HOSTING.
        Case
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                                                                                Invoice #:     20496
                                                                                Resp. Atty:     LMW
                                                                                Page:             41


SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate     Amount
5/30/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING TCC'S        0.3     $520.00     $156.00
                              LETTER TO THE COURT REGARDING TCC'S
                              MOTION TO COMPEL, AND J&J'S REPLY ISO
                              MOTION FOR ENTRY OF PROTECTIVE
                              ORDER (.2); REVIEW DRAFT SUMMARY OF
                              FILINGS FOR FCR (.1).
5/30/2023   CIG   B170        CORRESPOND WITH WALSH TEAM                  0.2     $520.00     $104.00
                              REGARDING COMMUNICATIONS WITH US
                              TRUSTEE CONCERNING WALSH
                              RETENTION APPLICATION (.1);
                              CORRESPONDENCE WITH US TRUSTEE
                              REGARDING WALSH RETENTION
                              APPLICATION (.1).
5/30/2023   CMH   B295        ANALYZE ISSUES REGARDING EXPERT             0.8     $520.00     $416.00
                              ISSUES.
5/30/2023   LMW   B200        ANALYZE PURDUE 2ND CIRCUIT OPINION.         0.1     $905.00      $90.50
5/30/2023   LMW   B200        REVIEW LETTER TO JUDGE KAPLAN FROM          0.2     $905.00     $181.00
                              TCC RESPONDING TO DEBTOR'S 5/24/26
                              LETTER (.1); J&J PARTIES’ REPLY ISO
                              MOTION FOR ENTRY OF PROTECTIVE
                              ORDER (.1).
5/30/2023   LMW   B200        REVIEW DRAFT LETTER RESPONSE TO MR          0.1     $905.00      $90.50
                              OBJECTION TO WALSH RETENTION.
5/30/2023   SVF   B170        ATTEND TO SUPPLEMENTAL                      0.8     $695.00     $556.00
                              CERTIFICATIONS REGARDING US
                              GUIDELINES.
5/30/2023   SVF   B170        ATTEND TO RESPONSE TO MAUNE                 0.2     $695.00     $139.00
                              RAICHLE LETTER OBJECTION TO
                              RETENTION.
5/30/2023   SVF   B140        ATTEND TO EXPERT RETENTION ISSUES.          0.3     $695.00     $208.50
5/30/2023   SVF   B170        TELECONFERENCE J. SPONDER                   0.1     $695.00      $69.50
                              REGARDING REVISED FORM OF
                              RETENTION ORDER.
5/30/2023   SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY            0.8     $695.00     $556.00
                              PLEADINGS INCLUDING DEBTOR AND TCC
                              DISCOVERY DISPUTE FILINGS.
5/30/2023   SVF   B140        REVIEW PERDUE PHARMA SECOND                 0.4     $695.00     $278.00
                              CIRCUIT DECISION.
5/30/2023   SVF   B140        COMMUNICATE J. SPONDER REGARDING            0.2     $695.00     $139.00
                              FORMS OF SUPPLEMENTAL
                              CERTIFICATIONS.
5/30/2023   SVF   B140        ATTEND TO INITIAL CASE BUDGET ISSUES.       1.1     $695.00     $764.50
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             23-12825-MBK DocDoc1243-2
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SERVICES


Date        TMK   Task        Description of Services                  Hours         Rate      Amount
5/30/2023   MF    B200        REVIEW COMMUNICATIONS TO JUDGE              2.2     $960.00     $2,112.00
                              KAPLAN IN FURTHER SUPPORT OF TCC
                              MOTION TO COMPEL RELATED TO DOZENS
                              OF TIME RECORDS SUBMITTED AND
                              DEBTORS OBJECTIONS TO MOTION TO
                              COMPELAND RELATED LETTERS
                              RESPONDING AND SEEKING RELIEF.
5/30/2023   FWY   B200        ANALYZE E-MAIL EXCHANGES WITH               0.2     $405.00       $81.00
                              VENDOR ON STORAGE OF DATABASE
                              MATERIALS.
5/30/2023   FWY   B200        ANALYZE E-MAIL EXCHANGES WITH US            0.4     $405.00      $162.00
                              TRUSTEE'S OFFICE ON RETENTION
                              APPLICATION.
5/30/2023   JKF   B200        ATTEND TO ISSUES RELATED TO                 0.2     $375.00       $75.00
                              DOCUMENT RETENTION AND STORAGE.
5/30/2023   JKF   B200        ANALYZE DOCKET FOR FUTURE                   0.3     $375.00      $112.50
                              HEARINGS.
5/30/2023   JKF   B200        REVIEW AND ANALYZE DOCKET (.3);             0.6     $375.00      $225.00
                              DRAFT SUMMARY OF DAILY DOCKET
                              ENTRIES (.3).
5/30/2023   BET   B170        FINALIZE AND ELECTRONICALLY FILE            0.3     $210.00       $63.00
                              LETTER TO JUDGE KAPLAN REGARDING:
                              OBJECTIONS TO WALSH FIRM'S
                              RETENTION APPLICATION.
5/31/2023   CIG   B170        CORRESPOND WITH LTL'S COUNSEL               0.5     $520.00      $260.00
                              REGARDING OUTSTANDING FEES FROM
                              LTL 1 FOR ELLIS, WALSH, BEDERSON AND
                              BRG (.2); CORRESPOND WITH WALSH
                              TEAM CONCERNING LTL'S OBJECTION
                              DEADLINE (.2); CORRESPOND WITH
                              MEAGAN HAVERKAMP REGARDING BRG'S
                              INVOICE FOR OUTSTANDING FEES FROM
                              LTL 1 (.1).
5/31/2023   CIG   B140        REVIEW ISSUES CONCERNING UPCOMING           0.2     $520.00      $104.00
                              COURT HEARINGS.
5/31/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING              0.3     $520.00      $156.00
                              DEBTOR'S OMNIBUS MOTION TO COMPEL
                              CERTAIN FIRMS TO SUPPLEMENT
                              RESPONSES AND OBJECTIONS TO ROGS
                              AND RFP'S, AND DOCKETING NOTICE OF
                              APPEAL OF FCR ORDER (.3); REVIEW
                              SUMMARY OF DAILY FILINGS FOR FCR (.1).
5/31/2023   LMW   B200        ATTEND TO EXPERT ISSUES.                    0.5     $905.00      $452.50
5/31/2023   LMW   B200        REVIEW TRANSCRIPT OF MAY 30 HEARING         0.1     $905.00       $90.50
                              BEFORE JUDGE KAPLAN.
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              23-12825-MBK DocDoc1243-2
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SERVICES


Date          TMK       Task         Description of Services                       Hours          Rate       Amount
5/31/2023    LMW        B200         REVIEW DEBTOR'S OMNIBUS MOTION TO                 0.1     $905.00        $90.50
                                     COMPEL IDENTIFIED PLAINTIFF'S FIRMS
                                     TO SUPPLEMENT CERTAIN RESPONSES
                                     TO DEBTOR'S INTERROGATORIES AND
                                     REQUESTS FOR PRODUCTION.
5/31/2023    SVF        B140         TELECONFERENCE POSSIBLE EXPERT.                   0.3     $695.00       $208.50
5/31/2023    SVF        B140         ATTEND TO BUDGET PREPARATION.                     1.2     $695.00       $834.00
5/31/2023    SVF        B140         REVIEW CORRESPONDENCE REGARDING                   0.2     $695.00       $139.00
                                     FEE ORDERS.
5/31/2023    SVF        B230         ANALYZE PLAN AND TRUST DISTRIBUTION               1.2     $695.00       $834.00
                                     PROCEDURE ISSUES.
5/31/2023    SVF        B140         COMMUNICATE FCR REGARDING EXPERT                  0.1     $695.00        $69.50
                                     RETENTION.
5/31/2023    MF         B200         REVIEW MOTIONS TO DISMISS (.9).                   0.9     $960.00       $864.00
5/31/2023    JKF        B200         REVIEW AND ANALYZE DOCKET (.3);                   0.7     $375.00       $262.50
                                     DRAFT SUMMARY OF DOCKET FILINGS.
5/31/2023    JKF        B200         ANALYZE ISSUES RELATED TO APPEAL OF               0.3     $375.00       $112.50
                                     FCR APPOINTMENT ORDER.
5/31/2023    BET        B140         TELEPHONE CALL TO JUDGE KAPLAN'S                  0.2     $210.00        $42.00
                                     CHAMBERS REGARDING: UPCOMING CASE
                                     HEARINGS (.1); EMAIL COMMUNICATION TO
                                     TEAM REGARDING: SAME (.1).
5/31/2023    BET        B140         REVIEW TRANSCRIPT OF MAY 30, 2023                 0.1     $210.00        $21.00
                                     HEARING BEFORE JUDGE KAPLAN.

                                                 Total Professional Services       409.7                 $271,352.75

PERSON RECAP


Person                                                                         Hours            Rate         Amount
SVF         Stephen V. Falanga                                                  82.9         $695.00       $57,615.50
SVF         Stephen V. Falanga                                                   2.5         $347.50         $868.75
CIG         Christine I. Gannon                                                 50.1         $520.00       $26,052.00
CMH         Christopher M. Hemrick                                               0.8         $520.00         $416.00
LMW         Liza M. Walsh                                                       84.3         $905.00       $76,291.50
MF          Mark Falk                                                           68.4         $960.00       $65,664.00
FWY         Francis W. Yook                                                     86.6         $405.00       $35,073.00
JKF         Jessica K. Formichella                                              13.4         $375.00        $5,025.00
BET         Barbara Troyan                                                      20.7         $210.00        $4,347.00
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EXPENSES


Date                  Task          Description of Expenses                                                Amount
4/5/2023              E100 - E101   PHOTOCOPIES (20 @ $0.20)                                                  $4.00
4/14/2023             E100 - E115   J&J Court Transcribers, Inc.- April 11, 2023 Court                     $255.60
                                    Hearing Transcript - TRANSCRIPT FEE
4/21/2023             E100 - E115   J&J Court Transcribers, Inc.- April 18 and 20                          $441.60
                                    Court Hearing Transcripts - TRANSCRIPT FEE
4/30/2023             E100 - E106   PACER CHARGES - April 2023                                                $3.80
4/30/2023             E100 - E106   PACER CHARGES - April 2023                                             $467.80
4/30/2023             E100 - E106   PACER CHARGES - April 2023                                                $7.50
5/4/2023              E100 - E115   J&J Court Transcribers, Inc.- Transcript Fee                           $206.40
5/16/2023             E100 - E115   J&J Court Transcribers, Inc.- May 11, 2023                              $69.60
                                    Meeting of Creditors Transcript Fee
5/16/2023             E100 - E115   J&J Court Transcribers, Inc.- May 9, 2023 Court                        $182.40
                                    Hearing Transcript Fee
5/16/2023             E100 - E118   Xact Data Discovery- Professional Services-                             $69.00
                                    March 2023 Services
5/16/2023             E100 - E118   Xact Data Discovery- Professional Services- April                       $69.00
                                    2023 Services
5/22/2023             E100 - E115   J&J Court Transcribers, Inc.- Transcript fee for                        $52.80
                                    Court Hearing before Judge Kaplan on February
                                    14, 2023
5/23/2023             E100 - E115   J&J Court Transcribers, Inc.- Transcript of May 16,                    $147.60
                                    2023 Court Hearing before Judge Kaplan

                                            Total Expenses                                                $1,977.10


                                            Total Services                                $271,352.75
                                            Total Disbursements                             $1,977.10
                                            Total Current Charges                                       $273,329.85

                                            PAY THIS AMOUNT                                             $273,329.85




               Due Upon Receipt. Please include the invoice number on all remittance. Thank you.
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TASK RECAP

Services                                               Disbursements

Category                Hours             Amount       Category                            Amount

B110                      1.10           $1,056.00     E100 - E101                           $4.00
B140                    184.30         $108,956.50     E100 - E106                         $479.10
B170                     30.00          $14,308.50     E100 - E115                        $1,356.00
B180                      8.70           $6,093.00     E100 - E118                         $138.00
B195                      5.50           $3,748.75                                           $0.00
B200                    176.00         $134,480.50                                           $0.00
B230                      3.30           $2,293.50                                           $0.00
B295                      0.80             $416.00                                           $0.00

                        409.70         $271,352.75                                        $1,977.10
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                          FEE APPLICATION COVER SHEET
               FOR THE PERIOD FROM JUNE 1, 2023 THROUGH JUNE 30, 2023


   Debtor:          LTL Management LLC        Applicant:     Walsh Pizzi O’Reilly Falanga LLP

   Case No.:        23-12825-MBK              Client:        Randi S. Ellis, FCR

   Chapter:         11                        Case Filed:    April 4, 2023 (the “Petition Date”)


                                          SECTION I
                                        FEE SUMMARY

   Monthly Fee Application No. 2                                       ☐ Final Fee Application
  Summary of Amounts Requested for the Period from June 1, 2023 through June 30, 2023.
   Total Fees:                                                                        $269,280.00
   Total Disbursements:                                                                $28,030.90
   Total Fees Plus Disbursements:                                                     $297,310.90
   Minus 20% Holdback of Fees:                                                         $53,856.00
   Amount Sought at this Time:                                                        $243,454.90

                                               FEES                       EXPENSES



   Total Previous Fee Requested:               $217,082.20                $1,977.10


   Total Fees Allowed To Date:                 $0.00                      $0.00


   Total Retainer (If Applicable):             N/A                        N/A


   Total Previous Holdback (If Applicable):    $54,270.55                 $0


   Total Received To Date:                     $217,082.20                $1,977.10
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                                       YEAR
   NAME OF PROFESSIONAL                ADMITTED
                                                          HOURS          RATE      FEE
   & TITLE                             (Or Years Of
                                       Professional
                                       Service)

                                                          77.8 (includes
                                                          6.4 hours of
                                                          travel time
   Hon. Mark Falk (Ret.), Counsel      1977               billed at 50%) $960.00   $71,616.00
                                                          70.3 (includes
                                                          6.9 hours of
                                                          travel time
   Liza M. Walsh, Partner              1985               billed at 50%) $905.00   $60,499.25
                                                          109.4 (includes
                                                          12.3 hours of
                                                          travel time
   Stephen V. Falanga, Partner         1992               billed at 50%) $695.00   $71,758.75
   Christine I. Gannon, Partner        2004               23.6           $520.00   $12,272.00
   Christopher M. Hemrick, Partner     2007               16.3           $520.00   $8,476.00
   Francis W. Yook, Associate          2015               81.0           $405.00   $32,805.00
   Jessica K. Formichella, Associate   2017               12.4           $375.00   $4,650.00
   Barbara E. Troyan, Paralegal        N/A                32.4           $210.00   $6,804.00
   Gemma Piñeiro, Paralegal            N/A                1.9            $210.00   $399.00




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                                       SECTION II
                                   SUMMARY OF SERVICES

   SERVICES RENDERED                                                HOURS    FEE
   a)   Asset Analysis and Recovery:
        Identification and review of potential assets including
        causes of action and non-litigation recoveries.

   b) Asset Disposition
      Sales, leases, abandonment and related transaction
      work.

   c)   Avoidance Action Litigation
        Preference and fraudulent transfer litigation.

   d) Business Operations
      Issues related to debtor-in-possession operating in
      chapter 11 such as employee, vendor, tenant issues and
      other similar problems.

   e)   Case Administration
        Coordination and compliance activities, including
        preparation of statement of financial affairs, schedules,
        list of contracts, United States Trustee interim
        statements and operating reports; contacts with the
        United States Trustee; general creditor inquires.           197.10   $113,828.50

   f)   Claims Administration and Objections
        Specific claim inquiries; bar date motions; analyses,
        objections and allowance of claims.

   g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K
      coverage and continuance of pension plan.

   h) Fee/Employment Applications
      Preparations of employment and fee applications for
      self or others; motions to Establish interim procedures.      39.10    $18,322.50

   i)   Fee/Employment Objections
        Review of an objections to the employment and fee
        applications of others.




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   SERVICES RENDERED                                               HOURS    FEE
   j)   Financing
        Matters under 361, 363 and 364 including cash
        collateral and secured clams; loan document analysis.

   k) Litigation
      Other than Avoidance Action Litigation (there should
      be a separate category established for each major
      matter).                                                     158.30   $124,216.00

   l)   Meetings of Creditors
        Preparing for and attending the conference of creditors,
        the 341(a) meeting and other creditors’ committee
        meetings.

   m) Plan and Disclosure Statement
      Formulation, presentation and confirmation;
      compliance with the plan confirmation order, related
      orders and rules; disbursement and case closing
      activities, except those related to allowance and
      objections to allowance of claims.                           5.00     $2,444.50

   n) Relief from Stay Proceedings
      Matters relating to termination or continuation of
      automatic stay under 362.

   o) Accounting/Auditing
      Activities related to maintaining and auditing books of
      account, preparation of financial statements and
      account analysis.

   p) Business Analysis
      Preparation and review of company business plan;
      development and review of strategies; preparation and
      review of cash flow forecasts and feasibility studies.

   q) Corporate Finance
      Review financial aspects of potential mergers,
      acquisitions and disposition of company or
      subsidiaries.




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   SERVICES RENDERED                                            HOURS    FEE
   r)   Data Analysis
        Management information systems review, installation
        and analysis, construction, maintenance and reporting
        of significant case financial data, lease rejection,
        claims, etc.

   s)   Litigation Consulting
        Providing consulting and expert witness services
        related to various bankruptcy matters such as
        insolvency, feasibility, avoiding actions; forensic
        accounting, etc.

   t)   Reconstruction Accounting
        Reconstructing books and records from past
        transactions and brining accounting current.

   u) Tax Issues
      Analysis of tax issues and preparation of state and
      federal tax returns.

   v) Valuation
      Appraise or review appraisals of assets.

   w) Travel Time
      Please note that non-working travel time must be billed
      at 50% of cost.                                           25.60    $10,468.50

   SERVICE TOTALS:                                              425.10   $269,280.00




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                                     SECTION III
                               SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                       AMOUNT

   a)   Filing Fees
        Payable to Clerk of Court.

   b) Computer Assisted Legal Research
      Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees
        Payable to the Pacer Service Center for search and/or print.   $1,345.50

   d) Fax
      Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   f)   In-house Reproduction Services
        Exclusive of overhead charges.                                 $46.00

   g) Outside Reproduction Services
      Including scanning services.

   h) Other Research
      Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting
        Transcripts.                                                   $1,376.40

   j)   Travel
        Mileage, tolls, airfare, parking.                              $194.00

   k) Courier & Express Carriers
      Overnight and personal delivery.

   l)   Postage

   m) Other (specify)
      Discovery data services; Economist Sourcing Fee                  $25,069.00

   DISBURSEMENTS TOTALS:                                               $28,030.90


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        I certify under penalty of perjury that the foregoing is true correct.

  Executed on July 14, 2023                                    s/Mark Falk
                                                               Mark Falk




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    Mark Falk
    WALSH PIZZI O’REILLY FALANGA LLP
    Three Gateway Center
    100 Mulberry Street, 15th Floor
    Newark, N.J. 07102
    (973) 757-1100

    Counsel for Randi S. Ellis, Legal
    Representative for Future Talc Claimants

                          IN THE UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


     In re:                                                Chapter 11

     LTL MANAGEMENT LLC,                                   Case No. 23- 12825

                                   Debtor.                 Honorable Michael B. Kaplan



        MONTHLY FEE STATEMENT OF WALSH PIZZI O’REILLY FALANGA LLP
           COUNSEL FOR RANDI S. ELLIS, LEGAL REPRESENTATIVE FOR
                 FUTURE TALC CLAIMANTS, FOR THE PERIOD
                     JUNE 1, 2023 THROUGH JUNE 30, 2023

           Walsh Pizzi O’Reilly Falanga LLP (“Walsh”) submits this Monthly Fee Statement for

Services Rendered and Expenses Incurred as Counsel for Randi S. Ellis, Legal Representative for

Future Talc Claimants (the “Statement”) for the period commencing June 1, 2023 and ending June

30, 2023 (the “Statement Period”), pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses of Retained Professionals [Dkt. No. 562] (the

“Interim Compensation Order”). The date of the Order approving Walsh’s retention is June 5, 2023

[Dkt. No. 690], effective as of the date of the application (the “Retention Order”). 1 The date of

the Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants is May 18,




1
    The Retention Order is attached hereto as Exhibit A.
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2023 [Dkt. No. 551], effective as of April 10, 2023 (the “Appointment Order”). 2 Paragraphs 2, 4

and 5 of the Appointment Order permit payment of compensation to the Future Talc Claimants

Representative (“FCR”) incurred on or after April 10, 2022, and her retained professionals.

           The billing invoice for the Statement Period is annexed hereto as Exhibit C. This invoice

details the services performed. A detailed breakdown of all out-of-pocket disbursements

necessarily incurred by Walsh is included in the invoice annexed as Exhibit C. The fees and

expense reimbursement sought in the within Statement Period are as follows:

          Total Fees               20% Holdback                  Fee Payment              Expense
                                                                  Requested            Reimbursement
                                                                                          (100%)
         $269,280.00                  $53,856.00                 $215,424.00             $28,030.90

           WHEREFORE, Walsh respectfully requests the interim payment of fees for this Statement

Period in the sum $215,424.00 (representing the amount of fees after a 20% holdback), together

with expenses of $28,030.90 for a total requested interim payment of $243,454.90, in accordance

with the terms of the Interim Compensation Order.

           I certify under penalty of perjury that the foregoing is true and correct.

    Executed: July 14, 2023                                  Respectfully submitted,

                                                             s/Mark Falk
                                                             Mark Falk
                                                             WALSH PIZZI O’REILLY FALANGA LLP
                                                             Three Gateway Center
                                                             100 Mulberry Street, 15th Floor
                                                             Newark, N.J. 07102
                                                             (973) 757-1100

                                                             Counsel for Randi S. Ellis, Legal
                                                             Representative for Future Talc Claimants




2
    The Appointment Order is attached hereto as Exhibit B.


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                                 EXHIBIT A

                                Retention Order
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
                                                                       Order Filed on June 5, 2023
                                                                       by Clerk
                                                                       U.S. Bankruptcy Court
      Caption in Compliance with D.N.J. LBR 9004-1(B)                  District of New Jersey
      WALSH PIZZI O’REILLY FALANGA LLP
      Three Gateway Center
      100 Mulberry Street, 15th Floor
      Newark, NJ 07102
      (973) 757-1100
      Proposed Counsel for Randi S. Ellis, Legal
      Representative for Future Talc Claimants,

                                                        Case No.:23-12825
      In Re:
                                                        Judge:   Michael B. Kaplan
      LTL Management LLC,
                                                        Chapter: 11
                                      Debtor.




                                  ORDER AUTHORIZING RETENTION OF


                                   WALSH PIZZI O’REILLY FALANGA LLP



     The relief set forth on the following page is ORDERED.




DATED: June 5, 2023
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 Upon the applicant's request for authorization to retain WALSH PIZZI O’REILLY FALANGA
 LLP as Counsel for Randi S. Ellis, FTCR, it is hereby ORDERED:
    1. The applicant is authorized to retain the above party in the professional capacity noted.

       The professional's address is:

       Three Gateway Center
       100 Mulberry Street, 15th Floor
       Newark, New Jersey 07102

    2. Compensation will be paid in such amounts as may be allowed by the Court on proper
       application(s).

    3. If the professional requested a waiver as noted below, it is 䕕㻌Granted 䕕㻌Denied.


                 䕕 Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR
                    2016-1.

                 䕕 Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR
                 2016-1 in a chapter 13 case. Payment to the professional may only be made
                 after satisfactory completion of services.

    4. The effective date of retention is as of May 9, 2023.

    5. WALSH PIZZI O’REILLY FALANGA LLP will only bill 50% for non-working travel
       and shall not seek the reimbursement of any fees or costs including attorney fees and costs,
       arising from the defense of any of WALSH PIZZI O’REILLY FALANGA LLP’s fee
       applications in this case.

    6. WALSH PIZZI O’REILLY FALANGA LLP will agree to make a reasonable effort to
       comply with the U.S. Trustee’s requests for information and additional disclosures as set
       forth in the Guidelines for Reviewing Applications for Compensation and Reimbursement
       of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective
       as of November 1, 2013 (the “U.S. Trustee Guidelines”).

    7. WALSH PIZZI O’REILLY FALANGA LLP will use the billing and expense categories
       set forth in the US Trustee Guidelines (Exhibit D-1 “Summary of Compensation Requested
       by Project Category”).

    8. WALSH PIZZI O’REILLY FALANGA LLP will provide any and all monthly fee
       statements, interim fee applications, and final fee applications in “LEDES” format to the
       United States Trustee.



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    9. Any and all compensation to be paid to WALSH PIZZI O’REILLY FALANGA LLP for
       services rendered on the FTCR’s behalf shall be fixed by application to this Court in
       accordance with Sections 330 and 331 of the Bankruptcy Code, such Federal Rules and
       Local Rules as may then be applicable, and any orders entered in this case governing the
       compensation and reimbursement of professionals for services rendered and charges and
       disbursements incurred.

    10. WALSH PIZZI O’REILLY FALANGA LLP shall not charge a markup with respect to
        fees billed by contract attorneys or independent contractors or subcontractors who are
        hired by WALSH PIZZI O’REILLY FALANGA LLP to provide services in this matter
        and shall ensure that any such contract attorneys or independent contractors or
        subcontractors are subject to conflict checks and disclosures in accordance with the
        requirements of the Bankruptcy Code and Bankruptcy Rules.

    11. At least ten (10) days before implementing any increases in WALSH PIZZI O’REILLY
        FALANGA LLP’s rates for professionals in this case, WALSH PIZZI O’REILLY
        FALANGA LLP shall file a supplemental affidavit with the Court explaining the basis
        for the rate increases in accordance with section 330 of the Bankruptcy Code. All parties
        in interest, including the U.S. Trustee, retain all rights to object to any rate increase on all
        grounds, including the reasonableness standard provided for in section 330 of the
        Bankruptcy Code.

    12. To the extent the Pre-Petition Balance, as determined by agreement of WALSH PIZZI
        O’REILLY FALANGA LLP and the Debtor or by order of the Court in the event an
        objection is raised, is not paid in full, WALSH PIZZI O’REILLY FALANGA LLP shall
        waive any amounts owed in excess of the Allowed Pre-Petition Fee Claim.




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                                 EXHIBIT B

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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                     Order Filed on May 18, 2023
         Paul R. DeFilippo, Esq.                                                          by Clerk
         500 Fifth Avenue                                                                 U.S. Bankruptcy Court
                                                                                          District of New Jersey
         New York, New York 10110
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com

         JONES DAY
         Gregory M. Gordon, Esq.
         Brad B. Erens, Esq.
         Dan B. Prieto, Esq.
         Amanda Rush, Esq.
         2727 N. Harwood Street
         Dallas, Texas 75201
         Telephone: (214) 220-3939
         Facsimile: (214) 969-5100
         gmgordon@jonesday.com
         bberens@jonesday.com
         dbprieto@jonesday.com
         asrush@jonesday.com
         (Admitted pro hac vice)
         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                           Chapter 11

         LTL MANAGEMENT LLC, 1                                            Case No.: 23-12825 (MBK)

                                     Debtor.                              Judge: Michael B. Kaplan

                                       ORDER APPOINTING RANDI S. ELLIS
                             AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS
                         The relief set forth on the following pages is hereby ORDERED.




DATED: May 18, 2023




     1




                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.
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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


                  This matter coming before the Court on the Debtor’s Motion for an Order

 Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants [Dkt. 87]

 (the “Motion”), 2 filed by the debtor in the above-captioned case (the “Debtor”) pursuant to

 sections 524(g)(4)(B) and 105(a) of the Bankruptcy Code; the Court having reviewed the

 Motion, the objections filed by the Official Committee of Talc Claimants [Dkt. 311], Paul

 Crouch [Dkt. 318], Maune Raichle Hartley French & Mudd, LLC [Dkt. 320], and the United

 States Trustee [Dkt. 321] (collectively, the “Objections”), the supplemental declaration

 [Dkt. 354] and amended supplemental declaration filed by Ms. Ellis [Dkt. 415], the Debtor’s

 reply in support of the Motion [Dkt. 355] and the responses to Ms. Ellis’ amended supplemental

 declaration filed by the Official Committee of Talc Claimants [Dkt. 436] and Maune Raichle

 Hartley French & Mudd, LLC [Dkt. 438], and having heard the statements of counsel and

 considered the evidence presented with respect to the Motion at a hearing before the Court on

 May 3, 2023 (the “Hearing”); the Court finding that (i) the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Standing Order of Reference, (ii) venue is

 proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding

 pursuant to 28 U.S.C. § 157(b), (iv) notice of the Motion and the Hearing was sufficient under

 the circumstances and (v) the relief requested in the Motion is in the best interests of the Debtor,

 its estate and its creditors; and after due deliberation and for the reasons set forth by the Court on

 the record during the May 9, 2023 hearing, the Court having overruled the Objections and



 2
         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


 determined that the legal and factual bases set forth in the Motion and at the Hearing establish

 just cause for the relief granted herein;

                  IT IS HEREBY ORDERED THAT:

                  1.      The Motion is GRANTED to the extent set forth herein.

                  2.      Pursuant to sections 524(g)(4)(B)(i) and 105(a) of the Bankruptcy Code,

 Randi S. Ellis is hereby appointed as the Future Claimants’ Representative to represent and

 protect the rights of, absent further order of the Court, natural persons or the representatives of

 estates of natural persons, including those in Canada or in the United States, that may assert a

 demand for payment, present or future, that: (a) is not a claim during the proceedings prior to the

 entry of an order confirming a plan of reorganization (the “Plan”), because such natural person

 was diagnosed with disease after such time; and (b) arises out of the same or similar conduct or

 events that gave rise to the claims to be addressed by an injunction issued to enjoin entities from

 taking legal action for the purpose of directly or indirectly collecting, recovering or receiving

 payment or recovery with respect to any claim or demand that, under the Plan, is to be paid in

 whole or in part by a trust established pursuant to section 524(g)(2)(B)(i) and/or 105(a) of the

 Bankruptcy Code (collectively, the “Future Claimants”). The Future Claimants’ Representative

 shall represent the interests of, appear and act on behalf of, and be a fiduciary to Future

 Claimants to protect the rights and interests of such Future Claimants and shall be entitled to

 compensation in connection therewith from the date of the filing of the Motion. Ms. Ellis will

 have no other obligations except those that may be prescribed by orders of the Court and

 accepted by Ms. Ellis.


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 Debtor: LTL Management LLC
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 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


                  3.    The Future Claimants’ Representative shall be a party in interest in this

 Chapter 11 Case and shall have standing under section 1109(b) of the Bankruptcy Code to be

 heard on any issue in this case in the Bankruptcy Court, the District Court or any other court

 affecting the rights of Future Claimants. The Future Claimants’ Representative shall have the

 powers and duties of a committee set forth in section 1103 of the Bankruptcy Code as are

 appropriate for a Future Claimants’ Representative.

                  4.    In her role as the Future Claimants’ Representative, Ms. Ellis may employ

 attorneys and other professionals consistent with sections 105, 327, and 1103 of the Bankruptcy

 Code, subject to prior approval of this Court, and such attorneys and other professionals shall be

 subject to the terms of any Interim Compensation Order.

                  5.    Compensation, including professional fees and reimbursement of actual

 and necessary expenses, shall be payable to Ms. Ellis and her professionals from the Debtor’s

 estate, as appropriate, subject to approval of this Court, and in accordance with the terms,

 conditions and procedures set forth in the Interim Compensation Order. In her role as the Future

 Claimants’ Representative, Ms. Ellis shall be compensated at the rate of $1,015 per hour, subject

 to periodic adjustment (usually on January 1 of each year) in the ordinary course of her business,

 plus reimbursement of actual, reasonable and documented out-of-pocket expenses.

                  6.    The Future Claimants’ Representative shall not be liable for any damages,

 or have any obligation other than as prescribed by order of the Court; provided, however, that the

 Future Claimants’ Representative may be liable for damages caused by willful misconduct or

 gross negligence. The Future Claimants’ Representative shall not be liable to any person as a


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 Debtor: LTL Management LLC
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 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


 result of any action or omission taken or made in good faith. The Debtor shall indemnify,

 defend, and hold harmless Ms. Ellis, her employees and professionals (individually

 an “Indemnified Party”) from all claims against any of them, and all losses, claims, damages or

 liabilities (or actions in respect thereof) to which any of them may become subject, as a result of

 or in connection with such party rendering services pursuant to this Order or to the Future

 Claimants’ Representative, unless and until it is finally judicially determined that such losses,

 claims, damages or liabilities were caused by willful misconduct or gross negligence on the part

 of such Indemnified Party. If before the earlier of (i) the entry of an order confirming a plan of

 reorganization in this case, and such order having become final and no longer subject to appeal,

 and (ii) the entry of an order closing this Chapter 11 Case, an Indemnified Party believes that he,

 she or it is entitled to payment of any amount by the Debtor on account of the Debtor’s

 obligations to indemnify, defend and hold harmless as set forth herein, including, without

 limitation, the advancement of defense costs, the Indemnified Party must file an application for

 such amounts with the Court, and the Debtor may not pay any such amounts to the Indemnified

 Party before the entry of an order by the Court authorizing such payments. The preceding

 sentence is intended to specify the period of time during which the Court has jurisdiction over

 the Debtor’s obligations to indemnify, defend and hold harmless as set forth herein, and is not a

 limitation on the duration of the Debtor’s obligation to indemnify any Indemnified Party. In the

 event that a cause of action is asserted against any Indemnified Party arising out of or relating to

 the performance of his, her or its duties pursuant to this Order or to the Future Claimants’

 Representative, the Indemnified Party shall have the right to choose his, her or its own counsel.


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 (Page 6)
 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


 For the avoidance of doubt, gross negligence, willful misconduct, bad faith or fraud on the part

 of one Indemnified Party shall not preclude indemnification for the other Indemnified Parties.

 Any such indemnification shall be an allowed administrative expense under section 503(b) of the

 Bankruptcy Code and shall be paid upon application to and approval of this Court.

                  7.    Ms. Ellis and any Court-approved counsel retained by Ms. Ellis in her role

 as Future Claimants’ Representative shall be deemed members of the “Core Service List” (or

 equivalent thereof) for purposes of any Case Management Procedures.

                  8.    Unless otherwise ordered by this Court or as provided for in any

 confirmed plan of reorganization, Ms. Ellis’ appointment as Future Claimants’ Representative

 shall terminate upon the effective date of a plan of reorganization in this Chapter 11 Case or

 otherwise by written resignation or incapacity to serve.

                  9.    The Debtor shall pay the Future Claimants’ Representative Liability

 Insurance, the cost of which is expected to be approximately $100,000 per year without further

 Court approval.

                  10.   The requirement set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

                  11.   The Debtor is hereby authorized to take all actions it deems necessary to

 effectuate the relief granted in this Order.

                  12.   This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation and/or enforcement of this Order.


 NAI-1536798282
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                                  EXHIBIT C

                         Walsh Time and Expense Invoice
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                                                                   49
                                                      Three Gateway Center
                                                      100 Mulberry Street, 15th Floor
Telephone: (973) 757-1100                             Newark, NJ 07102                              Fax: (973) 757-1090
                                                      Federal Tax I.D. No.: XX-XXXXXXX




       Randi S. Ellis, Legal Representative for Future Talc Claimants                            July 14, 2023
       United States Bankruptcy Court                                                            Client:       001737
       District of New Jersey                                                                    Matter:       000001
       402 East State Street                                                                     Invoice #:     20970
       Trenton, NJ 08608                                                                         Resp. Atty:     LMW
                                                                                                 Page:              1

       RE: In Re: LTL Management, LLC
           Case No.: 23-12825-MBK
           Judge: Michael B. Kaplan
           Chapter: 11


       For Professional Services Rendered Through June 30, 2023


SERVICES


Date          TMK      Task           Description of Services                            Hours       Rate     Amount
6/1/2023      CIG      B200           REVIEW ISSUES RELATED TO MOTION TO                   0.3    $520.00     $156.00
                                      INTERVENE IN APPEAL OF FCR
                                      APPOINTMENT (.2); CONFER WITH WALSH
                                      TEAM REGARDING MOTION OT INTERVENE
                                      (.1).
6/1/2023      CIG      B170           CORRESPONDENCE WITH DEBTOR                           0.1    $520.00       $52.00
                                      REGARDING FEES.
6/1/2023      CIG      B140           REVIEW DAILY DOCKET FILINGS                          0.7    $520.00     $364.00
                                      INCLUDING THE RUCKDESCHEL FIRM'S
                                      OPPOSITION TO DEBTOR'S MOTION TO
                                      COMPEL, LEVY KONIGSBERG'S
                                      OPPOSITION TO DEBTOR'S MOTION TO
                                      COMPEL, TCC'S OPPOSITION TO DEBTOR'S
                                      MOTION TO COMPEL, ASHCRAFT &
                                      GEREL'S OPPOSITION TO DEBTOR'S
                                      MOTION TO COMPEL, WEITZ &
                                      LUXENBERG'S JOINDER TO TCC'S
                                      OPPOSITION TO DEBTOR'S MOTION TO
                                      COMPEL, JOINDER OF NON-PARTY DEAN
                                      OMAR BRANHAM SHIRLEY LLP TO TCC'S
                                      OPPOSITION TO MOTION TO COMPEL (.6);
                                      REVIEW SUMMARY OF DAILY FILINGS FOR
                                      FCR (.1).
6/1/2023      CMH      B200           ATTEND TO ISSUES REGARDING                           0.7    $520.00     $364.00
                                      POTENTIAL EXPERT RETENTION.
6/1/2023      CMH      B200           TELEPHONE CALL WITH POTENTIAL                        0.4    $520.00     $208.00
                                      EXPERT.
6/1/2023      CMH      B200           ANALYZE BANKRUPTCY PLEADINGS.                        1.7    $520.00     $884.00
           Case 23-12825-MBK   Doc 1243-2
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SERVICES


Date         TMK   Task        Description of Services                Hours        Rate      Amount
6/1/2023     LMW   B200        REVIEW DEBTOR’S MOTION FOR A BRIDGE      0.3     $905.00      $271.50
                               ORDER CONFIRMING AUTOMATIC STAY
                               APPLIES TO CERTAIN ACTIONS ASSERTED
                               AGAINST AFFILIATES OR TEMPORARILY
                               EXTENDING THE STAY AND PRELIMINARY
                               INJUNCTION TO SUCH ACTIONS PENDING
                               A FINAL HEARING.
6/1/2023     LMW   B200        REVIEW THE RUCKDESCHEL LAW FIRM’S        1.2     $905.00     $1,086.00
                               OPPOSITION TO DEBTOR’S MOTION TO
                               COMPEL (.2); LEVY KONIGSBERG LLP’S
                               OPPOSITION TO DEBTOR’S MOTION TO
                               COMPEL (.2); TCC’S OPPOSITION TO
                               DEBTOR’S MOTION TO COMPEL (.4);
                               ASHCRAFT & GEREL, LLP’S OPPOSITION
                               TO DEBTOR’S MOTION TO COMPEL (.2);
                               WEITZ & LUXENBERG, P.C.’S JOINDER TO
                               TCC’S OPPOSITION TO DEBTOR’S MOTION
                               TO COMPEL (.1); JOINDER OF NON-PARTY
                               DEAN OMAR BRANHAM SHIRLEY, LLP TO
                               TCC’S OPPOSITION TO DEBTOR’S MOTION
                               TO COMPEL (.1).
6/1/2023     SVF   B140        CONFERENCE M. FALK REGARDING CASE        0.2     $695.00      $139.00
                               STATUS AND OPEN ISSUES.
6/1/2023     SVF   B140        COMMUNICATE COURT REGARDING ZOOM         0.1     $695.00       $69.50
                               HEARING APPEARANCE.
6/1/2023     SVF   B140        COMMUNICATE MEDIATORS REGARDING          0.1     $695.00       $69.50
                               STATUS CALL.
6/1/2023     SVF   B140        ATTEND CONFERENCE CALL REGARDING         0.4     $695.00      $278.00
                               POTENTIAL EXPERT.
6/1/2023     SVF   B200        REVIEW NEW DEBTOR COMPLAINT              0.5     $695.00      $347.50
                               AGAINST DR. MOLINE.
6/1/2023     SVF   B200        REVIEW APPEAL OF FCR APPOINTMENT         0.8     $695.00      $556.00
                               ORDER AND RELATED APPEAL ISSUES.
6/1/2023     SVF   B200        REVIEW SUMMARY OF RECENTLY FILED         0.5     $695.00      $347.50
                               BANKRUPTCY PLEADINGS INCLUDING TCC
                               OPPOSITION TO DISCOVERY MATTERS.
6/1/2023     SVF   B140        ATTEND TO UPDATED BUDGET FOR US          0.7     $695.00      $486.50
                               TRUSTEE GUIDELINES.
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SERVICES


Date         TMK   Task        Description of Services                  Hours        Rate      Amount
6/1/2023     MF    B200        COMMUNICATIONS WITH CLIENT AND             6.9     $960.00     $6,624.00
                               TEAM ABOUT MEDIATION FOLLOW UP (.4);
                               REVIEW FILINGS INCLUDING RUCKDESEL'S
                               OPPOSITION TO DEBTORS MOTION TO
                               COMPEL, LEVY KONINGSBERG'S MOTION
                               IN OPPOSITION TO MOTION TO COMPEL,
                               TCC'S OPPOSITION TO MOTION TO
                               COMPEL, ASHCRAFT AND GEREL
                               OPPOSITION TO MOTION TO COMPEL, AND
                               WEITZ AND LUXENBOURGS'S OPPOSITION
                               TO MOTION TO COMPEL (3.9); REVIEW
                               OPPOSITION BY NON-PARTY DEAN,
                               OMAR,BRANHAMSH AND SHIRLEY (.3);
                               REVIEW PLEADINGS AND FILINGS IN THE
                               MOLINE MATTER (1.2); REVIEW REQUESTS
                               FROM MEDIATORS (.3) PROVIDE INPUT
                               INTO RESPONSE TO MEDIATORS
                               INQUIRIES (.4); REVIEW LETTER FROM DAN
                               STOLZ TO JUDGE KAPLAN (.4).
6/1/2023     JKF   B200        ANALYZE ISSUES RELATED TO                  0.2     $375.00       $75.00
                               INTERVENTION IN FCR APPEAL.
6/1/2023     JKF   B140        REVIEW AND ANALYZE DOCKET FILINGS          1.4     $375.00      $525.00
                               (.9); DRAFT SUMMARY OF SAME FOR FCR
                               (.5).
6/1/2023     BET   B200        CORRESPONDENCE TO JUDGE KAPLAN'S           0.1     $210.00       $21.00
                               CHAMBERS REQUESTING PARTICIPANT
                               ZOOM LINK FOR S. FALANGA FOR JUNE 2,
                               2023 HEARING.
6/2/2023     CIG   B200        REVIEW ISSUES CONCERNING                   0.1     $520.00       $52.00
                               INTERVENTION IN APPEAL.
6/2/2023     CIG   B170        CORRESPONDENCE WITH US TRUSTEE             0.1     $520.00       $52.00
                               REGARDING WALSH RETENTION
                               APPLICATION.
6/2/2023     CIG   B140        REVIEW DAILY DOCKET FILINGS                0.3     $520.00      $156.00
                               INCLUDING BEASLEY'S OPPOSITION TO
                               DEBTOR'S MOTION TO COMPEL, TCC'S
                               MOTION TO COMPEL DEPOSITION OF
                               ADAM PULASKI, AND MR'S 2019.1
                               DISCLOSURE (.2); REVIEW SUMMARY OF
                               FILINGS FOR FCR (.1).
6/2/2023     CIG   B170        CORRESPONDENCE WITH WALSH TEAM             0.1     $520.00       $52.00
                               REGARDING WALSH RETENTION
                               APPLICATION.
6/2/2023     CMH   B200        ANALYZE ISSUES REGARDING POTENTIAL         0.6     $520.00      $312.00
                               EXPERT RETENTION.
6/2/2023     LMW   B200        ATTEND HEARING BEFORE JUDGE                1.6     $905.00     $1,448.00
                               KAPLAN.
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SERVICES


Date         TMK   Task        Description of Services                 Hours        Rate      Amount
6/2/2023     LMW   B140        ATTEND CALL WITH STEVE FALANGA AND        0.7     $905.00      $633.50
                               RANDI ELLIS REGARDING POTENTIAL
                               EXPERT.
6/2/2023     LMW   B200        REVIEW BEASLEY, ALLEN, CROW,              0.6     $905.00      $543.00
                               METHVIN, PORTIS, & MILES, P.C.
                               OPPOSITION TO DEBTOR’S MOTION TO
                               COMPEL (.2); MRHFM’S OBJECTION TO
                               DEBTOR’S MOTION FOR A BRIDGE ORDER
                               (.2); TCC OBJECTION TO MOTION FOR
                               BRIDGE ORDER (.2).
6/2/2023     LMW   B170        REVIEW DRAFT SUPPLEMENTAL                 0.2     $905.00      $181.00
                               CERTIFICATIONS OF FCR AND FALK.
6/2/2023     LMW   B170        REVIEW REVISED FORM OF ORDER              0.1     $905.00       $90.50
                               REGARDING THE RETENTION OF WALSH
                               PIZZI O’REILLY FALANGA LLP ON BEHALF
                               OF THE FCR.
6/2/2023     LMW   B200        REVIEW TCC MOTION TO COMPEL               0.3     $905.00      $271.50
                               DEPOISTION OF ADAM PULASKI, OF
                               PULASKI KHERKHER, PLLC (.1); VERIFIED
                               RULE 2019.1 DISCLOSURE OF MRHFM (.1);
                               MOLINE COMPLAINT (.1).
6/2/2023     SVF   B140        ATTEND COURT ZOOM HEARING.                1.6     $695.00     $1,112.00
6/2/2023     SVF   B140        COMMUNICATE L. WALSH REGARDING            0.2     $695.00      $139.00
                               EXPERT RETENTION AND COURSE OF
                               ACTION.
6/2/2023     SVF   B140        COMMUNICATE POSSIBLE EXPERT.              0.8     $695.00      $556.00
6/2/2023     SVF   B140        COMMUNICATE FCR REGARDING EXPERT          0.7     $695.00      $486.50
                               RETENTION AND COURSE OF ACTION.
6/2/2023     SVF   B170        REVIEW AND FINALIZE SUPPLEMENTAL          0.8     $695.00      $556.00
                               CERTIFICATIONS AND REVISED
                               RETENTION ORDER.
6/2/2023     SVF   B170        COMMUNICATE COURT REGARDING               0.2     $695.00      $139.00
                               SUBMISSION OF REVISED RETENTION
                               ORDER.
6/2/2023     SVF   B140        PREPARE FINAL REVISIONS TO DRAFT          0.8     $695.00      $556.00
                               BUDGET.
6/2/2023     SVF   B140        COMMUNICATE FCR REGARDING DRAFT           0.2     $695.00      $139.00
                               BUDGET.
6/2/2023     SVF   B170        COMMUNICATE J. SPONDER REGARDING          0.2     $695.00      $139.00
                               CERTIFICATIONS AND REVISED FORM OF
                               RETENTION ORDER.
6/2/2023     SVF   B200        REVIEW RECENTLY FILED BANKRUPTCY          0.3     $695.00      $208.50
                               PLEADINGS SUMMARY AND RELATED TCC
                               MOTION TO COMPEL.
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SERVICES


Date         TMK   Task        Description of Services                Hours        Rate      Amount
6/2/2023     SVF   B200        COMMUNICATE FCR REGARDING                0.1     $695.00       $69.50
                               RECENTLY FILED COMPLAINT AGAINST DR.
                               MOLINE.
6/2/2023     MF    B200        ATTEND HEARING BEFORE JUDGE KAPLAN       4.3     $960.00     $4,128.00
                               (1.6); REVIEW BEASLEY ALLEN CROW ETC
                               REGARDING DEBTORS MOTION TO
                               COMPEL (.3); REVIEW MAUNE RAICHLE'S
                               OBJECTION TO DEBTORS MOTION FOR A
                               BRIDGE ORDER AND TCC'S OBJECTION RE
                               BRIDGE ORDER (1.8); REVIEW OF NEW
                               COMPLAINT REGARDING MOLINE (.4);
                               REVIEW AND INPUT REVISED ORDER TO
                               COURT (.2).
6/2/2023     MF    B170        REVIEW AND REVISE CERTIFICATIONS         1.5     $960.00     $1,440.00
                               REGARDING RETENTION OF RANDI ELLIS
                               AND WALSH AS ATTORNEY FOR FCR (.9);
                               REVIEW AND INPUT US TRUSTEE'S
                               REQUEST FOR BUDGET FOR FCR (.6).
6/2/2023     JKF   B140        REVIEW AND ANALYZE RECENT DOCKET         1.5     $375.00      $562.50
                               FILINGS (.8); DRAFT SUMMARY OF SAME
                               FOR FCR (.7).
6/2/2023     BET   B170        FINALIZE AND ELECTRONICALLY FILE         0.6     $210.00      $126.00
                               SUPPLEMENTAL CERTIFICATIONS OF
                               RANDI ELLIS AND MARK FALK IN FURTHER
                               SUPPORT OF WPOF'S RETENTION
                               APPLICATION.
6/4/2023     CIG   B170        CORRESPOND WITH L. WALSH                 0.1     $520.00       $52.00
                               REGARDING FEE APPLICATIONS.
6/4/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL            0.4     $405.00      $162.00
                               DOCKET FILINGS (0.2); PREPARE
                               SUMMARY FOR FCR AND WALSH TEAM
                               SUMMARY (0.2).
6/5/2023     CIG   B170        REVIEW ENTERED ORDER GRANTING            0.1     $520.00       $52.00
                               WALSH RETENTION APPLICATION.
6/5/2023     CIG   B140        REVIEW DAILY FILINGS INCLUDING TCC'S     0.5     $520.00      $260.00
                               MOTION TO TERMINATE DEBTOR'S
                               EXCLUSIVE PERIOD AND MOTION TO
                               SHORTEN TIME, ORDER GRANTING
                               MOTION TO SHORTEN TIME, AND FILINGS
                               RELATED TO VARIOUS RETENTION
                               APPLICATIONS (.4); REVIEW SUMMARY OF
                               DAILY FILINGS FOR FCR (.1).
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SERVICES


Date         TMK   Task        Description of Services                  Hours        Rate      Amount
6/5/2023     CIG   B170        REVIEW FORM OF WALSH FEE                   1.2     $520.00      $624.00
                               APPLICATION (.3); CORRESPOND WITH G.
                               PINEIRO AND B. TROYAN REGARDING
                               WALSH FEE APPLICATION (.1); REVIEW
                               FORM OF ELLIS FEE APPLICATION (.2);
                               CORRESPOND WITH G. PINEIRO AND B.
                               TROYAN REGARDING ELLIS FEE
                               APPLICATION (.1); CORRESPOND WITH L.
                               WALSH AND S. FALANGA REGARDING
                               WALSH AND ELLIS FEE APPLICATIONS (.1);
                               TELEPHONE CONFERENCE WITH L. WALSH
                               AND B. TROYAN REGARDING WALSH AND
                               ELLIS FEE APPLICATIONS (.3);
                               CORRESPOND WITH COUNSEL FOR
                               DEBTOR REGARDING WALSH AND ELLIS
                               LEDES FILES (.1).
6/5/2023     CMH   B200        ANALYZE BANKRUPTCY PLEADINGS AND           1.5     $520.00      $780.00
                               RELATED ISSUES.
6/5/2023     LMW   B200        REVIEW TRANSCRIPT OF JUNE 2ND              0.4     $905.00      $362.00
                               HEARING.
6/5/2023     LMW   B200        REVIEW TCC'S MOTION TO TERMINATE           0.4     $905.00      $362.00
                               DEBTOR'S EXCLUSIVE PERIOD (.3);
                               APPLICATION FOR ORDER SHORTENING
                               TIME (.1).
6/5/2023     SVF   B170        REVIEW INTERIM FEE ORDER AND               0.4     $695.00      $278.00
                               RELATED FILINGS AND COMMUNICATE
                               TEAM REGARDING SAME.
6/5/2023     SVF   B200        COMMUNICATE POTENTIAL EXPERT.              0.4     $695.00      $278.00
6/5/2023     SVF   B200        COMMUNICATE FCR AND L. WALSH               0.2     $695.00      $139.00
                               REGARDING POTENTIAL EXPERT.
6/5/2023     SVF   B200        COMMUNICATE M. FALK REGARDING              0.1     $695.00       $69.50
                               EXPERT AND CASE ISSUES.
6/5/2023     MF    B200        COMMUNICATIONS REGARDING EXPERTS           1.8     $960.00     $1,728.00
                               (.3); REVIEW TRANSCRIPT OF JUNE 2,
                               MOTIONS TO COMPEL (1.0) REVIEW
                               DEBTORS MOTION TO TERMINATE
                               DEBTOR'S EXCLUSIVE PERIOD (.5).
6/5/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL              1.3     $405.00      $526.50
                               DOCKET FILINGS (0.8); PREPARE
                               SUMMARY FOR FCR AND WALSH TEAM
                               SUMMARY (0.5).
6/5/2023     FWY   B140        ANALYZE PRIOR WEEK SUMMARIES OF            1.1     $405.00      $445.50
                               RELEVANT DOCKET FILINGS FOR FCR AND
                               WALSH TEAM.
6/5/2023     FWY   B140        ANALYZE PRIOR WEEK RELEVANT                1.9     $405.00      $769.50
                               DOCKET FILINGS.
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                                                                               Resp. Atty:     LMW
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SERVICES


Date         TMK   Task        Description of Services                 Hours        Rate     Amount
6/5/2023     BET   B170        ATTEND TEAM CALL REGARDING                0.3     $210.00      $63.00
                               PREPARATION OF THE FIRST MONTHLY
                               FEE APPLICATION FOR FCR AND WPOF.
6/5/2023     BET   B170        DRAFT MONTHLY FEE APPLICATION FOR         1.6     $210.00     $336.00
                               THE PERIOD APRIL 5, 2023 THROUGH MAY
                               31, 2023 FOR FCR (.7); DRAFT MONTHLY
                               FEE APPLICATION FOR THE PERIOD APRIL
                               5, 2023 THROUGH MAY 31, 2023 FOR
                               WALSH FIRM (.9).
6/5/2023     BET   B170        REVIEW ORDER ESTABLISHING                 0.5     $210.00     $105.00
                               PROCEDURES FOR INTERIM
                               COMPENSATION AND REIMBURSEMENT OF
                               EXPENSES OF RETAINED PROFESSIONALS
                               (.3); REVIEW ORDER APPOINTING WALSH
                               AS COUNSEL FOR FCR (.2).
6/5/2023     BET   B140        REVIEW NOTICES OF APPEARANCE AND          4.3     $210.00     $903.00
                               MOTIONS FOR PRO HAC VICE ADMISSION
                               FILED ON CASE DOCKET AND PREPARE
                               MASTER PARTY/EMAIL SERVICE LIST.
6/6/2023     CIG   B170        CORRESPONDENCE WITH COUNSEL FOR           0.2     $520.00     $104.00
                               DEBTOR REGARDING ELLIS AND WALSH
                               FEES (.1); CORRESPOND WITH L. WALSH
                               AND G. PINEIRO REGARDING WALSH AND
                               ELLIS FEE APPLICATIONS AND INVOICES
                               (.1).
6/6/2023     CIG   B140        REVIEW DAILY FILINGS INCLUDING TCC'S      0.3     $520.00     $156.00
                               OBJECTION TO DEBTOR'S MOTION FOR
                               REIMBURSEMENT AGREEMENT, ORDER
                               PARTIALLY GRANTING TCC'S MOTION TO
                               COMPEL, AND TEXT ORDER CONCERNING
                               COURT HEARINGS, AND DEBTOR'S
                               MOTION TO EXTEND PRELIMINARY
                               INJUNCTION ORDER IN ADVERSARY
                               PROCEEDING (.2); REVIEW SUMMARY OF
                               DAILY FILINGS FOR FCR (.1).
6/6/2023     LMW   B200        REVIEW TCC'S OBJECTION TO DEBTOR'S        0.5     $905.00     $452.50
                               MOTION FOR REIMBURSEMENT
                               AGREEMENT (.1); ORDER PARTIALLY
                               GRANTING TCC'S MOTION TO COMPEL (.1);
                               MR FIRM'S OBJECTION TO DEBTOR'S
                               MOTION FOR EXPENSE AGREEMENT (.1);
                               NOTICE OF AGENDA FOR HEARING ON
                               JUNE 8, 2023 (.1); DEBTOR'S MOTION TO
                               EXTEND PRELIMINARY INJUNCTION
                               ORDER (.1).
6/6/2023     SVF   B140        REVIEW SUMMARY OF RECENTLY FILED          0.6     $695.00     $417.00
                               CASE PLEADINGS INCLUDING AGENDA
                               ITEMS.
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Date         TMK   Task        Description of Services                 Hours        Rate     Amount
6/6/2023     MF    B200        REVIEW ORDER GRANTING IN PART AND         0.8     $960.00     $768.00
                               DENYING IN PART TCC'S MOTION TO
                               COMPEL UNREDACTED DOCUMENTS (.3),
                               REVIEW DEBTOR'S LETTER TO JUDGED
                               KAPLAN RESPONDING TO MR. PLACITELLA
                               LETTER (.2); REVIEW NOTICE OF AGENDA
                               ITEMS FOR JUNE 8 HEARING (.3).
6/6/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL             2.4     $405.00     $972.00
                               DOCKET FILINGS (1.6); PREPARE
                               SUMMARY OF FILINGS FOR FCR AND
                               WALSH TEAM (0.8).
6/6/2023     FWY   B140        PLAN AND PREPARE FOR VIRTUAL              0.2     $405.00      $81.00
                               HEARING.
6/6/2023     BET   B140        REVIEW TRANSCRIPT OF HEARING              0.1     $210.00      $21.00
                               BEFORE JUDGE KAPLAN HELD ON JUNE 2,
                               2023.
6/7/2023     CIG   B170        ANALYZE AND REVISE DRAFT WALSH            1.6     $520.00     $832.00
                               INVOICE/FEE APPLICATION FOR APRIL AND
                               MAY (.8); ANALYZE AND REVISE DRAFT
                               ELLIS INVOICE/FEE APPLICATION FOR
                               APRIL AND MAY (.6); CORRESPOND WITH
                               G. PINEIRO AND L. WALSH REGARDING
                               WALSH AND ELLIS INVOICES AND FEE
                               APPLICATIONS (.2).
6/7/2023     CIG   B140        REVIEW DAILY DOCKET FILINGS               0.2     $520.00     $104.00
                               INCLUDING US TRUSTEE'S OBJECTION TO
                               DEBTOR'S MOTION FOR REIMBURSEMENT
                               AGREEMENT, ORDERS AUTHORIZING
                               DEBTOR'S RETENTION OF EPIQ,
                               ALIXPARTNERS, AND BATESWHITE (.1);
                               REVIEW SUMMARY OF FILINGS FOR FCR
                               (.1).
6/7/2023     LMW   B200        REVIEW US TRUSTEE'S OBJECTION TO          0.1     $905.00      $90.50
                               DEBTOR'S MOTION FOR REIMBURSEMENT
                               AGREEMENT.
6/7/2023     SVF   B140        REVIEW AGENDA MATTERS FOR HEARING.        0.1     $695.00      $69.50
6/7/2023     SVF   B200        TELECONFERENCE POSSIBLE EXPERT.           0.2     $695.00     $139.00
6/7/2023     SVF   B200        REVIEW RECENTLY FILED BANKRUPTCY          0.8     $695.00     $556.00
                               PLEADINGS INCLUDING TCC MOTION TO
                               TERMINATE EXCLUSIVITY.
6/7/2023     SVF   B200        COMMUNICATE FCR REGARDING CASE            0.1     $695.00      $69.50
                               ISSUES AND EXPERTS.
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Date         TMK   Task        Description of Services                  Hours        Rate     Amount
6/7/2023     MF    B200        REVIEW US TRUSTEES MOTION FOR              0.5     $960.00     $480.00
                               REIMBURSEMENT AGREEMENT WITH AD
                               HOC COMM OF SUPPORTING CLAIMS AND
                               TALC CLAIMANTS OBJECTIONS TO FEE
                               PLAN FOR DEBTOR'S FEE PLAN.
6/7/2023     MF    B200        REVIEW ORDER PARTIALLY GRANTING            0.3     $960.00     $288.00
                               TCC'S MOTION TO COMPEL AND MR'S
                               OBJECTION.
6/7/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL              1.2     $405.00     $486.00
                               DOCKET FILINGS (0.7); PREPARE
                               SUMMARY OF FILINGS FOR FCR AND
                               WALSH TEAM (0.5).
6/7/2023     FWY   B200        ANALYZE ARTICLES ON BANKRUPTCY             0.3     $405.00     $121.50
                               FILINGS AND VALADEZ TRIAL.
6/7/2023     FWY   B140        PLAN AND PREPARE FOR SCHEDULED             0.2     $405.00      $81.00
                               COURT HEARING.
6/7/2023     JKF   B200        ANALYZE DOCKET FILINGS.                    0.2     $375.00      $75.00
6/7/2023     BET   B140        CORRESPONDENCE TO JUDGE KAPLAN'S           0.1     $210.00      $21.00
                               CHAMBERS REQUESTING PARTICIPANT
                               ZOOM LINK FOR S. FALANGA FOR JUNE 8,
                               2023 HEARING.
6/7/2023     BET   B140        REVIEW DAILY CASE FILINGS INCLUDING        0.8     $210.00     $168.00
                               TCC'S OBJECTION TO DEBTOR'S MOTION
                               FOR REIMBURSEMENT AGREEMENT (.1);
                               ORDER PARTIALLY GRANTING TCC'S
                               MOTION TO COMPEL (.1); MR FIRM'S
                               OBJECTION TO DEBTOR'S MOTION FOR
                               EXPENSE AGREEMENT (.1); AND NOTICE
                               OF AGENDA FOR HEARING ON JUNE 8,
                               2023 (.1); REVIEW INVOICE RECEIVED
                               FROM J&J COURT TRANSCRIBERS FOR
                               TRANSCRIPT OF JUNE 2, 2023 HEARING
                               AND PROCESS (.2); REVIEW INVOICE
                               RECEIVED FROM J&J COURT
                               TRANSCRIBERS FOR TRANSCRIPT OF MAY
                               30, 2023 HEARING AND PROCESS (.2).
6/7/2023     BET   B170        DRAFT CERTIFICATE OF SERVICE FOR           0.4     $210.00      $84.00
                               FCR'S APRIL-MAY FEE APPLICATION (.2);
                               DRAFT CERTIFICATE OF SERVICE FOR
                               WPOF'S APRIL-MAY FEE APPLICATION (.2).
6/8/2023     CIG   B140        REVIEW INFORMATION CONCERNING              0.2     $520.00     $104.00
                               COURT HEARING CANCELLATIONS (.1);
                               CORRESPOND WITH WALSH TEAM AND
                               FCR REGARDING CANCELED HEARING (.1).
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Date         TMK   Task        Description of Services                Hours        Rate     Amount
6/8/2023     CIG   B140        REVIEW DAILY DOCKET FILINGS              0.2     $520.00     $104.00
                               INCLUDING DEBTOR'S MOTION WAIVING
                               LOCAL RULE REQUIREMENT, ESTATE OF
                               FLEMING'S LETTER CONCERNING MOTION
                               TO DISMISS, AND SUMMARY OF
                               UPCOMING HEARINGS (.1); REVIEW
                               SUMMARY OF FILINGS FOR FCR (.1).
6/8/2023     CIG   B140        ATTEND WEEKLY WALSH TEAM MEETING.        0.4     $520.00     $208.00
6/8/2023     CMH   B140        ATTEND WEEKLY WALSH TEAM STATUS          0.4     $520.00     $208.00
                               MEETING.
6/8/2023     LMW   B200        REVIEW DEBTOR'S MOTION TO COMPEL         0.5     $905.00     $452.50
                               DISCOVERY (.3); DEBTOR'S MOTION
                               WAIVING LOCAL RULE REQUIREMENT (.1);
                               ESTATE OF FLEMING'S LETTER ON
                               MOTION TO DISMISS (.1).
6/8/2023     LMW   B140        ATTEND WEEKLY WALSH TEAM MEETING.        0.4     $905.00     $362.00
6/8/2023     LMW   B140        ATTEND CALL WITH S. FALANGA              0.2     $905.00     $181.00
                               REGARDING EXPERT ISSUES.
6/8/2023     SVF   B200        REVIEW DEBTOR'S MOTION REGARDING         0.2     $695.00     $139.00
                               CLAIMS BAR DATE.
6/8/2023     SVF   B170        REVIEW CORRESPONDENCE BRG                0.1     $695.00      $69.50
                               COUNSEL REGARDING RETENTION.
6/8/2023     SVF   B140        ATTEND WEEKLY WALSH TEAM STATUS          0.4     $695.00     $278.00
                               CALL.
6/8/2023     SVF   B200        CONFERENCE L. WALSH REGARDING            0.2     $695.00     $139.00
                               CASE AND EXPERT ISSUES.
6/8/2023     SVF   B200        COMMUNICATE FCR REGARDING CASE           0.2     $695.00     $139.00
                               AND EXPERT ISSUES.
6/8/2023     SVF   B200        TELECONFERENCE POSSIBLE EXPERT.          0.4     $695.00     $278.00
6/8/2023     SVF   B140        ATTEND WEEKLY TEAM STATUS MEETING.       0.5     $695.00     $347.50
6/8/2023     SVF   B140        COMMUNICATE FCR REGARDING CASE           0.1     $695.00      $69.50
                               ISSUES AND EXPERTS.
6/8/2023     MF    B200        PARTICIPATE IN FCR TEAM CALL             0.5     $960.00     $480.00
                               REGARDING STATUS AND STRATEGY IN
                               ONGOING CASE (.4); REVIEW DEBTOR'S
                               MOTION FOR ORDER WAIVING
                               REQUIREMENTS OF R. 3003-1(A)1 OF THE
                               LOCAL RULES OF BANKRUPTCY COURT OF
                               NEW JERSEY (.1).
6/8/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL            0.9     $405.00     $364.50
                               DOCKET FILINGS (0.6); PREPARE
                               SUMMARY OF FILINGS FOR FCR AND
                               WALSH TEAM (0.3).
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6/8/2023     FWY   B140        ATTEND WEEKLY WALSH TEAM CASE            0.4     $405.00     $162.00
                               STATUS AND STRATEGY MEETING.
6/8/2023     FWY   B200        PREPARE SUMMARY OF TEAM STRATEGY         0.2     $405.00      $81.00
                               MEETING.
6/8/2023     FWY   B140        ANALYZE BANKRUPTCY DOCKET AND            0.4     $405.00     $162.00
                               COURT WEBSITES REGARDING
                               CANCELLATION OF HEARING AND
                               HEARING SCHEDULES.
6/8/2023     FWY   B200        PLAN AND PREPARE FOR CALLS WITH          0.2     $405.00      $81.00
                               POTENTIAL EXPERTS.
6/8/2023     FWY   B200        CORRESPOND WITH POTENTIAL EXPERTS        0.1     $405.00      $40.50
                               REGARDING PROPOSED CALL.
6/8/2023     JKF   B140        ATTEND WALSH TEAM STRATEGY               0.4     $375.00     $150.00
                               MEETING.
6/8/2023     BET   B140        ATTEND WEEKLY TEAM CASE                  0.4     $210.00      $84.00
                               STATUS/STRATEGY MEETING.
6/9/2023     CIG   B140        REVIEW DAILY FILINGS INCLUDING           0.4     $520.00     $208.00
                               HEARING SCHEDULING ORDERS, TCC'S
                               STATEMENT OF ISSUES ON APPEAL, TCC'S
                               OBJECTION TO DEBTOR'S MOTION TO
                               MODIFY INJUNCTION ORDER, US
                               TRUSTEE'S OBJECTION TO DEBTOR'S
                               MOTION TO MODIFY INJUNCTION ORDER
                               (.3); REVIEW SUMMARY OF FILINGS FOR
                               FCR (.1).
6/9/2023     CMH   B200        ANALYZE BANKRUPTCY PLEADINGS AND         1.7     $520.00     $884.00
                               LEGAL ISSUES FOR APPEAL.
6/9/2023     LMW   B200        REVIEW TCC’S STATEMENT OF ISSUES ON      0.9     $905.00     $814.50
                               APPEAL (.3); TCC OBJECTION TO
                               DEBTOR'S MOTION TO MODIFY
                               INJUNCTION ORDER (.2); US TRUSTEE'S
                               OBJECTION TO DEBTOR'S MOTION TO
                               MODIFY INJUNCTION ORDER (.4).
6/9/2023     LMW   B140        ATTEND CALL WITH STEVE FALANGA           0.3     $905.00     $271.50
                               REGARDING EXPERT ISSUES.
6/9/2023     SVF   B200        TELECONFERENCES POSSIBLE EXPERTS.        0.3     $695.00     $208.50
6/9/2023     SVF   B140        REVIEW CORRESPONDENCE BRG                0.1     $695.00      $69.50
                               REGARDING RETENTION STATUS.
6/9/2023     SVF   B140        COMMUNICATE FCR REGARDING CASE           0.2     $695.00     $139.00
                               ISSUES AND EXPERTS.
6/9/2023     SVF   B140        ATTEND TO EXPERT RETENTION ISSUES.       0.8     $695.00     $556.00
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Date         TMK   Task        Description of Services               Hours        Rate      Amount
6/9/2023     SVF   B140        REVIEW SUMMARY OF RECENT                0.8     $695.00      $556.00
                               BANKRUPTCY FILINGS AND RELATED
                               DOCKET AND HEARING DATES (.6);
                               COMMUNICATE F. YOOK REGARDING
                               COURSE OF ACTION (.2).
6/9/2023     MF    B200        REVIEW AND ANALYZE TCC'S STATEMENT      0.0       $0.00        $0.00
                               OF ISSUES ON APPEAL AS TO FCR
                               APPOINTMENT.
6/9/2023     MF    B200        REVIEW AND ANALYZE TCC'S STATEMENT      1.4     $960.00     $1,344.00
                               OF ISSUES ON APPEAL AS TO FCR
                               APPOINTMENT (1.2); REVIEW
                               COMMUNICATIONS ON MOTIONS TO
                               DISMISS (.2).
6/9/2023     FWY   B140        ANALYZE BANKRUPTCY AND APPEAL           1.0     $405.00      $405.00
                               DOCKET FILINGS (0.6); PREPARE
                               SUMMARY OF FILINGS FOR FCR AND
                               WALSH TEAM (0.4).
6/9/2023     FWY   B200        E-MAIL EXCHANGE WITH S. FALANGA         0.1     $405.00       $40.50
                               REGARDING FOLLOW-UP CALL WITH
                               POTENTIAL EXPERTS.
6/9/2023     FWY   B200        E-MAIL EXCHANGES WITH POTENTIAL         0.6     $405.00      $243.00
                               EXPERTS REGARDING MEETING AND
                               ENGAGEMENT.
6/9/2023     FWY   B200        PLAN AND PREPARE FOR FOLLOW-UP          0.2     $405.00       $81.00
                               CALLS WITH OTHER POTENTIAL EXPERTS.
6/9/2023     BET   B140        REVIEW NOTICES OF APPEARANCE AND        1.8     $210.00      $378.00
                               MOTIONS FOR PRO HAC VICE ADMISSION
                               FILED ON CASE DOCKET AND PREPARE
                               MASTER PARTY/EMAIL SERVICE LIST.
6/11/2023    CIG   B140        REVIEW RECENT DOCKET FILINGS            0.4     $520.00      $208.00
                               INCLUDING NOTICE OF SCHEDULED
                               HEARINGS, AHC'S RESPONSE TO
                               DEBTOR'S MOTION FOR REIMBURSEMENT
                               AGREEMENT, DEBTOR'S REPLY TO
                               MOTION FOR REIMBURSEMENT
                               AGREEMENT, AND NOTICE OF AGENDA
                               FOR JUNE 13TH HEARING (.3).; REVIEW
                               DRAFT SUMMARY OF RECENT FILINGS
                               FOR FCR (.1).
6/11/2023    FWY   B140        ANALYZE BANKRUPTCY AND APPEAL           1.6     $405.00      $648.00
                               DOCKET FILINGS (1.1); PREPARE
                               SUMMARY OF RECENT FILINGS FOR FCR
                               AND WALSH TEAM (0.5).
6/12/2023    CIG   B140        TELEPHONE CALL WITH S. FALANGA          0.2     $520.00      $104.00
                               REGARDING EXPERT ISSUES.
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Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/12/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING             0.7     $520.00      $364.00
                            SCHEDULED COURT HEARINGS, TCC'S
                            RESERVATION AS TO DEBTOR'S MOTION
                            TO WAIVE LOCAL RULE, DEBTOR'S
                            OBJECTION TO TCC'S MOTION TO
                            TERMINATE EXCLUSIVE PERIODS, AHC'S
                            OBJECTION TO MOTION TO TERMINATE
                            EXCLUSIVE PERIOD, NOTICE OF AMENDED
                            AGENDA FOR COURT HEARING, TCC'S
                            REPLY TO MOTION TO TERMINATE
                            EXCLUSIVE PERIOD, MARLIN EAGLES' INFO
                            BRIEF FOR TRIAL, AHC STATEMENT FOR
                            DEBTOR'S MOTION TO EXTEND
                            INJUNCTION ORDER, AND MR'S
                            OBJECTION TO DEBTOR'S MOTION TO
                            MODIFY PRELIMINARY INJUNCTION ORDER
                            (.6); REVIEW SUMMARY OF FILINGS FOR
                            FCR (.1).
6/12/2023   CMH   B140      ANALYZE ISSUES REGARDING POTENTIAL         0.5     $520.00      $260.00
                            EXPERT RETENTION.
6/12/2023   LMW   B140      ATTEND CALL WITH RANDI ELLIS               0.5     $905.00      $452.50
                            REGARDING CASE ISSUES AND COURSE
                            OF ACTION.
6/12/2023   LMW   B200      REVIEW TCC'S RESERVATION AS TO             1.8     $905.00     $1,629.00
                            DEBTOR'S MOTION TO WAIVE LOCAL RULE
                            (.1); DEBTOR'S OBJECTION TO TCC'S
                            MOTION TO TERMINATE EXCLUSIVE
                            PERIODS (.4); AHC OF SUPPORTING FIRMS'
                            OBJECTION TO MOTION TO TERMINATE
                            EXCLUSIVE PERIOD (.3); TCC'S REPLY TO
                            MOTION TO TERMINATE EXCLUSIVE
                            PERIOD (.1); NOTICE OF AMENDED
                            AGENDA (.1); MARLIN EAGLES' INFO BRIEF
                            FOR TRIAL (.1); AHC OF SUPPORTING
                            FIRMS' STATEMENT FOR DEBTOR'S
                            MOTION TO EXTEND INJUNCTION ORDER
                            (.1); MR FIRM'S OBJECTION TO DEBTOR'S
                            MOTION TO MODIFY PRELIMINARY
                            INJUNCTION ORDER (.1); TCC'S
                            DESIGNATION OF RECORD ON APPEAL (.5).
6/12/2023   SVF   B140      COMMUNICATE POSSIBLE EXPERT.               0.4     $695.00      $278.00
6/12/2023   SVF   B140      COMMUNICATE FCR AND L. WALSH               0.5     $695.00      $347.50
                            REGARDING EXPERT RETENTION.
6/12/2023   SVF   B140      COMMUNICATE ANDERSON REGARDING             0.2     $695.00      $139.00
                            CASE ISSUES AND COURSE OF ACTION.
6/12/2023   SVF   B200      REVIEW 3M DECISION.                        0.4     $695.00      $278.00
6/12/2023   SVF   B140      COMMUNICATE BRG COUNSEL                    0.1     $695.00       $69.50
                            REGARDING RETENTION STATUS.
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Date        TMK   Task      Description of Services                 Hours        Rate      Amount
6/12/2023   SVF   B200      REVIEW RECENTLY FILED BANKRUPTCY          0.8     $695.00      $556.00
                            PLEADINGS AND AGENDA ITEMS AND
                            PREPARE FOR COURT HEARING.
6/12/2023   MF    B200      REVIEW REVISED NOTICE OF AGENDA           0.3     $960.00      $288.00
                            ITEMS FOR TOMORROW'S COURT
                            HEARING.
6/12/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND          2.7     $405.00     $1,093.50
                            APPEAL DOCKET FILINGS (1.9); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.8).
6/12/2023   FWY   B140      PHONE CALL TO JUDGE KAPLAN'S              0.1     $405.00       $40.50
                            CHAMBERS REGARDING SCHEDULING OF
                            HEARINGS.
6/12/2023   FWY   B140      PLAN AND PREPARE FOR SCHEDULING           0.2     $405.00       $81.00
                            OMNIBUS AND MOTION TO DISMISS
                            HEARINGS.
6/12/2023   FWY   B140      CORRESPOND WITH POTENTIAL EXPERTS         0.3     $405.00      $121.50
                            REGARDING ENGAGEMENT.
6/12/2023   FWY   B140      PLAN AND PREPARE FOR CALL WITH            0.1     $405.00       $40.50
                            POTENTIAL EXPERT.
6/12/2023   BET   B140      REVIEW CASE DOCKET AND                    0.3     $210.00       $63.00
                            COMMUNICATE WITH TEAM REGARDING
                            UPCOMING HEARINGS.
6/13/2023   CIG   B170      CORRESPONDENCE FROM LTL'S COUNSEL         0.9     $520.00      $468.00
                            REGARDING WALSH AND ELLIS FEE APPS
                            (.1); REVISE DRAFT FEE APPLICATIONS
                            FOR WALSH AND ELLIS FOR APRIL/MAY
                            TIME PERIODS (.7); CORRESPOND WITH G.
                            PINEIRO REGARDING DRAFT FEE
                            APPLICATIONS (.1).
6/13/2023   CIG   B140      CORRESPOND WITH FCR REGARDING             0.1     $520.00       $52.00
                            UPCOMING COURT HEARINGS AND
                            DOCKET FILINGS REVIEW.
6/13/2023   CIG   B140      REVIEW SUMMARY OF 6/13 COURT              0.2     $520.00      $104.00
                            HEARING.
6/13/2023   CMH   B200      ANALYZE DISTRICT COURT FILINGS AND        0.4     $520.00      $208.00
                            APPEAL BRIEFING ISSUES.
6/13/2023   LMW   B140      ATTEND PORTION OF COURT HEARING.          2.7     $905.00     $2,443.50
6/13/2023   LMW   B200      REVIEW EXPERT ISSUES.                     0.6     $905.00      $543.00
6/13/2023   SVF   B195      TRAVEL TO TRENTON FOR HEARING.            1.6     $347.50      $556.00
6/13/2023   SVF   B140      ATTEND HEARING IN TRENTON.                5.2     $695.00     $3,614.00
6/13/2023   SVF   B195      RETURN TRAVEL FROM COURT.                 1.7     $347.50      $590.75
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SERVICES


Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/13/2023   SVF   B140      COMMUNICATE FCR REGARDING CASE             0.3     $695.00      $208.50
                            ISSUES.
6/13/2023   MF    B200      ATTEND OMINBUS HEARING BEFORE              5.7     $960.00     $5,472.00
                            JUDGE KAPLAN (5.0); COMMUNICATIONS
                            REGARDING EXPERT ISSUES (.7).
6/13/2023   MF    B195      TRAVEL TO TRENTON TO ATTEND                2.1     $480.00     $1,008.00
                            OMINBUS HEARING BEFORE JUDGE
                            KAPLAN.
6/13/2023   FWY   B140      ANALYZE BANKRUPTCY AND APPEAL              0.6     $405.00      $243.00
                            DOCKET FILINGS (0.4); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.2).
6/13/2023   FWY   B200      ATTEND COURT HEARING FOR ARGUMENT          5.0     $405.00     $2,025.00
                            ON MOTIONS.
6/13/2023   GXP   B170      REVISE DRAFT MONTHLY FEE                   1.9     $210.00      $399.00
                            APPLICATION FOR WALSH FIRM (1.1);
                            REVISE DRAFT MONTHLY FEE
                            APPLICATION FOR RANDI ELLIS (.8).
6/14/2023   CIG   B170      CORRESPOND WITH L. WALSH AND G.            0.2     $520.00      $104.00
                            PINEIRO REGARDING APRIL/MAY FEE
                            APPLICATIONS FOR ELLIS AND WALSH (.1);
                            CORRESPOND WITH R. ELLIS REGARDING
                            APRIL/MAY FEE APPLICATIONS (.1).
6/14/2023   CIG   B140      REVIEW DAILY DOCKET FILINGS                0.3     $520.00      $156.00
                            INCLUDING DOCKET ENTRIES ON MOTION
                            SCHEDULING AND OUTCOMES, ORDER
                            VACATING ORDER AT ECF NO. 773, AND
                            ORDER GRANTING AHC OF SUPPORTING
                            FIRMS' MOTION TO REDACT AND FILE
                            UNDER SEAL (.2); REVIEW SUMMARY OF
                            DOCKET FILINGS FOR FCR (.1).
6/14/2023   LMW   B170      REVIEW DRAFT FEE APPLICATIONS FOR          1.7     $905.00     $1,538.50
                            WALSH FIRM (.9); REVIEW DRAFT FEE
                            APPLICATIONS FOR FCR (.8).
6/14/2023   LMW   B140      REVIEW TRANSCRIPT OF JUNE 13               0.3     $905.00      $271.50
                            HEARING.
6/14/2023   LMW   B200      REVIEW ORDER GRANTING AHC OF               0.1     $905.00       $90.50
                            SUPPORTING FIRMS' MOTION TO REDACT
                            AND FILE UNDER SEAL.
6/14/2023   SVF   B140      COMMUNICATE D. MOLTON REGARDING            0.1     $695.00       $69.50
                            TCC STATUS CALL.
6/14/2023   SVF   B140      COMMUNICATE REGARDING POSSIBLE             0.5     $695.00      $347.50
                            EXPERT.
        Case 23-12825-MBK   Doc 1243-2
                                1030-4 Filed 08/17/23
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Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/14/2023   MF    B200      REVIEW TRANSCRIPT OF HEARINGS AND          5.0     $960.00     $4,800.00
                            STRATEGY FOR CASE ISSUES (4.2);
                            COMMUNICATIONS REGARDING EXPERT
                            ISSUES (.8).
6/14/2023   FWY   B200      ANALYZE CORRESPONDENCE WITH                0.2     $405.00       $81.00
                            POTENTIAL EXPERTS.
6/14/2023   FWY   B200      ANALYZE MATERIALS FOR POTENTIAL            0.2     $405.00       $81.00
                            EXPERT.
6/14/2023   FWY   B140      ANALYZE BANKRUPTCY AND APPEAL              0.7     $405.00      $283.50
                            DOCKET FILINGS (0.4); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.3).
6/14/2023   FWY   B200      ANALYZE MATERIALS FOR ALTERNATE            0.2     $405.00       $81.00
                            POTENTIAL EXPERT.
6/14/2023   BET   B140      REVIEW EXPERT MATREIALS WITH BRG           0.3     $210.00       $63.00
                            (.2); EMAIL COMMUNICATION TO TEAM
                            REGARDING SAME (.1).
6/14/2023   BET   B140      REVIEW NOTICES OF APPEARANCE AND           3.6     $210.00      $756.00
                            MOTIONS FOR PRO HAC VICE ADMISSION
                            FILED ON CASE DOCKET AND PREPARE
                            MASTER PARTY/EMAIL SERVICE LIST.
6/15/2023   CIG   B140      REVIEW DAILY DOCKET FILINGS                0.3     $520.00      $156.00
                            INCLUDING ORDER AUTHORIZING TCC'S
                            RETENTION OF HON. ROYAL FURGESON
                            AS EXPERT WITNESS, AND ORDER
                            AUTHORIZING TCC'S RETENTION OF
                            PROFESSOR RAVE AS EXPERT WITNESS,
                            AND COHEN PLACITELLA'S OPPOSITION
                            TO DEBTOR'S MOTION TO EXTEND
                            PRELIMINARY INJUNCTION (.2); REVIEW
                            SUMMARY OF DOCKET FILINGS FOR FCR
                            (.1).
6/15/2023   CIG   B170      REVISE DRAFT APRIL/MAY FEE                 0.5     $520.00      $260.00
                            APPLICATIONS FOR ELLIS AND WALSH (.2);
                            CORRESPOND WITH L. WALSH AND S.
                            FALANGA REGARDING REVISED APRIL/MAY
                            FEE APPLICATIONS FOR WALSH AND ELLIS
                            (.2); CORRESPONDENCE WITH FCR
                            REGARDING REVISED WALSH AND ELLIS
                            APRIL/MAY FEE APPLICATIONS (.1).
6/15/2023   CIG   B140      ATTEND WALSH WEEKLY TEAM CALL.             0.4     $520.00      $208.00
6/15/2023   LMW   B200      ANALYZE EXPERT ISSUES AND STRATEGY.        0.7     $905.00      $633.50
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Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/15/2023   LMW   B200      REVIEW ORDER AUTHORIZING TCC'S             0.3     $905.00      $271.50
                            RETENTION OF HON. ROYAL FERGUSON
                            (RET.) AS EXPERT WITNESS AND
                            RETENTION OF PROFESSOR D.
                            THEODORE RAVE AS EXPERT WITNESS
                            (.1); COHEN PLACITELLA'S OPPOSITION TO
                            DEBTOR'S MOTION TO EXTEND
                            PRELIMINARY INJUNCTION (.2).
6/15/2023   SVF   B140      ATTEND WEEKLY TEAM STATUS MEETING.         0.4     $695.00      $278.00
6/15/2023   SVF   B140      COMMUNICATE BRG REGARDING CASE             0.1     $695.00       $69.50
                            ISSUES.
6/15/2023   SVF   B140      ANALYZE EXPERT RETENTION ISSUES.           1.3     $695.00      $903.50
6/15/2023   SVF   B140      ANALYZE PLAN AND TRUST DISTRIBUTION        1.4     $695.00      $973.00
                            PROCEDURES ISSUES.
6/15/2023   SVF   B140      COMMUNICATE FCR REGARDING EXPERT           0.2     $695.00      $139.00
                            RETENTION ISSUES.
6/15/2023   SVF   B170      REVIEW DRAFT FEE APPLICATION               0.6     $695.00      $417.00
                            STATEMENT (.5); COMMUNICATE C.
                            GANNON REGARDING DRAFT FEE
                            APPLICATION (.1).
6/15/2023   MF    B200      PARTICIPATE IN WEEKLY WALSH TEAM           2.3     $960.00     $2,208.00
                            MEETING (.4); REVIEW COMMUNICATIONS
                            FROM COUNSEL REGARDING MOTIONS,
                            EXPERT SCHEDULING ISSUES, AND FCR
                            APPEAL (1.9).
6/15/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND           1.9     $405.00      $769.50
                            APPEAL DOCKET FILINGS (1.2); PREPARE
                            SUMMARY OF RECENT FILINGS FOR FCR
                            AND WALSH TEAM (0.7).
6/15/2023   FWY   B200      ATTEND WEEKLY WALSH TEAM STRATEGY          0.4     $405.00      $162.00
                            CALL.
6/15/2023   FWY   B140      PREPARE SUMMARY OF WEEKLY WALSH            0.1     $405.00       $40.50
                            TEAM STRATEGY CALL.
6/15/2023   FWY   B200      ANALYZE MATERIALS REGARDING                0.1     $405.00       $40.50
                            POTENTIAL EXPERT.
6/15/2023   JKF   B140      ATTEND WALSH WEEKLY TEAM MEETING.          0.4     $375.00      $150.00
6/15/2023   BET   B140      ATTEND WEEKLY TEAM CASE                    0.4     $210.00       $84.00
                            STATUS/STRATEGY CALL.
6/15/2023   BET   B170      DRAFT APPLICATION FOR RETENTION OF         1.6     $210.00      $336.00
                            BEDERSON LLP.
6/15/2023   BET   B170      FINALIZE AND PREPARE FOR FILING            0.7     $210.00      $147.00
                            WALSH APRIL-MAY 2023 FEE APPLICATION,
                            SUPPORTING MATERIALS AND
                            CERTIFICATE OF SERVICE.
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Date        TMK   Task      Description of Services                 Hours        Rate     Amount
6/15/2023   BET   B170      FINALIZE AND PREPARE FOR FILING FCR'S     0.5     $210.00     $105.00
                            APRIL-MAY 2023 FEE APPLICATION,
                            SUPPORTING MATERIALS AND
                            CERTIFICATE OF SERVICE.
6/16/2023   CIG   B170      FINAL REVIEW OF WALSH AND ELLIS           0.4     $520.00     $208.00
                            APRIL/MAY FEE APPLICATIONS (.3);
                            CORRESPOND WITH B. TROYAN
                            REGARDING WALSH AND ELLIS FEE
                            APPLICATIONS (.1).
6/16/2023   CIG   B140      REVIEW DOCKET FILINGS CONCERNING          0.2     $520.00     $104.00
                            HEARING UPDATES, AHC'S FIRST
                            SUPPLEMENTAL VERIFIED STATEMENT
                            FOR RULE 2019, AND AHC'S
                            CERTIFICATIONS PER ORDER GRANTING
                            MOTION TO INTERVENE (.1); REVIEW
                            SUMMARY OF DOCKET FILINGS FOR FCR
                            (.1).
6/16/2023   CMH   B200      ANALYZE ISSUES REGARDING RECORD ON        0.8     $520.00     $416.00
                            APPEAL.
6/16/2023   CMH   B200      ANALYZE LEGAL ISSUES REGARDING            0.6     $520.00     $312.00
                            APPEAL AND FCR APPOINTMENT.
6/16/2023   LMW   B200      ATTEND CALL WITH EXPERT.                  0.7     $905.00     $633.50
6/16/2023   LMW   B200      ATTEND CALL WITH RANDI ELLIS AND          0.8     $905.00     $724.00
                            STEVE FALANGA REGARDING EXPERTS.
6/16/2023   SVF   B200      ATTEND CONFERENCE CALL WITH               1.4     $695.00     $973.00
                            EXPERT.
6/16/2023   SVF   B140      COMMUNICATE FCR REGARDING CASE            0.2     $695.00     $139.00
                            ISSUES.
6/16/2023   SVF   B140      COMMUNICATE POTENTIAL EXPERT              0.4     $695.00     $278.00
                            REGARDING EXPERT RETENTION ISSUES.
6/16/2023   SVF   B140      COMMUNICATE K. LOUNSBERRRY                0.1     $695.00      $69.50
                            REGARDING CASE ISSUES.
6/16/2023   SVF   B140      COMMUNICATE D. MOLTON REGARDING           0.1     $695.00      $69.50
                            TCC STATUS CALL.
6/16/2023   FWY   B140      ANALYZE BANKRUPTCY AND APPEAL             0.9     $405.00     $364.50
                            DOCKET FILINGS (0.6); PREPARE
                            SUMMARY OF RECENT FILINGS FOR FCR
                            AND WALSH TEAM (0.3).
6/16/2023   BET   B170      DRAFT APPLICATION FOR EXPERT              1.4     $210.00     $294.00
                            RETENTION.
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Date        TMK   Task      Description of Services                  Hours        Rate     Amount
6/16/2023   BET   B140      REVIEW TRANSCRIPT OF HEARING               0.4     $210.00      $84.00
                            BEFORE JUDGE KAPLAN HELD ON JUNE
                            13, 2023 (.2); REVIEW INVOICE FROM J&J
                            COURT TRANSCRIBERS FOR TRANSCRIPT
                            OF HEARING HELD ON JUNE 13, 2023 AND
                            PROCESS (.2).
6/16/2023   BET   B170      FINALIZE AND ELECTRONICALLY FILE WITH      0.8     $210.00     $168.00
                            THE COURT WALSH APRIL-MAY 2023 FEE
                            APPLICATION, SUPPORTING MATERIALS
                            AND CERTIFICATE OF SERVICE (.7); SERVE
                            THE SAME ON COUNSEL OF RECORD (.1).
6/16/2023   BET   B170      FINALIZE AND ELECTRONICALLY FILE WITH      0.8     $210.00     $168.00
                            THE COURT FCR'S APRIL-MAY 2023 FEE
                            APPLICATION, SUPPORTING MATERIALS
                            AND CERTIFICATE OF SERVICE (.7); SERVE
                            THE SAME ON COUNSEL OF RECORD (.1).
6/17/2023   CIG   B170      CORRESPOND WITH COUNSEL FOR                0.1     $520.00      $52.00
                            DEBTOR REGARDING FCR FEES.
6/19/2023   CIG   B230      ANALYZE DEBTOR'S PROPOSED TRUST            1.2     $520.00     $624.00
                            DISTRIBUTION PROCEDURES.
6/19/2023   CIG   B140      CORRESPOND WITH FCR REGARDING              0.1     $520.00      $52.00
                            UPCOMING CALLS.
6/19/2023   CIG   B140      REVIEW DAILY DOCKET FILINGS                0.2     $520.00     $104.00
                            INCLUDING HEARING UPDATES AND
                            DEBTOR'S REPLY TO MOTION TO MODIFY
                            INJUNCTION (.1); REVIEW DRAFT
                            SUMMARY OF FILINGS FOR FCR (.1).
6/19/2023   LMW   B200      ATTEND CALL WITH MARK FALK                 0.2     $905.00     $181.00
                            REGARDING HEARING.
6/19/2023   LMW   B200      REVIEW DEBTOR'S REPLY TO MOTION TO         0.2     $905.00     $181.00
                            MODIFY INJUNCTION.
6/19/2023   SVF   B140      EXCHANGE CORRESPONDENCE D.                 0.1     $695.00      $69.50
                            MOLTON REGARDING TCC STATUS CALL.
6/19/2023   SVF   B140      CONSIDER EXPERT RETENTION ISSUES           1.4     $695.00     $973.00
                            (1.2) AND COMMUNICATE L. SKYLAR
                            REGARDING COURSE OF ACTION (.2).
6/19/2023   SVF   B140      COMMUNICATE FIRM REGARDING EXPERT          0.3     $695.00     $208.50
                            RETENTION.
6/19/2023   SVF   B140      COMMUNICATE FCR REGARDING EXPERT           0.2     $695.00     $139.00
                            RETENTION ISSUES AND COURSE OF
                            ACTION.
6/19/2023   FWY   B140      ANALYZE BANKRUPTCY AND APPEAL              0.9     $405.00     $364.50
                            DOCKET FILINGS (0.5); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.4).
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Date        TMK   Task      Description of Services                 Hours        Rate     Amount
6/20/2023   CIG   B170      CORRESPONDENCE WITH COUNSEL FOR           0.1     $520.00      $52.00
                            DEBTOR REGARDING WALSH AND ELLIS
                            APRIL/MAY FEE APPLICATIONS.
6/20/2023   CIG   B140      REVIEW DAILY DOCKET FILINGS               0.3     $520.00     $156.00
                            INCLUDING HEARING UPDATE, ORDER
                            AUTHORIZING DEBTOR TO ENTER
                            REIMBURSEMENT AGREEMENT, DEBTOR'S
                            MOTION TO RETAIN ORDINARY COURSE
                            PROFESSIONALS, AND KONIGSBERG'S
                            OPPOSITION TO DEBTOR'S MOTION TO
                            EXTEND INJUNCTION (.2); REVIEW DRAFT
                            SUMMARY OF FILINGS FOR FCR (.1).
6/20/2023   LMW   B200      REVIEW ORDER AUTHORIZING DEBTOR TO        0.3     $905.00     $271.50
                            ENTER REIMBURSEMENT AGREEMENT (.1);
                            DEBTOR'S MOTION TO RETAIN ORDINARY
                            COURSE PROFESSIONALS (.1); LEVY
                            KONIGSBERG'S OPPOSITION TO DEBTOR'S
                            MOTION TO EXTEND INJUNCTION (.1).
6/20/2023   SVF   B140      REVIEW AND REVISE DRAFT ECONONE           1.4     $695.00     $973.00
                            EXPERT RETENTION LETTER.
6/20/2023   SVF   B140      COMMUNICATE FCR REGARDING                 0.4     $695.00     $278.00
                            ECONONE EXPERT RETENTION
                            AGREEMENT AND COURSE OF ACTION.
6/20/2023   FWY   B200      PLAN AND PREPARE FOR CALL WITH            0.2     $405.00      $81.00
                            MEDIATOR.
6/20/2023   FWY   B140      ANALYZE BANKRUPTCY AND APPEAL             0.7     $405.00     $283.50
                            DOCKET FILINGS (0.4); PREPARE
                            SUMMARY OF DAILY FILINGS FOR FCR AND
                            WALSH TEAM (0.3).
6/20/2023   BET   B200      COMMUNICATION TO JUDGE KAPLAN'S           0.1     $210.00      $21.00
                            CHAMBERS REQUESTING PRESENTER
                            ZOOM LINK FOR S. FALANGA FOR JUNE 22,
                            2023 COURT HEARING.
6/20/2023   BET   B170      EMAIL COMMUNICATION TO THE DEBTOR         0.1     $210.00      $21.00
                            AND US TRUSTEE REGARDING FCR AND
                            WPOF'S APRIL-MAY FEE APPLICATIONS,
                            INVOICES AND LEDES FILES.
6/20/2023   BET   B170      DRAFT CERTIFICATION OF NO                 0.6     $210.00     $126.00
                            OBJECTIONS TO FCR'S APRIL-MAY FEE
                            APPLICATION (.3); DRAFT CERTIFICATION
                            OF NO OBJECTIONS TO WPOF'S
                            APRIL-MAY FEE APPLICATION (.3).
6/21/2023   CIG   B200      CORRESPONDENCE S. FALANGA AND             0.1     $520.00      $52.00
                            DEBTOR AND TCC COUNSEL REGARDING
                            MOTION TO DISMISS DISCOVERY.
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Date        TMK   Task      Description of Services                 Hours        Rate     Amount
6/21/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING NOTICE     0.3     $520.00     $156.00
                            OF AGENDA FOR JUNE 22ND HEARING,
                            DEBTOR'S MOTION TO ESTABLISH BAR
                            DATES, DISCLOSURE STATEMENT
                            HEARING DOCKET ENTRY, AND TCC'S
                            SUPPLEMENTAL OBJECTION TO DEBTOR'S
                            MOTION TO MODIFY INJUNCTION (.2);
                            REVIEW SUMMARY OF FILINGS FOR FCR
                            (.1).
6/21/2023   CMH   B200      ANALYZE DOCUMENTS AND LEGAL ISSUES        1.9     $520.00     $988.00
                            FOR APPEAL.
6/21/2023   CMH   B200      PREPARE APPEAL STATUS UPDATE FOR R.       0.5     $520.00     $260.00
                            ELLIS.
6/21/2023   LMW   B200      REVIEW TCC'S SUPPLEMENTAL                 0.4     $905.00     $362.00
                            OBJECTION TO DEBTOR'S MOTION TO
                            MODIFY INJUNCTION (.1); NOTICE OF
                            AGENDA (.1); MOLINE’S OPPOSITION TO
                            MOTION FOR LIMITED EXPEDITED
                            DISCOVERY (.1); LTL'S LETTER
                            REQUESTING EXTENSION TO FILE REPLY
                            (.1).
6/21/2023   LMW   B200      ANALYZE RECORD ON APPEAL.                 0.4     $905.00     $362.00
6/21/2023   SVF   B140      COMMUNICATE COUNSEL REGARDING             0.1     $695.00      $69.50
                            DISCOVERY REQUESTS.
6/21/2023   SVF   B170      REVIEW ECONONE RETENTION ISSUES.          0.7     $695.00     $486.50
6/21/2023   SVF   B170      REVIEW AND REVISE ECONONE                 0.7     $695.00     $486.50
                            RETENTION LETTER AGREEMENT (.5) AND
                            COMMUNICATE ECONONE REGARDING
                            SAME (.2).
6/21/2023   MF    B200      COMMUNICATIONS WITH CLIENT                0.4     $960.00     $384.00
                            REGARDING MEDIATION AND
                            COMMUNICATIONS FROM MEDIATORS.
6/21/2023   MF    B200      REVIEW COMMUNICATIONS REGARDING           0.6     $960.00     $576.00
                            ORDER EXTENDING THE PRELIMINARY
                            INJUNCTION (.1); REVIEW
                            COMMUNICATIONS FROM AD HOC
                            COMMITTEE AND FIRST VERIFIED
                            STATEMENT PURSUANT TO R. 2019 (.3);
                            REVIEW ORDER FOR REIMBURSEMENT
                            AND RELATED MATERIALS (.2).
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Date        TMK   Task      Description of Services                  Hours        Rate     Amount
6/21/2023   MF    B200      REVIEW NOTICE OF CERTIFICATIONS OF         0.6     $960.00     $576.00
                            MEMBERS OF AD HOC COMMITTEE TO
                            INTERVENE (.2); NOTICE OF AGENDA OF
                            MATTERS ON FOR 22ND (.1); REVIEW
                            DEBTORS MOTION TO ESTABLISH BAR
                            DATES REGARDING FILING OF PROOFS OF
                            CLAIMS AND PROCEDURES RELATED
                            THERETO (.3).
6/21/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND           2.3     $405.00     $931.50
                            APPEAL DOCKET FILINGS (1.7); PREPARE
                            SUMMARY OF DAILY FILINGS FOR FCR AND
                            WALSH TEAM (0.6).
6/21/2023   FWY   B200      ANALYZE FCR'S REQUEST FOR                  0.1     $405.00      $40.50
                            DISCOVERY EXCHANGED BETWEEN TCC
                            AND DEBTOR.
6/21/2023   FWY   B200      ANALYZE NEWS ARTICLE REGARDING             0.2     $405.00      $81.00
                            DISMISSAL OF 3M/AEARO BANKRUPTCY.
6/22/2023   CIG   B200      CORRESPONDENCE TCC COUNSEL                 0.1     $520.00      $52.00
                            REGARDING MOTION TO DISMISS
                            DISCOVERY.
6/22/2023   CIG   B200      CORRESPONDENCE DEBTOR COUNSEL              0.1     $520.00      $52.00
                            REGARDING MOTION TO DISMISS
                            DISCOVERY.
6/22/2023   CIG   B200      CORRESPOND WITH FCR AND EXPERT             0.1     $520.00      $52.00
                            REGARDING MEETING.
6/22/2023   CIG   B140      ATTEND WEEKLY WALSH TEAM MEETING.          0.4     $520.00     $208.00
6/22/2023   CIG   B140      REVIEW SUMMARY OF JUNE 22ND COURT          1.0     $520.00     $520.00
                            HEARING (.1); CORRESPOND WITH FCR
                            REGARDING JUNE 22ND COURT HEARING
                            (.1); REVIEW SUMMARY OF FCR CALL WITH
                            TCC (.1); REVIEW DAILY FILINGS
                            INCLUDING STIPULATION ON EVIDENCE TO
                            BE PRESENTED AT HEARING ON
                            DISMISSAL MOTIONS, ARNOLD & ITKIN'S
                            REPLY TO DISMISS CHAPTER 11 CASE, MR
                            FIRM'S REPLY TO DISMISS CHAPTER 11
                            CASE, TCC'S REPLY TO DISMISS CHAPTER
                            11 CASE, US TRUSTEE'S REPLY TO
                            DEBTOR'S AND AHC'S OBJECTIONS, AHC
                            OF STATES WITH CONSUMER CLAIMS'
                            REPLY TO DISMISS CHAPTER 11 CASE,
                            AHC OF MESO'S JOINDER TO MOTION TO
                            DISMISS OF TCC'S REPLY (.5); REVIEW
                            SUMMARY OF DAILY FILINGS FOR FCR (.1);
                            CORRESPONDENCE WITH L. WALSH
                            REGARDING DEPOSITIONS (.1).
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Date        TMK   Task      Description of Services                   Hours        Rate      Amount
6/22/2023   CIG   B170      CORRESPOND WITH S. FALANGA AND J.           0.2     $520.00      $104.00
                            FORMICHELLA REGARDING DRAFTS OF
                            AND REVISIONS TO EXPERT RETENTION
                            APPLICATIONS.
6/22/2023   CMH   B200      ANALYZE ISSUES AND DOCUMENTS                1.1     $520.00      $572.00
                            REGARDING DESIGNATION OF RECORD
                            ON APPEAL.
6/22/2023   CMH   B200      PREPARE CORRESPONDENCE TO R. ELLIS          0.3     $520.00      $156.00
                            REGARDING APPEAL ISSUES.
6/22/2023   CMH   B200      ANALYZE LEGAL ISSUES REGARDING FCR          1.3     $520.00      $676.00
                            APPEAL.
6/22/2023   CMH   B140      PREPARE FOR WEEKLY WALSH TEAM               0.2     $520.00      $104.00
                            MEETING.
6/22/2023   CMH   B140      ATTEND WEEKLY WALSH EAM MEETING.            0.4     $520.00      $208.00
6/22/2023   LMW   B140      ATTEND PART OF HEARING.                     2.1     $905.00     $1,900.50
6/22/2023   LMW   B200      ATTEND CALL WITH FCR AND TCC.               0.5     $905.00      $452.50
6/22/2023   LMW   B200      ANALYZE EXPERT ISSUES.                      0.7     $905.00      $633.50
6/22/2023   LMW   B170      REVIEW DRAFT RETENTION                      0.2     $905.00      $181.00
                            APPLICATIONS OF ECON ONE AND
                            BEDERSON.
6/22/2023   LMW   B200      REVIEW MOTION TO DISMISS DEPOSITION         0.1     $905.00       $90.50
                            TRANSCRIPTS.
6/22/2023   LMW   B200      REVIEW EVIDENTIARY STIPULATION (.1);        1.7     $905.00     $1,538.50
                            CROUCH'S APPLICATION TO SHORTEN
                            TIME (.1); ARNOLD & ITKIN'S REPLY TO
                            DISMISS CHAPTER 11 CASE (.2); MR FIRM'S
                            REPLY TO DISMISS CHAPTER 11 CASE (.2);
                            TCC'S REPLY TO MOTION TO DISMISS
                            CHAPTER 11 CASE (.4); TCC'S
                            APPLICATION TO SHORTEN TIME (.1);
                            ARNOLD & ITKIN'S APPLICATION TO
                            SHORTEN TIME (.1); US TRUSTEE'S REPLY
                            TO DEBTOR'S AND AHC OF FIRMS'
                            OBJECTIONS (.2); AHC OF STATES WITH
                            CONSUMER CLAIMS' REPLY TO DISMISS
                            CHAPTER 11 CASE (.2); AHC OF MESO'S
                            JOINDER TO MOTION TO DISMISS AND
                            TCC'S REPLY (.1).
6/22/2023   LMW   B140      CALL WITH S. FALANGA REGARDING CASE         0.4     $905.00      $362.00
                            ISSUES.
6/22/2023   SVF   B140      ATTEND WEEKLY TEAM STATUS CALL.             0.4     $695.00      $278.00
6/22/2023   SVF   B140      ATTEND STATUS CALL WITH TCC.                0.6     $695.00      $417.00
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Date        TMK   Task      Description of Services                Hours        Rate      Amount
6/22/2023   SVF   B140      EXCHANGE CORRESPONDENCE COUNSEL          0.3     $695.00      $208.50
                            REGARDING PLEADINGS AND RELATED
                            DISCOVERY EXCHANGED IN CONNECTION
                            WITH MOTIONS TO DISMISS.
6/22/2023   SVF   B140      ATTEND COURT HEARING.                    2.2     $695.00     $1,529.00
6/22/2023   SVF   B170      REVIEW EXPERT RETENTION ISSUES (1.4)     1.6     $695.00     $1,112.00
                            AND COMMUNICATE ECONONE
                            REGARDING ENGAGEMENT (.2).
6/22/2023   SVF   B140      CONFERENCE L. WALSH REGARIDNG            0.4     $695.00      $278.00
                            CASE ISSUES.
6/22/2023   SVF   B140      COMMUNICATE MEDIATORS REGARDING          0.1     $695.00       $69.50
                            STATUS CALL.
6/22/2023   SVF   B140      COMMUNICATE BRG REGARDING EXPERT         0.1     $695.00       $69.50
                            ISSUES.
6/22/2023   MF    B200      VIRTUALLY ATTEND COURT HEARING           4.5     $960.00     $4,320.00
                            BEFORE JUDGE KAPLAN (2.2);
                            COMMUNICATIONS WITH CLIENT AND
                            ADVERSARY COUNSEL REGARDING
                            ISSUES RELATING TO SETTLEMENT AND
                            STRATEGY (.9); INTENSIVE REVIEW OF
                            DOCUMENTS, DEPOSITIONS AND OTHER
                            MATERIALS PRODUCED (1.4).
6/22/2023   FWY   B230      EVALUATE DEBTOR'S TRUST                  1.0     $405.00      $405.00
                            DISTRIBUTION PROCEDURES.
6/22/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND         3.3     $405.00     $1,336.50
                            APPEAL DOCKET FILINGS (2.4); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.9).
6/22/2023   FWY   B140      PLAN AND PREPARE FOR COURT               0.2     $405.00       $81.00
                            HEARING.
6/22/2023   FWY   B200      DRAFT CHART SUMMARIZING TRUST            0.3     $405.00      $121.50
                            DISTRIBUTION PROCEDURES.
6/22/2023   FWY   B140      ATTEND WEEKLY WALSH TEAM STRATEGY        0.4     $405.00      $162.00
                            CALL.
6/22/2023   FWY   B200      ANALYZE REQUEST TO MEDIATORS             0.1     $405.00       $40.50
                            REGARDING MEETING.
6/22/2023   FWY   B200      ATTEND COURT HEARING ON INJUNCTION       3.4     $405.00     $1,377.00
                            MOTIONS.
6/22/2023   FWY   B200      ATTEND CONFERENCE WITH FCR AND           0.5     $405.00      $202.50
                            TCC.
6/22/2023   JKF   B140      ATTEND WEEKLY WALSH TEAM MEETING.        0.4     $375.00      $150.00
6/22/2023   JKF   B170      DRAFT APPLICATION FOR RETENTION AND      1.4     $375.00      $525.00
                            SUPPORTING PAPERS FOR ECON ONE.
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Date        TMK   Task      Description of Services                Hours        Rate     Amount
6/22/2023   JKF   B170      REVISE APPLICATION FOR RETENTION         0.5     $375.00     $187.50
                            AND SUPPORTING PAPERS OF BEDERSON.
6/22/2023   BET   B200      ANALYZE AND PROCESS DOCUMENTS            2.3     $210.00     $483.00
                            FROM BRG (1.8); EMAIL COMMUNICATION
                            TO TEAM REGARDING BRG DOCUMENTS
                            (.2); RESPOND TO ATTORNEY'S REQUEST
                            AND ASSEMBLE FOR REVIEW MOTION FOR
                            A BRIDGE ORDER AND MOTION TO
                            EXTEND FILED IN THE ADVERSARY
                            PROCEEDINGS (.3).
6/23/2023   CIG   B200      CORRESPONDENCE DEBTOR COUNSEL            0.4     $520.00     $208.00
                            REGARDING MOTION TO DISMISS
                            DISCOVERY (.1); CORRESPONDENCE FCR
                            REGARDING MOTION TO DISMISS
                            DISCOVERY (.1); CORRESPOND DEBTOR'S
                            COUNSEL REGARDING WALSH EXECUTED
                            PO ACKNOWLEDGMENT (.1);
                            CORRESPOND WITH FCR AND S. FALANGA
                            REGARDING DEBTOR'S PRODUCTION (.1).
6/23/2023   CIG   B200      CORRESPOND WITH FCR AND EXPERT           0.1     $520.00      $52.00
                            REGARDING CONFERENCE.
6/23/2023   CIG   B170      REVIEW DRAFT RETENTION APPLICATION       0.3     $520.00     $156.00
                            AND REVISIONS (.2); CORRESPOND WITH
                            S. FALANGA, FCR AND POTENTIAL EXPERT
                            REGARDING DRAFT RETENTION
                            APPLICATION AND REVISIONS (.1).
6/23/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING A&I'S     0.5     $520.00     $260.00
                            REPLY TO DISMISS CHAPTER 11 CASE,
                            TCC'S REPLY TO MOTION TO DISMISS
                            CHAPTER 11 CASE, NM AND MISS'S REPLY
                            TO DEBTOR'S OPPOSITION TO DISMISSAL,
                            CROUCH'S MOTION TO PRECLUDE
                            PREFERRED EXPERT TESTIMONY OF
                            MULLIN AND BELL, ORDER PARTIALLY
                            GRANTING DEBTOR'S MOTION TO
                            COMPEL, APPELLEE'S DESIGNATION OF
                            RECORD, AND NOTICE OF AGENDA FOR
                            DISMISSAL MOTION HEARINGS (.4);
                            REVIEW SUMMARY OF FILINGS FOR FCR
                            (.1).
6/23/2023   CMH   B200      REVIEW RECENTLY FILED PLEADINGS.         0.3     $520.00     $156.00
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Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/23/2023   LMW   B200      REVIEW AND ANALYZE NEW MEXICO AND          0.5     $905.00      $452.50
                            MISSISSIPPI'S REPLY TO DEBTOR'S
                            OPPOSITION TO DISMISSAL (.1); CROUCH’S
                            MOTION TO PRECLUDE PROFFERED
                            EXPERT TESTIMONY OF MULLIN/BELL (.1);
                            ORDER PARTIALLY GRANTING DEBTOR'S
                            MOTION TO COMPEL (.1); APPELLEE'S
                            DESIGNATION OF RECORD (.1); NOTICE OF
                            AGENDA FOR DISMISSAL MOTION
                            HEARINGS (.1).
6/23/2023   LMW   B200      REVIEW DOCUMENT PRODUCTIONS IN             0.8     $905.00      $724.00
                            CONNECTION WITH THE MOTION TO
                            DISMISS.
6/23/2023   LMW   B140      REVIEW TRANSCRIPT OF THE JUNE 2, 2023      0.1     $905.00       $90.50
                            HEARING.
6/23/2023   LMW   B200      REVIEW TCC MOTION TO DISMISS               0.1     $905.00       $90.50
                            DEPOSITION DESIGNATIONS AND
                            PRELIMINARY EXHIBIT INDEX.
6/23/2023   LMW   B200      REVIEW DEBTOR'S DECLARATION OF             0.7     $905.00      $633.50
                            ADAM LISMAN.
6/23/2023   LMW   B170      REVIEW DRAFT RETENTION APPLICATION         0.1     $905.00       $90.50
                            OF ECON ONE.
6/23/2023   LMW   B200      ANALYZE ARNOLD & ITKIN'S REPLY TO          0.9     $905.00      $814.50
                            DISMISS CHAPTER 11 CASE (.5); TCC'S
                            REPLY TO MOTION TO DISMISS CHAPTER
                            11 CASE (.4).
6/23/2023   SVF   B140      TELECONFERENCE J. RUITENBERG               0.1     $695.00       $69.50
                            REGARDING EXPERT RETENTION
                            APPLICATION.
6/23/2023   SVF   B200      REVIEW FCR APPOINTMENT APPEAL              0.2     $695.00      $139.00
                            DESIGNATIONS.
6/23/2023   SVF   B200      COMMUNICATE FCR REGARDING                  0.1     $695.00       $69.50
                            DISMISSAL MOTIONS AND CASE ISSUES.
6/23/2023   SVF   B140      ATTEND ZOOM DEPOSITION OF                  1.2     $695.00      $834.00
                            BIRNBAUM.
6/23/2023   SVF   B200      REVIEW PLEADINGS AND RELATED               2.2     $695.00     $1,529.00
                            DISCOVERY EXCHANGED IN CONNECTION
                            WITH MOTIONS TO DISMISS.
6/23/2023   SVF   B140      COMMUNICATE DEBTOR COUNSEL                 0.2     $695.00      $139.00
                            REGARDING PROTECTIVE ORDER EXHIBIT.
6/23/2023   SVF   B140      REVIEW BEDERSON DRAFT ENGAGEMENT           0.6     $695.00      $417.00
                            LETTER.
6/23/2023   SVF   B140      ATTEND TO EXPERT RETENTION ISSUES.         0.8     $695.00      $556.00
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Date        TMK   Task      Description of Services                   Hours        Rate      Amount
6/23/2023   SVF   B140      COMMUNICATE MEDIATORS REGARDING             0.1     $695.00       $69.50
                            STATUS CALL.
6/23/2023   SVF   B140      CONFERENCE L. WALSH REGAREDING              0.2     $695.00      $139.00
                            CASE ISSUES.
6/23/2023   SVF   B140      COMMUNICATE BRG COUNSEL                     0.2     $695.00      $139.00
                            REGARDING EXPERT ISSUES.
6/23/2023   SVF   B200      COMMUNICATE M CYGANWOKSY                    0.2     $695.00      $139.00
                            REGARDING MOTION TO DISMISS
                            DISCOVERY.
6/23/2023   SVF   B200      COMMUNICATE TEAM AND FCR                    0.2     $695.00      $139.00
                            REGARDING MOTION TO DISMISS
                            DISCOVERY PRODUCTION.
6/23/2023   SVF   B170      REVIEW AND REVISE DRAFT ECONONE             1.6     $695.00     $1,112.00
                            RETENTION APPLICATION (1.1) AND
                            COMMUNICATE L. SKYLAR REGARDING
                            SAME (.5).
6/23/2023   MF    B200      REVIEW DEBTOR'S DOCUMENT                    3.0     $960.00     $2,880.00
                            PRODUCTIONS (2.7); REVIEW
                            COMMUNICATIONS WITH CLIENT AND
                            MEDIATORS REGARDING SCHEDULING
                            MEETING (.3).
6/23/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND            5.2     $405.00     $2,106.00
                            RELATED DOCKET FILINGS (3.8); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (1.4).
6/23/2023   FWY   B140      PREPARE SUMMARY OF TEAM STRATEGY            0.1     $405.00       $40.50
                            CALL.
6/23/2023   JKF   B200      ANALYZE PI BESTWALL DECISION.               0.3     $375.00      $112.50
6/23/2023   BET   B200      ANALYZE DEBTOR'S VARIOUS DOCUMENT           1.8     $210.00      $378.00
                            PRODUCTIONS SERVED VIA FTP LINK ON
                            JUNE 22, 2023; SEND THE SAME VIA
                            SECURED LINK TO TEAM AND R. ELLIS (.8);
                            ANALYZE TRANSCRIPT OF JUNE 22, 2023
                            HEARING BEFORE JUDGE KAPLAN (.2);
                            PREPARE BINDER OF APPEAL
                            DOCUMENTS AS TO FCR APPOINTMENT
                            ORDER (.8).
6/24/2023   CIG   B140      CORRESPOND WITH EXPERT REGARDING            0.1     $520.00       $52.00
                            CALL SCHEDULING.
6/24/2023   CIG   B170      CORRESPOND WITH S. FALANGA AND              0.2     $520.00      $104.00
                            POTENTIAL EXPERT REGARDING DRAFT
                            RETENTION PAPERS.
6/24/2023   LMW   B170      REVIEW DRAFT RETENTION APPLICATION          0.1     $905.00       $90.50
                            OF ECON ONE.
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Date        TMK   Task      Description of Services               Hours        Rate     Amount
6/24/2023   SVF   B170      REVIEW RETENTION APPLICATION            0.7     $695.00     $486.50
                            DRAFTS.
6/24/2023   SVF   B170      COMMUNICATE ECONONE REGARDING           0.2     $695.00     $139.00
                            FINALIZATION OF RETENTION
                            APPLICATION.
6/24/2023   SVF   B170      COMMUNICATE TEAM REGARDING              0.1     $695.00      $69.50
                            FINALIZATION OF ECONONE RETENTION
                            APPLICATION.
6/24/2023   SVF   B170      COMMUNICATE FRC REGARDING               0.1     $695.00      $69.50
                            FINALIZATION OF ECONONE RETENTION
                            APPLICATION.
6/24/2023   SVF   B200      COMMUNICATE FCR REGARDING MOTION        0.6     $695.00     $417.00
                            TO DISMISS AND RELATED CASE ISSUES.
6/24/2023   SVF   B200      COMMUNICATE L. WALSH REGARDING          0.1     $695.00      $69.50
                            MOTION TO DISMISS AND RELATED CASE
                            ISSUES.
6/24/2023   SVF   B140      COMMUNICATE BRG REGARDING STATUS        0.2     $695.00     $139.00
                            CALL.
6/24/2023   SVF   B140      COMMUNICATE ECONONE REGARDING           0.1     $695.00      $69.50
                            STATUS CALL.
6/24/2023   SVF   B140      REVIEW RECENT DOCKET FILINGS            0.3     $695.00     $208.50
                            INCLUDING NOTICE OF AGENDA FOR
                            UPCOMING HEARINGS.
6/24/2023   SVF   B230      ANALYZE PLAN AND DISCLOSURE             0.6     $695.00     $417.00
                            STATEMENT ISSUES.
6/24/2023   SVF   B200      REVIEW MOTION TO DISMISS PLEADINGS      1.2     $695.00     $834.00
                            AND RELATED LEGAL ISSUES.
6/25/2023   CIG   B200      CORRESPOND WITH FCR REGARDING           0.2     $520.00     $104.00
                            MOTION TO DISMISS DISCOVERY (.1);
                            CORRESPOND WITH FCR REGARDING
                            UPCOMING HEARING IN MOLINE MATTER
                            (.1).
6/25/2023   SVF   B140      ATTEND ZOOM DEPOSITION A. LISMAN.       1.2     $695.00     $834.00
6/25/2023   SVF   B140      COMMUNICATE D. STOLZ REGARDING TCC      0.1     $695.00      $69.50
                            RESPONSE TO MOTION TO COMPEL.
6/25/2023   SVF   B140      COMMUNICATE FCR REGARDING CASE          0.1     $695.00      $69.50
                            ISSUES.
6/25/2023   FWY   B140      ANALYZE BANKRUPTCY AND RELATED          0.3     $405.00     $121.50
                            DOCKET FILINGS (0.2); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.1).
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Date        TMK   Task      Description of Services                 Hours        Rate     Amount
6/26/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING PAUL       1.6     $520.00     $832.00
                            CROUCH OBJECTION TO CHARLES MULLIN
                            TESTIMONY, PAUL CROUCH MOTION IN
                            LIMINE TO EXCLUDE EVIDENCE OF
                            DEBTOR'S SETTLEMENT WITH TPP'S, AHC
                            OF SUPPORTING FIRMS' OMNIBUS
                            REPLIES TO MOTIONS TO DISMISS, TCC'S
                            LETTER TO COURT REGARDING MURDICA
                            DECLARATION, MR FIRM'S JOINDER TO
                            CROUCH MOTION TO EXCLUDE EXPERT
                            TESTIMONY, DEBTOR'S SUR-REPLY TO
                            OMNIBUS OBJECTION TO MOTIONS TO
                            DISMISS, TCC'S EXHIBIT LIST FOR
                            DISMISSAL HEARING, AMENDED CHAPTER
                            11 PLAN OF REORGANIZATION, DEBTOR'S
                            EXHIBIT LIST, MR FIRM'S EVIDENTIARY
                            OBJECTIONS, DEBTOR'S OBJECTION TO
                            CROUCH'S MOTION TO PRECLUDE, AND
                            DEBTOR'S RESPONSE TO TCC
                            OBJECTIONS (1.3); REVIEW DRAFT
                            SUMMARY OF FILINGS FOR FCR (.3).
6/26/2023   CIG   B140      CORRESPONDENCE WITH EXPERT                0.2     $520.00     $104.00
                            REGARDING TRANSFER OF INFORMATION
                            (.1); CORRESPONDENCE WITH EXPERT
                            REGARDING CASE DCO AND EXECUTION
                            (.1).
6/26/2023   CIG   B140      REVIEW SUMMARY OF CALL WITH               0.1     $520.00      $52.00
                            EXPERT.
6/26/2023   CIG   B170      REVIEW APPLICATION FOR RETENTION OF       0.2     $520.00     $104.00
                            BEDERSON LLP (.1); REVIEW APPLICATION
                            FOR RETENTION OF ECONONE
                            RESEARCH, INC. (.1).
6/26/2023   CIG   B200      CORRESPONDENCE S. FALANGA AND             0.1     $520.00      $52.00
                            DEBTOR COUNSEL REGARDING
                            PRODUCTIONS IN RESPONSE TO ORDER
                            GRANTING MOTION TO COMPEL.
6/26/2023   CIG   B170      CORRESPONDENCE WITH S. FALANGA            0.1     $520.00      $52.00
                            AND EXPERT REGARDING REVISED
                            RETENTION APPLICATION.
6/26/2023   CIG   B200      CORRESPOND WITH FCR REGARDING TCC         0.2     $520.00     $104.00
                            RESPONSE TO DEBTOR'S MOTION TO
                            COMPEL (.1); CORRESPOND WITH FCR
                            REGARDING DEBTOR'S PROPOSED
                            AMENDED PLAN (.1).
6/26/2023   CIG   B140      CORRESPOND WITH J. FORMICHELLA            0.1     $520.00      $52.00
                            REGARDING EXPERT EXECUTION OF DCO.
6/26/2023   CMH   B200      ANALYZE DEBTOR RECORD DESIGNATION         0.7     $520.00     $364.00
                            ISSUES REGARDING APPEAL.
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SERVICES


Date        TMK   Task      Description of Services                    Hours        Rate     Amount
6/26/2023   LMW   B170      REVIEW DRAFT APPLICATIONS FOR                0.2     $905.00     $181.00
                            RETENTION OF ECONONE RESEARCH, INC.
                            AND BEDERSON.
6/26/2023   LMW   B200      CONFER WITH TEAM REGARDING TCC'S             0.1     $905.00      $90.50
                            DESIGNATION OF APRIL 18, 2023
                            TRANSCRIPT.
6/26/2023   LMW   B230      REVIEW AMENDED CHAPTER 11 PLAN OF            0.1     $905.00      $90.50
                            REORGANIZATION OF LTL.
6/26/2023   LMW   B200      ANALYZE DEBTOR’S SUR-REPLY IN                0.1     $905.00      $90.50
                            FURTHER SUPPORT OF OMNIBUS
                            OBJECTION AND TO MOTIONS TO DISMISS
                            CHAPTER 11 CASE.
6/26/2023   LMW   B200      REVIEW PARTIES’ JOINT DEPOSITION             0.7     $905.00     $633.50
                            DESIGNATIONS AND THE FACT WITNESS
                            DECLARATIONS.
6/26/2023   LMW   B200      REVIEW PAUL CROUCH OBJECTION TO              1.0     $905.00     $905.00
                            CHARLES MULLIN TESTIMONY (.1); PAUL
                            CROUCH MOTION IN LIMINE TO EXCLUDE
                            EVIDENCE OF DEBTOR'S SETTLEMENT
                            WITH THIRD-PARTY PAYORS (.1); AHC OF
                            SUPPORTING FIRMS' OMNIBUS REPLIES
                            TO MOTIONS TO DISMISS (.1); TCC'S
                            LETTER TO JUDGE KAPLAN AS TO JIM
                            MURDICA DECLARATION (.1); MR FIRM'S
                            JOINDER TO CROUCH'S MOTION TO
                            EXCLUDE EXPERT TESTIMONY (.1); TCC'S
                            EXHIBIT LIST FOR DISMISSAL HEARING (.1);
                            DEBTOR'S EXHIBIT LIST (.1); MR FIRM'S
                            EVIDENTIARY OBJECTIONS (.1); DEBTOR'S
                            OBJECTION TO CROUCH'S MOTION TO
                            PRECLUDE (.1); DEBTOR'S RESPONSE TO
                            TCC OBJECTIONS (.1).
6/26/2023   SVF   B200      REVIEW TCC RESPONSES TO MOTION TO            0.2     $695.00     $139.00
                            COMPEL.
6/26/2023   SVF   B200      COMMUNICATE FCR REGARDING                    0.1     $695.00      $69.50
                            RESPONSES TO MOTION TO COMPEL.
6/26/2023   SVF   B200      COMMUNICATE DEBTOR'S COUNSEL                 0.1     $695.00      $69.50
                            REGARDING RESPONSES TO MOTION TO
                            COMPEL.
6/26/2023   SVF   B200      COMMUNICATE TCC COUNSEL                      0.1     $695.00      $69.50
                            REGARDING RESPONSES TO MOTION TO
                            COMPEL.
6/26/2023   SVF   B170      REVIEW FINAL DRAFT OF ECON ONE               0.7     $695.00     $486.50
                            RETENTION APPLICATION (.5) AND
                            CONFERENCES J. FORMICHELLA
                            REGARDING COURSE OF ACTION (.2).
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SERVICES


Date        TMK   Task      Description of Services                 Hours        Rate      Amount
6/26/2023   SVF   B140      COMMUNICATE POTENTIAL EXPERT.             0.3     $695.00      $208.50
6/26/2023   SVF   B200      REVIEW FCR APPOINTMENT ORDER              0.4     $695.00      $278.00
                            APPEAL DESIGNATION ISSUES.
6/26/2023   SVF   B140      ATTEND EXPERT CONSULTATION                0.5     $695.00      $347.50
                            CONFERENCE.
6/26/2023   MF    B200      MEETING WITH EXPERTS (.9); REVIEW         4.8     $960.00     $4,608.00
                            ADDITIONAL DOCUMENTS AND
                            DEPOSITION TRANSCRIPTS (3.9).
6/26/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND          3.5     $405.00     $1,417.50
                            RELATED DOCKET FILINGS (2.6); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.9).
6/26/2023   FWY   B230      EVALUATE DEBTOR'S TRUST                   0.2     $405.00       $81.00
                            DISTRIBUTION PROCEDURES.
6/26/2023   FWY   B200      REVISE DRAFT SUMMARY CHART                0.1     $405.00       $40.50
                            CONCERNING TRUST DISTRIBUTION
                            PROCEDURES.
6/26/2023   FWY   B140      PLAN AND PREPARE FOR COURT                0.1     $405.00       $40.50
                            HEARING.
6/26/2023   FWY   B200      ANALYZE TRANSCRIPT OF HEARING             0.9     $405.00      $364.50
                            DESIGNATED BY TCC FOR RECORD ON
                            APPEAL.
6/26/2023   FWY   B200      PREPARE SUMMARY OF PORTIONS OF            0.5     $405.00      $202.50
                            TRANSCRIPT OF HEARING DESIGNATED
                            BY TCC FOR RECORD ON APPEAL.
6/26/2023   JKF   B170      FINALIZE AND FILE ECON ONE RETENTION      1.1     $375.00      $412.50
                            APPLICATION.
6/26/2023   JKF   B140      ANALYZE EXPERT ISSUES.                    0.5     $375.00      $187.50
6/26/2023   JKF   B170      ANALYZE ADDIITONAL ISSUES RELATED         0.8     $375.00      $300.00
                            TO ECON ONE RETENTION.
6/26/2023   JKF   B200      ANALYZE DCO PROVISIONS.                   0.3     $375.00      $112.50
6/26/2023   JKF   B200      ANALYZE 4TH CIRCUIT BESTWALL              0.7     $375.00      $262.50
                            DECISION.
6/26/2023   JKF   B170      FINALIZE RETENTION APPLICATION FOR        0.8     $375.00      $300.00
                            BEDERSON.
6/27/2023   CIG   B140      REVIEW SUMMARY OF JUNE 27 COURT           0.3     $520.00      $156.00
                            HEARING.
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SERVICES


Date        TMK   Task      Description of Services                 Hours        Rate      Amount
6/27/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING J&J'S      0.4     $520.00      $208.00
                            LETTER TO COURT ON MURDICA
                            DECLARATION, DEBTOR'S OBJECTION TO
                            TCC'S EXHIBIT LIST, ARNOLD & ITKIN
                            JOINDER TO OBJECTION TO PROFFERED
                            TESTIMONY OF CHARLES MULLIN,
                            DEBTOR'S FIRST AMENDED EXHIBIT LIST
                            FOR HEARING, AND NOTICE OF AMENDED
                            AGENDA FOR DISMISSAL HEARINGS (.3);
                            REVIEW DRAFT SUMMARY OF FILINGS FOR
                            FCR (.1).
6/27/2023   CIG   B140      CORRESPONDENCE WITH EXPERT                0.3     $520.00      $156.00
                            REGARDING TRANSFER OF INFORMATION
                            (.2); CORRESPONDENCE WITH EXPERT
                            REGARDING DCO ACKNOWLEDGMENT (.1).
6/27/2023   CIG   B200      CORRESPONDENCE WITH S. FALANGA            0.1     $520.00       $52.00
                            AND DEBTOR COUNSEL REGARDING
                            PRODUCTIONS IN RESPONSE TO ORDER
                            GRANTING MOTION TO COMPEL.
6/27/2023   CIG   B170      CORRESPOND WITH B. TROYAN AND G.          0.1     $520.00       $52.00
                            PINEIRO REGARDING JUNE FEE
                            APPLICATIONS.
6/27/2023   LMW   B140      ATTEND PART OF HEARING ON MOTION          5.5     $905.00     $4,977.50
                            TO DISMISS BEFORE JUDGE KAPLAN.
6/27/2023   LMW   B195      TRAVEL TO AND FROM COURT IN               3.6     $452.50     $1,629.00
                            TRENTON.
6/27/2023   LMW   B200      REVIEW FOURTH CIRCUIT'S RECENT            0.3     $905.00      $271.50
                            DECISION IN RE BESTWALL.
6/27/2023   LMW   B200      REVIEW J&J'S COUNSEL'S LETTER TO          0.6     $905.00      $543.00
                            JUDGE KAPLAN ON MURDICA
                            DECLARATION (.1); DEBTOR'S OBJECTION
                            TO TCC EXHIBIT LIST (.1); NOTICE OF
                            AMENDED AGENDA FOR DISMISSAL
                            HEARINGS (.1); ARNOLD & ITKIN JOINDER
                            TO OBJECTION TO PROFFERED
                            TESTIMONY OF CHARLES MULLIN (.1);
                            DEBTOR'S FIRST AMENDED EXHIBIT LIST
                            FOR HEARING (.1); NOTICE OF AGENDA
                            (.1).
6/27/2023   SVF   B195      TRAVEL TO TRENTON.                        1.6     $347.50      $556.00
6/27/2023   SVF   B140      ATTEND COURT HEARING.                     8.3     $695.00     $5,768.50
6/27/2023   SVF   B140      ATTEND MEETING WITH FCR REGARDING         1.3     $695.00      $903.50
                            HEARING AND CASE ISSUES.
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Date        TMK   Task      Description of Services                   Hours        Rate      Amount
6/27/2023   MF    B200      REVIEW VOLUMINOUS ADDITIONAL                1.9     $960.00     $1,824.00
                            DOCUMENTS, EXHIBITS, DEPOSITION
                            TRANSCRIPTS, WITNESS LISTS FILED ON
                            EVE OF COURT HEARING (1.9); ATTEND
                            HEARING BEFORE JUDGE KAPLAN (5.2).
6/27/2023   MF    B195      TRAVEL TO AND FROM TRENTON FOR              1.0     $480.00      $480.00
                            TRIAL BEFORE JUDGE KAPLAN.
6/27/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND            1.8     $405.00      $729.00
                            RELATED DOCKET FILINGS (1.1); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.7).
6/27/2023   FWY   B140      ATTEND COURT HEARING ON MOTIONS TO          6.7     $405.00     $2,713.50
                            DISMISS AND EVIDENTIARY ISSUES.
6/27/2023   JKF   B200      DRAFT ANALYSIS OF IN RE BESTWALL            1.3     $375.00      $487.50
                            DECISION.
6/27/2023   BET   B170      DRAFT MONTHLY FEE APPLICATION FOR           1.4     $210.00      $294.00
                            THE PERIOD JUNE 1, 2023 THROUGH JUNE
                            30, 2023 FOR FCR (.6); DRAFT MONTHLY
                            FEE APPLICATION FOR THE PERIOD JUNE
                            1, 2023 THROUGH JUNE 30, 2023 FOR
                            WALSH FIRM (.8).
6/27/2023   BET   B200      ASSEMBLE CASE MATERIALS AND SEND            0.6     $210.00      $126.00
                            VIA SECURED BOX LINK FOR EXPERT (.4);
                            REVIEW INVOICE FROM J&J COURT
                            TRANSCRIBERS FOR TRANSCRIPT OF
                            JUNE 22, 2023 HEARING AND PROCESS (.2).
6/28/2023   CIG   B140      REVIEW SUMMARY OF JUNE 28TH COURT           0.3     $520.00      $156.00
                            HEARING.
6/28/2023   CIG   B140      REVIEW TCC'S FIRST AMENDED EXHIBIT          0.2     $520.00      $104.00
                            INDEX AND DEBTOR'S OBJECTIONS TO
                            TCC'S FIRST AMENDED EXHIBIT LIST (.1);
                            REVIEW SUMMARY OF FILINGS FOR FCR
                            (.1).
6/28/2023   CIG   B230      REVIEW SUMMARY OF DEBTOR'S                  0.5     $520.00      $260.00
                            AMENDED PROPOSED PLAN (.4);
                            CORRESPONDENCE WITH FCR
                            REGARDING SUMMARY OF DEBTOR'S
                            AMENDED PROPOSED PLAN (.1).
6/28/2023   LMW   B200      ATTEND HEARING BEFORE JUDGE KAPLAN          8.0     $905.00     $7,240.00
                            8.0.
6/28/2023   LMW   B200      ATTEND MEETING WITH FCR AND STEVE           3.0     $905.00     $2,715.00
                            FALANGA.
6/28/2023   LMW   B195      TRAVEL TO AND FROM TRENTON AND              3.3     $452.50     $1,493.25
                            PRINCETON.
6/28/2023   SVF   B195      TRAVEL TO COURT.                            0.5     $347.50      $173.75
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SERVICES


Date        TMK   Task      Description of Services                   Hours        Rate      Amount
6/28/2023   SVF   B195      TRAVEL FROM COURT.                          0.8     $347.50      $278.00
6/28/2023   SVF   B140      ATTEND COURT HEARING.                       8.4     $695.00     $5,838.00
6/28/2023   SVF   B140      ATTEND MEETING WITH FCR REGARDING           3.0     $695.00     $2,085.00
                            HEARING AND CASE ISSUES.
6/28/2023   SVF   B140      COMMUNICATE L. WALSH REGARDING              0.6     $695.00      $417.00
                            CASE ISSUES.
6/28/2023   MF    B200      ATTEND TRIAL BEFORE JUDGE KAPLAN.           7.6     $960.00     $7,296.00
6/28/2023   MF    B195      TRAVEL TO AND FROM TRENTON FOR              1.2     $480.00      $576.00
                            TRIAL BEFORE JUDGE KAPLAN.
6/28/2023   FWY   B140      ANALYZE BANKRUPTCY AND RELATED              0.6     $405.00      $243.00
                            DOCKET FILINGS (0.3); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.3).
6/28/2023   FWY   B140      ATTEND COURT HEARING ON MOTIONS TO          7.4     $405.00     $2,997.00
                            DISMISS AND EVIDENTIARY ISSUES.
6/28/2023   FWY   B230      DRAFT DETAILED SUMMARY OF AMENDED           0.5     $405.00      $202.50
                            PLAN AND TRUST DISTRIBUTION
                            PROCEDURES.
6/28/2023   FWY   B230      ANALYZE AMENDED PLAN AND TRUST              0.9     $405.00      $364.50
                            DISTRIBUTION PROCEDURES.
6/28/2023   BET   B170      ATTEND TO FCR'S APPLICATION FOR             0.2     $210.00       $42.00
                            RETENTION OF BEDERSON.
6/28/2023   BET   B140      REVIEW TRANSCRIPT OF JUNE 27                0.1     $210.00       $21.00
                            HEARING ON MOTIONS TO DISMISS.
6/29/2023   CIG   B140      REVIEW DAILY FILINGS INCLUDING              0.2     $520.00      $104.00
                            DEBTOR'S RESPONSE TO PAUL CROUCH
                            OBJECTION TO CHARLES MULLIN AND
                            TCC'S AMENDED EXHIBIT LIST (.1); REVIEW
                            SUMMARY OF FILINGS FOR FCR (.1).
6/29/2023   CMH   B140      REVIEW RECENTLY FILED PLEADINGS.            0.3     $520.00      $156.00
6/29/2023   LMW   B200      ATTEND HEARING.                             8.5     $905.00     $7,692.50
6/29/2023   LMW   B140      REVIEW TRANSCRIPT OF JUNE 28                0.1     $905.00       $90.50
                            HEARING.
6/29/2023   LMW   B200      REVIEW DEBTOR'S RESPONSE TO PAUL            0.2     $905.00      $181.00
                            CROUCH OBJECTION TO CHARLES MULLIN
                            (.1); TCC'S AMENDED EXHIBIT LIST (.1).
6/29/2023   SVF   B195      TRAVEL TO COURT.                            1.7     $347.50      $590.75
6/29/2023   SVF   B140      ATTEND COURT HEARING.                       8.3     $695.00     $5,768.50
6/29/2023   SVF   B195      TRAVEL FROM COURT.                          1.5     $347.50      $521.25
6/29/2023   MF    B200      ATTEND HEARING BEFORE JUDGE                 8.4     $960.00     $8,064.00
                            KAPLAN.
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Date        TMK   Task      Description of Services                  Hours        Rate      Amount
6/29/2023   MF    B195      TRAVEL TO AND FROM TRENTON FOR             0.9     $480.00      $432.00
                            HEARING BEFORE JUDGE KAPLAN.
6/29/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND           0.9     $405.00      $364.50
                            RELATED DOCKET FILINGS (0.6); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.3).
6/29/2023   FWY   B140      ATTEND PORTION OF COURT HEARING ON         5.5     $405.00     $2,227.50
                            MOTIONS TO DISMISS AND EVIDENTIARY
                            ISSUES.
6/29/2023   BET   B200      REVIEW APPEAL DOCUMENTS AS TO FCR          1.2     $210.00      $252.00
                            APPOINTMENT ORDER (.3); REVIEW
                            TRANSCRIPT OF JUNE 28, 2023 HEARING
                            (AM SESSION) BEFORE JUDGE KAPLAN (.1);
                            REVIEW NOTICES OF APPEARANCE AND
                            MOTIONS FOR PRO HAC VICE ADMISSION
                            FILED ON THE DOCKET; UPDATE MASTER
                            PARTY/SERVICE LIST (.8).
6/29/2023   BET   B170      DRAFT MONTHLY FEE APPLICATION FOR          1.2     $210.00      $252.00
                            THE PERIOD JULY 1, 2023 THROUGH JULY
                            31, 2023 FOR FCR (.5); DRAFT MONTHLY
                            FEE APPLICATION FOR THE PERIOD JULY
                            1, 2023 THROUGH JULY 31, 2023 FOR
                            WALSH FIRM (.7).
6/30/2023   CIG   B170      REVIEW DRAFT CERTIFICATIONS OF NO          0.3     $520.00      $156.00
                            OBJECTIONS FOR WALSH AND ELLIS
                            APRIL/MAY FEE APPLICATIONS (.1);
                            CORRESPOND WITH L. WALSH AND S.
                            FALANGA REGARDING CERTIFICATIONS
                            OF NO OBJECTIONS (.1); CONFER WITH F.
                            YOOK REGARDING CERTIFICATIONS OF
                            NO OBJECTIONS AND TIMING FOR FILING
                            (.1).
6/30/2023   CIG   B140      REVIEW DAILY DOCKET FILINGS                0.3     $520.00      $156.00
                            INCLUDING DEBTOR'S OBJECTIONS TO
                            TCC 2ND AMENDED EXHIBIT LIST,
                            DEBTOR'S RESPONSE TO MR'S
                            OBJECTION TO DEBTOR'S DECLARATION,
                            JOINT STIPULATION ON ADMISSION OF
                            EVIDENCE, AND TCC'S AMENDED EXHIBIT
                            LIST (.2); REVIEW SUMMARY OF FILINGS
                            FOR FCR (.1).
6/30/2023   LMW   B140      ATTEND PART OF HEARING.                    4.3     $905.00     $3,891.50
6/30/2023   LMW   B200      ATTEND CALL WITH STEVE FALANGA             0.4     $905.00      $362.00
                            REGARDING EXPERTS.
6/30/2023   LMW   B140      REVIEW PORTIONS OF JUNE 28 AND JUNE        0.2     $905.00      $181.00
                            29 HEARING TRANSCRIPTS.
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Date        TMK   Task      Description of Services                   Hours        Rate      Amount
6/30/2023   LMW   B200      REVIEW DEBTOR'S OBJECTIONS TO TCC           0.7     $905.00      $633.50
                            2ND AMENDED EXHIBIT LIST (.1); DEBTOR'S
                            RESPONSE TO MR FIRM OBJECTION TO
                            DEBTOR'S DECLARATION (.1); JOINT
                            STIPULATION ON ADMISSION OF
                            EVIDENCE (.1); TCC'S AMENDED EXHIBIT
                            LIST (.1); BARNES LAW GROUP'S VERIFIED
                            2019 STATEMENT (.1); PBWT LETTER TO
                            JUDGE CASTNER CONFIRMING NO
                            CONFLICT (.1); TCC'S REPLY BRIEF TO
                            MOTION FOR EXPEDITED DISCOVERY (.1).
6/30/2023   SVF   B195      TRAVEL TO TRENTON.                          1.7     $347.50      $590.75
6/30/2023   SVF   B140      ATTEND HEARING IN TRENTON.                  8.3     $695.00     $5,768.50
6/30/2023   SVF   B195      TRAVEL FROM COURT.                          1.2     $347.50      $417.00
6/30/2023   SVF   B140      TELECONFERENCE ECONONE REGARDING            0.1     $695.00       $69.50
                            EXPERT ISSUES.
6/30/2023   SVF   B140      COMMUNICATE BRG COUNSEL                     0.4     $695.00      $278.00
                            REGARDING EXPERT TRANSITION ISSUES.
6/30/2023   SVF   B140      COMMUNICATE REGARDING EXPERT                0.1     $695.00       $69.50
                            RETENTION.
6/30/2023   SVF   B140      COMMUNICATE L. WALSH REGARDING              0.1     $695.00       $69.50
                            EXPERT RETENTION ISSUES.
6/30/2023   SVF   B140      COMMUNICATE L. WALSH REGARDING              0.2     $695.00      $139.00
                            CASE ISSUES.
6/30/2023   MF    B140      ATTEND HEARING BEFORE JUDGE                 8.3     $960.00     $7,968.00
                            KAPLAN.
6/30/2023   MF    B195      TRAVEL TO AND FROM TRENTON FOR              1.2     $480.00      $576.00
                            HEARING BEFORE JUDGE KAPLAN.
6/30/2023   FWY   B140      ANALYZE EXTENSIVE BANKRUPTCY AND            1.2     $405.00      $486.00
                            RELATED DOCKET FILINGS (0.8); PREPARE
                            SUMMARY OF FILINGS FOR FCR AND
                            WALSH TEAM (0.4).
6/30/2023   FWY   B140      ATTEND PORTION OF COURT HEARING ON          2.6     $405.00     $1,053.00
                            MOTIONS TO DISMISS AND EVIDENTIARY
                            ISSUES.
6/30/2023   JKF   B200      ANALYZE ISSUES RELATED TO ECON ONE          0.2     $375.00       $75.00
                            RETENTION.
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SERVICES


Date          TMK       Task          Description of Services                       Hours          Rate       Amount
6/30/2023    BET        B200          REVIEW TRANSCRIPT OF JUNE 28, 2023                0.4     $210.00        $84.00
                                      HEARING (PM SESSION) BEFORE JUDGE
                                      KAPLAN (.1); REVIEW TRANSCRIPT OF
                                      JUNE 29, 2023 HEARING (AM SESSION)
                                      BEFORE JUDGE KAPLAN (.1); REVIEW
                                      INVOICE RECEIVED FROM J&J COURT
                                      TRANSCRIBERS AND PROCESS THE SAME
                                      FOR PAYMENT (.1); REVIEW TRANSCRIPT
                                      OF JUNE 29, 2023 HEARING (PM SESSION)
                                      BEFORE JUDGE KAPLAN (.1).
6/30/2023    BET        B140          REVIEW NOTICES OF APPEARANCE AND                  0.6     $210.00       $126.00
                                      PRO HAC VICE MOTIONS FILED ON THE
                                      DOCKET AND UPDATE MASTER SERVICE
                                      LIST.

                                                  Total Professional Services       425.1                 $269,280.00

PERSON RECAP


Person                                                                          Hours            Rate         Amount
SVF         Stephen V. Falanga                                                   97.1         $695.00       $67,484.50
SVF         Stephen V. Falanga                                                   12.3         $347.50        $4,274.25
CIG         Christine I. Gannon                                                  23.6         $520.00       $12,272.00
CMH         Christopher M. Hemrick                                               16.3         $520.00        $8,476.00
LMW         Liza M. Walsh                                                         6.9         $452.50        $3,122.25
LMW         Liza M. Walsh                                                        63.4         $905.00       $57,377.00
MF          Mark Falk                                                             6.4         $480.00        $3,072.00
MF          Mark Falk                                                            71.4         $960.00       $68,544.00
FWY         Francis W. Yook                                                      81.0         $405.00       $32,805.00
JKF         Jessica K. Formichella                                               12.4         $375.00        $4,650.00
GXP         Gemma Pineiro                                                         1.9         $210.00         $399.00
BET         Barbara Troyan                                                       32.4         $210.00        $6,804.00

EXPENSES


Date                    Task          Description of Expenses                                                 Amount
5/31/2023               E100 - E106   PACER CHARGES - MAY 2023                                                $706.80
6/7/2023                E100 - E115   J&J COURT TRANSCRIBERS,                                                  $86.40
                                      INC.-TRANSCRIPT OF JUNE 2, 2023 COURT
                                      HEARING
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EXPENSES


Date                 Task          Description of Expenses                                             Amount
6/7/2023             E100 - E115   J&J COURT TRANSCRIBERS,                                              $74.40
                                   INC.-TRANSCRIPT OF MAY 30, 2023 COURT
                                   HEARING.
6/16/2023            E100 - E115   J&J COURT TRANSCRIBERS,                                             $183.60
                                   INC.-TRANSCRIPT OF COURT HEARING HELD
                                   ON JUNE 13, 2023
6/21/2023            E100 - E118   XACT DATA DISCOVERY- PROFESSIONAL                                    $69.00
                                   SERVICES- MAY 2023 SERVICES
6/22/2023            E100 - E101   PHOTOCOPIES (230 @ $0.20)                                            $46.00
6/26/2023            E100 - E110   SVF - PARKING FOR MEETING                                            $12.00
6/27/2023            E100 - E115   J&J COURT TRANSCRIBERS, INC.-                                       $116.40
                                   TRANSCRIPT OF JUNE 22, 2023 COURT
                                   HEARING BEFORE JUDGE KAPLAN
6/27/2023            E100 - E110   CAR SERVICE - PICK-UP R. ELLIS FROM                                 $182.00
                                   AIRPORT TO HOTEL
6/30/2023            E100 - E106   PACER CHARGES - JUNE 2023                                            $75.50
6/30/2023            E100 - E115   J&J COURT TRANSCRIBERS, INC.-                                       $915.60
                                   TRANSCRIPT OF COURT HEARING HELD ON
                                   JUNE 27 AND JUNE 28 BEFORE JUDGE
                                   KAPLAN.
6/30/2023            E100 - E106   PACER CHARGES - JUNE 2023                                           $563.20
6/30/2023            E100 - E118   ECONOMIST SOURCING FEE FOR EXPERT                                 $25,000.00
                                   HAL SINGER

                                          Total Expenses                                             $28,030.90


                                          Total Services                            $269,280.00
                                          Total Disbursements                        $28,030.90
                                          Total Current Charges                                   $297,310.90




                                          PAY THIS AMOUNT                                         $297,310.90



              Due Upon Receipt. Please include the invoice number on all remittance. Thank you.
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TASK RECAP

Services                                           Disbursements

Category              Hours            Amount      Category                          Amount

B140                 197.10         $113,828.50    E100 - E101                        $46.00
B170                  39.10          $18,322.50    E100 - E106                      $1,345.50
B195                  25.60          $10,468.50    E100 - E110                       $194.00
B200                 158.30         $124,216.00    E100 - E115                      $1,376.40
B230                   5.00           $2,444.50    E100 - E118                     $25,069.00

                     425.10         $269,280.00                                    $28,030.90
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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                          FEE APPLICATION COVER SHEET
               FOR THE PERIOD FROM JULY 1, 2023 THROUGH JULY 31, 2023


   Debtor:          LTL Management LLC      Applicant:     Walsh Pizzi O’Reilly Falanga LLP

   Case No.:        23-12825-MBK            Client:        Randi S. Ellis, FCR

   Chapter:         11                      Case Filed:    April 4, 2023 (the “Petition Date”)


                                         SECTION I
                                       FEE SUMMARY

   Monthly Fee Application No. 3                                     ☐ Final Fee Application
  Summary of Amounts Requested for the Period from July 1, 2023 through July 31, 2023.
   Total Fees:                                                                     $132,319.00
   Total Disbursements:                                                                $895.88
   Total Fees Plus Disbursements:                                                  $133,214.88
   Minus 20% Holdback of Fees:                                                      $26,463.80
   Amount Sought at this Time:                                                     $106,751.08

                                             FEES                       EXPENSES



   Total Previous Fee Requested:             $432,506.20                $30,008.00


   Total Fees Allowed To Date:               $0.00                      $0.00


   Total Retainer (If Applicable):           N/A                        N/A


   Total Holdback (If Applicable):           $108,126.55                $0


   Total Received To Date:                   $432,506.20                $30,008.00
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                                       YEAR
   NAME OF PROFESSIONAL                ADMITTED
                                       (Or Years Of       HOURS   RATE      FEE
   & TITLE                             Professional
                                       Service)


   Hon. Mark Falk (Ret.), Counsel      1977               31.0    $960.00   $29,760.00
   Liza M. Walsh, Partner              1985               20.4    $905.00   $18,462.00
   Stephen V. Falanga, Partner         1992               50.4    $695.00   $35,028.00
   Christine I. Gannon, Partner        2004               23.4    $520.00   $12,168.00
   Christopher M. Hemrick, Partner     2007               15.4    $520.00   $8,008.00
   Francis W. Yook, Associate          2015               55.1    $405.00   $22,315.50
   Jessica K. Formichella, Associate   2017               9.7     $375.00   $3,637.50
   Barbara E. Troyan, Paralegal        N/A                8.1     $210.00   $1,701.00
   Brianna L. DePalma, Paralegal       N/A                1.4     $210.00   $294.00
   Gemma Pineiro, Paralegal            N/A                4.5     $210.00   $945.00




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                                       SECTION II
                                   SUMMARY OF SERVICES

   SERVICES RENDERED                                                HOURS   FEE
   a)   Asset Analysis and Recovery:
        Identification and review of potential assets including
        causes of action and non-litigation recoveries.

   b) Asset Disposition
      Sales, leases, abandonment and related transaction
      work.

   c)   Avoidance Action Litigation
        Preference and fraudulent transfer litigation.

   d) Business Operations
      Issues related to debtor-in-possession operating in
      chapter 11 such as employee, vendor, tenant issues and
      other similar problems.

   e)   Case Administration
        Coordination and compliance activities, including
        preparation of statement of financial affairs, schedules,
        list of contracts, United States Trustee interim
        statements and operating reports; contacts with the
        United States Trustee; general creditor inquires.           48.40   $24,967.00

   f)   Claims Administration and Objections
        Specific claim inquiries; bar date motions; analyses,
        objections and allowance of claims.                         1.20    $1,152.00

   g) Employee Benefits/Pensions
      Review issues such as severance, retention, 401K
      coverage and continuance of pension plan.

   h) Fee/Employment Applications
      Preparations of employment and fee applications for
      self or others; motions to Establish interim procedures.      33.70   $17,353.00

   i)   Fee/Employment Objections
        Review of an objections to the employment and fee
        applications of others.




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   SERVICES RENDERED                                               HOURS    FEE
   j)   Financing
        Matters under 361, 363 and 364 including cash
        collateral and secured clams; loan document analysis.

   k) Litigation
      Other than Avoidance Action Litigation (there should
      be a separate category established for each major
      matter).                                                     118.90   $78,960.50

   l)   Meetings of Creditors
        Preparing for and attending the conference of creditors,
        the 341(a) meeting and other creditors’ committee
        meetings.

   m) Plan and Disclosure Statement
      Formulation, presentation and confirmation;
      compliance with the plan confirmation order, related
      orders and rules; disbursement and case closing
      activities, except those related to allowance and
      objections to allowance of claims.                           17.20    $9,886.50

   n) Relief from Stay Proceedings
      Matters relating to termination or continuation of
      automatic stay under 362.

   o) Accounting/Auditing
      Activities related to maintaining and auditing books of
      account, preparation of financial statements and
      account analysis.

   p) Business Analysis
      Preparation and review of company business plan;
      development and review of strategies; preparation and
      review of cash flow forecasts and feasibility studies.

   q) Corporate Finance
      Review financial aspects of potential mergers,
      acquisitions and disposition of company or
      subsidiaries.




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   SERVICES RENDERED                                            HOURS    FEE
   r)   Data Analysis
        Management information systems review, installation
        and analysis, construction, maintenance and reporting
        of significant case financial data, lease rejection,
        claims, etc.

   s)   Litigation Consulting
        Providing consulting and expert witness services
        related to various bankruptcy matters such as
        insolvency, feasibility, avoiding actions; forensic
        accounting, etc.

   t)   Reconstruction Accounting
        Reconstructing books and records from past
        transactions and brining accounting current.

   u) Tax Issues
      Analysis of tax issues and preparation of state and
      federal tax returns.

   v) Valuation
      Appraise or review appraisals of assets.

   w) Travel Time
      Please note that non-working travel time must be billed
      at 50% of cost.

   SERVICE TOTALS:                                              219.40   $132,319.00




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                                     SECTION III
                               SUMMARY OF DISBURSEMENTS

   DISBURSEMENTS                                                       AMOUNT

   a)   Filing Fees
        Payable to Clerk of Court.

   b) Computer Assisted Legal Research
      Westlaw, Lexis and a description of manner calculated.

   c)   Pacer Fees
        Payable to the Pacer Service Center for search and/or print.   $4.40

   d) Fax
      Include per page fee charged.

   e)   Case Specific Telephone/Conference Call Charges
        Exclusive of overhead charges.

   f)   In-house Reproduction Services
        Exclusive of overhead charges.                                 $47.60

   g) Outside Reproduction Services
      Including scanning services.

   h) Other Research
      Title searches, UCC searches, Asset searches, Accurint.

   i)   Court Reporting
        Transcripts.                                                   $566.40

   j)   Travel
        Mileage, tolls, airfare, parking.                              $208.48

   k) Courier & Express Carriers
      Overnight and personal delivery.

   l)   Postage

   m) Other (specify)
      Discovery data services                                          $69.00

   DISBURSEMENTS TOTALS:                                               $895.88


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        I certify under penalty of perjury that the foregoing is true correct.

  Executed on August 14, 2023                                  s/Mark Falk
                                                               Mark Falk




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  Mark Falk
  WALSH PIZZI O’REILLY FALANGA LLP
  Three Gateway Center
  100 Mulberry Street, 15th Floor
  Newark, N.J. 07102
  (973) 757-1100
  Counsel for Randi S. Ellis, Legal
  Representative for Future Talc Claimants

                     IN THE UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW JERSEY


   In re:                                           Chapter 11

   LTL MANAGEMENT LLC,                              Case No. 23- 12825

                            Debtor.                 Honorable Michael B. Kaplan



     MONTHLY FEE STATEMENT OF WALSH PIZZI O’REILLY FALANGA LLP
        COUNSEL FOR RANDI S. ELLIS, LEGAL REPRESENTATIVE FOR
              FUTURE TALC CLAIMANTS, FOR THE PERIOD
                   JULY 1, 2023 THROUGH JULY 31, 2023

        Walsh Pizzi O’Reilly Falanga LLP (“Walsh”) submits this Monthly Fee Statement for

 Services Rendered and Expenses Incurred as Counsel for Randi S. Ellis, Legal Representative for

 Future Talc Claimants (the “Statement”) for the period commencing July 1, 2023 and ending July

 31, 2023 (the “Statement Period”), pursuant to the Order Establishing Procedures for Interim

 Compensation and Reimbursement of Expenses of Retained Professionals [Dkt. No. 562] (the

 “Interim Compensation Order”), and pursuant to the Order (I) Dismissing Debtor’s Chapter 11

 Petition Pursuant to 11 U.S.C. § 1112(b); (II) Establishing Procedures With Respect To Requests

 For Compensation; And (III) Granting Related Relief [Dkt. No. 1211] (the “Dismissal Order”).

 The date of the Order approving Walsh’s retention is June 5, 2023 [Dkt. No. 690], effective as of
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 the date of the application (the “Retention Order”).1 The date of the Order Appointing Randi S.

 Ellis as Legal Representative for Future Talc Claimants is May 18, 2023 [Dkt. No. 551], effective

 as of April 10, 2023 (the “Appointment Order”).2 Paragraphs 2, 4 and 5 of the Appointment Order

 permit payment of compensation to the Future Talc Claimants Representative (“FCR”) incurred

 on or after April 10, 2022, and her retained professionals.

            The billing invoice for the Statement Period is annexed hereto as Exhibit C. This invoice

 details the services performed. A detailed breakdown of all out-of-pocket disbursements

 necessarily incurred by Walsh is included in the invoice annexed as Exhibit C. The fees and

 expense reimbursement sought in the within Statement Period are as follows:

        Total Fees          20% Holdback                 Fee Payment            Expense Reimbursement
                                                          Requested                     (100%)
       $132,319.00             $26,463.80                 $105,855.20                    $895.88

            WHEREFORE, Walsh respectfully requests the interim payment of fees for this Statement

 Period in the sum $105,855.20 (representing the amount of fees after a 20% holdback), together

 with expenses of $895.88 for a total requested interim payment of $106,751.08, in accordance with

 the terms of the Interim Compensation Order.

            I certify under penalty of perjury that the foregoing is true and correct.

     Executed: August 14, 2023                                Respectfully submitted,

                                                              s/Mark Falk
                                                              Mark Falk
                                                              WALSH PIZZI O’REILLY FALANGA LLP
                                                              Three Gateway Center
                                                              100 Mulberry Street, 15th Floor
                                                              Newark, N.J. 07102
                                                              (973) 757-1100
                                                              Counsel for Randi S. Ellis, Legal
                                                              Representative for Future Talc Claimants

 1
     The Retention Order is attached hereto as Exhibit A.
 2
     The Appointment Order is attached hereto as Exhibit B.


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                                  EXHIBIT A

                                 Retention Order
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     Case23-12825-MBK
          23-12825-MBK Doc
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
                                                                       Order Filed on June 5, 2023
                                                                       by Clerk
                                                                       U.S. Bankruptcy Court
      Caption in Compliance with D.N.J. LBR 9004-1(B)                  District of New Jersey
      WALSH PIZZI O’REILLY FALANGA LLP
      Three Gateway Center
      100 Mulberry Street, 15th Floor
      Newark, NJ 07102
      (973) 757-1100
      Proposed Counsel for Randi S. Ellis, Legal
      Representative for Future Talc Claimants,

                                                        Case No.:23-12825
      In Re:
                                                        Judge:   Michael B. Kaplan
      LTL Management LLC,
                                                        Chapter: 11
                                      Debtor.




                                  ORDER AUTHORIZING RETENTION OF


                                   WALSH PIZZI O’REILLY FALANGA LLP



     The relief set forth on the following page is ORDERED.




DATED: June 5, 2023
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 Upon the applicant's request for authorization to retain WALSH PIZZI O’REILLY FALANGA
 LLP as Counsel for Randi S. Ellis, FTCR, it is hereby ORDERED:
    1. The applicant is authorized to retain the above party in the professional capacity noted.

       The professional's address is:

       Three Gateway Center
       100 Mulberry Street, 15th Floor
       Newark, New Jersey 07102

    2. Compensation will be paid in such amounts as may be allowed by the Court on proper
       application(s).

    3. If the professional requested a waiver as noted below, it is 䕕㻌Granted 䕕㻌Denied.


                 䕕 Waiver, under D.N.J. LBR 2014-2(b), of the requirements of D.N.J. LBR
                    2016-1.

                 䕕 Waiver, under D.N.J. LBR 2014-3, of the requirements of D.N.J. LBR
                 2016-1 in a chapter 13 case. Payment to the professional may only be made
                 after satisfactory completion of services.

    4. The effective date of retention is as of May 9, 2023.

    5. WALSH PIZZI O’REILLY FALANGA LLP will only bill 50% for non-working travel
       and shall not seek the reimbursement of any fees or costs including attorney fees and costs,
       arising from the defense of any of WALSH PIZZI O’REILLY FALANGA LLP’s fee
       applications in this case.

    6. WALSH PIZZI O’REILLY FALANGA LLP will agree to make a reasonable effort to
       comply with the U.S. Trustee’s requests for information and additional disclosures as set
       forth in the Guidelines for Reviewing Applications for Compensation and Reimbursement
       of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases Effective
       as of November 1, 2013 (the “U.S. Trustee Guidelines”).

    7. WALSH PIZZI O’REILLY FALANGA LLP will use the billing and expense categories
       set forth in the US Trustee Guidelines (Exhibit D-1 “Summary of Compensation Requested
       by Project Category”).

    8. WALSH PIZZI O’REILLY FALANGA LLP will provide any and all monthly fee
       statements, interim fee applications, and final fee applications in “LEDES” format to the
       United States Trustee.



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    9. Any and all compensation to be paid to WALSH PIZZI O’REILLY FALANGA LLP for
       services rendered on the FTCR’s behalf shall be fixed by application to this Court in
       accordance with Sections 330 and 331 of the Bankruptcy Code, such Federal Rules and
       Local Rules as may then be applicable, and any orders entered in this case governing the
       compensation and reimbursement of professionals for services rendered and charges and
       disbursements incurred.

    10. WALSH PIZZI O’REILLY FALANGA LLP shall not charge a markup with respect to
        fees billed by contract attorneys or independent contractors or subcontractors who are
        hired by WALSH PIZZI O’REILLY FALANGA LLP to provide services in this matter
        and shall ensure that any such contract attorneys or independent contractors or
        subcontractors are subject to conflict checks and disclosures in accordance with the
        requirements of the Bankruptcy Code and Bankruptcy Rules.

    11. At least ten (10) days before implementing any increases in WALSH PIZZI O’REILLY
        FALANGA LLP’s rates for professionals in this case, WALSH PIZZI O’REILLY
        FALANGA LLP shall file a supplemental affidavit with the Court explaining the basis
        for the rate increases in accordance with section 330 of the Bankruptcy Code. All parties
        in interest, including the U.S. Trustee, retain all rights to object to any rate increase on all
        grounds, including the reasonableness standard provided for in section 330 of the
        Bankruptcy Code.

    12. To the extent the Pre-Petition Balance, as determined by agreement of WALSH PIZZI
        O’REILLY FALANGA LLP and the Debtor or by order of the Court in the event an
        objection is raised, is not paid in full, WALSH PIZZI O’REILLY FALANGA LLP shall
        waive any amounts owed in excess of the Allowed Pre-Petition Fee Claim.




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                                   EXHIBIT B

                                Appointment Order
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         UNITED STATES BANKRUPTCY COURT
         DISTRICT OF NEW JERSEY

         WOLLMUTH MAHER & DEUTSCH LLP                                                     Order Filed on May 18, 2023
         Paul R. DeFilippo, Esq.                                                          by Clerk
         500 Fifth Avenue                                                                 U.S. Bankruptcy Court
                                                                                          District of New Jersey
         New York, New York 10110
         Telephone: (212) 382-3300
         Facsimile: (212) 382-0050
         pdefilippo@wmd-law.com

         JONES DAY
         Gregory M. Gordon, Esq.
         Brad B. Erens, Esq.
         Dan B. Prieto, Esq.
         Amanda Rush, Esq.
         2727 N. Harwood Street
         Dallas, Texas 75201
         Telephone: (214) 220-3939
         Facsimile: (214) 969-5100
         gmgordon@jonesday.com
         bberens@jonesday.com
         dbprieto@jonesday.com
         asrush@jonesday.com
         (Admitted pro hac vice)
         PROPOSED ATTORNEYS FOR DEBTOR
         In re:                                                           Chapter 11

         LTL MANAGEMENT LLC, 1                                            Case No.: 23-12825 (MBK)

                                     Debtor.                              Judge: Michael B. Kaplan

                                       ORDER APPOINTING RANDI S. ELLIS
                             AS LEGAL REPRESENTATIVE FOR FUTURE TALC CLAIMANTS
                         The relief set forth on the following pages is hereby ORDERED.




DATED: May 18, 2023




     1




                  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
                  501 George Street, New Brunswick, New Jersey 08933.
     NAI-1536798282
Case
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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


                  This matter coming before the Court on the Debtor’s Motion for an Order

 Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants [Dkt. 87]

 (the “Motion”), 2 filed by the debtor in the above-captioned case (the “Debtor”) pursuant to

 sections 524(g)(4)(B) and 105(a) of the Bankruptcy Code; the Court having reviewed the

 Motion, the objections filed by the Official Committee of Talc Claimants [Dkt. 311], Paul

 Crouch [Dkt. 318], Maune Raichle Hartley French & Mudd, LLC [Dkt. 320], and the United

 States Trustee [Dkt. 321] (collectively, the “Objections”), the supplemental declaration

 [Dkt. 354] and amended supplemental declaration filed by Ms. Ellis [Dkt. 415], the Debtor’s

 reply in support of the Motion [Dkt. 355] and the responses to Ms. Ellis’ amended supplemental

 declaration filed by the Official Committee of Talc Claimants [Dkt. 436] and Maune Raichle

 Hartley French & Mudd, LLC [Dkt. 438], and having heard the statements of counsel and

 considered the evidence presented with respect to the Motion at a hearing before the Court on

 May 3, 2023 (the “Hearing”); the Court finding that (i) the Court has jurisdiction over this matter

 pursuant to 28 U.S.C. §§ 157(b) and 1334 and the Standing Order of Reference, (ii) venue is

 proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409, (iii) this is a core proceeding

 pursuant to 28 U.S.C. § 157(b), (iv) notice of the Motion and the Hearing was sufficient under

 the circumstances and (v) the relief requested in the Motion is in the best interests of the Debtor,

 its estate and its creditors; and after due deliberation and for the reasons set forth by the Court on

 the record during the May 9, 2023 hearing, the Court having overruled the Objections and



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         Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.


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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


 determined that the legal and factual bases set forth in the Motion and at the Hearing establish

 just cause for the relief granted herein;

                  IT IS HEREBY ORDERED THAT:

                  1.      The Motion is GRANTED to the extent set forth herein.

                  2.      Pursuant to sections 524(g)(4)(B)(i) and 105(a) of the Bankruptcy Code,

 Randi S. Ellis is hereby appointed as the Future Claimants’ Representative to represent and

 protect the rights of, absent further order of the Court, natural persons or the representatives of

 estates of natural persons, including those in Canada or in the United States, that may assert a

 demand for payment, present or future, that: (a) is not a claim during the proceedings prior to the

 entry of an order confirming a plan of reorganization (the “Plan”), because such natural person

 was diagnosed with disease after such time; and (b) arises out of the same or similar conduct or

 events that gave rise to the claims to be addressed by an injunction issued to enjoin entities from

 taking legal action for the purpose of directly or indirectly collecting, recovering or receiving

 payment or recovery with respect to any claim or demand that, under the Plan, is to be paid in

 whole or in part by a trust established pursuant to section 524(g)(2)(B)(i) and/or 105(a) of the

 Bankruptcy Code (collectively, the “Future Claimants”). The Future Claimants’ Representative

 shall represent the interests of, appear and act on behalf of, and be a fiduciary to Future

 Claimants to protect the rights and interests of such Future Claimants and shall be entitled to

 compensation in connection therewith from the date of the filing of the Motion. Ms. Ellis will

 have no other obligations except those that may be prescribed by orders of the Court and

 accepted by Ms. Ellis.


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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


                  3.    The Future Claimants’ Representative shall be a party in interest in this

 Chapter 11 Case and shall have standing under section 1109(b) of the Bankruptcy Code to be

 heard on any issue in this case in the Bankruptcy Court, the District Court or any other court

 affecting the rights of Future Claimants. The Future Claimants’ Representative shall have the

 powers and duties of a committee set forth in section 1103 of the Bankruptcy Code as are

 appropriate for a Future Claimants’ Representative.

                  4.    In her role as the Future Claimants’ Representative, Ms. Ellis may employ

 attorneys and other professionals consistent with sections 105, 327, and 1103 of the Bankruptcy

 Code, subject to prior approval of this Court, and such attorneys and other professionals shall be

 subject to the terms of any Interim Compensation Order.

                  5.    Compensation, including professional fees and reimbursement of actual

 and necessary expenses, shall be payable to Ms. Ellis and her professionals from the Debtor’s

 estate, as appropriate, subject to approval of this Court, and in accordance with the terms,

 conditions and procedures set forth in the Interim Compensation Order. In her role as the Future

 Claimants’ Representative, Ms. Ellis shall be compensated at the rate of $1,015 per hour, subject

 to periodic adjustment (usually on January 1 of each year) in the ordinary course of her business,

 plus reimbursement of actual, reasonable and documented out-of-pocket expenses.

                  6.    The Future Claimants’ Representative shall not be liable for any damages,

 or have any obligation other than as prescribed by order of the Court; provided, however, that the

 Future Claimants’ Representative may be liable for damages caused by willful misconduct or

 gross negligence. The Future Claimants’ Representative shall not be liable to any person as a


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 Debtor: LTL Management LLC
 Case No. 23-12825 (MBK)
 Caption: Order Appointing Randi S. Ellis as Legal Representative for Future Talc Claimants


 result of any action or omission taken or made in good faith. The Debtor shall indemnify,

 defend, and hold harmless Ms. Ellis, her employees and professionals (individually

 an “Indemnified Party”) from all claims against any of them, and all losses, claims, damages or

 liabilities (or actions in respect thereof) to which any of them may become subject, as a result of

 or in connection with such party rendering services pursuant to this Order or to the Future

 Claimants’ Representative, unless and until it is finally judicially determined that such losses,

 claims, damages or liabilities were caused by willful misconduct or gross negligence on the part

 of such Indemnified Party. If before the earlier of (i) the entry of an order confirming a plan of

 reorganization in this case, and such order having become final and no longer subject to appeal,

 and (ii) the entry of an order closing this Chapter 11 Case, an Indemnified Party believes that he,

 she or it is entitled to payment of any amount by the Debtor on account of the Debtor’s

 obligations to indemnify, defend and hold harmless as set forth herein, including, without

 limitation, the advancement of defense costs, the Indemnified Party must file an application for

 such amounts with the Court, and the Debtor may not pay any such amounts to the Indemnified

 Party before the entry of an order by the Court authorizing such payments. The preceding

 sentence is intended to specify the period of time during which the Court has jurisdiction over

 the Debtor’s obligations to indemnify, defend and hold harmless as set forth herein, and is not a

 limitation on the duration of the Debtor’s obligation to indemnify any Indemnified Party. In the

 event that a cause of action is asserted against any Indemnified Party arising out of or relating to

 the performance of his, her or its duties pursuant to this Order or to the Future Claimants’

 Representative, the Indemnified Party shall have the right to choose his, her or its own counsel.


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 Debtor: LTL Management LLC
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 For the avoidance of doubt, gross negligence, willful misconduct, bad faith or fraud on the part

 of one Indemnified Party shall not preclude indemnification for the other Indemnified Parties.

 Any such indemnification shall be an allowed administrative expense under section 503(b) of the

 Bankruptcy Code and shall be paid upon application to and approval of this Court.

                  7.    Ms. Ellis and any Court-approved counsel retained by Ms. Ellis in her role

 as Future Claimants’ Representative shall be deemed members of the “Core Service List” (or

 equivalent thereof) for purposes of any Case Management Procedures.

                  8.    Unless otherwise ordered by this Court or as provided for in any

 confirmed plan of reorganization, Ms. Ellis’ appointment as Future Claimants’ Representative

 shall terminate upon the effective date of a plan of reorganization in this Chapter 11 Case or

 otherwise by written resignation or incapacity to serve.

                  9.    The Debtor shall pay the Future Claimants’ Representative Liability

 Insurance, the cost of which is expected to be approximately $100,000 per year without further

 Court approval.

                  10.   The requirement set forth in D.N.J. LBR 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

                  11.   The Debtor is hereby authorized to take all actions it deems necessary to

 effectuate the relief granted in this Order.

                  12.   This Court shall retain jurisdiction to hear and determine all matters

 arising from or related to the implementation, interpretation and/or enforcement of this Order.


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                                   EXHIBIT C

                          Walsh Time and Expense Invoice
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                                                      Three Gateway Center
                                                      100 Mulberry Street, 15th Floor
Telephone: (973) 757-1100                             Newark, NJ 07102                              Fax: (973) 757-1090
                                                      Federal Tax I.D. No.: XX-XXXXXXX




       Randi S. Ellis, Legal Representative for Future Talc Claimants                            August 14, 2023
       United States Bankruptcy Court                                                            Client:       001737
       District of New Jersey                                                                    Matter:       000001
       402 East State Street                                                                     Invoice #:      21220
       Trenton, NJ 08608                                                                         Resp. Atty:      LMW
                                                                                                 Page:               1

       RE: In Re: LTL Management, LLC
           Case No.: 23-12825-MBK
           Judge: Michael B. Kaplan
           Chapter: 11


       For Professional Services Rendered Through July 31, 2023


SERVICES


Date          TMK      Task           Description of Services                            Hours       Rate     Amount
6/27/2023     MF       B200           ATTEND TRIAL BEFORE JUDGE KAPLAN.                    5.2     $960.00   $4,992.00
7/1/2023      CIG      B170           REVISE DRAFT CERTIFICATIONS OF NO                    0.2     $520.00    $104.00
                                      OBJECTION FOR WALSH AND ELLIS
                                      APRIL/MAY FEE APPLICATIONS (.1);
                                      CORRESPOND WITH L. WALSH AND F.
                                      YOOK REGARDING CERTIFICATIONS OF
                                      NO OBJECTION (.1).
7/1/2023      LMW      B170           REVIEW DRAFT CERTIFICATIONS OF NO                    0.1     $905.00      $90.50
                                      OBJECTION FOR WALSH FIRM AND FCR.
7/1/2023      SVF      B170           REVIEW CORRESPONDENCE REGARDING                      0.1     $695.00      $69.50
                                      MONTHLY FEE STATEMENTS.
7/1/2023      SVF      B230           REVIEW PLAN AND DISCLOSURE                           0.6     $695.00    $417.00
                                      STATEMENT ISSUES.
7/1/2023      SVF      B140           ATTEND TO EXPERT TRANSITION ISSUES.                  0.3     $695.00    $208.50
7/1/2023      FWY      B200           PLAN AND PREPARE FOR DOCKET FILINGS                  0.5     $405.00    $202.50
                                      ON BEHALF OF FCR AND WALSH FIRM.
7/2/2023      CIG      B140           CORRESPONDENCE WITH FCR AND F.                       0.1     $520.00      $52.00
                                      YOOK REGARDING REVIEW AND SUMMARY
                                      OF DAILY FILINGS.
7/2/2023      LMW      B170           REVIEW DR. MOLINE LETTER TO COURT                    0.1     $905.00      $90.50
                                      CONFIRMING NO OBJECTION.
7/2/2023      FWY      B140           ANALYZE BANKRUPTCY AND RELATED                       0.6     $405.00    $243.00
                                      DOCKET FILINGS (0.4); PREPARE
                                      SUMMARY OF DOCKET FILINGS FOR
                                      CLIENT (0.2).
           Case 23-12825-MBK Doc 1243-2
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                                                       Invoice
                                                                                Client:         001737
                                                                                Matter:         000001
                                                                                Invoice #:       21220
                                                                                Resp. Atty:       LMW
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SERVICES


Date          TMK    Task       Description of Services                 Hours        Rate      Amount
7/3/2023     CIG     B200       ATTEND MEETING WITH FCR, ESTIMATION       1.0     $520.00      $520.00
                                EXPERTS, S. FALANGA AND J.
                                FORMICHELLA.
7/3/2023     CIG     B200       POST-MEETING DEBRIEF WITH FCR             0.6     $520.00      $312.00
                                REGARDING ESTIMATION.
7/3/2023     CIG     B140       REVIEW DAILY FILINGS INCLUDING            0.6     $520.00      $312.00
                                DEBTOR'S MOTION TO EXTEND REMOVAL
                                PERIOD AND TCC'S APPEAL BRIEF (.5);
                                REVIEW SUMMARY OF DAILY FILINGS FOR
                                FCR (.1).
7/3/2023     CIG     B170       CORRESPONDENCE WITH THE COURT             0.4     $520.00      $208.00
                                REGARDING FCR'S AGREEMENT TO
                                EXTEND DEADLINE FOR US TRUSTEE TO
                                OBJECT TO FCR'S APPLICATION TO
                                RETAIN ECON ONE RESEARCH (.1);
                                CORRESPOND WITH US TRUSTEE AND S.
                                FALANGA REGARDING FCR'S AGREEMENT
                                TO EXTEND DEADLINE FOR US TRUSTEE
                                TO OBJECT TO FCR'S APPLICATION TO
                                RETAIN ECON ONE RESEARCH (.1);
                                CORRESPOND WITH FCR EXPERT
                                REGARDING US TRUSTEE COMMENTS TO
                                FCR'S APPLICATION TO RETAIN ECON ONE
                                RESEARCH (.1); REVIEW US TRUSTEE
                                COMMENTS TO FCR'S APPLICATION TO
                                RETAIN ECON ONE RESEARCH (.1).
7/3/2023     CIG     B200       CORRESPOND WITH FCR EXPERT                0.1     $520.00       $52.00
                                REGARDING PRODUCTION MATERIALS.
7/3/2023     CMH     B200       REVIEW RECENT BANKRUPTCY                  0.3     $520.00      $156.00
                                PLEADINGS.
7/3/2023     LMW     B200       REVIEW DEBTOR'S MOTION TO EXTEND          0.2     $905.00      $181.00
                                REMOVAL PERIOD (.1); TCC-APPELLANT'S
                                APPEAL BRIEF (.5).
7/3/2023     LMW     B170       ANALYZE ECON ONE ISSUES.                  0.9     $905.00      $814.50
7/3/2023     SVF     B140       ATTEND CONFERENCE CALL WITH               1.6     $695.00     $1,112.00
                                EXPERTS (1.0); ATTEND POST-MEETING
                                WITH FCR REGARDING ESTIMATION (.6).
7/3/2023     SVF     B170       COMMUNICATE J. SPONDER REGARDING          0.2     $695.00      $139.00
                                ECONONE AND BEDERSON RETENTION
                                APPLICATIONS.
7/3/2023     SVF     B170       REVIEW US TRUSTEE SUPPLEMENTAL            0.5     $695.00      $347.50
                                REQUESTS FOR ECONONE AND
                                BEDERSON RETENTION APPLICATIONS.
           Case 23-12825-MBK Doc 1243-2
                                     1227-4 Filed 08/17/23
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SERVICES


Date          TMK    Task       Description of Services                    Hours        Rate     Amount
7/3/2023     SVF     B170       COMMUNICATE FCR REGARDING US                 0.2     $695.00     $139.00
                                TRUSTEE SUPPLEMENTAL REQUESTS FOR
                                ECONONE AND BEDERSON RETENTION
                                APPLICATIONS.
7/3/2023     SVF     B170       COMMUNICATE TEAM REGARDING US                0.1     $695.00      $69.50
                                TRUSTEE SUPPLEMENTAL REQUESTS FOR
                                ECONONE AND BEDERSON RETENTION
                                APPLICATIONS.
7/3/2023     SVF     B140       REVIEW BRG MATERIALS AND                     0.7     $695.00     $486.50
                                COMMUNICATE J. FORMICHELLA
                                REGARDING TRANSITION ISSUES AND
                                COURSE OF ACTION.
7/3/2023     SVF     B170       COMMUNICATE ECON ONE REGARDING US            0.1     $695.00      $69.50
                                TRUSTEE COMMENTS ON RETENTION
                                APPLICATION.
7/3/2023     MF      B200       FOLLOW UP CALL WITH EXPERT (.5);             0.7     $960.00     $672.00
                                REVIEW FILINGS INCLUDING OBJECTION
                                BY AD HOC COMMITTEE (.2).
7/3/2023     FWY     B140       ANALYZE BANKRUPTCY AND RELATED               2.2     $405.00     $891.00
                                DOCKET FILINGS (1.7) PREPARE SUMMARY
                                OF DOCKET FILINGS FOR CLIENT (0.5).
7/3/2023     FWY     B200       ANALYZE MATERIALS FOR MEETING WITH           0.5     $405.00     $202.50
                                EXPERTS.
7/3/2023     JKF     B200       ATTEND MEETING WITH EXPERT (1.0);            1.6     $375.00     $600.00
                                ATTEND POST-MEETING CALL WITH FCR
                                REGARDING ESTIMATION (.6).
7/3/2023     JKF     B200       ANALYZE DOCUMENTS RELATED TO                 0.4     $375.00     $150.00
                                CLAIMS DATA.
7/3/2023     BET     B170       FURTHER EDITS TO CERTIFICATIONS OF           0.1     $210.00      $21.00
                                NO OBJECTION AS TO FCR AND WALSH
                                APRIL-MAY FEE APPLICATIONS (.1).
7/3/2023     BET     B200       ANALYZE CLAIMS DATA PROVIDED BY              0.9     $210.00     $189.00
                                EXPERT (.8); REVIEW TRANSCRIPT OF
                                JUNE 30, 2023 HEARING ON MOTION TO
                                DISMISS (.1).
7/3/2023     BET     B170       DRAFT CERTIFICATION OF NO OBJECTION          0.6     $210.00     $126.00
                                TO FCR'S JUNE 2023 FEE APPLICATION (.3);
                                DRAFT CERTIFICATION OF NO OBJECTION
                                TO WPOF'S JUNE 2023 FEE APPLICATION
                                (.3).
7/3/2023     BET     B140       ATTEND TO ISSUES CONCERNING                  0.2     $210.00      $42.00
                                TRANSCRIPTS OF COURT HEARINGS HELD
                                ON JUNE 29 AND JUNE 30.
7/5/2023     CIG     B140       CORRESPOND WITH F. YOOK AND R. ELLIS         0.1     $520.00      $52.00
                                REGARDING UPCOMING HEARINGS.
           Case 23-12825-MBK Doc 1243-2
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SERVICES


Date          TMK    Task       Description of Services                 Hours        Rate     Amount
7/5/2023     SVF     B170       COMMUNICATE ECON ONE REGARDING            0.2     $695.00     $139.00
                                SUPPLEMENTAL RETENTION
                                INFORMATION.
7/5/2023     SVF     B140       COMMUNICATE DEBTOR'S COUNSEL              0.1     $695.00      $69.50
                                REGARDING CASE ISSUES.
7/5/2023     SVF     B140       REVIEW CORRESPONDENCE TCC                 0.1     $695.00      $69.50
                                REGARDING APPEAL BRIEFING
                                DEADLINES.
7/5/2023     SVF     B140       COMMUNICATE FCR REGARDING APPEAL          0.1     $695.00      $69.50
                                BRIEFING DEADLINES.
7/5/2023     SVF     B170       ATTEND TO SUPPLEMENTAL RETENTION          0.6     $695.00     $417.00
                                REQUESTS FOR ECONONE.
7/5/2023     SVF     B200       REVIEW CURRENT FCR APPOINTMENT            0.3     $695.00     $208.50
                                APPEAL BRIEFING AND RELATED ISSUES.
7/5/2023     SVF     B170       REVIEW CORRESPONDENCE REGARDING           0.1     $695.00      $69.50
                                ECONONE RETENTION AND US TRUSTEE
                                OBJECTION EXTENSION.
7/5/2023     FWY     B140       ANALYZE BANKRUPTCY AND RELATED            0.6     $405.00     $243.00
                                DOCKET FILINGS (0.4); PREPARE
                                SUMMARY OF DOCKET FILINGS FOR
                                CLIENT (0.2).
7/5/2023     FWY     B200       TELEPHONE CALL TO JUDGE KAPLAN'S          0.1     $405.00      $40.50
                                CHAMBERS REGARDING SCHEDULING.
7/5/2023     FWY     B200       PLAN AND PREPARE FOR SCHEDULED            0.2     $405.00      $81.00
                                HEARING BEFORE THE COURT.
7/6/2023     CIG     B170       CORRESPOND WITH FCR REGARDING             0.1     $520.00      $52.00
                                JUNE INVOICE AND FEE APPLICATION.
7/6/2023     CIG     B140       REVIEW DAILY FILINGS INCLUDING TCC'S      0.2     $520.00     $104.00
                                RESERVATION AS TO DEBTOR'S MOTION
                                TO EXTEND REMOVAL PERIOD, TCC'S
                                RESERVATION AS TO DEBTOR'S MOTION
                                FOR ORDINARY COURSE PROFESSIONALS,
                                AND ORDER ON JULY 11TH HEARING (.1);
                                REVIEW DRAFT SUMMARY OF FILINGS FOR
                                FCR (.1).
7/6/2023     CIG     B140       CORRESPOND WITH FCR AND S. FALANGA        0.1     $520.00      $52.00
                                REGARDING EXTENSION OF APPEAL
                                BRIEFING SCHEDULE RELATED TO ELLIS
                                APPOINTMENT IN LTL II.
7/6/2023     CIG     B170       CORRESPONDENCE FROM US TRUSTEE            0.1     $520.00      $52.00
                                REGARDING ECON ONE RETENTION
                                APPLICATION.
7/6/2023     CIG     B200       ATTEND WEEKLY WALSH TEAM MEETING.         0.4     $520.00     $208.00
           Case 23-12825-MBK Doc 1243-2
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Date          TMK    Task       Description of Services                 Hours        Rate     Amount
7/6/2023     CMH     B200       ATTEND TO APPEAL ISSUES AND               1.6     $520.00     $832.00
                                DOCUMENTS.
7/6/2023     CMH     B200       ATTEND WEEKLY TEAM MEETING.               0.4     $520.00     $208.00
7/6/2023     LMW     B140       ATTEND CALL WITH STEVE FALANGA            0.5     $905.00     $452.50
                                REGARDING MEDIATION.
7/6/2023     LMW     B140       ATTEND CALL WITH STEVE FALANGA AND        0.3     $905.00     $271.50
                                MARK FALK REGARDING MEDIATION.
7/6/2023     LMW     B200       REVIEW UNITED STATES TRUSTEE'S            0.1     $905.00      $90.50
                                UNREDACTED OBJECTION TO DEBTOR'S
                                MOTION FOR AN ORDER APPOINTING
                                RANDI S. ELLIS AS LEGAL
                                REPRESENTATIVE FOR FUTURE TALC
                                CLAIMANTS.
7/6/2023     LMW     B200       REVIEW TCC'S OBJECTION TO DEBTOR'S        0.1     $905.00      $90.50
                                MOTION FOR AN ORDER APPOINTING
                                RANDI S. ELLIS AS LEGAL
                                REPRESENTATIVE FOR FUTURE TALC
                                CLAIMANTS.
7/6/2023     LMW     B170       REVIEW DRAFT RETENTION                    0.5     $905.00     $452.50
                                APPLICATIONS OF ECON ONE AND
                                BEDERSON.
7/6/2023     LMW     B200       REVIEW TCC'S RESERVATION AS TO            0.2     $905.00     $181.00
                                DEBTOR'S MOTION TO EXTEND REMOVAL
                                PERIOD (.1); TCC'S RESERVATION AS TO
                                DEBTOR'S MOTION FOR ORDINARY
                                COURSE PROFESSIONALS (.1).
7/6/2023     SVF     B200       ATTEND WEEKLY TEAM STATUS CALL.           0.4     $695.00     $278.00
7/6/2023     SVF     B140       COMMUNICATE DEBTOR'S COUNSEL              0.1     $695.00      $69.50
                                REGARDING APPEAL.
7/6/2023     SVF     B140       COMMUNICATE FCR REGARDING CASE            0.3     $695.00     $208.50
                                ISSUES.
7/6/2023     SVF     B140       CONFERENCES L. WALSH REGARDING            0.5     $695.00     $347.50
                                CASE ISSUES.
7/6/2023     SVF     B140       CONFERENCE M. FALK REGARDING CASE         0.3     $695.00     $208.50
                                ISSUES.
7/6/2023     SVF     B170       REVIEW BEDERSON RETENTION ORDER.          0.1     $695.00      $69.50
7/6/2023     SVF     B170       ADDRESS EXPERT RETENTION ISSUES           0.4     $695.00     $278.00
                                AND COMMUNICATE VERSED REGARDING
                                INVOICE.
7/6/2023     SVF     B200       REVIEW FCR APPOINTMENT APPEAL             0.4     $695.00     $278.00
                                ISSUES AND CONFERENCE C. HEMRICK
                                REGARDING BRIEFING SCHEDULE AND
                                COURSE OF ACTION.
           Case 23-12825-MBK Doc 1243-2
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Date          TMK    Task       Description of Services                 Hours        Rate      Amount
7/6/2023     SVF     B170       ADDRESS ECONONE AND BEDERSON              0.5     $695.00      $347.50
                                SUPPLEMENTAL RETENTION
                                INFORMATION AND COMMUNICATE J.
                                FORMICHELLA REGARDING COURSE OF
                                ACTION.
7/6/2023     SVF     B200       EXCHANGE CORRESPONDENCE COUNSEL           0.1     $695.00       $69.50
                                REGARDING FCR APPOINTMENT APPEAL
                                BRIEFING SCHEDULE.
7/6/2023     SVF     B200       COMMUNICATE FCR REGARDING                 0.1     $695.00       $69.50
                                APPOINTMENT APPEAL BRIEFING
                                SCHEDULE.
7/6/2023     MF      B200       CALL WITH L. WALSH AND S. FALANGA         0.3     $960.00      $288.00
                                REGARDING MEDIATION.
7/6/2023     MF      B200       REVIEW TRANSCRIPT OF HEARING (.1),        3.7     $960.00     $3,552.00
                                REVIEW NEW FILINGS (.2);
                                COMMUNICATIONS REGARDING EXPERTS
                                AND STRATEGY (1.6); COMMUNICATIONS
                                WITH FCR TEAM REGARDING STATUS AND
                                STRATEGY FOLLOWING TRIAL ON
                                MOTIONS (.9); REVIEW DRAFT CHART
                                TRACKING RELEVANT POSITIONS AS TO
                                TDP'S TAKEN IN IMERYS AND LTL (.9).
7/6/2023     FWY     B230       ANALYZE TRUST DISTRIBUTION                3.7     $405.00     $1,498.50
                                PROCEDURES TO PLANS FOR
                                COMPARISON CHART.
7/6/2023     FWY     B230       REVISE CHART COMPARING PLAN               1.5     $405.00      $607.50
                                PROVISIONS AND TRUST PROCEDURES.
7/6/2023     FWY     B200       ATTEND TEAM STRATEGY CALL                 0.4     $405.00      $162.00
                                REGARDING ACTION ITEMS AND
                                UPCOMING PROCEEDINGS.
7/6/2023     FWY     B140       ANALYZE BANKRUPTCY AND RELATED            0.6     $405.00      $243.00
                                DOCKET FILINGS (0.3); PREPARE
                                SUMMARY OF DOCKET FILINGS FOR
                                CLIENT (0.3).
7/6/2023     JKF     B200       ATTEND WALSH TEAM MEETING.                0.4     $375.00      $150.00
7/6/2023     JKF     B170       DRAFT SUPP CERT OF LISA SKYLAR (.5);      0.9     $375.00      $337.50
                                REVISE PROPOSED RETENTION ORDER
                                OF ECON ONE (.2); REVISE PROPOSED
                                RETENTION ORDER OF BEDERSON (.2).
7/6/2023     BET     B200       ATTEND WEEKLY TEAM CASE                   0.4     $210.00       $84.00
                                STATUS/STRATEGY CALL.
7/6/2023     BLD     B200       PREPARE APPEAL BINDER WITH                1.4     $210.00      $294.00
                                DOCUMENTS FOR HEARING.
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Date          TMK    Task       Description of Services                 Hours        Rate     Amount
7/7/2023     CIG     B170       CORRESPONDENCE WITH US TRUSTEE            0.2     $520.00     $104.00
                                REGARDING ECON ONE RETENTION
                                APPLICATION EXTENSION FOR
                                OBJECTIONS (.1); CORRESPONDENCE
                                WITH EXPERT AND S. FALANGA
                                REGARDING AMENDED CERTIFICATION IN
                                SUPPORT OF ECON ONE RETENTION
                                APPLICATION (.1).
7/7/2023     CIG     B170       REVIEW ENTERED ORDER GRANTING             0.1     $520.00      $52.00
                                BEDERSON RETENTION APPLICATION.
7/7/2023     CIG     B140       REVIEW DAILY DOCKET FILINGS (.1);         0.2     $520.00     $104.00
                                REVIEW SUMMARY OF DOCKET FILINGS
                                FOR FCR (.1).
7/7/2023     CIG     B170       CORRESPOND WITH FCR REGARDING             0.2     $520.00     $104.00
                                ELLIS JUNE INVOICE AND FEE
                                APPLICATION (.1); CORRESPOND WITH G.
                                PINEIRO REGARDING WALSH JUNE
                                INVOICE AND FEE APPLICATION (.1).
7/7/2023     CMH     B200       REVIEW RECENTLY FILED PLEADINGS.          0.3     $520.00     $156.00
7/7/2023     LMW     B140       ATTEND CALL WITH RANDI ELLIS AND          0.4     $905.00     $362.00
                                STEVE FALANGA REGARDING CASE
                                ISSUES AND STRATEGY.
7/7/2023     LMW     B140       ATTEND CALLS WITH STEVE FALANGA           0.6     $905.00     $543.00
                                REGARDING CASE ISSUES AND
                                STRATEGY.
7/7/2023     LMW     B140       ATTEND CALL WITH RANDI ELLIS              0.7     $905.00     $633.50
                                REGARDING CASE ISSUES AND
                                STRATEGY.
7/7/2023     LMW     B170       REVIEW REVISED DRAFT RETENTION            0.2     $905.00     $181.00
                                APPLICATIONS OF ECON ONE AND
                                BEDERSON.
7/7/2023     LMW     B170       REVIEW ORDER AUTHORIZING FCR'S            0.1     $905.00      $90.50
                                RETENTION OF BEDERSON.
7/7/2023     LMW     B200       REVIEW TRANSCRIPTS OF JUNE 29 AND 30      0.2     $905.00     $181.00
                                HEARINGS.
7/7/2023     SVF     B170       COMMUNICATE J. SPONDER REGARDING          0.1     $695.00      $69.50
                                ECONONE SUPPLEMENTAL DECLARATION.
7/7/2023     SVF     B170       COMMUNICATE ECONEON REGARDING             0.2     $695.00     $139.00
                                SUPPLEMENTAL DECLARATION.
7/7/2023     SVF     B170       REVIEW AND REVISE DRAFT ECONEON           0.6     $695.00     $417.00
                                SUPPLEMENTAL DECLARATION.
7/7/2023     SVF     B140       COMMUNICATE L. WALSH REGARDING            0.5     $695.00     $347.50
                                CASE ISSUES.
           Case 23-12825-MBK Doc 1243-2
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7/7/2023     SVF     B170       TELECONFERENCES ECONONE                   0.1     $695.00       $69.50
                                REGARDING SUPPLEMENTAL
                                DECLARATION.
7/7/2023     SVF     B170       COMMUNICATE BEDERSON REGARDING            0.2     $695.00      $139.00
                                SUPPLEMENT DECLARATION.
7/7/2023     FWY     B140       ANALYZE BANKRUPTCY AND RELATED            0.6     $405.00      $243.00
                                DOCKET FILINGS (0.4); PREPARE
                                SUMMARY OF DOCKET FILINGS FOR
                                CLIENT (0.2).
7/8/2023     CIG     B170       REVIEW AND REVISIONS TO ELLIS JUNE        0.7     $520.00      $364.00
                                INVOICE FOR PRIVILEGE AND US TRUSTEE
                                GUIDELINES.
7/8/2023     CIG     B170       CORRESPONDENCE WITH L. WALSH AND          0.1     $520.00       $52.00
                                G. PINEIRO REGARDING REVISIONS TO
                                WALSH AND ELLIS JUNE INVOICES.
7/9/2023     CIG     B170       ANALYZE WALSH JUNE INVOICE AND            2.8     $520.00     $1,456.00
                                REVISE FOR PRIVILEGE AND US TRUSTEE
                                GUIDELINES.
7/9/2023     CIG     B170       CONTINUED REVIEW AND REVISIONS TO         0.9     $520.00      $468.00
                                ELLIS JUNE INVOICE FOR PRIVILEGE AND
                                US TRUSTEE GUIDELINES.
7/9/2023     CIG     B170       CORRESPONDENCE WITH C. JACOBS AND         0.1     $520.00       $52.00
                                R. ELLIS REGARDING REVISIONS TO ELLIS
                                JUNE INVOICE FOR PRIVILEGE AND US
                                TRUSTEE GUIDELINES.
7/9/2023     CIG     B170       CORRESPONDENCE WITH L. WALSH AND          0.1     $520.00       $52.00
                                G. PINEIRO REGARDING REVISIONS TO
                                WALSH JUNE INVOICE FOR PRIVILEGE AND
                                US TRUSTEE GUIDELINES.
7/9/2023     FWY     B170       ANALYZE MATERIALS AND                     0.5     $405.00      $202.50
                                CORRESPONDENCE WITH US TRUSTEE
                                RELATING TO RETENTION OF EXPERT.
7/9/2023     FWY     B140       ANALYZE BANKRUPTCY AND RELATED            0.3     $405.00      $121.50
                                DOCKET FILINGS (0.2) PREPARE SUMMARY
                                OF DOCKET FILINGS FOR CLIENT (0.1).
7/10/2023    CIG     B170       CORRESPOND WITH G. PINEIRO AND L.         0.2     $520.00      $104.00
                                WALSH REGARDING WALSH JUNE INVOICE
                                (.1); CORRESPOND WITH C. JACOBS AND
                                G. PINEIRO REGARDING ELLIS JUNE
                                INVOICE (.1).
7/10/2023    CIG     B200       CORRESPOND WITH FCR REGARDING             0.1     $520.00       $52.00
                                EXTENSION OF BRIEFING SCHEDULE FOR
                                APPEAL OF APPOINTMENT.
        Case 23-12825-MBK Doc 1243-2
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Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/10/2023   CIG   B200        PROVIDE COMMENTS TO DRAFT                  0.3     $520.00      $156.00
                              SUMMARY OF DNJ COMPLAINT AGAINST
                              DRS. EMORY, KRADIN, AND MADDOX (.2);
                              CORRESPOND WITH FCR REGARDING
                              SUMMARY OF COMPLAINT (.1).
7/10/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS                0.3     $520.00      $156.00
                              INCLUDING COMPLAINT AGAINST DRS.
                              EMORY, KRADIN AND MADDOX (.2);
                              REVIEW SUMMARY OF FILINGS FOR FCR
                              (.1).
7/10/2023   LMW   B200        REVIEW SUMMARY OF LTL’S COMPLAINT          0.1     $905.00       $90.50
                              AGAINST DRS. EMORY, KRADIN, AND
                              MADDOX.
7/10/2023   LMW   B200        REVIEW TCC'S LETTER TO JUDGE SHIPP         0.1     $905.00       $90.50
                              REGARDING APPEAL OF FCR
                              APPOINTMENT.
7/10/2023   SVF   B140        REVIEW DEBTOR COMPLAINT AGAINST            0.3     $695.00      $208.50
                              DRS. EMORY, KRADIN AND MADDOX.
7/10/2023   SVF   B140        COMMUNICATE ECONONE REGARDING              0.1     $695.00       $69.50
                              STATUS CALL.
7/10/2023   SVF   B140        COMMUNICATE MEDIATORS REGARDING            0.1     $695.00       $69.50
                              STATUS CALL.
7/10/2023   SVF   B200        REVIEW TCC COURT SUBMISSION                0.1     $695.00       $69.50
                              REGARDING FCR APPOINTMENT APPEAL.
7/10/2023   SVF   B140        COMMUNICATE FCR REGARDING                  0.1     $695.00       $69.50
                              APPOINTMENT APPEAL BRIEFING IN
                              EXTENSION.
7/10/2023   SVF   B140        CONFERENCE L. WALSH REGARDING              0.1     $695.00       $69.50
                              APPOINTMENT APPEAL BRIEFING IN
                              EXTENSION.
7/10/2023   SVF   B140        REVIEW VALDEZ TRIAL STATUS.                0.2     $695.00      $139.00
7/10/2023   SVF   B230        ANALYZE TRUST DISTRIBUTION                 1.1     $695.00      $764.50
                              PROCEDURE ISSUES.
7/10/2023   MF    B150        REVIEW NEW COMPLAINT BY LTL VERSUS         1.2     $960.00     $1,152.00
                              DRS. EMORY, KRADIN AND MADDOX.
7/10/2023   MF    B230        REVIEW AND ANALYZE NEW FILINGS             1.8     $960.00     $1,728.00
                              REGARDING DEBTORS REVISED TRUST
                              DISTRIBUTIONS (.6); DEBTORS
                              DISCLOSURE STATEMENT FOR AMENDED
                              PLAN (.9); DEBTORS MOTION TO APPROVE
                              DISCLOSURE STATEMENT AND AMENDED
                              PLAN (.3).
        Case 23-12825-MBK Doc 1243-2
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SERVICES


Date        TMK   Task        Description of Services                 Hours         Rate     Amount
7/10/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             2.1     $405.00     $850.50
                              DOCKET FILINGS (1.4); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.7).
7/10/2023   GXP   B170        CORRESPOND WITH C. GANNON                  0.1     $210.00      $21.00
                              REGARDING WALSH JUNE INVOICE.
7/11/2023   CIG   B200        MEETING WITH FCR AND EXPERTS               1.0     $520.00     $520.00
                              REGARDING CLAIMS ESTIMATION.
7/11/2023   CIG   B170        CORRESPONDENCE WITH ECONONE                0.2     $520.00     $104.00
                              REGARDING SUPPLEMENTAL
                              CERTIFICATION (.1); CORRESPOND WITH
                              S. FALANGA AND US TRUSTEE REGARDING
                              ECONONE RETENTION APPLICATION AND
                              EXTENSION OF OBJECTION DEADLINE FOR
                              US TRUSTEE (.1).
7/11/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS AND            0.4     $520.00     $208.00
                              MOTION RULINGS (.3); REVIEW SUMMARY
                              OF FILINGS AND RULINGS FOR FCR (.1).
7/11/2023   LMW   B200        ATTEND CALL WITH EXPERTS AND FCR.          1.0     $905.00     $905.00
7/11/2023   LMW   B200        REVIEW MOLINE LETTER TO JUDGE              0.3     $905.00     $271.50
                              CASTNER REQUESTING 30 DAY
                              EXTENSION TO ANSWER (.1); TCC LETTER
                              TO JUDGE SHIPP ON BRIEFING SCHEDULE
                              FOR FCR APPEAL (.1); LETTER ORDER
                              EXTENDING BRIEFING SCHEDULE FOR
                              APPEAL PAPERS (.1).
7/11/2023   LMW   B170        REVIEW DRAFT RETENTION APPLICATION         0.1     $905.00      $90.50
                              OF ECON ONE.
7/11/2023   SVF   B140        ATTEND STATUS CALL WITH ECON ONE           1.0     $695.00     $695.00
                              AND FCR.
7/11/2023   SVF   B170        REVIEW CORRESPONDENCE AND                  0.4     $695.00     $278.00
                              COMMUNICATE ECON ONE REGARDING
                              SUPPLEMENTAL CERTIFICATION IN
                              SUPPORT OF RETENTION.
7/11/2023   SVF   B170        COMMUNICATE US TRUSTEE REGARDING           0.2     $695.00     $139.00
                              ECONONE SUPPLEMENTAL
                              CERTIFICATION.
7/11/2023   SVF   B170        REVIEW AND REVISE DRAFT ECONEON            0.4     $695.00     $278.00
                              SUPPLEMENTAL CERTIFICATION IN
                              SUPPORT OF RETENTION.
7/11/2023   SVF   B170        ATTEND TO SUPPLEMENTAL ECONEON             0.8     $695.00     $556.00
                              DECLARATION AND RELATED SUBMISSION.
7/11/2023   SVF   B170        COMMUNICATE J. SPONDER REGARDING           0.1     $695.00      $69.50
                              ECONEON DECLARATION STATUS.
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SERVICES


Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/11/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE             0.1     $695.00       $69.50
                              ISSUES.
7/11/2023   MF    B200        CONFERENCE WITH ECON ONE (1.0);            1.9     $960.00     $1,824.00
                              REVIEW AND REACT TO AFFIDAVIT
                              REGARDING DISQUALIFICATION MOTION
                              (.4); CLOSER ANALYSIS OF PLAN NUMBERS
                              AND COMPARISON TO EXPERT
                              CONSTRUCT (.5).
7/11/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.9     $405.00      $364.50
                              DOCKET FILINGS (0.6); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/11/2023   FWY   B170        ANALYZE UPDATED FILINGS RELATING TO        0.4     $405.00      $162.00
                              FCR'S EXPERT RETENTION APPLICATION.
7/11/2023   JKF   B200        DRAFT SUMMARY OF CALL WITH                 0.6     $375.00      $225.00
                              ECONONE.
7/11/2023   JKF   B200        ATTEND MEETING WITH ECON ONE AND           1.0     $375.00      $375.00
                              FCR.
7/11/2023   JKF   B230        ANALYZE AMENDED TDPS.                      0.5     $375.00      $187.50
7/11/2023   JKF   B200        DRAFT REVISED SUMMARY OF BESTWALL          0.7     $375.00      $262.50
                              OPINION.
7/12/2023   CIG   B170        REVIEW ADDITIONAL REVISIONS TO             0.2     $520.00      $104.00
                              WALSH JUNE INVOICE (.2); CORRESPOND
                              WITH G. PINEIRO AND L. WALSH
                              REGARDING WALSH JUNE INVOICE (.1).
7/12/2023   CIG   B140        ATTEND TO ENTERED ORDER AMENDING           0.2     $520.00      $104.00
                              APPEAL BRIEFING SCHEDULE
                              CONCERNING FCR APPOINTMENT (.1);
                              CORRESPOND WITH FCR REGARDING
                              AMENDED BRIEFING SCHEDULE
                              CONCERNING FCR APPOINTMENT (.1).
7/12/2023   CIG   B170        CORRESPONDENCE S. FALANGA AND J.           0.2     $520.00      $104.00
                              FORMICHELLA REGARDING
                              SUPPLEMENTAL CERTIFICATION IN
                              SUPPORT OF ECONONE RETENTION
                              APPLICATION (.1); CORRESPOND WITH
                              ECONONE REGARDING SUPPLEMENTAL
                              CERTIFICATION (.1).
7/12/2023   CIG   B230        REVIEW DEBTOR'S REVISED TRUST              0.7     $520.00      $364.00
                              DISTRIBUTION PROCEDURES, DEBTOR'S
                              DISCLOSURE STATEMENT FOR AMENDED
                              PLAN, AND DEBTOR'S MOTION TO
                              APPROVE DISCLOSURE STATEMENT AND
                              PROCEDURES.
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SERVICES


Date        TMK   Task        Description of Services                  Hours        Rate     Amount
7/12/2023   CIG   B140        REVIEW DAILY DOCKET FILINGS (.4);          0.5     $520.00     $260.00
                              REVIEW SUMMARY OF FILINGS FOR FCR
                              (.1).
7/12/2023   CMH   B200        ATTEND TO APPEAL BRIEFING ISSUES.          0.3     $520.00     $156.00
7/12/2023   LMW   B200        REVIEW DEBTOR'S REVISED TRUST              0.8     $905.00     $724.00
                              DISTRIBUTION PROCEDURES (.1);
                              DEBTOR'S DISCLOSURE STATEMENT FOR
                              AMENDED PLAN (.1); DEBTOR'S MOTION TO
                              APPROVE DISCLOSURE STATEMENT AND
                              PROCEDURES (.1); DEBTOR'S NOTICE OF
                              HEARING FOR DISCLOSURE STATEMENT
                              (.1); ORDER WAIVING RULE 3003-1(A)(1)
                              REQUIREMENT (.1); ORDER AUTHORIZING
                              AHC OF SUPPORTING FIRMS' MOTION TO
                              SEAL 2019 STATEMENT (.1); TCC'S MOTION
                              ESTABLISHING DEADLINE FOR PROOF OF
                              CLAIMS AND APPROVING MODEL CLAIM
                              FORM (.1); SO ORDERED LETTER
                              GRANTING 30 DAY EXTENSION FOR
                              MOLINE TO ANSWER OR MOVE (.1).
7/12/2023   LMW   B170        REVIEW ORDER AUTHORIZING RETENTION         0.3     $905.00     $271.50
                              OF ORDINARY COURSE PROFESSIONALS
                              (.1); SUPPLEMENTAL CERTIFICATION OF
                              LISA SKYLER FOR ECONONE RETENTION
                              APPLICATION (.1); TCC'S MOTION
                              AUTHORIZING ESTIMATION AND
                              APPOINTING KEN FEINBERG (.1).
7/12/2023   LMW   B170        COMMUNICATION TO JUDGE KAPLAN              0.1     $905.00      $90.50
                              REGARDING RETENTION OF ECONONE
                              RESEARCH.
7/12/2023   SVF   B140        COMMUNICATE FCR REGARDING APPEAL           0.1     $695.00      $69.50
                              BRIEFING EXTENSION.
7/12/2023   SVF   B140        REVIEW DISTRICT COURT ORDER                0.1     $695.00      $69.50
                              REGARDING APPEAL BRIEFING
                              EXTENSION.
7/12/2023   SVF   B170        ATTEND TO FINAL REVISIONS TO DRAFT         1.2     $695.00     $834.00
                              ECON ONE RETENTION ORDER AND
                              COMMUNICATE J. FORMICHELLA
                              REGARDING COURSE OF ACTION.
7/12/2023   SVF   B170        COMMUNICATE COURT REGARDING                0.2     $695.00     $139.00
                              REVISED FORM OF RETENTION ORDER
                              FOR ECON ONE.
7/12/2023   SVF   B170        COMMUNICATE ECON ONE REGARIDNG             0.1     $695.00      $69.50
                              SUPPLEMENTAL DECLARATION
                              SUBMISSION AND COURSE OF ACTION.
7/12/2023   SVF   B140        REVIEW DEBTOR'S MOTION FOR                 0.8     $695.00     $556.00
                              SOLICITATION PROCEDURES.
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Date        TMK   Task        Description of Services                  Hours        Rate      Amount
7/12/2023   MF    B200        REVIEW TCC'S MOTION AUTHORIZING            5.2     $960.00     $4,992.00
                              ESTIMATION AND APPOINTING KEN
                              FEINBERG (1.4); REVIEW TCC'S MOTION TO
                              ESTABLISH PROOF OF CLAIM DEADLINE
                              (1.2); REVIEW MOTION TO DISQUALIFY
                              CLIENT RANDI ELLIS AND BEGIN TO
                              FORMULATE RESPONSE (1.7); REVIEW
                              OTHER MOTIONS BY THE OFFICIAL
                              COMMITTEE OF TALC CLAIMANTS (.9).
7/12/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           2.1     $405.00      $850.50
                              RELATED DOCKET FILINGS (1.3); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.8).
7/12/2023   JKF   B170        DRAFT SUPP CERT REGARDING                  0.9     $375.00      $337.50
                              BEDERSON; REVISE ECON ONE
                              PROPOSED ORDER.
7/12/2023   JKF   B170        FINAL PREPARATION AND FILING OF            0.2     $375.00       $75.00
                              SUPPLEMENTAL CERTIFICATION OF LISA
                              SKYLAR.
7/12/2023   GXP   B170        CORRESPOND WITH C. GANNON                  0.1     $210.00       $21.00
                              REGARDING WALSH JUNE INVOICE.
7/13/2023   CIG   B170        COMMUNICATE WITH L. WALSH, S.              0.3     $520.00      $156.00
                              FALANGA AND G. PINEIRO REGARDING
                              WALSH AND ELLIS JUNE INVOICES AND
                              FEE APPLICATIONS.
7/13/2023   CIG   B170        REVIEW ENTERED RETENTION ORDER             0.2     $520.00      $104.00
                              FOR ECONONE (.1); CORRESPOND
                              EXPERT REGARDING ENTERED
                              RETENTION ORDER (.1).
7/13/2023   CIG   B140        REVIEW DAILY FILINGS INCLUDING TCC’S       0.9     $520.00      $468.00
                              MOTION AUTHORIZING ESTIMATION AND
                              APPOINTING KEN FEINBERG, TCC’S
                              MOTION TO ESTABLISH PROOF-OF-CLAIM
                              DEADLINE AND APPROVE CLAIM FORM,
                              AND MR FIRM'S MOTION TO DISQUALIFY
                              FCR (.8); REVIEW SUMMARY OF FILINGS
                              FOR FCR (.1).
7/13/2023   CIG   B140        CORRESPONDENCE FROM DEBTOR                 0.1     $520.00       $52.00
                              REGARDING INFORMATION CONCERNING
                              ECONONE.
7/13/2023   CMH   B200        ANALYZE MOTION TO DISQUALIFY AND           0.8     $520.00      $416.00
                              RELATED ISSUES.
7/13/2023   CMH   B200        CONFERENCE WITH S. FALANGA                 0.2     $520.00      $104.00
                              REGARDING DISQUALIFICATION MOTION.
7/13/2023   LMW   B200        ATTEND CALL WITH RANDI ELLIS               0.5     $905.00      $452.50
                              REGARDING MOTION TO DISQUALIFY.
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Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/13/2023   LMW   B200        ATTEND CALL WITH STEVE FALANGA             0.3     $905.00      $271.50
                              REGARDING MOTION TO DISQUALIFY.
7/13/2023   LMW   B200        ATTEND CALL WITH MARK FALK                 0.3     $905.00      $271.50
                              REGARDING MOTION TO DISQUALIFY.
7/13/2023   LMW   B170        REVIEW ORDER AUTHORIZING FCR'S             0.1     $905.00       $90.50
                              RETENTION OF ECONONE.
7/13/2023   SVF   B200        COMMUNICATE FCR REGARDING                  0.2     $695.00      $139.00
                              THOMPSON MOTION AND COURSE OF
                              ACTION.
7/13/2023   SVF   B200        REVIEW MAUNE RACHLE MOTION TO              0.4     $695.00      $278.00
                              DISQUALIFY FCR.
7/13/2023   SVF   B200        CONFERENCE L. WALSH REGARDING              0.3     $695.00      $208.50
                              MOTION TO DISQUALIFY FCR AND OTHER
                              CASE ISSUES.
7/13/2023   SVF   B200        ANALYZE TCC MOTIONS TO FIX BAR DATE        1.4     $695.00      $973.00
                              AND FOR ESTIMATION PROCEEDINGS.
7/13/2023   SVF   B230        ANALYZE DEBTOR AMENDED DISCLOSURE          2.2     $695.00     $1,529.00
                              STATEMENT AND PLAN AND RELATED
                              SOLICITATION ISSUES.
7/13/2023   SVF   B200        CONFERENCE C. HEMRICK REGARDING            0.2     $695.00      $139.00
                              FCR MOTION ISSUES AND COURSE OF
                              ACTION.
7/13/2023   SVF   B170        REVIEW ENTERED ECON ONE RETENTION          0.2     $695.00      $139.00
                              ORDER AND COMMUNICATE ECON ONE
                              REGARDING SAME.
7/13/2023   SVF   B170        COMMUNICATE J. SPONDER REGARDING           0.1     $695.00       $69.50
                              BEDERSON DECLARATION.
7/13/2023   SVF   B200        COMMUNICATE FCR REGARDING CASE             0.2     $695.00      $139.00
                              ISSUES AND DEBTOR SOLICITATION
                              MOTION.
7/13/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           3.2     $405.00     $1,296.00
                              RELATED DOCKET FILINGS (2.3); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.9).
7/13/2023   GXP   B170        DRAFT AND REVISE JUNE 2023 FEE             2.9     $210.00      $609.00
                              APPLICATIONS FOR WALSH FIRM (1.7) AND
                              FCR (1.2).
7/14/2023   CIG   B200        ATTEND FCR MEDIATION SESSION (1.1);        1.2     $520.00      $624.00
                              CORRESPOND WITH L. WALSH AND S.
                              FALANGA REGARDING MEDIATION
                              SESSION (.1).
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Date        TMK   Task        Description of Services                  Hours        Rate      Amount
7/14/2023   CIG   B170        FINAL REVIEW OF ELLIS JUNE INVOICE         2.5     $520.00     $1,300.00
                              FOR FEE APPLICATION (.3); FINAL REVIEW
                              OF WALSH JUNE INVOICE FOR FEE
                              APPLICATION (.6); REVISE DRAFT ELLIS
                              JUNE FEE APPLICATION (.5); REVISE
                              DRAFT WALSH JUNE FEE APPLICATION
                              (.6); CORRESPOND WITH L. WALSH, S.
                              FALANGA AND G. PINEIRO REGARDING
                              WALSH AND ELLIS JUNE INVOICES AND
                              DRAFT FEE APPLICATIONS (.4);
                              CORRESPOND WITH R. ELLIS AND C.
                              JACOBS REGARDING JUNE FEE
                              APPLICATION AND INVOICE (.1).
7/14/2023   CIG   B140        REVIEW SUMMARY OF DOCKET FILINGS           0.1     $520.00       $52.00
                              FOR FCR.
7/14/2023   CMH   B200        ANALYZE ISSUES FOR OPPOSITION TO           1.1     $520.00      $572.00
                              FCR DISQUALIFICATION MOTION.
7/14/2023   CMH   B200        ANALYZE PRIOR MRHFM PLEADINGS FOR          0.5     $520.00      $260.00
                              RESPONSE TO MOTION.
7/14/2023   LMW   B200        ANALYZE MOTION TO DISQUALIFY.              1.6     $905.00     $1,448.00
7/14/2023   LMW   B200        ATTEND PRE MEDIATION CALL WITH             0.5     $905.00      $452.50
                              RANDI ELLIS.
7/14/2023   LMW   B200        ATTEND CALL WITH MEDIATORS.                1.1     $905.00      $995.50
7/14/2023   LMW   B200        REVIEW ORDER EXTENDING PRELIMINARY         0.1     $905.00       $90.50
                              INJUNCTION.
7/14/2023   LMW   B170        REVIEW DRAFT FEE APPLICATIONS FOR          0.2     $905.00      $181.00
                              FCR (.1) AND FIRM (.1).
7/14/2023   SVF   B200        ATTEND STATUS CALL WITH MEDIATORS.         1.1     $695.00      $764.50
7/14/2023   SVF   B140        COMMUNICATE FCR AND TEAM                   0.5     $695.00      $347.50
                              REGARDING MEDIATOR CALL.
7/14/2023   SVF   B200        ANALYZE ISSUES AND ATTEND TO DRAFT         1.4     $695.00      $973.00
                              RESPONSE TO MAUNE RACHLE MOTION
                              TO DISQUALIFY FCR.
7/14/2023   SVF   B200        ANALYZE DEBTOR SOLICITATION MOTION         1.7     $695.00     $1,181.50
                              AND RELATED ISSUES.
7/14/2023   SVF   B200        COMMUNICATE FCR AND L. WALSH               0.3     $695.00      $208.50
                              REGARDING CASE ISSUES AND MOTION
                              TO DISQUALIFY.
7/14/2023   SVF   B200        CONFERENCE C. HEMRICK REGARDING            0.3     $695.00      $208.50
                              MOTION TO DISQUALIFY.
7/14/2023   SVF   B200        CONFERENCE M. FALK REGARIDNG CASE          0.1     $695.00       $69.50
                              ISSUES.
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7/14/2023   SVF   B140        COMMUNICATE DEBTOR COUNSEL                 0.2     $695.00      $139.00
                              REGARDING CASE ISSUES AND EXPERT
                              STATUS CALL.
7/14/2023   SVF   B200        CONFERENCE L. WALSH REGARDING              0.3     $695.00      $208.50
                              CASE ISSUES.
7/14/2023   SVF   B170        REVIEW FEE APPLICATION AND                 0.2     $695.00      $139.00
                              COMMUNICATE TEAM REGARDING SAME.
7/14/2023   SVF   B200        REVIEW MAUNE RAICHLE MOTION ISSUES         0.6     $695.00      $417.00
                              AND DRAFT RESPONSE.
7/14/2023   SVF   B140        RESPONSE TO MEDIA REGARDING MAUNE          0.3     $695.00      $208.50
                              RAICHLE MOTION TO DISQUALIFY FCR.
7/14/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           0.8     $405.00      $324.00
                              RELATED DOCKET FILINGS (0.5); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/14/2023   FWY   B200        ANALYZE SUMMARY OF CALL WITH               0.3     $405.00      $121.50
                              MEDIATORS.
7/14/2023   JKF   B200        ANALYZE MOTION TO DISQUALIFY.              0.5     $375.00      $187.50
7/14/2023   JKF   B200        DRAFT SUMMARY OF CALL WITH                 0.4     $375.00      $150.00
                              MEDIATORS.
7/14/2023   JKF   B200        ATTEND CALL WITH MEDIATORS.                1.1     $375.00      $412.50
7/14/2023   GXP   B170        FINALIZE, ELECTRONICALLY FILE, AND         1.4     $210.00      $294.00
                              SERVE JUNE 2023 FEE APPLICATIONS FOR
                              WALSH FIRM (.7) AND FCR (.7).
7/16/2023   CMH   B200        RESEARCH AND ANALYZE LEGAL ISSUES          1.7     $520.00      $884.00
                              REGARDING DISQUALIFICATION.
7/16/2023   CMH   B200        PREPARE RESPONSE TO C. THOMPSON            3.6     $520.00     $1,872.00
                              MOTION TO DISQUALIFY FCR.
7/16/2023   LMW   B200        REVIEW DRAFT LETTER TO JUDGE               0.1     $905.00       $90.50
                              KAPLAN RESPONDING TO MOTION TO
                              DISQUALIFY FCR.
7/16/2023   FWY   B230        ANALYZE CLEAN AND RED-LINED TRUST          1.7     $405.00      $688.50
                              DISTRIBUTION PROCEDURES FOR TEAM
                              SUMMARY.
7/16/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           0.4     $405.00      $162.00
                              RELATED DOCKET FILINGS (0.2); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.2).
7/16/2023   FWY   B230        ANALYZE RED-LINED AMENDED                  0.9     $405.00      $364.50
                              DISCLOSURE STATEMENT FOR TEAM
                              SUMMARY.
        Case 23-12825-MBK Doc 1243-2
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Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/17/2023   CIG   B200        REVIEW FCR OPPOSITION TO MR'S              0.2     $520.00      $104.00
                              MOTION TO DISQUALIFY FCR (.1);
                              CORRESPOND WITH FCR REGARDING
                              DRAFT OPPOSITION TO MR'S MOTION TO
                              DISQUALIFY FCR (.1).
7/17/2023   CIG   B200        CORRESPOND WITH WALSH TEAM                 0.1     $520.00       $52.00
                              REGARDING FCR APPOINTMENT APPEAL.
7/17/2023   CIG   B200        ATTEND PORTION OF MEETING WITH FCR         0.5     $520.00      $260.00
                              AND ECONONE REGARDING FUTURE
                              CLAIMS.
7/17/2023   CIG   B140        CORRESPOND WITH FCR REGARDING              0.1     $520.00       $52.00
                              SUMMARY OF DAILY DOCKET FILINGS.
7/17/2023   CMH   B200        ANALYZE SANCTIONS ISSUES REGARDING         0.5     $520.00      $260.00
                              DISQUALIFICATION MOTION.
7/17/2023   CMH   B200        REVISE AND FINALIZE OPPOSITION TO          1.4     $520.00      $728.00
                              MOTION TO DISQUALIFY FCR.
7/17/2023   CMH   B140        ATTEND TO APPEAL DESIGNATION ISSUES        0.3     $520.00      $156.00
                              AND RECENT FILINGS.
7/17/2023   LMW   B200        REVIEW REVISED DRAFT LETTER TO             0.1     $905.00       $90.50
                              JUDGE KAPLAN RESPONDING TO MR'S
                              MOTION TO DISQUALIFY FCR.
7/17/2023   LMW   B200        REVIEW SUMMARY OF CALL WITH FCR            0.1     $905.00       $90.50
                              AND ECONONE.
7/17/2023   LMW   B170        REVIEW SUPPLEMENTAL CERTIFICATION          0.1     $905.00       $90.50
                              OF JAMES RUITENBERG (BEDERSON
                              RETENTION APPLICATION).
7/17/2023   LMW   B200        REVIEW TRANSMITTAL OF RECORD ON            0.1     $905.00       $90.50
                              APPEAL TO DISTRICT COURT (AS TO FCR
                              APPOINTMENT APPEAL).
7/17/2023   SVF   B200        ATTEND STATUS CALL WITH ECONONE.           1.0     $695.00      $695.00
7/17/2023   SVF   B200        REVIEW AND REVISE OPPOSITION TO            0.5     $695.00      $347.50
                              MOTION TO DISQUALIFY.
7/17/2023   MF    B200        REVIEW AND COMMENT ON OPPOSITION           1.8     $960.00     $1,728.00
                              TO MOTION REGARDING FCR (.6);
                              PARTICIPATE IN MEETING WITH CLIENT
                              AND EXPERT ECON ONE (.5); REVIEW NEW
                              FILINGS (.2) REVIEW RECORD ON APPEAL
                              (.5).
7/17/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           0.8     $405.00      $324.00
                              RELATED DOCKET FILINGS (0.5); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/17/2023   FWY   B200        ATTEND CALL WITH EXPERT AND TEAM           0.8     $405.00      $324.00
                              REGARDING ESTIMATION.
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Date        TMK   Task        Description of Services                 Hours         Rate     Amount
7/17/2023   FWY   B200        ANALYZE DRAFT RESPONSE TO MOTION           0.2     $405.00      $81.00
                              TO DISQUALIFY FCR.
7/17/2023   FWY   B200        PLAN AND PREPARE FOR FILING                0.2     $405.00      $81.00
                              RESPONSE TO MOTION TO DISQUALIFY
                              FCR.
7/17/2023   JKF   B170        FINAL PREPARATION AND FILING OF SUPP       0.2     $375.00      $75.00
                              CERT OF RUITENBERG ISO BEDERSON
                              APP.
7/17/2023   JKF   B200        REVIEW LETTER OPP TO MOTION TO             0.2     $375.00      $75.00
                              DISQUALIFY.
7/18/2023   CIG   B200        REVIEW MR FIRM'S REPLY IN SUPPORT OF       0.1     $520.00      $52.00
                              MOTION TO DISQUALIFY FCR.
7/18/2023   CMH   B200        ANALYZE THOMPSON REPLY IN SUPPORT          0.4     $520.00     $208.00
                              OF MOTION TO DISQUALIFY AND RELATED
                              ISSUES.
7/18/2023   CMH   B200        REVIEW RECENTLY FILED APPEAL               0.2     $520.00     $104.00
                              DOCUMENTS AND RELATED ISSUES.
7/18/2023   LMW   B200        REVIEW MR FIRM'S REPLY TO MOTION TO        0.1     $905.00      $90.50
                              DISQUALIFY FCR.
7/18/2023   SVF   B200        COMMUNICATE FCR AND L. WALSH               0.3     $695.00     $208.50
                              REGARDING CASE ISSUES.
7/18/2023   SVF   B200        REVIEW MUANE RAICHLE REPLY ON              0.2     $695.00     $139.00
                              MOTION TO DISQUALIFY.
7/18/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.8     $405.00     $324.00
                              DOCKET FILINGS (0.5); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/18/2023   FWY   B200        ANALYZE MATERIALS FOLLOWING EXPERT         0.2     $405.00      $81.00
                              CALL REGARDING ESTIMATION.
7/18/2023   FWY   B140        TELEPHONE CONFERENCE WITH S.               0.1     $405.00      $40.50
                              FALANGA REGARDING EXPERT CALL AND
                              MATERIALS.
7/18/2023   FWY   B200        ANALYZE MATERIALS TO BE FURNISHED          0.4     $405.00     $162.00
                              TO EXPERT.
7/18/2023   FWY   B200        PLAN AND PREPARE FOR TRANSMITTING          0.2     $405.00      $81.00
                              MATERIALS TO EXPERT FOLLOWING CALL.
7/18/2023   JKF   B200        ANALYZE REVISED LETTER RESPONSE TO         0.1     $375.00      $37.50
                              OPP TO MOTION TO DISQUALIFY.
7/19/2023   CIG   B200        REVIEW DAILY FILINGS INCLUDING TCC         0.3     $520.00     $156.00
                              LETTER TO KAPLAN ON DEBTOR'S
                              DEMAND FOR CERTIFIED PLAN DIRECTIVE
                              AND CLIENT LIST, PAUL CROUCH
                              PROPOSED FOF AND COL.
        Case 23-12825-MBK Doc 1243-2
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Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/19/2023   LMW   B200        REVIEW TCC LETTER TO KAPLAN ON             0.2     $905.00      $181.00
                              DEBTOR'S DEMAND FOR CERTIFIED PLAN
                              DIRECTIVE AND CLIENT LIST (.1); PAUL
                              CROUCH (LEVY KONIGSBERG) PROPOSED
                              FINDINGS OF FACT AND CONCLUSIONS OF
                              LAW (.1).
7/19/2023   SVF   B200        ATTEND STATUS CALL WITH ECONONE.           0.4     $695.00      $278.00
7/19/2023   SVF   B200        COMMUNICATE FCR REGARDING                  0.1     $695.00       $69.50
                              ECONONE ANALYSIS ISSUES.
7/19/2023   SVF   B140        COMMUNICATE D. DIPRIETO REGARDING          0.1     $695.00       $69.50
                              EXPERT STATUS CALL.
7/19/2023   SVF   B140        COMMUNICATE FRC REGARDING CASE             0.1     $695.00       $69.50
                              ISSUES.
7/19/2023   MF    B200        PARTICIPATE IN MEETING WITH CLIENT         1.4     $960.00     $1,344.00
                              AND EXPERTS (.4); COMMUNICATIONS
                              WITH COUNSEL REGARDING MAUNE
                              RAICHLE DISQUALIFICATION EFFORT
                              MOTION (1.0).
7/19/2023   MF    B200        ZOOM CALL WITH MEDIATORS RUSSO AND         1.8     $960.00     $1,728.00
                              GREENE (.9); REVIEW ISSUES RELATED TO
                              ATTEMPT TO DISQUALIFY FCR (.9).
7/19/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.8     $405.00      $324.00
                              DOCKET FILINGS (0.5); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/19/2023   FWY   B200        CALL WITH S. FALANGA REGARDING             0.2     $405.00       $81.00
                              EXPERT MATTERS (0.1); ATTEND TO
                              ACTION ITEM FROM EXPERT CALL (0.1).
7/19/2023   FWY   B200        TEAM E-MAILS AND PHONE CALLS               0.3     $405.00      $121.50
                              REGARDING ESTIMATION MATERIALS FOR
                              EXPERT.
7/19/2023   FWY   B200        ATTEND EXPERT MEETING REGARDING            0.4     $405.00      $162.00
                              ESTIMATION.
7/19/2023   FWY   B200        ANALYZE NEWS REGARDING VALADEZ             0.1     $405.00       $40.50
                              TRIAL VERDICT.
7/20/2023   CIG   B200        REVIEW SUMMARY OF CALL WITH FCR            0.1     $520.00       $52.00
                              AND EXPERT REGARDING CLAIMS
                              ESTIMATION AND VALUATION.
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7/20/2023   CIG   B200        REVIEW DAILING FILINGS INCLUDING MR'S      1.2     $520.00      $624.00
                              PROPOSED FOF AND COL TO MOTION TO
                              DISMISS, NEW MEXICO AND MISSISSIPPI'S
                              POST-HEARING MEMORANDUM TO
                              MOTION TO DISMISS, AHC OF MESO'S
                              PROPOSED FOF AND COL'S FOR MOTION
                              TO DISMISS, ARNOLD & ITKIN POST-TRIAL
                              BRIEF TO MOTION TO DISMISS, AHC OF
                              STATES WITH CONSUMER CLAIMS' FOF
                              AND COL'S, TCC' FOF AND COL TO MOTION
                              TO DISMISS, US TRUSTEE'S PROPOSED
                              FOF AND COL'S TO MOTION TO DISMISS,
                              DEBTOR'S PROPOSED FOF AND COL'S TO
                              MOTION TO DISMISS, AND AHC OF
                              SUPPORTING FIRMS' JOINDER TO
                              DEBTOR'S PROPOSED FOF AND COL.
7/20/2023   CMH   B200        ANALYZE HEARING ISSUES REGARDING           0.2     $520.00      $104.00
                              DISQUALIFICATION MOTION AND
                              CORRESPONDENCE FROM COURT.
7/20/2023   CMH   B200        ATTEND TO BANKRUPTCY PLEADINGS AND         0.4     $520.00      $208.00
                              APPEAL ISSUES.
7/20/2023   LMW   B200        REVIEWED THE ALL OF THE PROPOSED           4.3     $905.00     $3,891.50
                              FINDINGS OF FACT AND CONCLUSIONS OF
                              LAW.
7/20/2023   SVF   B140        COMMUNICATE DEBTOR'S COUNSEL               0.1     $695.00       $69.50
                              REGARDING EXPERT MEETING.
7/20/2023   SVF   B200        ANALYZE EXPERT ISSUES.                     0.2     $695.00      $139.00
7/20/2023   SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY           0.8     $695.00      $556.00
                              PLEADINGS.
7/20/2023   SVF   B230        ANALYZE TRUST DISTRIBUTION AND             1.3     $695.00      $903.50
                              RELATED PLAN ISSUES.
7/20/2023   SVF   B200        REVIEW VARIOUS SUBMISSIONS                 1.1     $695.00      $764.50
                              REGARIDNG PROPOSED FINDINGS OF
                              FACT ON MOTIONS TO DISMISS.
7/20/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND           4.4     $405.00     $1,782.00
                              RELATED DOCKET FILINGS (2.5); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (1.9).
7/20/2023   FWY   B200        PREPARE SUMMARY OF EXPERT CALL             0.2     $405.00       $81.00
                              REGARDING ESTIMATION.
7/21/2023   CIG   B200        REVIEW DAILY FILINGS INCLUDING JONES       0.3     $520.00      $156.00
                              DAY LETTER TO KAPLAN ON PLAN
                              SOLICITATION DIRECTIVE, US TRUSTEE
                              LETTER ON DEBTOR'S SOLICITATION
                              ATTEMPTS, AND TCC LETTER ON
                              UNLAWFUL SOLICITATION BY DEBTOR.
        Case 23-12825-MBK Doc 1243-2
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7/21/2023   CIG   B170        CORRESPOND F. YOOK AND J.                   0.1     $520.00       $52.00
                              FORMICHELLA REGARDING
                              CERTIFICATIONS OF NO OBJECTION TO
                              JUNE FEE APPLICATIONS FOR WALSH AND
                              ELLIS.
7/21/2023   LMW   B200        REVIEW JONES DAY LETTER TO KAPLAN           0.4     $905.00      $362.00
                              ON PLAN SOLICITATION DIRECTIVE (.1); US
                              TRUSTEE'S LETTER ON DEBTOR'S
                              SOLICITATION ATTEMPTS (.1); TCC'S
                              LETTER CLAIMING UNLAWFUL
                              SOLICITATION BY DEBTOR (.1); TCC'S
                              NOTICE OF APPEAL AND STATEMENT OF
                              ELECTION (.1).
7/21/2023   SVF   B140        COMMUNICATE FRC REGARDING CASE              0.1     $695.00       $69.50
                              ISSUES.
7/21/2023   SVF   B200        REVIEW RECENTLY FILED BANKRUPTCY            0.3     $695.00      $208.50
                              PLEADINGS REGARDING DEBTOR
                              SOLICITATION ISSUES.
7/21/2023   SVF   B200        ANALYZE ESTIMATION MOTION AND               0.6     $695.00      $417.00
                              RELATED ISSUES.
7/21/2023   SVF   B140        EXCHANGE CORRESPONDENCE REARING             0.3     $695.00      $208.50
                              EXPERT STATUS CALL.
7/21/2023   SVF   B230        ANALYZE AMENDED PLAN AND TRUST              0.6     $695.00      $417.00
                              DISTRIBUTION PROCEDURES.
7/21/2023   FWY   B140        ANALYZE EXTENSIVE BANKRUPTCY AND            1.2     $405.00      $486.00
                              RELATED DOCKET FILINGS (0.8); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.4).
7/22/2023   SVF   B140        EXCHANGE CORRESPONDENCE REARING             0.2     $695.00      $139.00
                              EXPERT STATUS CALL.
7/22/2023   FWY   B200        PLAN AND PREPARE FOR MEETING WITH           0.1     $405.00       $40.50
                              DEBTOR'S EXPERT.
7/23/2023   LMW   B200        REVIEW MR FIRM'S LETTER ON DEBTOR'S         0.2     $905.00      $181.00
                              SOLICITATION DIRECTIVE (.1); DEBTOR'S
                              MONTHLY OPERATING REPORT (.1).
7/23/2023   FWY   B200        ANALYZE TCC'S PROPOSED FINDINGS OF          2.8     $405.00     $1,134.00
                              FACT AND CONCLUSIONS OF LAW FOR
                              TEAM AND CLIENT SUMMARY.
7/23/2023   FWY   B200        ANALYZE DEBTOR'S PROPOSED FINDINGS          1.9     $405.00      $769.50
                              OF FACT AND CONCLUSIONS OF LAW FOR
                              TEAM AND CLIENT SUMMARY.
7/23/2023   FWY   B200        DRAFT TEAM AND CLIENT SUMMARY OF            0.9     $405.00      $364.50
                              TCC'S AND DEBTOR'S PROPOSED
                              FINDINGS OF FACT AND CONCLUSIONS OF
                              LAW.
        Case 23-12825-MBK Doc 1243-2
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7/23/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.5     $405.00      $202.50
                              DOCKET FILINGS (0.3); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.2).
7/24/2023   CIG   B140        CORRESPONDENCE WITH FCR                    0.2     $520.00      $104.00
                              REGARDING MEDIATION (.1);
                              CORRESPONDENCE FCR AND EXPERT
                              REGARDING MEDIATION (.1).
7/24/2023   CMH   B140        ATTEND TO CORRESPONDENCE WITH              0.2     $520.00      $104.00
                              EXPERT.
7/24/2023   LMW   B200        REVIEW NOTICE OF COURT APPROVING           0.3     $905.00      $271.50
                              DEBTOR'S ADJOURNMENT REQUEST (.1);
                              JOINT STIPULATION/AGREED ORDER ON
                              ADMITTED EXHIBITS AND DEPOSITION
                              DESIGNATIONS (.1); NOTICE OF
                              TRANSMITTAL OF RECORD ON APPEAL TO
                              DISTRICT COURT (.1).
7/24/2023   SVF   B200        REVIEW RECENTLY FILED BANKRUPTCY           1.5     $695.00     $1,042.50
                              PLEADINGS INCLUDING SOLICITATION
                              ISSUES AND RELATED FILINGS.
7/24/2023   SVF   B140        EXCHANGE CORRESPONDENCE                    0.2     $695.00      $139.00
                              REGARDING EXPERT STATUS MEETING.
7/24/2023   SVF   B200        COMMUNICATE FCR REGARDING CASE             0.2     $695.00      $139.00
                              ISSUES AND COURSE OF ACTION.
7/24/2023   MF    B200        COMMUNICATIONS WITH EXPERTS AND S.         2.6     $960.00     $2,496.00
                              FALANGA REGARDING MEETING OF
                              EXPERTS (.3); REVIEW PROPOSED
                              FINDINGS OF FACT AND CONCLUSIONS OF
                              LAW FROM TRIAL BY ALL PARTIES WHO
                              SUBMITTED SAME (2.3).
7/24/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             1.4     $405.00      $567.00
                              DOCKET FILINGS (0.9); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.5).
7/25/2023   LMW   B200        REVIEW AFFIDAVIT OF PUBLICATION AS         0.1     $905.00       $90.50
                              TO DEBTOR SOLICITATION PROCEDURES.
7/25/2023   SVF   B200        ANALYZE EXPERT ISSUES.                     0.2     $695.00      $139.00
7/25/2023   SVF   B200        REVIEW EXPERT ISSUES AND MOTION TO         1.3     $695.00      $903.50
                              DISMISS PRODUCTIONS.
7/25/2023   SVF   B140        COMMUNICATE DEBTOR'S COUNSEL               0.1     $695.00       $69.50
                              REGARDING EXPERT STATUS CALL.
7/25/2023   SVF   B140        REVIEW RECENT BANKRUPTCY                   0.2     $695.00      $139.00
                              PLEADINGS AND COURT TEXT ORDER.
7/25/2023   SVF   B230        ANALYZE PLAN AND TRUST DISTRIBUTION        0.6     $695.00      $417.00
                              ISSUES.
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7/25/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.7     $405.00     $283.50
                              DOCKET FILINGS (0.4); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.3).
7/25/2023   FWY   B200        CONFERENCE WITH CHAMBERS                   0.1     $405.00      $40.50
                              REGARDING UPCOMING HEARINGS AND
                              RETURN DATE ON MOTION TO SEAL.
7/25/2023   FWY   B200        ANALYZE DOCKET FILINGS (0.6) AND PLAN      1.1     $405.00     $445.50
                              AND PREPARE FOR MEETING WITH
                              EXPERTS (0.5).
7/25/2023   BET   B200        ANALYZE MATERIALS IN PREPARATION           0.8     $210.00     $168.00
                              FOR MEETING WITH EXPERTS.
7/26/2023   CIG   B200        REVIEW AD HOC COMMITTEE OF                 0.2     $520.00     $104.00
                              SUPPORTING COUNSEL’S OBJECTION TO
                              MRHFM’S PLAINTIFFS’ MOTION TO
                              DISQUALIFY RANDI S. ELLIS AS LEGAL
                              REPRESENTATIVE FOR FUTURE TALC
                              CLAIMANTS (.1); REVIEW DEBTOR'S
                              OBJECTION TO MRHFM’S PLAINTIFFS’
                              MOTION TO DISQUALIFY RANDI S. ELLIS AS
                              LEGAL REPRESENTATIVE FOR FUTURE
                              TALC CLAIMANTS (.1).
7/26/2023   CMH   B200        REVIEW JOINDER OF AD HOC COMMITTEE         0.2     $520.00     $104.00
                              OF SUPPORTING COUNSEL TO OBJECTION
                              TO MOTION TO DISQUALIFY AND RELATED
                              ISSUES.
7/26/2023   LMW   B200        REVIEW AHC OF SUPPORTING FIRMS'            0.1     $905.00      $90.50
                              OBJECTION TO MR FIRM'S MOTION TO
                              DISQUALIFY FCR.
7/26/2023   SVF   B140        COMMUNICATE DEBTOR COUNSEL                 0.1     $695.00      $69.50
                              REGARDING BATES WHITE STATUS CALL.
7/26/2023   SVF   B140        COMMUNICATE ECONONE REGARDING              0.1     $695.00      $69.50
                              STATUS CALL.
7/26/2023   SVF   B200        PREPARE FOR ECONONE STATUS CALL.           0.4     $695.00     $278.00
7/26/2023   SVF   B200        REVIEW RECENTLY FILED BANKRUPTCY           0.4     $695.00     $278.00
                              PLEADINGS INCLUDING RESPONSES TO
                              MOTION TO DISQUALIFY FCR.
7/26/2023   SVF   B140        COMMUNICATE FCR REGARDING                  0.1     $695.00      $69.50
                              ECONONE AND OTHER CASE ISSUES.
7/26/2023   MF    B200        COMMUNICATIONS REGARDING EXPERT            0.3     $960.00     $288.00
                              ISSUES (.2); REVIEW LIST OF ORDERS
                              FROM COURT REFARDING JULY 27,
                              AUGUST 2 AND AUGUST 22 HEARING
                              DATES (.1).
        Case 23-12825-MBK Doc 1243-2
                                   1227-4 Filed 08/17/23
                                                08/14/23 Entered 08/17/23
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SERVICES


Date        TMK   Task        Description of Services                  Hours        Rate      Amount
7/26/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.5     $405.00      $202.50
                              DOCKET FILINGS (0.3); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.2).
7/26/2023   FWY   B200        ANALYZE MATERIALS IN PREPARATION           2.7     $405.00     $1,093.50
                              FOR MEETING WITH EXPERTS.
7/26/2023   FWY   B200        CONFERENCE WITH B. TROYAN                  0.2     $405.00       $81.00
                              REGARDING ANALYSIS OF MATERIALS FOR
                              MEETING WITH EXPERTS.
7/26/2023   BET   B200        ANALYZE MATERIALS IN PREPARATION           2.3     $210.00      $483.00
                              FOR MEETING WITH EXPERTS.
7/27/2023   CIG   B170        CORRESPOND WITH B. TROYAN AND F.           0.2     $520.00      $104.00
                              YOOK REGARDING CERTIFICATIONS OF
                              NO OBJECTIONS FOR WALSH AND ELLIS
                              JUNE FEE APPLICATIONS (.1); REVIEW
                              DRAFT CERTIFICATIONS OF NO
                              OBJECTIONS (.1).
7/27/2023   CIG   B170        CORRESPOND WITH S. FALANGA AND B.          0.1     $520.00       $52.00
                              TROYAN REGARDING EXPERT FEE
                              APPLICATION.
7/27/2023   LMW   B200        REVIEW DEBTOR'S OBJECTION TO MR            0.1     $905.00       $90.50
                              FIRM'S MOTION TO DISQUALIFY FCR.
7/27/2023   LMW   B170        REVIEW DRAFT CERTIFICATIONS OF NO          0.1     $905.00       $90.50
                              OBJECTION FOR FCR AND WALSH FEE
                              APPLICATIONS.
7/27/2023   SVF   B200        ATTEND MEETING WITH EXPERTS.               1.4     $695.00      $973.00
7/27/2023   SVF   B200        ATTEND CONFERENCE CALL ECONONE             0.3     $695.00      $208.50
                              REGARDING EXPERT MEETING.
7/27/2023   SVF   B140        COMMUNICATE FCR REGARDING CASE             0.2     $695.00      $139.00
                              ISSUES.
7/27/2023   SVF   B170        REVIEW ECONONE MONTHLY FEE                 0.2     $695.00      $139.00
                              STATEMENT.
7/27/2023   SVF   B140        COMMUNICATE L. WALSH REGARDING             0.1     $695.00       $69.50
                              EXPERT STATUS.
7/27/2023   MF    B200        REVIEW DEBTORS' RESPONSE TO MOTION         0.9     $960.00      $864.00
                              TO DISQUALIFY RANDI ELLIS (.4); ATTEND
                              TEAM CALL REGARDING EXPERT ISSUES
                              (.5).
7/27/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.6     $405.00      $243.00
                              DOCKET FILINGS (0.4); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.2).
7/27/2023   FWY   B200        PLAN AND PREPARE FOR MEETINGS WITH         0.2     $405.00       $81.00
                              EXPERTS.
        Case 23-12825-MBK Doc 1243-2
                                   1227-4 Filed 08/17/23
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SERVICES


Date        TMK   Task        Description of Services                 Hours         Rate     Amount
7/27/2023   FWY   B200        ATTEND CALL WITH FCR'S EXPERT TO           0.2     $405.00      $81.00
                              PREPARE FOR MEETING WITH EXPERTS.
7/27/2023   FWY   B200        ATTEND MEETING WITH EXPERTS                1.4     $405.00     $567.00
                              REGARDING ESTIMATION.
7/27/2023   BET   B170        REVIEW DOCKET SHEET AND REVISE             0.4     $210.00      $84.00
                              CERTIFICATION OF NO OBJECTION TO
                              FCR'S JUNE FEE APPLICATION (.2);
                              REVIEW DOCKET SHEET AND REVISE
                              CERTIFICATION OF NO OBJECTION TO
                              WPOF'S JUNE FEE APPLICATION (.2).
7/28/2023   CIG   B200        REVIEW OPINION GRANTING MOTION TO          0.4     $520.00     $208.00
                              DISMISS.
7/28/2023   CIG   B170        CORRESPOND WITH B. TROYAN AND F.           0.2     $520.00     $104.00
                              YOOK REGARDING REVISED
                              CERTIFICATIONS OF NO OBJECTIONS FOR
                              WALSH AND ELLIS JUNE FEE
                              APPLICATIONS FOR FILING (.1); REVIEW
                              REVISIONS TO DRAFT CERTIFICATIONS OF
                              NO OBJECTIONS (.1).
7/28/2023   CMH   B200        ANALYZE OPINION DISMISSING                 0.8     $520.00     $416.00
                              BANKRUPTCY CASE AND RELATED
                              ISSUES.
7/28/2023   LMW   B200        REVIEW OPINION DISMISSING                  0.7     $905.00     $633.50
                              BANKRUPTCY.
7/28/2023   LMW   B170        REVIEW DRAFT CERTIFICATIONS OF NO          0.2     $905.00     $181.00
                              OBJECTIONS FOR WPOF AND FCR JUNE
                              FEE APPLICATIONS.
7/28/2023   LMW   B200        ATTEND CALL WITH RANDI ELLIS               0.2     $905.00     $181.00
                              REGARDING DISMISSAL.
7/28/2023   LMW   B200        ATTEND CALL WITH MARK FALK                 0.1     $905.00      $90.50
                              REGARDING DISMISSAL.
7/28/2023   SVF   B170        REVIEW AND REVISE ECONONE MONTHLY          0.2     $695.00     $139.00
                              FEE STATEMENT.
7/28/2023   SVF   B140        COMMUNICATE FCR AND L. WALSH               0.2     $695.00     $139.00
                              REGARDING CASE ISSUES.
7/28/2023   SVF   B200        ATTEND ECONONE STATUS CALL.                0.5     $695.00     $347.50
7/28/2023   SVF   B200        COMMUNICATE FCR REGARDING                  0.2     $695.00     $139.00
                              DISMISSAL OPINION.
7/28/2023   SVF   B200        COMMUNICATE TEAM REGARDING                 0.1     $695.00      $69.50
                              DISMISSAL OPINION.
7/28/2023   SVF   B200        COMMUNICATE L. WALSH REGARDING             0.2     $695.00     $139.00
                              DISMISSAL OPINION.
        Case 23-12825-MBK Doc 1243-2
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SERVICES


Date        TMK   Task        Description of Services                 Hours         Rate      Amount
7/28/2023   SVF   B140        COMMUNICATE ECONONE REGARDING              0.1     $695.00       $69.50
                              DISMISSAL OPINION AND COURSE OF
                              ACTION.
7/28/2023   SVF   B200        ANALYZE DISMISSAL OPINION.                 0.7     $695.00      $486.50
7/28/2023   SVF   B200        ANALYZE RECENTLY FILED BANKRUPTCY          0.3     $695.00      $208.50
                              PLEADINGS INCLUDING OPPOSITION TO
                              SUBSTANTIAL CONTRIBUTION MOTIONS.
7/28/2023   MF    B200        REVIEW NUMEROUS FILINGS (.3); MEET         0.8     $960.00      $768.00
                              WITH CLIENT AND EXPERTS BY ZOOM (.4);
                              ATTEND CALL WITH L. WALSH (.1).
7/28/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             1.5     $405.00      $607.50
                              DOCKET FILINGS (1.1); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.4).
7/28/2023   FWY   B200        ATTEND CONFERENCE CALL FOLLOWING           0.5     $405.00      $202.50
                              MEETING WITH EXPERTS.
7/28/2023   FWY   B200        FINALIZE SUMMARY OF CONFERENCE             0.1     $405.00       $40.50
                              CALL FOLLOWING MEETING WITH
                              EXPERTS.
7/28/2023   FWY   B170        PLAN AND PREPARE FOR FILING                0.2     $405.00       $81.00
                              CERTIFICATIONS OF NO OBJECTION TO
                              MONTHLY FEE APPLICATIONS.
7/28/2023   BET   B170        DRAFT FEE APPLICATION FOR ECON ONE         1.6     $210.00      $336.00
                              FOR THE PERIOD JUNE 1 THROUGH JUNE
                              30, 2023.
7/29/2023   CIG   B170        CORRESPOND WITH F. YOOK REGARDING          0.1     $520.00       $52.00
                              CERTIFICATIONS OF NO OBJECTIONS FOR
                              ELLIS AND WALSH JUNE FEE
                              APPLICATIONS.
7/29/2023   FWY   B200        PLAN AND PREPARE FOR FILING                0.2     $405.00       $81.00
                              CERTIFICATIONS OF NO OBJECTION TO
                              MONTHLY FEE APPLICATIONS.
7/30/2023   MF    B200        ANALYZE JUDGE KAPLANS DECISION             1.4     $960.00     $1,344.00
                              DISMISSING CASE.
7/30/2023   FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.4     $405.00      $162.00
                              DOCKET FILINGS (0.2); PREPARE
                              SUMMARY OF DOCKET FILINGS FOR
                              CLIENT (0.2).
7/31/2023   LMW   B170        REVIEW ECONONE'S JUNE 2023 FEE             0.1     $905.00       $90.50
                              APPLICATION.
7/31/2023   SVF   B140        COMMUNICATE ECON ONE REGARDING             0.1     $695.00       $69.50
                              CASE STATUS.
7/31/2023   SVF   B170        COMMUNICATE ECON ONE REGARDING             0.1     $695.00       $69.50
                              MONTHLY FEE SUBMISSION.
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SERVICES


Date          TMK       Task          Description of Services                             Hours          Rate       Amount
7/31/2023     SVF       B140          ANALYZE CASE DISMISSAL ISSUES.                          0.6     $695.00       $417.00
7/31/2023     SVF       B200          REVIEW DISMISSAL OPINION.                               0.3     $695.00       $208.50
7/31/2023     SVF       B140          CONFERENCE M. FALK REGARDING                            0.1     $695.00        $69.50
                                      STATUS HEARING.
7/31/2023     SVF       B200          REVIEW RECENTLY FILED BANKRUPTCY                        0.2     $695.00       $139.00
                                      PLEADINGS.
7/31/2023     FWY       B140          ANALYZE BANKRUPTCY AND RELATED                          0.5     $405.00       $202.50
                                      DOCKET FILINGS (0.3); PREPARE
                                      SUMMARY OF DOCKET FILINGS FOR
                                      CLIENT (0.2).
7/31/2023     BET       B170          FINALIZE AND ELECTRONICALLY FILE                        0.8     $210.00       $168.00
                                      ECON ONE'S JUNE FEE APPLICATION;
                                      SERVE THE SAME ON OF RECORD.

                                                  Total Professional Services             219.4                 $132,319.00

PERSON RECAP


Person                                                                            Hours                Rate         Amount
SVF         Stephen V. Falanga                                                     50.4             $695.00       $35,028.00
CIG         Christine I. Gannon                                                        23.4         $520.00       $12,168.00
CMH         Christopher M. Hemrick                                                     15.4         $520.00        $8,008.00
LMW         Liza M. Walsh                                                              20.4         $905.00       $18,462.00
MF          Mark Falk                                                                  31.0         $960.00       $29,760.00
FWY         Francis W. Yook                                                            55.1         $405.00       $22,315.50
JKF         Jessica K. Formichella                                                      9.7         $375.00        $3,637.50
BLD         Brianna L. DePalma                                                          1.4         $210.00         $294.00
GXP         Gemma Pineiro                                                               4.5         $210.00         $945.00
BET         Barbara Troyan                                                              8.1         $210.00        $1,701.00

EXPENSES


Date                    Task          Description of Expenses                                                       Amount
6/28/2023               E100 - E110   Meal at Mezzo Luna Restaurant for R. Ellis, M.                                $208.48
                                      Falk, S. Falanga, and L. Walsh
7/3/2023                E100 - E115   J&J Court Transcribers, Inc.- TRANSCRIPT OF                                   $566.40
                                      COURT HEARING HELD ON JUNE 29 AND
                                      JUNE 30.
7/6/2023                E100 - E101   PHOTOCOPIES (238 @ $0.20)                                                      $47.60
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EXPENSES


Date               Task          Description of Expenses                                              Amount
7/19/2023          E100 - E118   Xact Data Discovery- Professional Services- June                      $69.00
                                 2023 Services
7/31/2023          E100 - E106   PACER CHARGES - July 2023                                               $4.40

                                         Total Expenses                                               $895.88


                                         Total Services                             $132,319.00
                                         Total Disbursements                           $895.88
                                         Total Current Charges                                     $133,214.88
                                         Previous Balance                                          $570,640.75
                                           Less Payments                                          ($462,514.20)
                                         PAY THIS AMOUNT                                           $241,341.43



            Due Upon Receipt. Please include the invoice number on all remittance. Thank you.
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TASK RECAP

Services                                               Disbursements

Category                Hours             Amount       Category                          Amount

B140                     48.40          $24,967.00     E100 - E101                        $47.60
B150                      1.20           $1,152.00     E100 - E106                         $4.40
B170                     33.70          $17,353.00     E100 - E110                       $208.48
B200                    118.90          $78,960.50     E100 - E115                       $566.40
B230                     17.20           $9,886.50     E100 - E118                        $69.00

                        219.40         $132,319.00                                       $895.88
           Case 23-12825-MBK          Doc 1243-2 Filed 08/17/23 Entered 08/17/23 17:23:14                    Desc
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                                                      Three Gateway Center
                                                      100 Mulberry Street, 15th Floor
Telephone: (973) 757-1100                             Newark, NJ 07102                              Fax: (973) 757-1090
                                                      Federal Tax I.D. No.: XX-XXXXXXX




       Randi S. Ellis, Legal Representative for Future Talc Claimants                            August 16, 2023
       United States Bankruptcy Court                                                            Client:       001737
       District of New Jersey                                                                    Matter:       000001
       402 East State Street                                                                     Invoice #:      21338
       Trenton, NJ 08608                                                                         Resp. Atty:      LMW
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       RE: In Re: LTL Management, LLC
           Case No.: 23-12825-MBK
           Judge: Michael B. Kaplan
           Chapter: 11


       For Professional Services Rendered Through August 11, 2023


SERVICES


Date          TMK      Task           Description of Services                            Hours       Rate     Amount
8/1/2023      LMW      B200           NOTICE OF AGENDA FOR HEARING (.1);                   0.3     $905.00    $271.50
                                      ORDER DENYING MOTION TO DISQUALIFY
                                      FCR (.1); EMORY ET AL'S APPLICATION TO
                                      EXTEND DEADLINE TO ANSWER OR MOVE
                                      (.1).
8/1/2023      SVF      B140           REVIEW RECENTLY FILED BANKRUPTCY                     0.1     $695.00      $69.50
                                      PLEADINGS.
8/1/2023      FWY      B140           ANALYZE BANKRUPTCY AND RELATED                       0.5     $405.00    $202.50
                                      DOCKET FILINGS (0.3); PREPARE
                                      SUMMARY OF FILINGS FOR CLIENT AND
                                      WALSH TEAM (0.2).
8/1/2023      FWY      B200           PLAN AND PREPARE FOR STATUS                          0.2     $405.00      $81.00
                                      CONFERENCE AND SCHEDULED COURT
                                      HEARING.
8/1/2023      BET      B170           EMAIL COMMUNICATION TO THE DEBTOR                    0.2     $210.00      $42.00
                                      AND US TRUSTEE RE: ECON ONE JUNE
                                      2023 FEE APPLICATION.
8/2/2023      CIG      B170           CORRESPOND WITH FCR REGARDING                        0.1     $520.00      $52.00
                                      JULY FEE INVOICE AND MONTHLY FEE
                                      APPLICATION.
8/2/2023      CMH      B200           ATTEND TO FCR APPEAL ISSUES AND                      0.2     $520.00    $104.00
                                      LETTER FROM TCC REGARDING BRIEFING.
8/2/2023      CMH      B200           CONFERENCE WITH S. FALANGA                           0.2     $520.00    $104.00
                                      REGARDING DISMISSAL ISSUES AND
                                      STATUS HEARING.
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SERVICES


Date         TMK   Task        Description of Services                  Hours        Rate      Amount
8/2/2023     LMW   B200        REVIEW ORDER EXTENDING DEBTOR'S            0.3     $905.00      $271.50
                               PERIOD TO REMOVE (.1); TCC'S LETTER TO
                               JUDGE SHIPP ON ADJUSTMENT TO
                               BRIEFING INJUNCTION APPEAL (.1); TCC’S
                               LETTER TO JUDGE SHIPP ON
                               ADJUSTMENT TO BRIEFING FCR APPEAL
                               (.1).
8/2/2023     SVF   B140        TELECONFERENCE FCR REGARDING               0.2     $695.00      $139.00
                               STATUS CONFERENCE HEARING.
8/2/2023     SVF   B195        TRAVEL TO TRENTON.                         1.6     $347.50      $556.00
8/2/2023     SVF   B195        TRAVEL FROM TRENTON.                       1.2     $347.50      $417.00
8/2/2023     SVF   B140        ATTEND COURT HEARING IN TRENTON.           1.8     $695.00     $1,251.00
8/2/2023     MF    B200        ATTEND COURT HEARING BEFORE JUDGE          1.8     $960.00     $1,728.00
                               KAPLAN (1.9).
8/2/2023     FWY   B140        ANALYZE BANKRUPTCY AND RELATED             0.8     $405.00      $324.00
                               DOCKET FILINGS (0.5); PREPARE
                               SUMMARY OF FILINGS FOR CLIENT AND
                               WALSH TEAM (0.3).
8/2/2023     FWY   B200        PLAN AND PREPARE FOR STATUS                0.1     $405.00       $40.50
                               CONFERENCE AND SCHEDULED COURT
                               HEARING.
8/2/2023     FWY   B200        ATTEND STATUS CONFERENCE AND               1.8     $405.00      $729.00
                               COURT HEARING VIRTUALLY.
8/2/2023     FWY   B200        PREPARE SUMMARY OF STATUS                  0.1     $405.00       $40.50
                               CONFERENCE AND COURT HEARING.
8/2/2023     JKF   B200        ANALYZE SUMMARY OF HEARING.                0.1     $375.00       $37.50
8/3/2023     CMH   B200        REVIEW ORDER DENYING MOTION TO             0.2     $520.00      $104.00
                               DISQUALIFY FCR AND RELATED ISSUES.
8/3/2023     LMW   B200        REVIEW TRANSCRIPT OF AUGUST 2ND            0.1     $905.00       $90.50
                               HEARING BEFORE JUDGE KAPLAN.
8/3/2023     LMW   B200        REVIEW DRAFT PROPOSED DISMISSAL            0.1     $905.00       $90.50
                               ORDER.
8/3/2023     SVF   B140        CONFERENCE L. WALSH REGARDING              0.1     $695.00       $69.50
                               CASE ISSUES AND DISMISSAL ORDER.
8/3/2023     SVF   B140        EXCHANGE CORRESPONDENCE D. STOLZ           0.1     $695.00       $69.50
                               REGARDING DISMISSAL ORDER DRAFT.
8/3/2023     SVF   B140        REVIEW DRAFT DISMISSAL ORDER               0.3     $695.00      $208.50
                               ISSUES.
8/3/2023     SVF   B140        COMMUNICATE FCR REGARDING                  0.1     $695.00       $69.50
                               PROPOSED DISMISSAL ORDER.
8/3/2023     SVF   B140        COMMUNICATE DEBTOR COUNSEL                 0.1     $695.00       $69.50
                               REGARDING FORM OF DISMISSAL ORDER.
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SERVICES


Date         TMK   Task        Description of Services                 Hours        Rate      Amount
8/3/2023     SVF   B140        REVIEW FORM OF DISMISSAL ORDER            0.3     $695.00      $208.50
                               SUBMITTED BY TCC.
8/3/2023     MF    B200        REVIEW AND COMMUNICATE WITH CLIENT        1.6     $960.00     $1,536.00
                               AND TEAM REGARDING TCC'S PROPOSED
                               DISMISSAL ORDER BASED ON COURT'S
                               MEMORANDUM OPINION GRANTING
                               DISMISSAL (.9); REVIEW NUMEROUS
                               DOCKET ENTRIES RE: HEARING
                               RE-SCHEDULING , ISSUES AS TO
                               WHETHER STAY APPLIES TO CERTAIN
                               PROCEEDINGS, AND OTHER ISSUES
                               REGARDING CONSEQUENCES OF
                               DISMISSAL (.7).
8/3/2023     BET   B200        ANALYZE ORDER ENTERED ON THE              0.7     $210.00      $147.00
                               DOCKET EXTENDING THE PERIOD WITHIN
                               WHICH THE DEBTOR MAY REMOVE
                               ACTIONS (.1); ANALYZE TCC’S LETTER TO
                               JUDGE SHIPP RE: ADJUSTMENT TO
                               BRIEFING SCHEDULE RE: FCR
                               APPOINTMENT APPEAL (1); ANALYZE TCC’S
                               LETTER TO JUDGE SHIPP RE:
                               ADJUSTMENT TO BRIEFING SCHEDULE RE:
                               PRELIMINARY INJUNCTION APPEAL (1);
                               REVIEW TRANSCRIPT OF AUGUST 2, 2023
                               HEARING BEFORE JUDGE KAPLAN AND
                               ATTEND TO RELATED ISSUES (.4).
8/4/2023     CIG   B170        ANALYZE AND REVISE ELLIS JULY INVOICE     1.0     $520.00      $520.00
                               TO COMPLY WITH US TRUSTEE
                               GUIDELINES AND FOR PRIVILEGE (.9);
                               CORRESPOND WITH FCR REGARDING
                               REVISED ELLIS JULY INVOICE (.1).
8/4/2023     SVF   B140        ANALYZE DRAFT DISMISSAL ORDER             0.7     $695.00      $486.50
                               PROPOSALS.
8/4/2023     SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY          0.1     $695.00       $69.50
                               PLEADINGS.
8/4/2023     MF    B200        REVIEW FILINGS AND PORTION OF             0.4     $960.00      $384.00
                               TRANSCRIPT OF HEARING (.2);
                               COMMUNICATIONS WITH CLIENT AND
                               TEAM RE DECISION ON MOTION TO
                               DISQUALIFY RANDI ELLIS, FCR (.2).
8/4/2023     FWY   B200        ANALYZE PROPOSED AND RED-LINED            0.4     $405.00      $162.00
                               DISMISSAL ORDERS SUBMITTED BY THE
                               PARTIES.
8/4/2023     BET   B200        PREPARE COMPARISON OF THE                 0.3     $210.00       $63.00
                               DISMISSAL ORDER ENTERED IN LTL I TO
                               PROPOSED DISMISSAL ORDER IN LTL II.
8/7/2023     CMH   B200        ANALYZE DISMISSAL AND APPEAL ISSUES       0.8     $520.00      $416.00
                               AND CONFERENCE WITH S. FALANGA.
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SERVICES


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8/7/2023     CMH   B200        REVIEW LETTER FROM TCC REGARDING          0.3     $520.00     $156.00
                               FCR APPEAL BRIEFING AND REVISE
                               NOTICE OF APPEARANCE.
8/7/2023     LMW   B200        REVIEW REVISED DRAFT DISMISSAL            0.2     $905.00     $181.00
                               ORDER (.1) AND LETTER TO JUDGE
                               KAPLAN REGARDING SAME (.1).
8/7/2023     SVF   B140        CONFERENCE FCR AND L. WALSH               0.5     $695.00     $347.50
                               REGARDING DISMISSAL ORDER AND CASE
                               ISSUES.
8/7/2023     SVF   B140        TELECONFERENCE DEBTOR COUNSEL             0.1     $695.00      $69.50
                               REGARDING DISMISSAL ORDER.
8/7/2023     SVF   B140        ANALYZE DISMISSAL ORDER PROPOSALS.        0.8     $695.00     $556.00
8/7/2023     SVF   B140        PREPARE CORRESPONDENCE FCR                0.2     $695.00     $139.00
                               REGARDING DRAFT DISMISSAL ORDER
                               PROPOSALS.
8/7/2023     SVF   B140        COMMUNICATE ECON ONE REGARDING            0.1     $695.00      $69.50
                               CASE STATUS CALL.
8/7/2023     SVF   B140        PREPARE DRAFT ADDITIONS TO                0.3     $695.00     $208.50
                               DISMISSAL ORDER.
8/7/2023     SVF   B140        EXCHANGE CORRESPONDENCE COUNSEL           0.2     $695.00     $139.00
                               REGARDING FCR ADDITIONS TO
                               DISMISSAL ORDER.
8/7/2023     BET   B200        DRAFT NOTICE OF APPEARANCE FOR            0.3     $210.00      $63.00
                               MARK FALK FOR FCR APPOINTMENT
                               APPEAL CASE.
8/8/2023     CMH   B200        ANALYZE DISMISSAL AND APPEAL ISSUES.      0.2     $520.00     $104.00
8/8/2023     LMW   B200        REVIEW VARIOUS PARTIES’ LETTERS TO        0.7     $905.00     $633.50
                               JUDGE KAPLAN REGARDING DISMISSAL
                               ORDER.
8/8/2023     FWY   B140        ANALYZE BANKRUPTCY AND RELATED            0.5     $405.00     $202.50
                               DOCKET FILINGS (0.3); PREPARE
                               SUMMARY OF FILINGS FOR CLIENT AND
                               WALSH TEAM (0.2).
8/9/2023     CIG   B170        REVIEW AND REVISE WALSH JULY              1.7     $520.00     $884.00
                               INVOICE FOR PRIVILEGE AND TO
                               CONFORM TO US TRUSTEE GUIDELINES
                               (1.6); CORRESPOND WITH G. PINEIRO AND
                               L. WALSH REGARDING WALSH JULY
                               INVOICE AND RELATED FEE APP (.1).
8/9/2023     SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY          0.2     $695.00     $139.00
                               PLEADINGS INCLUDING SUPPLEMENTAL
                               DISMISSAL ORDER SUBMISSIONS.
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SERVICES


Date         TMK   Task        Description of Services                   Hours        Rate       Amount
8/9/2023     MF    B200        REVIEW CORRESPONDENCE TO JUDGE              1.5     $960.00      $1,440.00
                               KAPLANRE RE: CONTINUED EXISTENCE OF
                               TCC AS WELL AS FORM AND SCOPE OF
                               DISMISSAL ORDER (.6); REVIEW ORDERS
                               ON MOTION TO SEAL (.1); REVIEW OTHER
                               COMMUNICATIONS AND STRATEGIZE ON
                               ORDER OF DISMISSAL AS IT AFFECTS FCR
                               (.8).
8/9/2023     MF    B200        NUMEROUS COMMUNICATIONS                     1.2     $960.00      $1,152.00
                               REGARDING DISMISSAL ORDER
                               INCLUDING DAN PRIETO POSITION (.8);
                               REVIEW TCC LETTER RE DISMISSAL
                               ORDER AND FORMULATE FCR RESPONSE
                               (.4).
8/10/2023    CIG   B170        CORRESPOND WITH S. FALANGA AND L.           0.2     $520.00       $104.00
                               WALSH REGARDING ELLIS AND WALSH
                               JULY MONTHLY FEE APPLICATIONS AND
                               INVOICES.
8/10/2023    SVF   B170        COMMUNICATE C. GANNON REGARDING             0.1     $695.00        $69.50
                               FEE STATEMENTS.
8/10/2023    SVF   B140        REVIEW RECENTLY FILED BANKRUPTCY            0.2     $695.00       $139.00
                               PLEADINGS INCLUDING SUPPLEMENTAL
                               DISMISSAL ORDER SUBMISSIONS.
8/11/2023    CIG   B170        CORRESPOND WITH LMW REGARDING               0.2     $520.00       $104.00
                               JULY FEE APPLICATIONS (.1);
                               CORRESPOND WITH G. PINEIRO AND B.
                               TROYAN REGARDING JULY FEE
                               APPLICATIONS (.1).
8/11/2023    SVF   B170        COMMUNICATE ECON ONE REGARDING              0.2     $695.00       $139.00
                               CASE DISMISSAL.
8/11/2023    SVF   B140        ANALYZE DISMISSAL ORDER.                    0.3     $695.00       $208.50
8/11/2023    SVF   B140        COMMUNICATE FCR REGARDING                   0.2     $695.00       $139.00
                               DISMISSAL ORDER.
8/11/2023    MF    B200        ATTEND MEETING WITH CLIENT AND ECON         1.1     $960.00      $1,056.00
                               ONE EXPERTS AND STEVE FALANGA (.7);
                               REVIEW RECENT FILINGS (.1);
                               COMMUNICATIONS WITH S. FALANGA RE:
                               CASE ISSUES AND DISMISSAL (.3).
8/11/2023    BET   B170        UPDATE/REVISE FCR AND WALSH JULY            0.6     $210.00       $126.00
                               FEE APPLICATIONS.

                                           Total Professional Services    31.1                 $19,793.50
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PERSON RECAP


Person                                                                      Hours          Rate        Amount
SVF         Stephen V. Falanga                                                7.3       $695.00       $5,073.50
SVF         Stephen V. Falanga                                                 2.8      $347.50        $973.00
CIG         Christine I. Gannon                                                3.2      $520.00       $1,664.00
CMH         Christopher M. Hemrick                                             1.9      $520.00        $988.00
LMW         Liza M. Walsh                                                      1.7      $905.00       $1,538.50
MF          Mark Falk                                                          7.6      $960.00       $7,296.00
FWY         Francis W. Yook                                                    4.4      $405.00       $1,782.00
JKF         Jessica K. Formichella                                             0.1      $375.00         $37.50
BET         Barbara Troyan                                                     2.1      $210.00        $441.00

EXPENSES


Date                    Task          Description of Expenses                                          Amount
8/3/2023                E100 - E115   J&J COURT TRANSCRIBERS, INC. -                                    $86.40
                                      TRANSCRIPT OF AUGUST 2, 2023 COURT
                                      HEARING BEFORE JUDGE KAPLAN

                                             Total Expenses                                             $86.40


                                             Total Services                           $19,793.50
                                             Total Disbursements                          $86.40
                                             Total Current Charges                                  $19,879.90
                                             Previous Balance                                      $241,341.43
                                             PAY THIS AMOUNT                                       $261,221.33



               Due Upon Receipt. Please include the invoice number on all remittance. Thank you.
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TASK RECAP

Services                                           Disbursements

Category              Hours            Amount      Category                         Amount

B140                   8.80           $5,594.00    E100 - E115                       $86.40
B170                   4.30           $2,040.50                                       $0.00
B195                   2.80            $973.00                                        $0.00
B200                  15.20          $11,186.00                                       $0.00

                      31.10          $19,793.50                                      $86.40
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